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                    Joint Exhibit A
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA


 In Re: Oil Spill by the Oil Rig “Deepwater         *        MDL NO. 2179
    Horizon” in the Gulf of Mexico, on April        *
    20, 2010                                        *        SECTION J
                                                    *
                                                    *
                                                    *        HONORABLE CARL J.
                                                    *        BARBIER
                                                    *
                                                    *        MAGISTRATE JUDGE
                                                    *        SHUSHAN
                                                    *

 Bon Secour Fisheries, Inc., et al., individually   *
 and on behalf of themselves and all others         *    Civil Action No. 12-970
 similarly situated,                                *
                                                    *    SECTION: J
                Plaintiffs,                         *
                                                    *
 v.                                                 *    HONORABLE CARL J. BARBIER
                                                    *
 BP Exploration & Production Inc.;                  *    MAGISTRATE JUDGE SHUSHAN
 BP America Production Company;                     *
 BP p.l.c.,                                         *
                                                    *
                Defendants.                         *
                                                    *
                                                    *

          JOINT DECLARATION OF CAMERON R. AZARI, ESQ. ON
                 IMPLEMENTATION AND ADEQUACY OF
      ECONOMIC AND PROPERTY DAMAGES SETTLEMENT NOTICE PLAN


 I, CAMERON R. AZARI, ESQ., hereby declare and state as follows:

        1.    My name is Cameron R. Azari, Esq. I am over the age of twenty-one and I

 have personal knowledge of the matters set forth herein, and I believe them to be true and

 correct.


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          2.   I am a nationally-recognized expert in the field of legal notice and I have

 served as a media expert in dozens of federal and state cases involving class action notice

 plans.

          3.   I am the Director of Legal Notice for Hilsoft Notifications, a firm that

 specializes in designing, developing, analyzing and implementing large-scale, un-biased,

 legal notification plans. Hilsoft has been involved with some of the most complex and

 significant notices and notice programs in recent history.

          4.   In In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of

 Mexico, on April 20, 2010, MDL No. 2179, my colleagues and I were asked to design the

 Notices (or “Notice”) and a Notice Program (or “Notice Plan”) to inform Settlement

 Class Members about their rights under the Economic and Property Damages Settlement

 (“Economic and Property Damages Settlement”) with BP Exploration & Production Inc.

 and BP America Production Company. In the “Declaration of Cameron R. Azari, Esq. on

 Economic and Property Damages Settlement Notices and Notice Plan” dated April 17,

 2012 (Docket Entry 6266, Exhibit 1), I detailed Hilsoft’s class action notice experience

 and attached Hilsoft Notifications’ curriculum vitae. I also provided my educational and

 professional experience relating to class actions and my ability to render opinions on the

 overall adequacy of notice programs. In the “Supplemental Declaration of Cameron R.

 Azari, Esq. on Revised Economic and Property Damages Settlement Notices” dated May

 1, 2012 (Docket Entry 6414, Ex. B), I addressed edits made to improve the readability of

 the notices after consultation with the parties and Magistrate Judge Sally Shushan. The

 revised Notices attached to that document were used in the actual notice effort.


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           5.   On May 2, 2012, the Court appointed Hilsoft Notifications as the Economic

 and Property Damages Settlement Class Notice Administrator, approved the Notice Plan

 (including proposed forms of notice), and directed Hilsoft to implement the Notice Plan

 (Docket Entry 6418). In the same Order, the Court appointed Garden City Group, Inc.

 (“GCG”) as a Claims Administration Vendor for the Economic and Property Damages

 Settlement.

           6.   After the Court’s preliminary approval of the Economic and Property

 Damages Settlement (the “Order”), we began implementing the Notice Program. This

 affidavit details all the notice activities undertaken, provides “proofs of performance,”

 and explains how and why the Notice Plan was comprehensive, well suited to the Class,

 and conformed to the standards that federal courts and jurisprudence require. In my

 experience, the reach and frequency of the Notice Plan media effort in the Gulf Coast

 Areas surpassed that of the vast majority of other court-approved notice programs, and as

 designed, it met and exceeded due process requirements. The reach and frequency to all

 U.S. adults is also consistent with the most thorough and expansive class action media

 notice efforts.

           7.   The facts in this affidavit are based on what I personally know, as well as

 information provided to me in the ordinary course of my business by my colleagues at

 Hilsoft Notifications as well as GCG, who worked with us to implement the notification

 effort.




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                                              OVERVIEW


         8.     To date, the Notice Plan has been implemented as ordered by the Court,

 including dissemination of individual notice to known or potential Settlement Class

 Members via postal mail and email, an extensive schedule of local newspaper, radio,

 television and Internet placements, well-read consumer magazines, a national daily

 business newspaper, highly-trafficked websites, and Sunday local newspapers (via

 newspaper supplements).           Notice placements also appeared in non-measured trade,

 business and specialty publications, African-American, Vietnamese, and Spanish

 language publications, and Cajun radio programming.

         9.     Through August 8, 2012, a total of 1,113,655 individual notices have been

 sent by postal mail and 335,038 individual notices have been emailed. As of August 8,

 2012, mailings to only 60,368 known or potential Economic and Property Damages

 Settlement Class Members—or 7.0%— are known to be undeliverable.

         10.    The combined measurable paid print, television, radio and Internet effort

 alone reached an estimated 95% of adults aged 18+ in the 26 identified DMAs1 covering

 the Gulf Coast Areas an average of 10.3 times each, and an estimated 83% of all U.S.

 adults aged 18+ an average of 4 times each.2




 1
   DMA or “Designated Market Area” is a term used by Nielsen Media Research to identify an exclusive
 geographic area of counties/parishes in which the home market television stations hold a dominance of total
 hours viewed. There are 210 DMAs in the U.S.
 2
   Reach is defined as the percentage of a class exposed to notice, net of any duplication among people who
 may have been exposed more than once. Notice exposure is defined as the opportunity to see a notice. The
 average frequency of notice exposure is the average number of times that those reached by a notice would
 be exposed to the notice.


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        11.    Not reflected in the calculable reach and average frequency of exposure are

 additional efforts that were utilized, but for which reach and average frequency of

 exposure are either incalculable or provide qualitative, not quantitative, enhancement

 (e.g., the notice placements in trade, business and specialty publications, African-

 American, Vietnamese, and Spanish language publications and Cajun radio

 programming, the informational release to news outlets, broadcast public service

 announcements (“PSAs”), sponsored listings on Internet search engines, and settlement

 websites).

        12.    All notice documents were designed to be noticeable, clear, simple,

 substantive and informative. No significant or required information was missing.

        13.    In my opinion, the Notice Program fairly and adequately covered and

 notified the Class without excluding any demographic group or geographic area.

        14.    In my opinion, each person reached has been provided with adequate time

 prior to the fairness hearing to make appropriate decisions, such as whether to opt-out or

 object to the Economic and Property Damages Settlement or file a claim for benefits, if

 applicable.

        15.    The Notice Program surpasses other notice programs we have designed, that

 have been court-approved, and that we have implemented for purposes of settlement.




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          16.    In my opinion, the Notice Plan was the best notice practicable under the

 circumstances of this case and satisfied the requirements of due process, including its

 “desire to actually inform” requirement.3

                                             CAFA NOTICE

          17.    The parties filed the Economic and Property Damages Settlement

 Agreement (or “Settlement Agreement”) with the Court on April 17, 2012. On April 26,

 2012, within the 10-day period required by the federal Class Action Fairness Act of 2005

 (CAFA), 28 U.S.C. § 1715, Hilsoft Notifications sent a CAFA notice packet by certified

 mail to 57 federal and state officials, including the Attorney General of the United States,

 the Attorneys General of each of the 50 states and the District of Columbia and the

 Attorneys General of the U.S. Territories of Puerto Rico, the Northern Mariana Islands,

 American Samoa, the Virgin Islands and Guam. A list of these officials and the date that

 each notice was mailed is included as Attachment 1.

          18.    The CAFA notice packet included a cover letter that provided information

 about the Economic and Property Damages Settlement Agreement and the website

 address for the Public Access to Court Electronic Records (PACER) system, where court

 filings regarding the Settlement and MDL 2179 could be accessed. The cover letter was

 accompanied by a CD that included the operative Class Action Complaint, the Economic

 and Property Damages Settlement Agreement (with all exhibits), the Joint Motion


 3
   “But when notice is a person’s due, process which is a mere gesture is not due process. The means
 employed must be such as one desirous of actually informing the absentee might reasonably adopt to
 accomplish it. The reasonableness and hence the constitutional validity of any chosen method may be
 defended on the ground that it is in itself reasonably certain to inform those affected . . .” Mullane v. Cent.
 Hanover Bank & Trust Co., 339 U.S. 306, 315 (1950).


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 seeking preliminary approval of the Economic and Property Damages Settlement, forms

 of Notices for the Economic and Property Damages Settlement, individual complaints

 that have been consolidated (or were in the process of being consolidated) into MDL

 2179 as of the filing of the Settlement Agreement, and copies of any final judgment or

 notice of dismissal entered in MDL 2179 as of the filing of the Settlement Agreement.

 Attached to the letter as Exhibit A were recent census statistics for individuals and

 entities residing in or around the geographic areas specified in the Economic and

 Property Damages Settlement. A sample of the CAFA cover letter, including Exhibit A,

 is included as Attachment 2.

                        NOTICE PLAN IMPLEMENTATION

                                    Individual Notice

        19.   As described in the Notice Plan, GCG assembled all available name and

 address records of known likely Economic and Property Damages Settlement Class

 Members. This included records obtained from BP, the Gulf Coast Claims Facility

 (GCCF), and Short Form Joinders filed in MDL 2179. Names and addresses were also

 obtained of ascertainable Coast Real Property owners, Wetlands Real Property owners

 and Real Property Sales owners, as defined in the Settlement Agreement.           After

 reasonable efforts to normalize and de-duplicate these multiple datasets, GCG determined

 that there were 866,600 known likely Economic and Property Damages Settlement Class

 Members.

        20.   Prior to mailing, GCG checked all postal addresses against the National

 Change of Address (NCOA) database maintained by the USPS.


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        21.   Between May 14, 2012 and June 30, 2012, GCG disseminated 863,773

 individual notices by USPS first class mail to known or potential Economic and Property

 Damages Settlement Class Members, 335,038 notices by email and 171,376 postal

 notices by USPS first class mail to their known attorneys and other representatives. In

 addition, as of August 8, 2012, 2,827 Notice Packets have been sent by GCG by first

 class mail in response to individual requests they have received.

        22.   The Notice Packet sent by postal mail to known or potential Economic and

 Property Damages Settlement Class Members, their known attorneys and other

 representatives is a 9” x 12” flat envelope with specific design features to alert recipients

 to the important legal information enclosed. The return address shows that the packet is

 from the “Notice Administrator for U.S. District Court.” The envelope has bold callouts

 on the front (“DEEPWATER HORIZON – Economic and Property Damages

 Settlement”) and rear (“If you had economic loss or property damage because of the

 Deepwater Horizon oil spill, you could get money from a class action settlement.”).

 Each Notice Packet included Cover Letter, Detailed Notice and a color map folio. The

 Cover Letter and Detailed Notice both direct Class Members to visit the Settlement

 website and to call the toll-free number for further information and assistance. A copy of

 the Notice Packet as printed and mailed is included as Attachment 3.

        23.   On May 17, 2012, a mathematical error was detected in the Detailed Notice

 in an illustrative sample calculation provided in the section describing settlement benefits

 related to Coastal Real Property Damage. The parties quickly conferred and remedied

 the Detailed Notice that was posted on the Settlement websites. In addition, it was


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 determined that 583 property owners who were likely eligible to submit a claim for

 Coastal Real Property Damage had already been mailed a Detailed Notice.            These

 property owners were promptly mailed a corrected Detailed Notice along with a cover

 letter explaining the error. This cover letter and the related envelope are included as

 Attachment 4. All other property owners who are likely eligible to submit a Coastal Real

 Property Damage Claim were mailed only the corrected Detailed Notice. This illustrative

 sample calculation is included only in the Detailed Notice; thus the Publication Notices

 and all other summary notices were unaffected by the correction.

        24.   The Email Notice transmitted to each known or potential Economic and

 Property Damages Settlement Class Member included summary information about the

 Economic and Property Damages Settlement and clickable links for the reader to easily

 access the Settlement website (www.DeepwaterHorizonSettlements.com), which includes

 the Detailed Notice, Settlement Agreement and links to the Claims Administrator’s

 website. The Email Notice as disseminated to potential Economic and Property Damages

 Settlement Class Members is included as Attachment 5.

        25.   The return address on the Notice Packet is a post office box maintained by

 GCG. As of August 8, 2012, GCG has re-mailed 17,279 Notice Packets for addresses

 that were corrected through the USPS. As of August 8, 2012, GCG has received 136,617

 Notice Packets that were returned by the USPS as undeliverable. For Notice Packets that

 were returned as undeliverable, GCG undertook additional public record research which

 has resulted in the remailing of 57,817 Notice Packets. For the Email Notice, up to three

 delivery attempts were made to each email address and a total of 43,927 emails were


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 undeliverable after three attempts. As of August 8, 2012, GCG has mailed a grand total

 of 1,113,655 Notice Packets with mailings to only 60,368 likely Economic and Property

 Damages Settlement Class Members known to be undeliverable.                     This 7.0%

 undeliverable rate is well within the expected range.

                                        Media Notice

        26.   The    Economic     and    Property    Damages     Notice   Plan    proceeded

 contemporaneously with the Medical Benefits Settlement Notice Plan, appearing as

 separate publication notices in a single-ad unit and as shared broadcast spots. The local

 media portion of the Economic and Property Damages Notice Plan was defined by the

 “Gulf Coast Areas” specified in the Economic and Property Damages Settlement

 Agreement.


        27.   To guide the selection of measured media in reaching unknown Economic

 and Property Damages Settlement Class Members, the Notice Plan had a primary target

 audience of all adults 18 years and older, currently living in the Gulf Coast Areas. To

 further extend the reach of the Notice Plan to unknown Class Members who were not

 currently residing in the Gulf Coast Areas, the Notice Plan included a broad national

 effort to reach adults 18 years and older across the United States.


        28.   To frame the local portion of the Notice Plan, local media was analyzed for

 each DMA in which the largest population center within each respective DMA included a

 portion of the defined Gulf Coast Areas.             Twenty-six (26) individual DMAs




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 encompassing the Gulf Coast Areas were used to establish the geographic scope for the

 local portion of the media plan. They are as follows:

 Houston                           Mobile-Pensacola-Ft. Walton            Ft. Myers-Naples

 Beaumont- Port Arthur             Montgomery-Selma                       Panama City

 New Orleans                       Dothan                                 Hattiesburg-Laurel

 Lake Charles                      Miami-Ft. Lauderdale                   Alexandria, LA

 Lafayette, LA                     Tallahassee-Thomasville                Monroe-El Dorado

 Baton Rouge                       Gainesville                            Shreveport

 Biloxi-Gulfport                   Tampa-St. Petersburg-Sarasota          Jackson, MS

 Columbus-Tupelo-West Point        Meridian                               Huntsville-Decatur (FL)

 Greenwood-Greenville              Birmingham (Anniston and Tuscaloosa)



           29.     As discussed in the Notice Plan, specific media selections were subject to

 change by addition, deletion, or substitution at the time of placement. As with any media

 effort of this size, some publications ceased publishing before scheduled run dates. Other

 local, business and trade publications were inserted into the Notice Plan as appropriate.

 Broadcast schedules were modified as needed to make the most efficient use of Notice

 Plan resources. No material changes were made to the Plan. All deviations from the

 exact publications and schedules outlined in the Notice Plan were minor and did not

 affect the overall reach and frequency of the effort. All reach and impression targets

 were achieved or exceeded, and any substitutions or additions to the Notice Plan are

 noted in the specific sections below.




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                       Gulf Coast Areas Local Newspaper Notice

        30.   The Notice Plan to the Gulf Coast Areas included notice placements in 343

 daily and weekly newspapers covering each of the 26 DMAs specified above.

        31.   The Publication Notice ran in an additional 17 newspapers in the following

 additional DMAs: Memphis (12), Atlanta (1) and Columbus, Georgia (4). These three

 DMAs lie predominately outside the Class geography, but do have areas within the states

 of Mississippi (Memphis DMA) and Alabama (Atlanta and Columbus DMAs). It is these

 areas that were reached by the 17 additional newspapers.

        32.   The Publication Notice appeared four times as a double-page spread or full-

 page ad unit in each newspaper—twice on Sunday and twice on a weekday in daily

 newspapers and over four successive weeks in weekly newspapers for a total of 1,438

 insertions. The selected newspapers have a combined circulation of over 6.5 million. In

 most instances, the Notice appeared a fifth or sixth time in each local newspaper via the

 insertions in nationwide newspaper supplements (Parade, USA Weekend and American

 Profile) discussed below.

        33.   The Publication Notice did not run in four of the local newspapers specified

 in the Notice Plan. The Stone County Times, Klein News, Houston Examiner and North

 Florida Herald ceased publication between the creation of the Notice Plan and its

 implementation. The impacted media markets were heavily covered by other print and

 broadcast media.

        34.   After Court approval of the Notice Plan, Hilsoft Notifications became aware

 of an additional small local newspaper in which placement of the Publication Notice was


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 reasonable. This publication was Pensacola Island News. A single insertion of the

 Publication Notice was placed in this publication.                    Including this insertion, the

 Publication Notice ran in a total of 360 individual, local newspapers.

         35.    The list of local newspapers in which the Notice appeared, including

 specific issues dates and page numbers is included as Attachment 6. A sample “tear

 sheet” for each configuration of the Publication Notice is included as Attachment 7.

 Individual tear sheets for each local newspaper insertion have been collected by Hilsoft

 Notifications and are available upon request.

                             Gulf Coast Areas Local Television Notice

         36.    The Economic and Property Damages Notice Plan included 30-second

 television spots that appeared on local broadcast and cable television in the 26 DMAs

 identified above.

         37.    In our Notice Plan, we conservatively estimated that approximately 2,730

 30-second spots would run over a four-week period. As a result of our successful

 negotiations with the local networks, over 7,900 30-second spots ultimately aired on the

 top three local television stations per market and on the top six cable networks.

 Placements substantially occurred between June 11, 2012 and July 1, 2012, with small

 numbers of remaining inventory spilling into July. Approximately 360 Gross Rating

 Points (“GRPs”)4 per market and over 72 million gross impressions were generated.




 4
  A “GRP” is a gross rating point. One rating point equals one percent of a target population. Gross rating
 points may include the same person being reached more than once, so ratings can and often do exceed 100.


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         38.   On its own, the Television Notice is estimated to have reached 88.3% of

 adults aged 18+ in the Gulf Coast Areas with an estimated average frequency of 4.2 times

 each.

         39.   Included as Attachment 8 is a detailed post-buy analysis of the television

 activity outlining the station, number of spots per station and average GRPs per station.

 Station and network statements showing actual airtimes are available upon request. A

 copy of the final produced television storyboard is included as Attachment 9.

                              Gulf Coast Areas Local Radio

         40.   The Economic and Property Damages Notice Plan included 30-second radio

 units appearing over a two-week schedule on selected radio stations across the Gulf Coast

 Areas. The local radio effort had five components: (1) mainstream, (2) StateNets serving

 rural areas, (3) African-American, (4) Spanish language, and (5) Cajun programming.

         41.   The mainstream local Radio Notice aired a total of 5,250 30-second spots

 across the 26 DMAs listed above, generating approximately 174 GRPs per market.

 Placements substantially occurred between June 11, 2012 and June 24, 2012. On its own,

 the mainstream Local Radio Notice is estimated to have reached 40.5% of adults aged

 18+ in the Gulf Coast Areas with an estimated average frequency of 4.5 times each.

         42.   Targeting rural communities, the radio notice also appeared on “StateNets,”

 a radio network specializing in reaching rural areas. Typical StateNets features are news,

 regional weather, and other informational programs. We estimate that over 21,900 total

 spots ran via StateNets on 202 radio stations in the 26 DMAs from June 11, 2012 to July

 1, 2012.


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        43.   The Radio Notice also ran on appropriate African-American and Spanish

 language stations. 2,298 spots ran on African-American stations and a further 1,209 spots

 ran on Spanish language stations in areas of the Gulf Coast with concentrations of

 Spanish-speaking adults. The final number of spots specifically run on the African-

 American stations was fewer than the 4,032 spots estimated in the Notice Plan. African-

 Americans are such a concentrated population in many of the markets that we purchased,

 that it was not necessary to buy as many spots to achieve the same reach and frequency

 goals that we were targeting for the general market. The Spanish language Radio Notice

 was recorded as a 60-second spot to accommodate the translation.

        44.   A radio buy targeting the Cajun population in Southern Louisiana was also

 executed. Approximately 594 spots ran over a two-week period on local stations KLRZ-

 FM, KLEB-AM, and KANE-AM. The spot was voiced in a Cajun dialect. CD’s of each

 recorded radio spot are available upon request.

        45.   Included as Attachment 10 is a detailed post-buy analysis of the radio

 activity outlining the station, number of spots, reach and frequency per market and

 average GRPs per station. Station statements showing the actual airtimes of the spots are

 available upon request. A copy of the radio script is included as Attachment 11.

              Gulf Coast Areas Foreign Language and Ethnic Publications

        46.   The Publication Notice appeared in publications covering ethnic and foreign

 language groups identified as having a significant presence in the Gulf Coast Areas. The

 Notice appeared in 46 selected publications as a double-page spread or full-page ad unit

 three times in selected daily and weekly publications and one time in selected monthly


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 publications covering the African-American, Vietnamese, and Spanish language

 populations in the Gulf Coast Areas. Due to publisher error, Paisano ran the notice only

 twice and Community Voice ran the notice once.          The Notice was translated into

 Vietnamese and Spanish where appropriate.           The 46 selected publications had a

 combined estimated circulation of over 1.8 million. A list of each such publication in

 which the Notice appeared, including each date and page number, is provided as

 Attachment 12. An example of each translated notice is included as Attachment 13. Tear

 sheets for each insertion are available upon request.

                 National Newspaper Inserts and Consumer Publications

        47.   The Economic and Property Damages Notice Plan included highly visible

 notice placements in thirteen leading weekly and monthly publications. Notices appeared

 twice in the national newspaper supplements Parade and USA Weekend and once in

 American Profile, which were inserted in over 2,190 Sunday newspapers nationwide with

 distribution in large cities and small towns. Combined, Parade, USA Weekend, and

 American Profile have an estimated circulation of more than 65 million.

        48.   Notices also appeared twice in People, and once in Better Homes and

 Gardens, AARP Bulletin, National Geographic, Cosmopolitan, Sports Illustrated,

 Southern Living, People en Español, Ebony, and Essence, for a total of 11 insertions.

 The Notice appeared as a highly visible, double-page spread ad unit in each publication

 (with one page as the Economic and Property Damages Settlement Notice and the other

 the Medical Benefits Settlement Notice).

        49.   The Notice ran on the dates and pages indicated below:


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     Publication                                      Issue Date5   On-Sale Date6   Page Position
     Parade (First Insertion)                           6/17/12       6/17/12         18 & 19
     Parade (Second Insertion)                           6/1/12        6/1/12         14 & 15
     USA Weekend (First Insertion)                      6/17/12       6/17/12         18 & 19
     USA Weekend (Second Insertion)                      6/1/12        6/1/12          5&6
     American Profile                                   6/17/12       6/17/12         10 & 11
     People (First Insertion)                           6/25/12       6/15/12         42 & 43
     People (Second Insertion)                           7/2/12       6/22/12         92 & 93
     Better Homes and Gardens                             July        6/19/12        180 & 181
     AARP Bulletin                                    July/August     7/2-7/15        30 & 31
     National Geographic                                  July        6/26/12        134 & 135
     Cosmopolitan                                       August        7/10/12        136 & 137
     Sports Illustrated                                 6/11/12       6/11/12         70 & 71
     Southern Living                                      July        6/22/12        132 & 133
     People en Español                                  August         7/6/12        134 & 135
     Ebony                                                July        6/19/12         90 & 91
     Essence                                            August         7/6/12        134 & 135



            50.    The selected Sunday newspaper inserts and consumer publications had a

 total circulation of over 114 million. Adults were exposed to the Notice through these

 publications alone more than 521 million times during the notice period. This included

 the same reader exposed more than once, because readers of one publication tend to read

 other publications as well. An example of the Notice as it appeared in the newspaper

 inserts and consumer publications is included as Attachment 14. Tear sheets for each

 insertion are available upon request.

                     Nationwide and Regional Business and Trade Publications

            51.    The Publication Notice appeared once or twice as a double-page spread or

 equivalent size ad unit in 42 publications targeted to the industries and activities most


 5
     The date that appears on the cover of the publication.
 6
     The date the publication is first available to readers.


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 likely to have been directly affected by the Deepwater Horizon event.          One trade

 publication that was included in the Notice Plan was eliminated. Well Service is a

 quarterly publication with a long lead time, and given the timeline for implementation of

 the Notice Plan, it no longer was a viable option. In addition, we cannot confirm that the

 notice appeared in Gulfscapes because it apparently has ceased publication.         After

 approval of the Notice Plan, the outreach to potentially affected businesses was

 supplemented with placements in the following additional publications: Birmingham

 Business Journal, Houston Business Journal, South Florida Business Journal,

 Mississippi Business Journal, Tampa Bay Business Journal, Gumbeaux Magazine,

 Riverside Reader, City Life, The Forum News, and Oil and Gas Journal. The final list of

 selected nationwide and regional business and trade publications in which the Publication

 Notice appeared had a combined circulation of over 5.6 million. A list of each such

 publication in which the Notice appeared, including each date and page number, is

 provided as Attachment 15.       An example of the Notice as it appeared in these

 publications is included as Attachment 16. Tear sheets for each insertion are available

 upon request.

                                 Internet Banner Notices

        52.   The Economic and Property Damages Notice Plan included Banner Notices

 measuring 728 x 90 pixels and 300 x 250 pixels, which were placed on the national

 online networks: Yahoo!, MSN, AOL Email, Weather.com, and 24/7 Real Media (a

 network that represents over 900 websites including those related to health, fitness, and

 news and information).


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        53.    Banners were also placed where available on the websites of the selected

 trade and specialty publications included in the print publication plan.

        54.    Combined, approximately 76 million adult impressions were generated by

 these banner notices, which ran from June 11, 2012 to July 8, 2012. Clicking on the

 banner links readers to the Settlement website where they can obtain information about

 the Settlement and link directly to the separate claims administration websites for each

 settlement.

        55.    To complement print notices in the selected local newspapers, 728 x 90

 pixel and 300 x 250 pixel banners were placed on newspaper and local TV websites in

 the identified geographies.    In total, these newspaper and local TV Banner Notices

 delivered more than 42 million impressions across Louisiana, Mississippi, Alabama and

 portions of Texas and Florida.       A depiction of the Banner Notice is included as

 Attachment 17.

                                   Informational Release

        56.    To build additional reach and extend exposures, a party-neutral

 Informational Release was issued to approximately 4,200 print and broadcast and 5,500

 online press outlets throughout the United States.

        57.    The Informational Release served a valuable role by providing additional

 notice exposures beyond that which was provided by the paid media. Although it is

 impossible to capture all the news stories generated, as of August 10, 2012, we have

 identified 1,023 news stories that appeared discussing the settlements, several of which

 appeared in broad-reaching media such as Forbes, Reuters, HispanicBusiness.com, The


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 Mobile Press Register, Nola.com and Huntsville Times. A list of the press outlets

 containing the news stories and the date in which they appeared is included as

 Attachment 18. Included as Attachment 19 is a copy of the Informational Release as it

 was distributed.

                                       Television PSAs

        58.   The Economic and Property Damages Notice Plan also included a television

 PSA effort. The Television Notice was distributed to over 1,200 broadcast television

 stations throughout the United States with a statement to station managers on why the

 announcement provided important legal information that may be relevant to their

 viewers. A list of the stations receiving the PSA is available upon request. The final TV

 PSA package as produced and distributed to television stations is included at Attachment

 20.

        59.   As of August 10, 2012, 11 television stations in 6 states have reported airing

 the PSAs a total of 356 times, for an average of 32 broadcasts per television station. The

 total number of estimated audience impressions from these PSA broadcasts is 7,169,000.

                            Informational Settlement Website

        60.   A           neutral,         informational           notice           website

 (www.DeepwaterHorizonSettlements.com) was created to serve as the notice page for

 both Settlements (the Economic and Property Damages Settlement as well as the Medical

 Benefits Settlement) where Class Members can obtain additional information and

 documents including the Detailed and Summary Notices and the Settlement Agreements




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 and all Exhibits.     The Settlement website was rendered in English, Spanish, and

 Vietnamese, with links to each language prominently listed at the top each website page.

        61.   The Economic and Property Damages Settlement Detailed Notice was

 translated into Spanish and Vietnamese.       The translated documents are included as

 Attachment 21.      Included as Attachment 22 are notarized certificates verifying the

 accuracy of the translations. Included as Attachment 23 are letters from third-party

 reviewers who were retained to provide a further level of scrutiny of these translations.

        62.   The Settlement website address was prominently displayed in all notice

 documents. The Email Notice and Banner Notices linked directly to the Settlement

 website.

        63.   Visitors to the Settlement website are able to easily link to separate claims

 administration websites tailored to each settlement via prominent buttons on the

 Settlement website homepage (one reading “Economic and Property Damages Claims”

 and the other reading “Medical Claims”). Claim Forms and other information specific to

 each settlement are available at these claims administration sites. The Settlement website

 is color-coordinated with the claims administration websites and all pages that a visitor

 might see in order to have a consistent look and functionality.

        64.   To facilitate locating the Settlement website, sponsored search listings were

 acquired on the three most highly-visited Internet search engines: Google, Yahoo! and

 Bing. When search engine visitors search on common keyword combinations such as

 “Deepwater Horizon”, “Deepwater Horizon settlement”, “BP oil spill”, or “BP

 settlement”, the sponsored listing is displayed either at the top of the page prior to the


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 search results or in the upper right hand column. As of August 8, 2012, entering the

 search terms “Deepwater Horizon”, “Deepwater Horizon Settlement”, “BP settlement”,

 and “BP Claims” into Google returns the Settlement sponsored search listing as the first

 such listing at the top of the page. As of August 8, 2012, the sponsored listings have

 been displayed 58,844,156 times, resulting in 199,588 clicks that displayed the

 Settlement website. Attachment 24 provides examples of the sponsored search listing as

 displayed on each search engine.

        65.   As of August 8, 2012, there have been 484,176 unique visitors to the

 Settlement website and over 6.9 million website pages presented.

                                     Toll-free Number

        66.   By May 7, 2012, the toll-free number was fully operational. By calling this

 number Class Members can speak to a live operator and request to have a copy of the

 Detailed Notice mailed to them.

        67.   As of August 8, 2012, the GCG has handled 136,165 calls representing

 784,878 minutes of use.

              PERFORMANCE AND DESIGN OF NOTICE PROGRAM


        68.   Objectives were met. The primary objective of the settlement notice effort

 was to effectively reach the greatest practicable number of potential Class Members with

 a “noticeable” Notice of the Economic and Property Damages Settlement, and provide

 them with every reasonable opportunity to understand that their legal rights were

 affected, to be heard, and to object if they so chose. These efforts were successful.



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        69.   The Notice reached Class Members effectively.         Our conservative and

 careful calculations indicate that the combined measurable paid print, television, radio,

 and Internet effort alone reached an estimated 95% of adults aged 18+ in the 26 identified

 DMAs covering the Gulf Coast Areas and an estimated 83% of all U.S. adults. Although

 not calculable, reach was further enhanced by the notice placements in trade, business

 and specialty publications, African-American, Vietnamese, and Spanish language

 publications, Cajun radio programming, the informational release, TV PSAs, Internet

 sponsored listings, and the Settlement website. In my experience, this reach percentage

 exceeds those achieved in most other court-approved notice programs. Based on our

 conservative calculations, I can confidently state that the Class was more than adequately

 reached.

        70.   Frequency of exposure was provided. The Notice Plan was designed to

 provide Class Members exposed to the Notice with multiple opportunities to view or read

 and understand it. The Plan unavoidably utilized various overlapping media, which

 provided multiple notice exposures to each person reached. Here, adults aged 18+ in the

 Gulf Coast Areas were exposed to the Notice an average of 10.3 times each and all U.S.

 adults were exposed to the Notice an average of 4 times each through the measurable

 paid print and television activity alone. This average frequency of exposure does not

 include the notice placements in trade, business and specialty publications, African-

 American, Vietnamese, and Spanish language publications, Cajun radio programming,

 the informational release, TV PSAs, Internet sponsored listings, and the Settlement

 website.


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         71.   More than adequate time and opportunity to react to Notices. The Notice

 Plan was substantially completed on July 15, 2012. A small number of broadcast notices

 appeared after July 15, 2012 through “make-goods”7 and additional spots provided by

 some stations. The last Notice appeared on July 29, 2012, which allowed more than

 adequate time for Class Members to see the Notice and respond accordingly before the

 August 31, 2012 objection deadline and the October 1, 2012 opt-out deadline. With 47

 days from the substantial completion of the Notice Plan until the objection deadline, 78

 days until the opt-out deadline and 116 days until the November 8, 2012 fairness hearing,

 Class Members were allotted more than adequate time to act on their rights.

         72. Notices were designed to increase readership and comprehension. All

 Notices were designed to be “noticed,” reviewed, and—by presenting the information in

 plain language—understood by Class Members. The design of the Notices followed the

 principles embodied in the Federal Judicial Center’s illustrative “model” notices posted at

 www.fjc.gov. Many courts have approved notices that we have written and designed in a

 similar fashion. The Notices contained substantial, albeit easy-to-read, summaries of all

 of the key information about Class Members’ rights and options.                    The Notices, as

 produced, were clearly worded with an emphasis on simple, plain language to encourage

 readership and comprehension.

         73. The Publication Notice featured a prominent headline (“Deepwater Horizon

 Oil Spill – Economic and Property Damages Settlement – Providing Money to



 7
  A “make-good” is commercial time given to an advertiser either because an advertisement was preempted
 or did not receive the exposure that had been agreed to and paid for.


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 Individuals and Businesses”) in bold text.      Design elements alerted recipients and

 readers that the Notice was an important document authorized by a court and that the

 content may affect them, thereby supplying reasons to read the Notice.

        74. The Detailed Notice provides substantial information to Settlement Class

 Members. The Economic and Property Damages Detailed Notice begins with a summary

 page providing a concise overview of the important information and a table highlighting

 key options available to Economic and Property Damages Settlement Class Members. A

 table of contents, categorized into logical sections, helps to organize the information,

 while a question-and-answer format makes it easy to find answers to common questions

 by breaking the information into simple headings.

        75. The ad units in which the Publication Notice appeared promoted attention to

 the Economic and Property Damages Settlement. The Notices were either full-page units

 in the local newspapers or double-page spreads in most print publications to promote

 readership.

        76. The Television and Radio Notices were designed to stand apart from regular

 consumer ads.     Because they were designed to look and sound different from

 commercials selling products, viewers and listeners could understand the Notice’s

 significance. Key words and concepts were depicted on screen. The principles of

 communication dictate visual and verbal repetition of key concepts presented.         A

 convenient response-oriented approach was provided.       In the Television Notice, the

 Settlement website and toll-free number were spoken and shown on the screen long

 enough to allow Class Members to write them down or remember them. Although


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 concise, the purpose of the Notice was served by delivering the substance of the message

 (including that there are two separate Settlements) and prompting a response to get more

 information.

                                      CONCLUSIONS

        77.     Based on conservative calculations, the combined measurable paid print,

 television, radio and Internet effort alone reached an estimated 95% of adults aged 18+ in

 the 26 identified DMAs covering the Gulf Coast Areas an average of 10.3 times each and

 an estimated 83% of all U.S. adults an average of 4 times each. Although not calculable,

 reach and frequency of exposure was further enhanced by the notice placements in trade,

 business and specialty publications, African-American, Vietnamese, and Spanish

 language publications, Cajun radio programming, the Informational Release, TV PSAs,

 Internet sponsored listings, and the Settlement website.        This reach and average

 frequency of exposure surpasses other court-approved settlement notice programs and

 indicates that the notice campaign was highly successful in providing notice to potential

 Class Members.

        78.     In preparing the Notices, we have employed communications methods that

 are well established in our field, and eschewed the idea of producing old-fashioned case-

 captioned, lengthy, legalistic notice documents.

        79.     In my opinion, the Notice Program was the best notice practicable under the

 circumstances of this case, conformed to all aspects of Federal Rule of Civil Procedure

 23, and comported with the guidance for effective notice articulated in the Manual for

 Complex Litigation, 4th.


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Attachments to the Joint Declaration of Cameron R. Azari, Esq. on Implementation
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Attachment Number                             Document

        1                     CAFA Mailing List to Government Officials


        2                                 CAFA Cover Letter


        3                           Individual Mailed Notice Packet


        4                        Illustrative Example Correction Letter


        5                               Individual Email Notice


        6                          Local Newspaper Publication List


        7                            Local Newspaper Tear Sheets


        8                             Television Post-Buy Report


        9                                Television Storyboard


        10                              Radio Post-Buy Report


        11                                    Radio Script


        12                    Foreign Language and Ethnic Publication List


        13                          Publication Notice Translations


        14               Newspaper Insert and Consumer Publication Tear Sheets


        15                        Business and Trade Publication List


        16                     Business and Trade Publication Tear Sheets
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Attachments to the Joint Declaration of Cameron R. Azari, Esq. on Implementation
    and Adequacy of Economic and Property Damages Settlement Notice Plan


Attachment Number                            Document

        17                             Internet Banner Notice


        18                                  Earned Media


        19                              Informational Release


        20                            Television PSA Package


        21                          Detailed Notice Translations


        22                       Certificates of Translation Accuracy


        23                         Third Party Translation Reviews


        24                        Internet Sponsored Search Listing
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          Attachment 1
                                                                                Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 32 of 224
Deepwater Horizon Oil Spill Settlement                                                                                      Attorneys General Mailing List                                                                                                         8/9/12
Economic Loss and Property Damages


              First Name MI Last Name          Title                            Address1                                      Address2                                     Address3                            City             ST     Zip          Shipped Date
              Michael       Geraghty           Attorney General                 Office of the Attorney General                123 4th Street                               6th Floor                           Juneau           AK     99801              26-Apr
              Luther        Strange            Attorney General                 Office of the Attorney General                501 Washington Avenue                                                            Montgomery       AL     36130              26-Apr
              Dustin        McDaniel           Attorney General                 Office of the Attorney General                200 Tower Building                           323 Center St., Suite 200           Little Rock      AR     72201-2610         26-Apr
              Tom           Horne              Attorney General                 Office of the Attorney General                Department of Law                            1275 W. Washington St.              Phoenix          AZ     85007              26-Apr
              CAFA          Coordinator        Office of The Attorney General   Consumer Law Section                          110 West "A" Street                          Suite 1100                          San Diego        CA     92186-5266         26-Apr
              John          Suthers            Attorney General                 Office of the Attorney General                1525 Sherman St. 5th Floor                                                       Denver           CO     80203              26-Apr
              George        Jepsen             Attorney General                 Office of the Attorney General                55 Elm Street                                                                    Hartford         CT     06141              26-Apr
              Irvin         Nathan             Attorney General                 Office of the Attorney General                John A. Wilson Building                      1350 PA Avenue, NW Suite 409        Washington       DC     20009              26-Apr
              Joseph     R. Biden III          Attorney General                 Office of the Attorney General                Carvel State Office Building                 820 North French St.                Wilmington       DE     19801              26-Apr
              Pam           Bondi              Attorney General                 Office of the Attorney General                State of Florida                             The Capitol, PL 01                  Tallahassee      FL     32399-1050         26-Apr
              Sam           Olens              Attorney General                 Office of the Attorney General                40 Capitol Square, SW                                                            Atlanta          GA     30334-1300         26-Apr
              David         Louie              Attorney General                 Office of the Attorney General                425 Queen Street                                                                 Honolulu         HI     96813              26-Apr
              Thomas     J. Miller             Attorney General                 Iowa Attorney General                         Hoover Office Building, 2nd Floor            1305 E. Walnut Street               Des Moines       IA     50319              26-Apr
              Lawrence G. Wasden               Attorney General                 Statehouse                                    Office of the Attorney General               700 W. Jefferson Street             Boise            ID     83720              26-Apr
              Lisa          Madigan            Attorney General                 Office of the Attorney General                James R. Thompson Center                     100 W. Randolph St. ,13th Floor     Chicago          IL     60601              26-Apr
              Greg          Zoeller            Attorney General                 Office of the Indiana Attorney General        Indiana Government Center South, 5th Floor   302 West Washington Street          Indianapolis     IN     46204              26-Apr
              Derek         Schmidt            Attorney General                 Office of the Attorney General                120 S. W. 10th Street, 2nd Floor                                                 Topeka           KS     66612-1597         26-Apr
              Jack          Conway             Attorney General                 Office of the Attorney General                State Capitol, Suite 118                     700 Capitol Avenue                  Frankfort        KY     40601-3449         26-Apr
              James      D. Caldwell           Attorney General                 Department of Justice                         1885 North 3rd St. 6th Floor                                                     Baton Rouge      LA     70802              26-Apr
              Martha        Coakley            Attorney General                 Office of the Attorney General                McCormack Buliding                           One Ashburton Place                 Boston           MA     02108-1698         26-Apr
              Douglas    F. Gansler            Attorney General                 Office of the Attorney General                200 Saint Paul Place                                                             Baltimore        MD     21202-2202         26-Apr
              William    J. Schneider          Attorney General                 Office of the Attorney General                                                             6 State House Station               Augusta          ME     04333              26-Apr
              Bill          Schuette           Attorney General                 Office of the Attorney General                                                             525 West Ottawa Street              Lansing          MI     48909              26-Apr
              Lori          Swanson            Attorney General                 Office of the Attorney General                State Capitol                                Suite 102                           St. Paul         MN     55155              26-Apr
              Chris         Koster             Attorney General                 Office of the Attorney General                Supreme Court Building                       207 W. High Street                  Jefferson City   MO     65101              26-Apr
              Jim           Hood               Attorney General                 Department of Justice                         Walter Sillers Building                      550 High Street, Suite 1200         Jackson          MS     39201              26-Apr
              Steven        Bullock            Attorney General                 Office of the Attorney General                Montana Department of Justice                215 N. Sanders Street, 3rd Floor    Helena           MT     59620-1401         26-Apr
              Roy           Cooper             Attorney General                 Office of the Attorney General                Department of Justice                        9001 Mail Service Center            Raleigh          NC     27699              26-Apr
              Wayne         Stenehjem          Attorney General                 Office of the Attorney General                State Capitol                                600 E. Boulevard Avenue, Dept 125   Bismarck         ND     58505-0040         26-Apr
              Jon           Bruning            Attorney General                 Office of the Attorney General                State Capitol                                2115 State Capitol                  Lincoln          NE     68509              26-Apr
              Michael       Delaney            Attorney General                 Office of the Attorney General                State House Annex                            33 Capitol St.                      Concord          NH     03301-6397         26-Apr
              Jeffrey    S. Chiesa             Attorney General                 Richard J. Hughes Justice Complex             25 W. Market Street                                                              Trenton          NJ     08625              26-Apr
              Gary          King               Attorney General                 Office of the Attorney General                408 Galisteo Street                          Villagra Building                   Santa Fe         NM     87501              26-Apr
              Catherine C. Masto               Attorney General                 Office of the Attorney General                Old Supreme Court Building                   100 N. Carson Street                Carson City      NV     89701              26-Apr
              Eric          Schneiderman       Attorney General                 Department of Law                             The Capitol, 2nd Floor                                                           Albany           NY     12224-0341         26-Apr
              Mike          Dewine             Attorney General                 Office of the Attorney General                State Office Tower                           30 E. Broad Street, 17th Floor      Columbus         OH     43266-0410         26-Apr
              Scott         Pruitt             Attorney General                 Office of the Attorney General                313 NE 21st Street                                                               Oklahoma City    OK     73105              26-Apr
              John          Kroger             Attorney General                 Office of the Attorney General                Justice Building                             1162 Court St., NE                  Salem            OR     97301              26-Apr
              Linda      L. Kelly              Appointed Attorney General       Office of the Attorney General                1600 Strawberry Square                       16th Floor                          Harrisburg       PA     17120              26-Apr
              Peter         Kilmartin          Attorney General                 Office of the Attorney General                150 South Main Street                                                            Providence       RI     02903              26-Apr
              Alan          Wilson             Attorney General                 Rembert C. Dennis Office Bldg.                Rembert C. Dennis Office Building            1000 Assembly Street, Rm 519        Columbia         SC     29201              26-Apr
              Marty      J. Jackley            Attorney General                 Office of the Attorney General                1302 East Highway 14, Suite 1                                                    Pierre           SD     57501-8501         26-Apr
              Robert     E. Cooper, Jr.        Attorney General                 Office of the Attorney General                425 5th Avenue North                                                             Nashville        TN     37243              26-Apr
              Greg          Abbott             Attorney General                 Office of the Attorney General                300 W. 15th Street                                                               Austin           TX     78701              26-Apr
              Mark       L. Shurtleff          Attorney General                 Office of the Attorney General                State Capitol, Room 236                                                          Salt Lake City   UT     84114-0810         26-Apr
              Ken           Cuccinelli         Attorney General                 Office of the Attorney General                900 E. Main Street                                                               Richmond         VA     23219              26-Apr
              William    H. Sorrell            Attorney General                 Office of the Attorney General                109 State Street                                                                 Montpelier       VT     05609-1001         26-Apr
              Robert        McKenna            Attorney General                 Office of the Attorney General                1125 Washington Street, SE                                                       Olympia          WA     98504              26-Apr
              J.B.          Van Hollen         Attorney General                 Office of the Attorney General                114 East State Capitol                                                           Madison          WI     53707-7857         26-Apr
              Darrell    V. McGraw Jr.         Attorney General                 Office of the Attorney General                1900 Kanawha Blvd., E.                       Room 26E                            Charleston       WV     25305-9924         26-Apr
              Greg          Phillips           Attorney General                 Office of the Attorney General                123 Capitol Building                         200 West 24th Street                Cheyenne         WY     82002              26-Apr
              Eric       H. Holder, Jr.        Federal Attorney General         US Department of Justice                      950 Pennsylvania Avenue, NW                                                      Washington       D.C.   20530-0001         26-Apr
              Fepulea'i A. Ripley, Jr.         Attorney General                 American Samoa Gov't Exec Office Building     Utulei, Territory of American Somoa                                              Pago Pago        AS     96799              26-Apr
              Lenny         Rapadas            Attorney General                                                               287 West O'Brien Drive                                                           Hagatna          Guam   96910              26-Apr
              Edward     T. Buckingham         Attorney General                 Administration Building                       P.O. Box 10007                                                                   Saipan           MP     96950-8907         26-Apr
              Guillermo     Somoza-Colombani   Attorney General                                                               GPO Box 902192                                                                   San Juan         PR     00902-0192         26-Apr
              Vincent       Frazer             Attorney General                 Department of Justice                         G.E.R.S. Complex                             488-50C Kronprinsdens Gade          St. Thomas       VI     802                26-Apr
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          Attachment 2
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                                                    Notice Administrator for U.S. District Court


Eric H. Holder, Jr.
Attorney General of the United States
United States Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

                 Class Action Fairness Act – Notice to Federal and State Officials

As required by the “Class Action Fairness Act,” please take note of a proposed settlement—the
“Economic & Property Damages Settlement”—that may include residents of your state or
jurisdiction. This notice has been sent on behalf of the defendants noted below:

       Case: In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on
        April 20, 2010, MDL No. 2179-CJB-SS.

       Court: The United States District Court for the Eastern District of Louisiana (Honorable
        Carl J. Barbier).

       Defendants: Defendants BP Exploration & Production Inc. and BP America Production
        Company (together, “BP”) are parties to the proposed settlement.

       Judicial Hearings Scheduled: A hearing on the request to certify the Settlement Class
        and to approve the settlement agreement has not been scheduled by the Court; the parties
        to the settlement have suggested November 8, 2012 for such a hearing, to occur at the
        U.S. District Court, 500 Poydras Street, New Orleans, Louisiana, 70130. At the time of
        the hearing, these matters may be continued without further notice. A preliminary
        hearing regarding the Economic & Property Damages Settlement was held on April 25,
        2012 at the U.S. District Court, 500 Poydras Street, New Orleans, Louisiana, 70130.

       Documents Enclosed: Copies of the following documents are on the enclosed flash
        drive in Adobe Acrobat PDF format.

               o Operative Class Action Complaint

               o Economic & Property Damages Settlement Agreement (with all exhibits)

               o Joint Motion seeking approval of the Economic & Property Damages Settlement

               o Forms of Notices re: the Economic & Property Damages Settlement

               o Individual complaints that have been consolidated (or are in the process of being
                 consolidated) into MDL 2179 as of the filing of the settlement agreement




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               o Copies of any final judgment or notice of dismissal entered in MDL 2179 as of
                 the filing of the settlement agreement

       More Information: The Public Access to Court Electronic Records (“PACER”) system
        (http://www.pacer.gov/) includes access to all public pleadings and orders in MDL 2179,
        including any pleadings or orders that were filed or entered subsequent to the filing of the
        settlement agreement.

       Reasonable Estimate of Economic & Property Damages Settlement Class Members
        by State: It is not feasible at this time to provide the names of class members, a list of
        class members by state of residence, a reasonable estimate of the number of class
        members residing in each state, or a reasonable estimate of the proportionate share of the
        claims of class members residing in each state to the entire settlement. Some statistics
        regarding class membership and class membership by state for those potential class
        members who submit claims forms will likely be available at the time of the Court’s
        judicial hearing to determine final approval of this settlement, and can be provided to
        your office at that time upon request.

        Attached to this letter as Exhibit A are recent census statistics for individuals and entities
        residing in or around the geographic areas specified in the Economic & Property
        Damages Settlement. As set forth in Exhibit A, the geographic areas covered include
        Alabama, Florida, Louisiana, Mississippi and Texas. The mere fact that a person or
        entity resides in one of the geographic areas does not by itself qualify such person or
        entity as an Economic & Property Damages Settlement class member.

        There may be some Economic & Property Damages Settlement class members that reside
        in states other than Alabama, Florida, Louisiana, Mississippi or Texas. The number of
        class members residing in any of these states cannot be determined with any level of
        accuracy. A reasonable estimate, however, is that a de minimus number of class
        members reside in states other than Alabama, Florida, Louisiana, Mississippi or Texas.

       Questions: If you have questions about this notice or the materials enclosed with this
        notice, please contact Richard C. Godfrey, P.C. (richard.godfrey@kirkland.com) with a
        cc to Joel A. Blanchet (joel.blanchet@kirkland.com) and Evan Saucier
        (evan.saucier@kirkland.com).




                                                  2
K&E 22306826
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                        BP DWH - Proposed Economic and Property Damages Settlement in MDL 2179
                                              CAFA Letter - Attachment A




                                   Number of            Number of natural
                                   Establishments       persons (census
                                   (census data)        data)
Total                                        2,597,128            19,186,907
Alabama                                        603,252             4,779,736
Florida (30 counties)                          942,994             6,245,987
Louisiana                                      618,358             4,533,372
Mississippi                                    356,662             2,967,297
Texas (4 counties)                               75,862              660,515



                        Establishment numbers are from the US Census
                        Bureau, County Business Patterns, 2009.

                        Population numbers are from the US Census
                        Bureau, County Population Estimates, April 1, 2010.

                        FL includes the following counties: Escambia, Santa
                        Rosa, Okaloosa, Walton, Bay, Gulf, Franklin,
                        Wakulla, Jefferson, Taylor, Dixie, Levy, Citrus,
                        Hernando, Pasco, Pinellas, Hillsborough, Manatee,
                        Sarasota, Charlotte, Lee, Collier, Monroe, Holmes,
                        Washington, Jackson, Calhoun, Liberty, Gadsden,
                        and Leon.

                        TX includes the following counties: Galveston,
                        Chambers, Jefferson, and Orange.
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          Attachment 3
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                                                                                                      PRESORTED
      Notice Administrator for U.S. District Court                                                FIRST-CLASS MAIL
      PO Box 1439                                                                                    U.S. POSTAGE
      Hammond, LA 70404-1439                                                                              PAID
                                                                                                  PHILADELPHIA PA
                                                                                                   PERMIT NO. 5634
      Return Service Requested




                                    DEEPWATER HORIZON

                                           Economic and
                                         Property Damages
                                            Settlement




99576A1a-#294-99573A1a-RO.indd 1                                                                            4/23/12 8:47 AM
                                                                                                          4/23/12 8:47 AM
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                                                                            If you had economic loss
                                                                                or property damage
                                                                           because of the Deepwater
                                                                           Horizon oil spill, you could
                                                                             get money from a class
                                                                                 action settlement.




                                                                                                          99576A1a-#294-99573A1a-RO.indd 2
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Notice Administrator for U.S. District Court
Post Office Box 1439
Hammond, LA 70404‐1439




An Economic & Property Damages Settlement has been reached related to the Deepwater Horizon
incident. The Settlement will provide payments to qualifying individuals and businesses that file valid
claims for economic and property damage. You are receiving this notice because you have been
identified as a possible member of the Economic and Property Damages Settlement Class. Please review
the enclosed notice about the Economic & Property Damages Settlement carefully.

If you are included in this Settlement, you have rights and options such as submitting a claim for
benefits, opting‐out of or objecting to the Settlement. A court hearing will be held on November 8, 2012
to consider whether the Settlement is fair, reasonable and adequate. The hearing may be moved to a
different date, time, or location without additional notice, so it is recommended that you periodically
check DeepwaterHorizonSettlements.com for updated information.

You need to submit a claim to request a payment. You can get a copy of the Claim Form by visiting the
website DeepwaterHorizonSettlements.com or by calling 1‐866‐992‐6174. If you have questions about
how to file your claim, you should call 1‐866‐992‐6174 for assistance.

Another settlement related to medical benefits claims has also been reached. It is possible to be a
member of both settlement classes. To get more information about either settlement, visit
DeepwaterHorizonSettlements.com or call 1‐866‐992‐6174.

Sincerely,

Notice Administrator




                     Para obtener una notificación en español, póngase en contacto con
                   nosotros o visite nuestro sitio web DeepwaterHorizonSettlements.com.

                       Ñeå ñöôïc thoâng baùo baèng tieáng Vieät, xin goïi ñieän thoaïi hoaëc vaøo
                               trang maïng DeepwaterHorizonSettlements.com.




  Questions? Visit DeepwaterHorizonSettlements.com or call 1‐866‐992‐6174.
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                UNITED STATES DISTRICT COURT EASTERN DISTRICT OF LOUISIANA

   If you had economic loss or property damage
    because of the Deepwater Horizon oil spill,
you could get money from a class action settlement.
             A federal court directed this Notice. This is not a solicitation from a lawyer.
    Two settlements—one for economic and property damage claims and another for medical claims—
     have been reached with BP Exploration & Production Inc. and BP America Production Company
     (“BP”) over the Deepwater Horizon oil spill.
    This Notice explains the Economic & Property Damages Settlement (“E&PD Settlement”).
    If you are included in the Economic & Property Damages Settlement, you may receive money if you
     have been damaged by the Deepwater Horizon oil spill in one or more of the following categories:
                  ■ Seafood Compensation                           ■ Vessels of Opportunity Charter Payment
                  ■ Economic Damage                                ■ Coastal Real Property Damage
                  ■ Loss of Subsistence                            ■ Wetlands Real Property Damage
                  ■ Vessel Physical Damage                         ■ Real Property Sales Damage
    There are geographic areas or “Zones” associated with several of these categories. The website
     DeepwaterHorizonSettlements.com has detailed descriptions and maps to help you determine
     whether a location may be included in one or more of these zones.
    With the exception of certain Seafood Compensation Program claims, eligible E&PD Settlement
     claims will be paid on a rolling basis and E&PD Settlement claimants may receive payments before
     the Court considers whether to grant final approval.
    If you are included in the E&PD Settlement (an “E&PD Class Member”), your legal rights are
     affected whether you act or not. Read this Notice carefully.

         E&PD CLASS MEMBERS’ LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

SUBMIT A CLAIM FORM                    The only way to request a payment under the E&PD Settlement.

EXCLUDE YOURSELF                       Get no benefits from the E&PD Settlement. Requesting exclusion
(OPT OUT)                              from this Settlement (also called “Opting Out”) would allow you to
                                       file or continue your own lawsuit against BP about the legal claims
                                       involved in this E&PD Settlement.

OBJECT                                 Write to the Court about why you do not like the E&PD Settlement.

GO TO A FAIRNESS HEARING               Ask to speak in Court about the fairness of the E&PD Settlement.

DO NOTHING                             Get no individual financial benefits from the E&PD Settlement.
                                       However, if you are an E&PD Class Member, the terms of the
                                       E&PD Settlement will still apply to you.

       These rights and options—and the deadlines to exercise them—are explained in this Notice.

      Q UESTIONS ? C ALL 1-866-992-6174 OR V ISIT D EEPWATER H ORIZON S ETTLEMENTS . COM
                 Si desea recibir esta notificación en español, llámenos o visite nuestra página web.
                  Ñeå ñöôïc thoâng baùo baèng tieáng Vieät, xin goïi ñieän thoaïi hoaëc vaøo trang maïng.
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              mind later?



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                                     BASIC INFORMATION
 1. Why is this Notice being provided?

You have a right to know about the proposed settlement of this class action lawsuit and about your
options relating to the proposed Settlement. This Notice explains the lawsuit, the E&PD Settlement,
your legal rights, what benefits are available, who may be eligible for those benefits, and how to get
them.

This Notice does not provide any information related to the Medical Benefits Settlement. For more
information about the Medical Benefits Settlement, and to determine whether your rights are affected by
that settlement, or whether you are eligible for benefits under that settlement, visit
DeepwaterHorizonSettlements.com, or call 1-866-992-6174.

Judge Carl J. Barbier of the United States District Court for the Eastern District of Louisiana is
overseeing this class action. The case is known as In re: Oil Spill by the Oil Rig "Deepwater Horizon"
in the Gulf of Mexico on April 20, 2010, MDL No. 2179. The people who started the lawsuit are called
“Plaintiffs,” and BP is among the companies being sued.
Capitalized terms are defined terms in the E&PD Settlement Agreement, which is available on the
website.
Do not call the Court or any Judge’s office to ask questions about the E&PD Settlement. If you
have questions or if you want more information, please visit DeepwaterHorizonSettlements.com or call
1-866-992-6174.

 2. What is this lawsuit about?

The lawsuit asserts certain economic loss and property damage claims arising out of the “Deepwater
Horizon Incident” (see Question 3) in the Gulf of Mexico beginning on April 20, 2010. The Plaintiffs
seek money and other relief for economic and property damage they allege was caused by the Deepwater
Horizon Incident. BP disputes and denies Plaintiffs’ claims in that lawsuit.

 3. What is the Deepwater Horizon Incident?

“Deepwater Horizon Incident” refers to the events, actions, inactions, and omissions leading up to and
including:
      The blowout of the MC252 Well (also known as the “Macondo well”) on April 20, 2010;
      The explosions and fire on board the Deepwater Horizon oil rig;
      The sinking of the Deepwater Horizon oil rig on April 22, 2010;
      The release of oil and other substances from the MC252 Well and/or the Deepwater Horizon oil
       rig and its appurtenances (equipment);
      The efforts to contain the MC252 Well;
      All “Response Activities” including the “Vessels of Opportunity” (“VoO”) program;
      The operation of the “Gulf Coast Claims Facility” (“GCCF”); and
      BP’s public statements relating to all of the above.




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 4. Why is this a class action?

In a class action, one or more “Class Representatives” sue on behalf of all those with the same types of
claims arising from the same events. Here, the Class Representatives are suing to obtain payments for a
class of individuals and businesses with specific types of claims for economic loss and property damage
arising from the Deepwater Horizon Incident. This class is called the “Economic & Property Damages
Settlement Class” or “E&PD Class” for short, and its members—those people and businesses who meet
the Class Definition—are the “E&PD Class Members.” Go to Question 10 to see if you are an E&PD
Class member. One court resolves the issues for all class members.

 5. Why is there a settlement?

The Court has not decided the case in favor of Plaintiffs or BP. Instead, after extensive, arm’s length
negotiations, the Plaintiffs and BP have agreed to settle this case to avoid the cost, delay, and risk of a
trial. The Class Representatives and their lawyers think the proposed E&PD Settlement is best for all
E&PD Class Members.

 6. Is the Economic & Property Damages Settlement part of the Gulf Coast Claims
 Facility (GCCF)?

No. The GCCF has been closed. The new Deepwater Horizon Court-Supervised Settlement Program
(“Settlement Program”) has been established under the E&PD Settlement. By the agreement of the
parties, the new program operates according to specific, agreed-upon rules and under the supervision of
the Court. If you had a claim rejected or denied by the GCCF, it will not affect your eligibility or right
to receive a payment under the E&PD Settlement. If you had a claim paid by the GCCF, and you did not
sign a release (see Question 8), you may still be eligible to receive a payment under the E&PD
Settlement.

 7. What happened to pending or unresolved GCCF claims?

All pending and unresolved GCCF claims, including all documents related to those claims, have been
transferred to the new Settlement Program. The Settlement Program is working on these claims under
the rules of the E&PD Settlement. If additional information is needed to process your claim, you will be
contacted. If you have a specific question about the status of a GCCF claim, you can call the Settlement
Program at 1-866-992-6174 for assistance.

 8. What if I received a GCCF final payment and signed a release?

If you made a claim to the GCCF, received payment for that claim, and signed a document called,
“Release and Covenant Not to Sue,” you are not eligible to receive money from most parts of the E&PD
Settlement. However, you may still be eligible to submit a VoO Charter Payment claim or a Vessel
Physical Damage claim (see the E&PD Settlement Claims Eligibility and Benefits Chart below for
details of VoO Charter Payments and Vessel Physical Damage claims.) You may also still be eligible to
participate in the separate Medical Benefits Settlement. If your GCCF claim and the “Release and
Covenant Not to Sue” related only to a bodily injury claim, you may still be able to participate in the
E&PD Settlement.



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    9. If I submitted a Short Form Joinder in the lawsuit, do I still need to file a claim?

Yes. Even if you submitted a special short form (“Short Form Joinder”) as part of the lawsuit against
BP, you still must submit a Claim Form and provide all required documentation to make a claim and
request payment from the Settlement Program (see Question 17).


                                    WHO IS IN THE SETTLEMENT
To see if you will be affected by the E&PD Settlement or if you can get a payment from it, you first have
to determine if you are an E&PD Class Member.

    10. Who is in the Economic & Property Damages Class?

The E&PD Class includes individuals, businesses, and other entities. The complete text of the E&PD
Class definition is in Section 1 of the E&PD Settlement Agreement. The Agreement and other materials
and information are available on the website, and by request. Please answer the series of questions
below to see if you may be an E&PD Class Member. The first set of questions is for individuals and the
second set of questions is for businesses and other entities. The definitions below will help you when
answering the questions.
    “Gulf Coast Areas” include the States of Louisiana, Mississippi, and Alabama; the counties of
     Chambers, Galveston, Jefferson, and Orange in the State of Texas; and the counties of Bay, Calhoun,
     Charlotte, Citrus, Collier, Dixie, Escambia, Franklin, Gadsden, Gulf, Hernando, Hillsborough,
     Holmes, Jackson, Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas,
     Santa Rosa, Sarasota, Taylor, Wakulla, Walton, and Washington in the State of Florida. “Gulf Coast
     Areas” also includes all adjacent Gulf waters, bays, estuaries, straits, and other tidal or brackish
     waters within the States of Louisiana, Mississippi, and Alabama, and those described counties of
     Texas or Florida.
    “Specified Gulf Waters” means the U.S. waters of the Gulf of Mexico and all adjacent bays,
     estuaries, straits, and other tidal or brackish waters within the Gulf Coast Areas.
    “Entity” means an organization or entity, other than a Governmental Organization, operating or
     having operated for profit or not-for-profit, including a partnership, a corporation, a limited liability
     company, an association, a joint stock company, a trust, a joint venture, or an unincorporated
     association of any kind or description.
    “Consumer” means a Natural Person or an Entity that buys any product for individual use or
     consumption and not for manufacture or resale.
    “End User” means a Natural Person or Entity that buys any product for his, her, or its individual use
     or consumption and not for manufacture or resale.




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Questions for Individuals                                                    Yes               No

Do you live in the U.S.?                                                     Continue to       You are not an
                                                                             next question.    E&PD Class
                                                                                               Member.

Did you live in, work in, were offered and accepted work in, own or lease    Continue to       You are not an
property in, or own, lease, or work on a vessel harbored or home-ported in   next question.    E&PD Class
the Gulf Coast Areas or Specified Gulf Waters at any time between April                        Member.
20, 2010, and April 16, 2012?
OR

Did you work on a vessel in Specified Gulf Waters at any time between
April 20, 2010 and April 16, 2012 that landed Seafood in the Gulf Coast
Areas after April 20, 2009?

                                                                             Continue to       You are not an
Do you have any economic loss arising out of the Deepwater Horizon
                                                                             next question.    E&PD Class
Incident?
                                                                                               Member.
OR

Was your real or personal property damaged as a result of the Deepwater
Horizon Incident?

                                                                             You may be an     You are not an
Do your claims for economic loss or property damage meet the descriptions of E&PD Class        E&PD Class
one or more of these categories:                                             Member.           Member.
(1) Seafood Compensation
                                                                             Continue to
(2) Economic Damage                                                          Eligibility and
(3) Loss of Subsistence                                                      Benefits Chart
                                                                             beginning on
(4) Vessels of Opportunity (“VoO”) Charter Payment                           page 11 of this
                                                                             Notice to
(5) Vessel Physical Damage
                                                                             determine
(6) Coastal Real Property Damage                                             whether you
                                                                             may be
(7) Wetlands Real Property Damage                                            eligible for a
(8) Real Property Sales Damage                                               payment.


Individuals may also be included in the Medical Benefits Settlement if they were Clean-Up Workers or
were residents in certain defined areas or “Zones.” More information on the Medical Benefits
Settlement is available on the website or by calling 1-866-992-6174.




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Questions for Businesses and Other Entities                                  Yes                No

(1) Did your business or Entity own, operate, or lease a physical facility   Continue to next   You are not an
or vessel in the Gulf Coast Areas or Specified Gulf Waters between           question.          E&PD Class
April 20, 2010 and April 16, 2012, and                                                          Member.
         Sell products in the Gulf Coast Areas or Specified Gulf Waters:
         (a) directly to Consumers or End Users of those products; or
         (b) to another Entity that sold those products to Consumers or
         End Users of those products?
                                   or
         Regularly purchase Seafood harvested from Specified Gulf
         Waters in order to produce goods for resale?
                                   OR
(2) Was your business or Entity a service business with one or more full-
time employees (including owner-operators) who performed full-time
services while physically present in the Gulf Coast Areas or Specified
Gulf Waters between April 20, 2010 and April 16, 2012?
                                   OR
(3) Did your business or Entity own, operate, or lease a vessel that (a)
was home ported in the Gulf Coast Areas at any time from April 20,
2010 to April 16, 2012, or (b) landed Seafood in the Gulf Coast Areas at
any time from April 20, 2009 to April 16, 2012?
                                   OR
(4) Did your business or Entity own or lease real property in the Gulf
Coast Areas between April 20, 2010 and April 16, 2012?

                                                                           You may be an        You are not an
Do your business’s or Entity’s claims for economic loss or property damage E&PD Class           E&PD Class
meet the descriptions one or more of these categories:                     Member.              Member.
(1) Seafood Compensation
                                                                           Continue to
(2) Economic Damage                                                        Eligibility and
(3) Vessels of Opportunity (“VoO”) Charter Payment                         Benefits Chart
                                                                           beginning on page
(4) Vessel Physical Damage                                                 11 of this Notice
                                                                           to determine
(5) Coastal Real Property Damage
                                                                           whether you may
(6) Wetlands Real Property Damage                                          be eligible for a
                                                                           payment.
(7) Real Property Sales Damage




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 11. Are there exceptions to being included in the Economic & Property Damages
 Class?

Yes. The following individuals and entities are excluded from the E&PD Class:
       Anyone who excludes themselves from (“Opts Out” of) the E&PD Class;
       Defendants in MDL 2179 and certain current and former employees of BP and other Defendants
        in MDL 2179;
       The Court, including any sitting judges on the United States District Court for the Eastern
        District of Louisiana, their law clerks serving during the pendency of this lawsuit, and members
        of any such judge’s or current law clerk’s immediate family;
       Governmental Organizations; and
       Individuals and Entities that received a payment from the GCCF and signed a “Release and
        Covenant Not To Sue” (although these Individuals and Entities may still make a VoO Charter
        Payment claim or a Vessel Physical Damage claim). See Questions 6-8.

In addition, the following types of Entities and their employees are excluded, to the extent these Entities
and/or their employees claim economic losses based on their employment by such Entity:
       Certain Financial Institutions;
       Certain Funds, Trusts, and Other Financial Vehicles;
       Certain Gaming Entities;
       Certain Insurance Entities;
       Certain Oil & Gas Industry Entities;
       Certain Defense Contractors;
       Certain Real Estate Developers; and
       Any Entity selling or marketing BP-branded fuel, including jobbers and branded dealers.
Individuals and Entities in these above-listed industries may be eligible for payments under certain
categories of economic losses not related to these industries, such as Coastal Real Property Damage and
Wetlands Real Property Damage. See the Settlement Agreement or call 1-866-992-6174 for more
information.

The following claims are also not included in the E&PD Settlement:
       Bodily Injury Claims;
       BP Shareholder Claims;
       Moratoria Loss Claims;
       Claims relating to menhaden (or “pogy”) fishing, processing, selling, catching, or harvesting;
       Claims for Economic Damage by Entities or Individuals based on employment in the Banking,
        Gaming, Financial, Insurance, Oil & Gas, Real Estate Development, and Defense Contractor
        industries, as well as Entities selling or marketing BP-branded fuel (including jobbers and
        branded dealers); and
       Claims for punitive damages against Halliburton and Transocean. See Question 21.
You may still pursue these claims and remain an E&PD Class Member without Opting Out.

The full description of the Entities, individuals, and claims that are excluded from the E&PD Class can
be found on the website or by calling 1-866-992-6174.




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 12. How do I know if I am eligible to receive a payment from the Economic & Property
 Damages Settlement?

There are separate eligibility rules for each of the claim categories in the E&PD Settlement. The
Settlement Claims Eligibility and Benefits Chart beginning on page 11 of this Notice illustrates who may
be eligible to receive a payment in each category. A number of these categories include geographic
zones. Visit the website to review detailed zone maps.

 13. Does the Economic & Property Damages Settlement cover claims for medical
 benefits?

No. The E&PD Settlement does not include claims for medical benefits. If you suffer from medical conditions
arising out of the Deepwater Horizon Incident, you may also be eligible to participate in the Medical Benefits
Settlement. More information about the Medical Benefits Settlement is available on the website or by calling
1-866-992-6174.

 14. What if I’m still not sure whether I am included in the Economic & Property
 Damages Settlement?

If you are not sure whether you are in the E&PD Class, or have any other questions about the E&PD
Settlement, visit the website at or call the toll-free number, 1-866-992-6174. You may also write with
questions to Deepwater Horizon Court-Supervised Settlement, PO Box 1439, Hammond, LA 70404-
1439 or send an e-mail to questions@DeepwaterHorizonEconomicSettlement.com.

 15. What happens if I am not included in the Economic & Property Damages
 Settlement?

If you are not an E&PD Class Member, you are not included in the E&PD Settlement. However, you
may still be included in the Medical Benefits Settlement (see Question 13). Also, if you are not included
in the E&PD Settlement, you may file an Oil Pollution Act claim with BP directly. You can get more
information about filing an Oil Pollution Act claim directly with BP by visiting www.bp.com/claims or
calling 1-855-687-2631.




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E&PD SETTLEMENT CLAIMS ELIGIBILITY AND BENEFITS CHART
   Claim
  Category                             Eligibility Requirements                                                          Potential Benefits
Seafood        Claims for economic loss related to Seafood can be made by Individuals      BP will pay for economic loss related to Seafood under the Seafood
Compensation   and Entities that qualify as Commercial Fishermen, Seafood Boat Captains,   Compensation Program under a process approved by the Court-appointed
Claim          Seafood Crew (including first mates, second mates, boatswains, and          Neutral. The Seafood Compensation Program is estimated to result in claims
               deckhands), Oyster Leaseholders, and Seafood Vessel Owners. Claims          payments totaling $1.9 billion of the $2.3 billion in the Program. There may be
               may be submitted in the following categories:                               a later distribution of the balance. The distribution of any such balance may be
                                                                                           affected by the number of other qualified participants in the Seafood Program.
                    Shrimp (Vessel Owner, Commercial Fisherman Vessel Lessee, Boat
                     Captain claims);                                                      The payment amount for Seafood Compensation claims varies depending on the
                    Oyster (including leaseholder interest and lost income claims)        type of claimant, the Seafood category, and the type of proof provided.
                     (Leaseholder, Vessel Owner, Commercial Fisherman Vessel Lessee,       Boat Captains, Vessel Owners/Lessees, and Oyster Leaseholders can choose
                     Boat Captain claims);                                                 between two payment methods: a revenue-based model based on tax returns,
                    Finfish (Vessel Owner, Commercial Fisherman Vessel Lessee, Boat       trip tickets, and the equivalent; or an accelerated model based on more easily-
                     Captain, Individual Fishing Quota (“IFQ”) holder claims);             provided proof like vessel size or oyster leasehold acres.
                    Blue Crab and Other Fish (Vessel Owner, Commercial Fisherman
                     Vessel Lessee (including crab trap damage), Boat Captain claims);     Any money previously received from BP or the GCCF for spill-related Seafood
                     and                                                                   claims (excluding VoO claims) will be deducted from the Settlement payment.
                    Seafood Crew (excluding Boat Captains)                                An RTP* multiplier may be applied to payments for all claim categories other
               Claimants may seek compensation under more than one Seafood                 than IFQ holders and certain Seafood Crew.
               Compensation claim category.                                                All Seafood Compensation claims will be paid as they are received and
               The Seafood Compensation claim deadline is earlier than the claim           approved, except for some Seafood Crew claims that will be determined after
               deadline for all other claims in the E&PD Settlement. The deadline to       the Seafood Compensation claim deadline and paid as soon as possible by the
               submit a Seafood Compensation Claim Form is 30 days after entry and         Claims Administrator.
               judgment of the Court’s final approval of the E&PD Settlement. The exact    You may be eligible for an additional payment if there is any money left over in
               date of the claim deadline will be posted on the website.                   the Seafood Compensation Program after all claims are paid in full. However,
               For more details on the Seafood Compensation Program, please visit the      the extent to which you may share in any Seafood Compensation Program
               Settlement website or call 1-866-992-6174.                                  reserve will depend on the number of other qualified participants in the Seafood
                                                                                           Compensation Program.




     *
      The “Risk Transfer Premium” (“RTP”) increases the payment amount for certain E&PD Class Members whose losses could be recurring, to account for the risk
     of future economic losses related to the Deepwater Horizon Incident. The E&PD Settlement specifies RTPs applicable to certain types of industries or claims.

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Economic       Claims for economic damage can be made by Individuals and Entities in              In general, the payment amount for Economic Damage claims is calculated
Damage         certain industries or geographic zones that lost profits or earnings as a result   by comparing actual post-spill earnings to the earnings that might have been
Claim          of the Deepwater Horizon Incident.                                                 expected in that post-spill period. There are also considerations for
                                                                                                  specialized circumstances, such as start-up businesses, failed businesses,
               Depending on their industry or geographic zone, some Individuals and
                                                                                                  multi-facility businesses, new entrants to employment, and festival vendors.
               Entities may need to provide evidence that their economic losses were caused
               by the Deepwater Horizon Incident.                                                 An RTP* multiplier will be applied to the payments for some types of
                                                                                                  Economic Damage claims.
               For more details on eligible Economic Damage claims, please visit the
               website, or call 1-866-992-6174.                                                   Any money previously received from BP or the GCCF for the same economic
                                                                                                  loss will be deducted from the Settlement payment.

Loss of        Claims for loss of subsistence can be made by Individuals who fished or            Payments will be based on the retail value of the Seafood and Game lost
Subsistence    hunted in certain geographic regions to harvest, catch, barter, consume, or        between April 20, 2010 and December 31, 2011.
Claim          trade Gulf of Mexico natural resources, including Seafood and Game, in a
               traditional or customary manner to sustain their basic or family dietary,          An RTP* multiplier will be applied to payments for Loss of Subsistence
               economic security, shelter, tool or clothing needs, and who relied upon            claims, in part to account for the damage to subsistence family and
               subsistence resources that were diminished or restricted in the geographic         community customs and culture.
               region used by the individual due to the Deepwater Horizon Incident.
               Those who fish or hunt solely for pleasure or sport are not eligible to make
               claims for subsistence, regardless of whether or not they consume their catch.

VoO Charter    Claims for economic loss caused by participation in the VoO program                For claimants who were dispatched or asked to perform work in the VoO
Payment        (regardless of whether dispatched or asked to perform work) can be made by         program, payment amounts will range from $41,600 to $88,400, depending
Claim          those who:                                                                         on vessel length.
                     Registered to participate in the VoO program;                               For claimants who completed the initial VoO training program but were never
                     Executed a VoO Master Vessel Charter Agreement; and                         dispatched or asked to perform work in the VoO program, payment amounts
                     Completed the initial VoO training program.                                 will range from $4,800 to $10,200, depending on vessel length.

Vessel         Individuals and Entities who were owners of an eligible vessel between April       Qualifying claimants will receive the reasonable and necessary costs to repair
Physical       20, 2010 and December 31, 2011 may recover for physical damage resulting           or replace an eligible vessel, whichever is lower.
Damage         from the Deepwater Horizon Incident or certain response clean-up operations,
Claim          including the cost of removal of equipment or rigging added to an eligible
               vessel as part of response activities.
               Payment is not available to claimants who:


      *
       The “Risk Transfer Premium” (“RTP”) increases the payment amount for certain E&PD Class Members whose losses could be recurring, to account for the risk
      of future economic losses related to the Deepwater Horizon Incident. The E&PD Settlement specifies RTPs applicable to certain types of industries or claims.

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                      Signed a Receipt and Release Letter Agreement for damage
                       reimbursement as part of the VoO program; or
                      Sustained damage to vessels while working for any oil spill response
                       organization or an oil spill removal organization (other than the VoO
                       program, federally-ordered cleanup operations, or other cleanup
                       operations consistent with the National Contingency Plan).
Coastal Real    Individuals and Entities who owned or leased coastal real property or boat        Payment amounts range from 30% to 45% of the 2010 County Appraised
Property        slips located in certain geographical areas at any time from April 20, 2010 to    Value of the parcel multiplied by 1.18%. For example, if a parcel's 2010
Damage          December 31, 2010, can make claims for damage to that property.                   County Appraised Value is $350,000, the payment amount would range from
Claim                                                                                             $1,239 to $1,859. The Settlement Agreement describes how the 2010 County
                In addition, for coastal real property located in certain geographic areas,
                                                                                                  Appraised Value is determined for parcels in each county in the Gulf Coast
                owners of real or personal property that was physically damaged in
                                                                                                  Areas (see Settlement Agreement at Exhibit 11A, Section 2(D)).
                connection with the Deepwater Horizon Incident response clean-up
                operations can make claims for Physical Damage.                                   An RTP* multiplier will be applied to payments for Coastal Real Property
                                                                                                  Damage claims.
                                                                                                  Payment for Response Operations Physical Damage is equal to the cost to
                                                                                                  either repair or replace the damaged property, whichever is lower.

Real Property   Real Property Sales Damage claims can be made by sellers of residential           Payment amounts will include 12.5% of the sale price of the qualifying
Sales Damage    property located in certain geographic areas if:                                  residential property, less any prior compensation that the claimant previously
Claim                                                                                             received from BP or the GCCF in connection with the same property.
                       The seller owned the property on April 20, 2010; and
                       The sale of the property closed between April 21, 2010 and December       For shared properties, this amount will be divided based on the claimant’s
                        31, 2010. The sales contract must have been: (1) executed on or after     ownership interest.
                        April 21, 2010, or (2) executed before April 21, 2010, but subject to a
                        price reduction due to the Deepwater Horizon Incident.
                Transfers of residential real property from borrowers to lenders as part of a
                foreclosure process are not included.
Wetlands        Individuals and Entities who owned wetlands real property located in certain      Payments will range between $4,500 and $25,000 per acre of certain
Real Property   geographic areas at any time between April 20, 2010 and April 16, 2012, can       shoreline or buffer areas based on whether the presence of oil was observed
Damage          make claims for Wetlands Real Property Damage.                                    by various official assessments.
Claim
                In addition, owners of real or personal property, on wetlands real property       Payment for Physical Damage is equal to the cost to either repair or replace
                located in certain geographic areas that was physically damaged by the            the damaged property, whichever is lower.
                Deepwater Horizon Incident response cleanup operations, can make claims
                for Physical Damage.


      *
       The “Risk Transfer Premium” (“RTP”) increases the payment amount for certain E&PD Class Members whose losses could be recurring, to account for the risk
      of future economic losses related to the Deepwater Horizon Incident. The E&PD Settlement specifies RTPs applicable to certain types of industries or claims.

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            HOW TO REQUEST A PAYMENT—SUBMITTING A CLAIM FORM
 16. How much will an eligible Economic & Property Damages Class Member receive?

The amount of your payment will be based on the type of claim you have (see E&PD Settlement Claims
Eligibility and Benefits Chart beginning on page 11 of this Notice). Complete information on all of the
E&PD Settlement benefits is available on the website.
If you receive a payment for an Economic Damage or Seafood Compensation claim, you may also be
eligible for payment of specified professional accounting services used to prepare your claim under a
reimbursement framework. Visit the website for information on the accounting services reimbursement
process.
If you have questions about how the value of your potential claim will be determined, you can call
1-866-992-6174 for assistance.

 17. How do I submit a Claim Form to request payment?

If you are an E&PD Class Member, you must complete and submit a Claim Form to request a payment.
Each claim category has its own specific Claim Form with detailed instructions, including the types of
supporting documentation required. A Claim Form package is available on the website, or can be sent to
you by mail by calling 1-866-992-6174.
To submit a Claim Form, you must mail it to the address below or file your Claim online on the website.
If you have questions about how to file your claim, you should call 1-866-992-6174 for assistance.
The address for mailing your Claim Form(s) is:
                    Deepwater Horizon Court-Supervised Settlement
                    PO Box 1439
                    Hammond, LA 70404-1439
Claim Offices will also be open across the Gulf Coast to help Class Members file claims. Please visit
the website or call 1-866-992-6174 for the location of the Claim Offices.
You may be eligible to file a claim under more than one category. You do not need to submit your
claims under all categories at one time. However, once you receive your first payment under the
Settlement Program, you must file any and all additional claims within six months from the date of that
first payment.
The deadline to submit all Seafood Compensation Claim Forms is 30 days after entry and judgment of the
Court’s final approval. This deadline is earlier than the claims deadline for all other claims in the E&PD
Settlement. The exact date of the claim filing deadline will be posted on the website.
The deadline for filing a Claim Form for all claims other than Seafood Compensation claims is April 22,
2014, or six months after the E&PD Settlement becomes effective (that is, after the Court grants “final
approval” and any appeals are resolved), whichever date is later. The exact date of the claim filing
deadline will be posted on the website. It is highly recommended that E&PD Class Members complete
and submit their Claim Form promptly. If you do not submit a Claim Form on time you will lose the
opportunity to apply for a payment from the E&PD Settlement.




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 18. Do I need to submit supporting documentation?

Yes. You will need to include certain supporting documents for your claim to be accepted. Please read
the Claim Form instructions carefully. If you have any questions about preparing the Claim Form, call
1-866-992-6174.

 19. What if my claim is denied or I am not satisfied with my payment?

The E&PD Settlement provides a process to resolve disagreements about how much money you should
get. You will get further details in the letter you receive after your claim has been processed. If your
claim is denied, or if you are not satisfied with the amount of your payment, you may file an appeal. In
cases of an award above $25,000, BP also has the right to appeal. The website will have an appeal form
and further explanation of the appeals process. Please note that there is no appeals process for some
Seafood Compensation claims.

 20. When will I get my payment?

In general, valid claims will be paid as they are received and approved, except for certain Seafood
Compensation claims. Certain Seafood Crew claims for Seafood Compensation will be paid after the
Seafood Compensation claim deadline, after all such Seafood Crew claims have been processed.

 21. What other benefits does the Economic & Property Damages Settlement provide?

The E&PD Settlement includes the creation of a new $57 million fund to promote tourism and the
seafood industry in Gulf Coast areas affected by the Deepwater Horizon Incident.
In addition, BP is giving to the E&PD Class the right to pursue certain claims against Transocean and
Halliburton for the benefit of the E&PD Class. If successful, any proceeds from such claims will be used
for the benefit of the class in a manner to be approved by the Court.

 22. What am I giving up to get a payment?

If you accept a payment in the E&PD Settlement, you will give up your right to sue BP or the Released
Parties (identified in Section 10 of the Settlement Agreement) regarding all of the claims resolved by the
E&PD Settlement, as described more fully in Section 10 of the E&PD Settlement Agreement.
However, you will NOT give up your right to sue BP or any of the Released Parties for any other claims
(that is, any claims that were not resolved by the E&PD Settlement.
The full text of the Settlement Agreement is available on the website. The Settlement Agreement
describes the released claims with specific descriptions in legal terminology, so read it carefully. If
you have any questions about the released claims and what they mean, you can talk to the law firms
representing the E&PD Class, listed in Question 30 below, for free; or you can, at your own expense, talk
to your own lawyer.




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    EXCLUDING YOURSELF FROM THE ECONOMIC & PROPERTY DAMAGES CLASS
If you do not want to participate in the E&PD Settlement and you want to keep all of your rights to sue
BP and any of the Released Parties about the claims being resolved in the E&PD Settlement, then you
must take steps to get out of the E&PD Class. This is called asking to be excluded from, or sometimes
called “Opting Out” of, the class.

 23. If I do not want to participate in the Economic & Property Damages Settlement,
 what must I do?

To exclude yourself or your Entity from (or Opt Out of) the E&PD Class, you must mail in a written
request stating “I wish to be excluded from the Economic & Property Damages Class.” Your written
request must also include your printed name, address and phone number, and must be signed by you.

You must mail your written request postmarked by October 1, 2012, to:
                   Deepwater Horizon Court-Supervised Settlement
                   Exclusions Department
                   PO Box 222
                   Hammond, LA 70404-0222
You cannot ask to be excluded from the E&PD Settlement on the phone, by email, or on the website.

If you choose to Opt Out of the Economic Class, you must Opt Out for all claims you have that are
included in the E&PD Settlement.

You do not have to Opt Out of the E&PD Settlement in order to preserve or pursue these Reserved
Claims:
      Bodily Injury Claims;
      BP Shareholder Claims;
      Moratoria Loss Claims;
      Claims arising from the fishing, processing, selling, catching, or harvesting of menhaden or
       “pogy” fish;
      Certain Oil & Gas Industry Claims;
      Certain Gaming Industry Claims;
      Certain Banking, Financial and/or Insurance Industry Claims;
      Economic Damage claims based on employment in the following industries:
           o Banking, Financial and/or Insurance;
           o Oil & Gas;
           o Gaming;
      Claims for punitive damages against Halliburton and Transocean.




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 24. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself from the E&PD Settlement, you will not be able to make a claim to receive
any payment under the E&PD Settlement, and you cannot object to the proposed E&PD Settlement. If
you exclude yourself, however, you may sue or be part of a different lawsuit against BP in the future.
You will not be bound by anything that happens in this lawsuit.

 25. If I exclude myself from the Economic & Property Damages Settlement, can I still
 make an Oil Pollution Act claim with BP directly?

Yes. Individuals, businesses, and Entities that exclude themselves from the E&PD Settlement may file Oil
Pollution Act (“OPA”) claims directly with BP. You can get more information about filing an Oil
Pollution Act claim directly with BP by visiting www.bp.com/claims or calling 1-855-687-2631.

 26. If I do not exclude myself, can I sue BP later?

No. If you are an Economic & Property Damages Class Member and you do not exclude yourself, you
give up the right to sue BP or any of the Released Parties for the claims that the E&PD Settlement
resolves. You can still pursue the Reserved Claims listed in Question 23.

27. If I exclude myself from the Economic & Property Damages Settlement, can I
 change my mind later?

Yes. You have the right to request to withdraw (“revoke”) your decision to Opt Out of the E&PD
Settlement as long as you do it by November 5, 2012, as described more fully in Section 8 of the E&PD
Settlement Agreement. In some cases you may be able to revoke your request to Opt Out of the E&PD
Settlement after November 5, 2012, but BP must agree to any request received after this date and there is
no guarantee they will do so. Please visit the website or call 1-866-992-6174 for details about how to
revoke an Opt Out.

                              OBJECTING TO THE SETTLEMENT
 28. How do I tell the Court if I do not like the Economic & Property Damages
 Settlement?

Only an E&PD Class Member can object to the E&PD Settlement. If you are an E&PD Class Member,
you can object to the E&PD Settlement if you do not like all or some part of it. To object, send a letter
explaining your objection to the proposed Economic & Property Damages Settlement in In re: Oil Spill
by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico on April 20, 2010, MDL No. 2179. Your
objection letter must include:
    1) A detailed statement of each objection being made, including the specific reasons for each
       objection, and any evidence or legal authority to support each objection;
    2) Your name, address, and telephone number;
    3) Written evidence establishing that you are an E&PD Class Member, such as proof of residency,
       proof of ownership of property, proof of employment, and/or proof of business incorporation and
       operation; and
    4) Any supporting papers, materials, or briefs that you want the Court to consider when reviewing
       the objection.


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An E&PD Class Member may also object through an attorney hired at his, her, or its own expense. The
attorney will have to file a notice of appearance with the Court by August 31, 2012, and serve a copy of
the notice and the objection containing the information detailed above on E&PD Class Counsel and BP’s
Counsel by August 31, 2012.
Objections must be sent by first class mail to each of the following addresses postmarked by August 31,
2012. Objections submitted after this date will not be considered.

   ECONOMIC & PROPERTY
    DAMAGES LEAD CLASS                 DEFENDANTS’ COUNSEL                           COURT
        COUNSEL

 James Parkerson Roy                Richard C. Godfrey, P.C.            Clerk of Court
 Attn: Deepwater Horizon E&PD       Attn: Deepwater Horizon E&PD        United States District Court for the
 Settlement                         Settlement                          Eastern District of Louisiana
 Domengeaux Wright Roy &            Kirkland & Ellis LLP                500 Poydras Street
 Edwards                            300 North LaSalle Street            New Orleans, LA 70130
 556 Jefferson St., Suite 500       Chicago, IL 60654
 P.O. Box 3668
 Lafayette, LA 70501
 Stephen J. Herman
 Attn: Deepwater Horizon E&PD
 Settlement
 Herman Herman Katz & Cotlar LLP
 820 O’Keefe Avenue
 New Orleans, LA 70113


Do not call the Court or any Judge’s office to object to the E&PD Settlement. If you have questions,
please visit DeepwaterHorizonSettlements.com or call 1-866-992-6174.


 29. What is the difference between objecting to, and asking to be excluded from, the
 Economic & Property Damages Settlement?

Objecting is simply telling the Court that you do not like something about the E&PD Settlement. You
can object only if you stay in the E&PD Class. Excluding yourself, also called Opting Out, is telling the
Court that you do not want to be part of the E&PD Class. If you exclude yourself, you cannot object to
the E&PD Settlement and you will not be eligible to apply for a payment under the E&PD Settlement.

                             THE LAWYERS REPRESENTING YOU
 30. Do I have a lawyer in this case?

The Court has appointed Stephen J. Herman (Lead Class Counsel), James Parkerson Roy (Lead Class
Counsel), Brian H. Barr, Jeffery A. Breit, Elizabeth J. Cabraser, Philip F. Cossich, Jr., Robert T.
Cunningham, Alphonso Michael Espy, Calvin C. Fayard, Jr., Robin L. Greenwald, Ervin A. Gonzalez,
Rhon E. Jones, Matthew E. Lundy, Michael C. Palmintier, Joseph F. Rice, Paul M. Sterbcow, Scott
Summy, Mikal C. Watts and Conrad S. P. Williams as “Economic & Property Damages Class Counsel”
to represent the E&PD Class Members. You will not be charged for these lawyers. If you want to be
represented by your own lawyer in this case, you may hire one at your own expense.


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 31. How will the lawyers be paid?

E&PD Class Counsel will ask the Court to consider an award of attorneys’ fees, costs, and expenses
incurred for the benefit of the entire class, including an interim payment of $75 million and additional
awards equal to 6% of class claims and benefits paid. Class Counsel fees, costs and expenses under the
Economic and Property Damages Settlement Agreement and the Medical Settlement Agreement jointly
cannot exceed $600 million.
Class members’ payments will not be reduced if the Court approves the payment of Class Counsel fees,
costs, and expenses described above because BP will separately pay these attorney fees, costs, and
expenses.

                               THE COURT’S FAIRNESS HEARING
 32. When and where will the Court decide whether to approve this Economic &
 Property Damages Settlement?

The Court will hold a Fairness Hearing at 8:30 a.m. on November 8, 2012, at the United States District
Court for the Eastern District of Louisiana, Court Room No. C268, 500 Poydras Street, New Orleans, LA
70130. At the Fairness Hearing, the Court will consider whether the proposed E&PD Settlement is fair,
reasonable, and adequate. The Court will also consider Class Counsel’s request for fees, costs and
expenses described in Question 31.
If there are objections to the E&PD Settlement, the Court will consider them. After the Fairness Hearing,
the Court will decide whether to approve the E&PD Settlement and how much to award to Economic &
Property Damages Class Counsel as fees, costs and expenses.
The Fairness Hearing may be moved to a different date, time, or location without additional notice, so it is
recommended that you periodically check the website for updated information.

 33. Do I have to come to the Fairness Hearing?

No. E&PD Class Counsel will answer any questions the Court may have. However, you are welcome to
attend the hearing at your own expense. If you send in a written objection, you do not have to come to the
Fairness Hearing to talk about it. As long as you mailed your written objection on time, the Court will
consider it.
If you, or an attorney you have hired at your own expense, wish to speak at the Fairness Hearing, you
must by August 31, 2012, file with the Court and send by first-class mail to E&PD Class Counsel and
BP’s Counsel at the addresses listed in Question 28, a written notice of your intention to speak at the
Fairness Hearing. Be sure to include your name, address, telephone number, and your signature.
Do not call the Court or any Judge’s office to get more information about the E&PD Settlement.
If you have questions, please visit the website or call 1-866-992-6174.




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                                       IF YOU DO NOTHING
 34. What happens if I do nothing?

If you are an E&PD Class Member and do nothing, you will not get a payment from this E&PD
Settlement. And, unless you exclude yourself, you will not be able to start a lawsuit, continue with a
lawsuit, or be part of any other lawsuit against BP or the Released Parties about the claims being released
by the E&PD Settlement.
However, even if you take no action, you will keep your right to sue BP or any of the Released Parties for
any other claims not resolved by the E&PD Settlement. These “Reserved Claims” are listed under
Question 23 and are described in the E&PD Settlement Agreement and on the website.

                                 GETTING MORE INFORMATION
 35. How do I get more information?

This Notice summarizes the proposed E&PD Settlement. More details are in the E&PD Settlement
Agreement. You can get a copy of the E&PD Settlement Agreement on the website. You also may write
with questions to Deepwater Horizon Court-Supervised Settlement, PO Box 1439, Hammond, LA 70404-
1439 or send an e-mail to questions@DeepwaterHorizonEconomicSettlement.com. You can get a Claim
Form on the website, or have a Claim Form mailed to you by calling 1-866-992-6174.
Do not call the Court or any Judge’s office to get more information about the E&PD Settlement.
If you have questions, please visit the website or call 1-866-992-6174.




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Zone Overview Maps


The following maps provide an overview of geographic “Zones” included in the Economic and Property
Damages Settlement. Visit the Settlement website to access detailed maps and related descriptions.
The website also has an online mapping tool to help you determine whether a geographic location may
be included in one or more of these Zones.

                                 Economic Loss
Texas and Louisiana




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  1
 Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 62 of 224
Deepwater Horizon Court‐Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps

                                 Economic Loss
Mississippi and Alabama




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  2
 Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 63 of 224
Deepwater Horizon Court‐Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps

                                 Economic Loss
Florida




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  3
 Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 64 of 224
Deepwater Horizon Court‐Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps

             Coastal Real Property Damage and
               Real Property Sales Damage
Louisiana




Mississippi and Alabama




Florida Panhandle




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  4
 Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 65 of 224
Deepwater Horizon Court‐Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps

               Wetlands Real Property Damage
Louisiana Western




Louisiana Eastern




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  5
 Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 66 of 224
Deepwater Horizon Court‐Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps

                                       Specified Gulf Waters




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  6
  Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 67 of 224
Deepwater Horizon Court-Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps


The following maps provide an overview of geographic “Zones” included in the Economic and Property
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The website also has an online mapping tool to help you determine whether a geographic location may
be included in one or more of these Zones.

                                 Economic Loss
Texas and Louisiana




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  1
  Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 68 of 224
Deepwater Horizon Court-Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps



                                 Economic Loss
Mississippi and Alabama




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  2
  Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 69 of 224
Deepwater Horizon Court-Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps



                                 Economic Loss
Florida




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  3
  Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 70 of 224
Deepwater Horizon Court-Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps



             Coastal Real Property Damage and
               Real Property Sales Damage
Louisiana




Mississippi and Alabama




Florida Panhandle




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  4
  Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 71 of 224
Deepwater Horizon Court-Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps



               Wetlands Real Property Damage
Louisiana Western




Louisiana Eastern




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  5
  Case 2:10-md-02179-CJB-DPC
Economic    and Property Damages Settlement Document 7110-1 Filed 08/13/12 Page 72 of 224
Deepwater Horizon Court-Supervised Settlement Program
In re: Oil Spill by the Oil Rig "Deepwater Horizon" in Gulf of Mexico on April 20, 2010, MDL 2179

Zone Overview Maps



                                       Specified Gulf Waters




 Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174
                                                  6
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          Attachment 4
                           Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 74 of 224


                                                                                                      PRESORTED
      Notice Administrator for U.S. District Court                                                FIRST-CLASS MAIL
      PO Box 1439                                                                                    U.S. POSTAGE
      Hammond, LA 70404-1439                                                                              PAID
                                                                                                  PHILADELPHIA PA
                                                                                                   PERMIT NO. 5634
      Return Service Requested

      IMPORTANT UPDATE: Revised Notice on Economic and Property Damages Settlement




                                    DEEPWATER HORIZON

                                           Economic and
                                         Property Damages
                                            Settlement




99752A2a-#294-99576A1a-RO.indd 1                                                                           5/22/12 12:41 PM
                                                                                                          5/22/12 12:41 PM
Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 75 of 224




                                                                            If you had economic loss
                                                                                or property damage
                                                                           because of the Deepwater
                                                                           Horizon oil spill, you could
                                                                             get money from a class
                                                                                 action settlement.




                                                                                                          99752A2a-#294-99576A1a-RO.indd 2
    Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 76 of 224



Notice Administrator for U.S. District Court
Post Office Box 1439
Hammond, LA 70404-1439




A Notice of an Economic & Property Damages Settlement (“E&PD Settlement”) related to the
Deepwater Horizon incident was recently mailed to you. An error in that document has been identified
and corrected.

In the Coastal Real Property Damage Claim section on page 13, the description of potential benefits has
been modified. The description of potential benefits related to Coastal Real Property Damage now is:

          Payment amounts range from 30% to 45% of the 2010 County Appraised Value of the parcel
          multiplied by 1.18%. For example, if a parcel's 2010 County Appraised Value is $350,000,
          the payment amount would range from $1,239 to $1,859. The Settlement Agreement
          describes how the 2010 County Appraised Value is determined for parcels in each county in
          the Gulf Coast Areas (see Settlement Agreement at Exhibit 11A, Section 2(D)).
          An RTP* multiplier will be applied to payments for Coastal Real Property Damage claims.
          Payment for Response Operations Physical Damage is equal to the cost to either repair or
          replace the damaged property, whichever is lower.

A revised Notice is also enclosed.

You need to submit a claim to request a payment. You can get a copy of the Claim Form by visiting the
website DeepwaterHorizonSettlements.com or by calling 1-866-992-6174. If you have questions about
how to file your claim or other questions about the Settlement, please call 1-866-992-6174 for
assistance.

Sincerely,

Notice Administrator

                          Para obtener una notificación en español, póngase en contacto con
                        nosotros o visite nuestro sitio web DeepwaterHorizonSettlements.com.

                             Ñeå ñöôïc thoâng baùo baèng tieáng Vieät, xin goïi ñieän thoaïi hoaëc vaøo
                                     trang maïng DeepwaterHorizonSettlements.com.


    Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174.


*
  The “Risk Transfer Premium” (“RTP”) increases the payment amount for certain E&PD Class Members whose losses could be
recurring, to account for the risk of future economic losses related to the Deepwater Horizon Incident. The E&PD Settlement specifies
RTPs applicable to certain types of industries or claims.
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          Attachment 5
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From:                           deepwaterhorizoneconomicsettlement
Sent:                           Friday, May 25, 2012 3:58 PM
To:
Subject:                        Court-Directed Legal Notice about Deepwater Horizon Economic and Property
                                Damages Settlement


Para obtener una notificación en español, póngase en contacto con nosotros o visite nuestro sitio web
DeepwaterHorizonSettlements.com.
Để được thông báo bằng tiếng Việt, xin gọi điện thoại hoặc vào trang mạng DeepwaterHorizonSettlements.com.

Legal Notice

If you had economic loss or property damage
because of the Deepwater Horizon oil spill, you
could get money from a class action settlement.
If you have economic loss or property damage because of the Deepwater Horizon oil spill, you could get money
from a class action settlement with BP Exploration & Production Inc. and BP America Production Company
(“BP”). Go to DeepwaterHorizonSettlements.com for more information, including information on how to file a
claim.

Who is Included in the Economic & Property Damages Settlement?
You have received this notice because you have been identified as a potential Economic and Property Damages
Settlement Class Member. The Economic and Property Damages (“E&PD”) Settlement Class includes people,
businesses, and other entities, in the states of Louisiana, Alabama and Mississippi, and certain counties in Texas
and Florida, that were harmed by the oil spill. The website has detailed descriptions and maps to help you
determine whether a geographic location may be included in the E&PD Settlement. Additionally, you can call
1-866-992-6174 or e-mail questions@DeepwaterHorizonEconomicSettlement.com to find out if a geographic
location is included. The Detailed Notice has more information on who is included.

What does the Economic & Property Damages Settlement Provide?
The E&PD Settlement makes payments for the following types of claims: (1) Seafood Compensation, (2)
Economic Damage, (3) Loss of Subsistence, (4) Vessel Physical Damage, (5) Vessels of Opportunity Charter
Payment, (6) Coastal Real Property Damage, (7) Wetlands Real Property Damage, and (8) Real Property Sales
Damage. There is no limit on the total dollar amount of the E&PD Settlement; all qualified claims will be paid.
The Detailed Notice has more information on E&PD Settlement benefits.

How to Get Benefits from the Economic & Property Damages Settlement
You need to submit a Claim Form to request a payment. You can get a copy of the various Claim Forms by
visiting the website or by calling 1-866-992-6174. Claims can be submitted online or by mail. If you have
questions about how to file your claim, you should call the toll-free number for assistance.

The deadline to submit most E&PD claims will be April 22, 2014 or six months after the E&PD Settlement
becomes effective (that is, after the Court grants “final approval” and any appeals are resolved), whichever is
later. There will be an earlier deadline to submit E&PD Seafood Compensation claims. The earlier deadline to
                                                        1
              Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 79 of 224

submit Seafood Compensation claims will be 30 days after final approval of the Settlement by the United States
District Court for the Eastern District of Louisiana (regardless of appeals). Actual claim filing deadlines will be
posted on the website as they become available. Valid claims will be paid as they are approved, beginning
shortly after the Court-Supervised Settlement Program commences. It is highly recommended that E&PD
Settlement Class Members complete and submit their Claim Forms promptly. Please read the Medical Benefits
Settlement Notice because you may also be eligible for benefits from that settlement.

Your Other Options
If you do not want to be legally bound by the E&PD Settlement, you must Opt Out or exclude yourself by
October 1, 2012 or you won’t be able to sue BP over certain economic and property damages claims. If you
stay in the E&PD Settlement, you may object to it by August 31, 2012. The Detailed Notice explains how to
exclude yourself or object.

The Court will hold a hearing on November 8, 2012 to consider whether to approve the E&PD Settlement. You
or your own lawyer may ask to appear and speak at the hearing at your own cost. The Court will also consider
Class Counsel fees, costs, and expenses including an interim payment of $75 million and additional awards
equal to 6% of class claims and benefits paid. Class Counsel fees, costs and expenses under the Economic and
Property Damages Settlement Agreement and the Medical Benefits Settlement Agreement jointly cannot exceed
$600 million. Class members’ payments will not be reduced if the Court approves the payment of Class Counsel
fees, costs, and expenses because BP will separately pay these attorney fees, costs, and expenses.

For more information and a Claim Form, visit DeepwaterHorizonSettlements.com or call toll-free: 1-866-992-
6174.

This notice does not provide any information related to the separate Medical Benefits Settlement also reached
related to the Deepwater Horizon oil spill. For more information about the Medical Benefits Settlement, and to
determine whether your rights are affected by that settlement, or whether you are eligible for benefits under that
settlement, visit DeepwaterHorizonSettlements.com or call 1-866-992-6174.

SOURCE: United States District Court for the Eastern District of Louisiana


The United States District Court for the Eastern District of Louisiana has directed this email notice be sent. If you wish to UNSUBSCRIBE from future email messages
from the Notice Administrator with regard to this Settlement, please click on this link.




                                                                                     2
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          Attachment 6
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                                                                                                                          August 9, 2012


                                                             Deepwater Horizon Oil Spill Settlement
                                                             Economic Loss and Property Damages
                                                              Local Newspaper Publication List

 Texas
                                                                         On-sale    On-sale   On-sale   On-sale   Insertion   Insertion Insertion   Insertion
Publication                                        Distribution
                                                                         Date 1     Date 2    Date 3    Date 4    1 Page #    2 Page # 3 Page #     4 Page #
Alvin Advertiser And Sun-Advertiser Combo          Alvin, TX             30-May      6-Jun    10-Jun    24-Jun       12A         7A         7          7A
Atlanta Citizens Journal                           Atlanta, TX           30-May     10-Jun    13-Jun    24-Jun       7A          7B         7           8
Bay City Tribune                                   Bay City, TX          30-May     10-Jun    13-Jun    24-Jun         7         11        A7          5A
Baytown Sun                                        Baytown, TX           29-May     10-Jun    12-Jun    24-Jun        10         7A        10          7A
Beaumont Enterprise                                Beaumont, TX          29-May     10-Jun    11-Jun    24-Jun       A10         A7        A5          A13
Bellville Times                                    Bellville, TX         31-May      7-Jun    14-Jun    21-Jun       A7          A7        A7          A7
Brenham Banner-Press                               Brenham, TX           29-May     10-Jun    11-Jun    24-Jun         5         A5         8          5A
Clute Facts                                        Clute, TX             29-May     10-Jun    11-Jun    24-Jun       6A          7A        7A          7A
El Campo Leader-News                               El Campo, TX          30-May      6-Jun    13-Jun    20-Jun       7A          A7        A7          7A
Fort Bend Herald                                   Rosenberg, TX         29-May     10-Jun    11-Jun    24-Jun         3          5         3           5
Fort Bend/Southwest Star                           Stafford, TX          30-May      6-Jun    13-Jun    20-Jun        10         12        10          10
Galveston County Daily News                        Galveston, TX         29-May     10-Jun    11-Jun    24-Jun       A8          B7        A5          A4
Hometown Press- Houston                            Winnie, TX             7-Jun     14-Jun    21-Jun    28-Jun         4          4        A4           4
Houston Chronicle                                  Houston, TX           29-May     10-Jun    11-Jun    24-Jun       A8          A31       A8          A23
                                                                           See        See      See       See         See         See       See         See
Houston Community Newspapers Group Combo           Houston, TX
                                                                          below     below     below     below       below       below     below       below
                            Atascocita Observer    Houston,TX            30-May      6-Jun    13-Jun    20-Jun       A17         15         9          14
                              Bellaire Examiner    Houston,TX            30-May      6-Jun    13-Jun    20-Jun       A9          10        11          14
                            Cleveland Advocate     Cleveland,TX          30-May      6-Jun    13-Jun    20-Jun       A9           9         9           9
                                 Conroe Courier    Conroe,TX             30-May      6-Jun    13-Jun    20-Jun       A7          11        11           8
                  Cypress Creek Mirror / Cy-Fair   Houston,TX            30-May      6-Jun    13-Jun    20-Jun       A9           9         8           6
         Cypress Creek Mirror/Champion Edition     Houston,TX            30-May      6-Jun    13-Jun    20-Jun       A9          10         6           6
                   Cypress Creek Mirror/Cypress    Houston,TX            30-May      6-Jun    13-Jun    20-Jun       A9           9         6           6

                                                                                                                                                    1
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                                   Dayton News    Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A11     9   11         9
                          Deer Park Broadcaster   Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A13     7    9         9
              East Montgomery County Observer     Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A17    11   19        14
                                Eastex Advocate   Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A7      7    9         7
                                  Fort Bend Sun   Sugar Land,TX      30-May    6-Jun     13-Jun    20-Jun    A9      7    9         9
                           Friendswood Journal    Humble,TX          30-May    6-Jun     13-Jun    20-Jun    A11    11    9        16
                       Houston Bay Area Citizen   Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A11     9    9        11
                    Houston Memorial Examiner     Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A11     8   13        A13
                       Houston Spring Observer    Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A11     9    9        11
                               Humble Observer    Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A15    11    9        20
                                       Katy Sun   Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A9      9    9         9
                            Kingwood Observer     Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A11    17    9        14
                         Lake Houston Observer    Humble,TX          30-May    6-Jun     13-Jun    20-Jun    A9      9    9        11
                            Magnolia Potpourri    Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A13    11   13         9
                               Pasadena Citizen   Pasadena,TX        30-May    6-Jun     13-Jun    20-Jun    A15    11   11        11
                               Pearland Journal   Pearland,TX        30-May    6-Jun     13-Jun    20-Jun    A13    11    9        16
                           River Oaks Examiner    Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A9     10   11         6
                                 Sugar Land Sun   Sugar Land,TX      30-May    6-Jun     13-Jun    20-Jun    A9      7    9         9
                              Tomball Potpourri   Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A13     9   13         9
                      West University Examiner    Houston,TX         30-May    6-Jun     13-Jun    20-Jun    A9     10   11         6
                            Woodlands Villager    The Woodlands,TX   30-May    6-Jun     13-Jun    20-Jun    A9      9    9        13
Houston County Courier                            Crockett, TX       31-May    10-Jun    14-Jun    24-Jun    B4    A8    A7        A6
Huntsville Item                                   Huntsville, TX     29-May    10-Jun    11-Jun    24-Jun    A5    A7    A5        7A
Jackson County Herald-Tribune                     Edna, TX           30-May    6-Jun     13-Jun    20-Jun    8B    B10   B10        6
Jasper Newsboy                                    Jasper, TX         30-May    6-Jun     13-Jun    20-Jun    5B    10A   A5        5A
Katy Times                                        Katy, TX           31-May    7-Jun     14-Jun    21-Jun    7A     B3   2B        7A
Newton County News                                Newton, TX         30-May    6-Jun     13-Jun    20-Jun    11      9    9         7
Orange Leader                                     Orange, TX         29-May    10-Jun    12-Jun    24-Jun    6A    8A    3A        3A
Pearland Reporter News                            Pearland, TX       30-May    6-Jun     13-Jun    20-Jun     5      5    5         5
Polk County Enterprise                            Livingston, TX     31-May    10-Jun    14-Jun    24-Jun    B8     B6   B6        B6
Port Arthur News                                  Port Arthur, TX    29-May    10-Jun    11-Jun    24-Jun    A3    A3    A3        A3
Texas City Post                                   Texas City, TX     30-May    10-Jun    13-Jun    24-Jun     3      3   A3        A3
Trinity Standard                                  Livingston, TX      31-May     7-Jun    14-Jun    21-Jun   B3    B10   B4        A6



                                                                                                                               2
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 Louisiana
                                                                 On-sale   On-sale   On-sale   On-sale   Insertion   Insertion   Insertion   Insertion
Publication                                     Distribution
                                                                 Date 1    Date 2    Date 3    Date 4    1 Page #    2 Page #    3 Page #    4 Page #
Abbeville Meridional                        Abbeville, LA        29-May    12-Jun    13-Jun    24-Jun         5           5           5           5
Alexandria News Weekly                      Alexandria, LA       31-May     7-Jun    14-Jun    21-Jun         5           5           9           5
Alexandria Town Talk                        Alexandria, LA       31-May     7-Jun    17-Jun    21-Jun       A8           B9         A7           B8
Barksdale Warrior                           Shreveport, LA        1-Jun     8-Jun    15-Jun    22-Jun      6&7         6&7         6&&         4&5
Basile Weekly                               Basile, LA           31-May     7-Jun    14-Jun    21-Jun         5           5           5           5
Bastrop Daily Enterprise                    Bastrop, LA          29-May     5-Jun    12-Jun    19-Jun       A12          12          14          12
Baton Rouge Advocate                        Baton Rouge, LA      29-May    10-Jun    11-Jun    24-Jun       8A          A20         7A          A11
Beauregard Daily News                       Deridder, LA         30-May    10-Jun    13-Jun    24-Jun         5         7A            5         5A
Bogalusa Daily News                         Bogalusa, LA         30-May    10-Jun    13-Jun    24-Jun       A11         A14         A8          A9
Bowie County Citizens Tribune And DeKalb                           See       See      See       See         See         See         See         See
                                            New Boston, TX
News Combo                                                        below    below     below     below       below       below       below       below
Bowie County Citizens Tribune               New Boston, TX       30-May     6-Jun    13-Jun    20-Jun       5A          8A          5A          5A
Dekalb News Combo                           New Boston, TX       30-May     6-Jun    13-Jun    20-Jun       5A          8A          5A          5A
Bunkie Record                               Marksville, LA       31-May     7-Jun    14-Jun    21-Jun         6           6           6           6
Cameron Parish Pilot                        Dequincy, LA         31-May     7-Jun    14-Jun    21-Jun         5           5           4           5
Catahoula News Booster                      Jonesville, LA       30-May     6-Jun    13-Jun    20-Jun        B6         10A         10A         10A
Center Light & Champion                     Center, TX           30-May     6-Jun    13-Jun    20-Jun         5           3           3           3
Concordia Sentinel                          Ferriday, LA         30-May     6-Jun    13-Jun    20-Jun       A13         A11         A11         A10
Crowley Post-Signal                         Crowley, LA          29-May    10-Jun    12-Jun    24-Jun       10A         9A          10A          8B
Daingerfield Bee                            Daingerfield, TX     30-May     6-Jun    13-Jun    20-Jun       6A            5          6B           5
Dequincy News                               Dequincy, LA         30-May     6-Jun    13-Jun    20-Jun         8         A5          A5          A5
Donaldsonville Chief                        Donaldsonville, LA   31-May     7-Jun    14-Jun    21-Jun       3A          3A          3A          3A
Eunice News                                 Eunice, LA           31-May    10-Jun    14-Jun    24-Jun       8A          12A         8A          12A
Franklin Banner-Tribune                     Franklin, LA         29-May     4-Jun    11-Jun    18-Jun         3           3          P5          P5
Franklin Sun                                Winnsboro, LA        30-May     6-Jun    13-Jun    20-Jun       12A         12A         12A         8A
Franklinton Era-Leader                      Franklinton, LA      30-May     6-Jun    13-Jun    20-Jun       A9          A5          A6          A6
Gonzales Weekly Citizen                     Gonzales, LA         31-May     7-Jun    14-Jun    21-Jun        5B         9A          A6          A9
Gueydan Journal                             Gueydan, LA          31-May     7-Jun    14-Jun    21-Jun       6A          A5          5A          5A
Hammond Daily Star                          Hammond, LA          29-May    10-Jun    12-Jun    24-Jun       A5          7A          7A          A7
                                                                   See       See      See       See         See         See         See         See
Houma Daily Courier/Daily Comet Combo       Houma, LA
                                                                  below    below     below     below       below       below       below       below
                         Houma Daily Courier Houma, LA           29-May    10-Jun    11-Jun    24-Jun        6B         12A         8A          12B
                       Thibodaux Daily Comet Houma, LA           29-May    10-Jun    14-Jun    24-Jun        6B         12A         12A         5A
                                                                                                                                             3
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Jennings Daily News                       Jennings, LA             29-May   10-Jun   12-Jun   24-Jun     3A        A5        A3            A5
Kaplan Herald                             Kaplan, LA               30-May   6-Jun    13-Jun   20-Jun       9        9          9             9
Kinder Courier News                       Kinder, LA               31-May   7-Jun    14-Jun   21-Jun     5A        8A        6A            6A
Lafayette Daily Advertiser                Lafayette, LA            29-May   10-Jun   11-Jun   24-Jun     A10       B5         5B            3B
Lake Charles American Press               Lake Charles, LA         29-May   10-Jun   11-Jun   24-Jun     A7        A10       A5             B8
Leesville Daily Leader                    De Ridder, LA            30-May   10-Jun   13-Jun   24-Jun       5       7A          5           5A
Livingston Parish News                    Denham Springs, LA       31-May   10-Jun   14-Jun   24-Jun      C4       B8         C6           C10
L'Observateur                             La Place, LA             30-May   6-Jun    13-Jun   20-Jun     A5        A6        A5            A5
Marshall News Messenger                   Marshall, TX             29-May   10-Jun   12-Jun   24-Jun     7A        8A        8A            8A
Minden Press-Herald                       Minden, LA               29-May   4-Jun    11-Jun   18-Jun       8        7          7             7
Monroe News-Star                          Monroe, LA               29-May   10-Jun   11-Jun   24-Jun      C5       C5         C6           A13
Morgan City Daily Review                  Morgan City, LA          29-May   4-Jun    11-Jun   18-Jun     A5         3        A5            A5
Moss Bluff News                           Sulphur, LA              30-May   6-Jun    13-Jun   20-Jun     6A        6A        10A           6A
Mt. Pleasant Daily Tribune                Mount Pleasant, TX       29-May   10-Jun   12-Jun   24-Jun     A9        A13       A7            A11
Napoleonville Assumption Pioneer          Napoleonville, LA        31-May   7-Jun    14-Jun   21-Jun     A8        10          8            10
Natchitoches Times                        Natchitoches, LA         29-May   10-Jun   12-Jun   24-Jun     A10       A7        A12           A10
New Iberia Daily Iberian                  New Iberia, LA           29-May   10-Jun   11-Jun   24-Jun     A4        A4        A5            A4
New Orleans Times-Picayune                New Orleans, LA          29-May   10-Jun   11-Jun   24-Jun       7       A17       A4            A5
Oakdale Journal                           Oakdale, LA              31-May   7-Jun    14-Jun   21-Jun     A5        A7        A7            A6
Opelousas Daily World                     Opelousas, LA            29-May   10-Jun   11-Jun   24-Jun     A3        B5        A7            A7
Picayune Item                             Picayune, MS             29-May   10-Jun   12-Jun   24-Jun     A7        A7        A7            A7
Pierre Part Bayou Journal                 Pierre Part, LA           5-Jun   12-Jun   19-Jun   26-May      10        8          6             6
Plaquemines Gazette                       Belle Chasse, LA         29-May   5-Jun    12-Jun   19-Jun     A9        B4        A13           A17
Port Allen West Side Journal              Port Allen, LA           31-May   7-Jun    14-Jun   21-Jun       8        5        6A              5
Postsouth News                            Plaquemine, LA           31-May   7-Jun    14-Jun   21-Jun     5A        1B        A7             B1
Rayne Acadian-Tribune                     Rayne, LA                31-May   7-Jun    14-Jun   21-Jun     10A        6         3B           13A
Rayne Independent                         Rayne, LA                31-May   7-Jun    14-Jun   21-Jun       7        3         11             7
Ruston Daily Leader                       Ruston, LA               29-May   10-Jun   11-Jun   24-Jun     A7        A9        A3            A7
Shreveport Times                          Shreveport, LA           29-May   10-Jun   11-Jun   24-Jun   A6 & A7   A8 & A9   A4 & A5       A8 & A9
St. Bernard News                          Metairie, LA             30-May   6-Jun    13-Jun   20-Jun       7        8         10            10
St. Bernard Voice                         Arabi, LA                 1-Jun   8-Jun    15-Jun   22-Jun     A6        A13       A13           A10
St. Charles Herald-Guide                  Boutte, LA               31-May   7-Jun    14-Jun   21-Jun     5A        5A        5A            5A
St. Francisville Democrat                 Saint Francisville, LA   30-May   6-Jun    13-Jun   20-Jun     A7        A7        A10           A9
St. Martinville Teche News                Saint Martinville, LA    30-May   6-Jun    13-Jun   20-Jun     A7        A7        A10           A9
St. Tammany Farmer                        Covington, LA            31-May   7-Jun    14-Jun   21-Jun     A9        A7        A9            A9

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St. Tammany News                              Slidell, LA           30-May    10-Jun    13-Jun    24-Jun      A7           A7         A7            A7
Sulphur Southwest Daily News                  Sulphur, LA           30-May    6-Jun     13-Jun    24-Jun      14A          7A         5A            9A
Texarkana Gazette                             Texarkana, TX         29-May    10-Jun    11-Jun    24-Jun      A5           B5         A5            B7
Vacherie Enterprise                           Vacherie, LA          30-May    6-Jun     13-Jun    20-Jun      7A           7A         6A            12
Ville Platte Gazette                          Ville Platte, LA      31-May    10-Jun    14-Jun    24-Jun      6A           6A         6A            6A
Vinton News                                   Sulphur, LA           31-May    7-Jun     14-Jun    21-Jun        7           7         7A             7
Winn Parish Enterprise                        Winnfield, LA         30-May    6-Jun     13-Jun    20-Jun       15          17         17A           12
Zachary Plainsman-News                        Zachary, LA           30-May    6-Jun     13-Jun    20-Jun      A7           A7         A7            A5

 Mississippi
                                                                    On-sale   On-sale   On-sale   On-sale   Insertion   Insertion   Insertion   Insertion
Publication                                        Distribution
                                                                    Date 1    Date 2    Date 3    Date 4    1 Page #    2 Page #    3 Page #    4 Page #
Batesville Panolian                           Batesville, MS        29-May     5-Jun    12-Jun    19-Jun       A16         A15         A15         A13
Biloxi D'Iberville Press                      Biloxi, MS            31-May     7-Jun    14-Jun    21-Jun         6           6          6           7
Biloxi-gulfport Sun Herald                    Biloxi-gulfport, MS   29-May    10-Jun    11-Jun    24-Jun       4A          7A          A7          7A
Booneville Banner-Independent                 Booneville, MS        31-May     7-Jun    14-Jun    21-Jun       A11         A14         A12         A15
Brookhaven Daily Leader                       Brookhaven, MS        29-May     5-Jun    12-Jun    19-Jun        11         A10          9          10
Carthaginian                                  Carthage, MS          31-May     7-Jun    14-Jun    21-Jun         3         A7          A7          B7
Chickasaw Journal                             Houston, MS           30-May     6-Jun    13-Jun    20-Jun       11A          5B         7A          8A
Clarksdale Press Register                     Clarksdale, MS        30-May     6-Jun    13-Jun    20-Jun     16 & 17     12 & 13     12 & 13     12 & 13
Cleveland Bolivar Commercial                  Cleveland, MS         29-May     5-Jun    12-Jun    19-Jun         3           3          9           9
Columbian-Progress                            Columbia, MS          31-May     7-Jun    16-Jun    21-Jun       9A          10A          9          A11
Columbus Commercial Dispatch                  Columbus, MS          29-May    10-Jun    11-Jun    24-Jun       A7          7A          6A          6A
Columbus Packet                               Columbus, MS          31-May     7-Jun    14-Jun    21-Jun     10 & 11     12 & 13      4&5         6&7
Corinth Daily Corinthian                      Corinth, MS           29-May     5-Jun    12-Jun    19-Jun       A2          A2          A13         A15
Deer Creek Pilot                              Rolling Fork, MS      31-May     7-Jun    14-Jun    21-Jun         5           5          5           5
DeSoto Appeal                                 Southaven, MS         29-May     4-Jun    11-Jun    18-Jun        B3         A5          A4          A3
Desoto Times-Tribune                          Hernando, MS          29-May     5-Jun    12-Jun    19-Jun     10 & 11      6&7         6&7         5&6
Enterprise-Tocsin                             Indianola, MS         31-May     7-Jun    14-Jun    21-Jun     14 & 15     20 & 21     10 & 11     14 & 15
George County Times                           Lucedale, MS          31-May     7-Jun    14-Jun    21-Jun       A6          A3          A6          A8
Greene County Herald                          Leakesville, MS       31-May     7-Jun    14-Jun    21-Jun         9           8         11           8
Greenville Delta Democrat-Times               Greenville, MS        29-May    10-Jun    11-Jun    24-Jun      8&9         8&9         6&7         8&9
Greenwood Commonwealth                        Greenwood, MS         29-May    10-Jun    11-Jun    24-Jun       10A         A6          A7          A8
Grenada Star                                  Grenada, MS           29-May     5-Jun    12-Jun    19-Jun       A5          A6          A5          A5
Hattiesburg Lamar Times                       Hattiesburg, MS       31-May     7-Jun    14-Jun    21-Jun      6&7         6&7         6&7         6&7
Jackson Clarion Ledger/Hattiesburg American   Jackson, MS             See       See      See       See         See         See         See         See
                                                                                                                                                5
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Combo                                                                    below   below    below    below    below    below     below         below
                           Jackson Clarion Ledger Jackson, MS           29-May   10-Jun   11-Jun   24-Jun    7A       E10        B5           B9
                         Hattiesburg Lamar Times Jackson, MS            29-May   10-Jun   11-Jun   24-Jun    2A       A6        A2            A7
Jasper County News                                Bay Springs, MS       30-May   6-Jun    13-Jun   20-Jun     6        7          7            7
Kosciusko Star-Herald                             Kosciusko, MS         31-May   7-Jun    14-Jun   21-Jun    A7       A7        A7            A7
Lawrence County Press                             Monticello, MS        30-May   6-Jun    13-Jun   20-Jun     4       14         14           17
Louisville Winston County Journal                 Louisville, MS        30-May   6-Jun    13-Jun   20-Jun   8&9     26 & 27   20 & 21       16 & 17
Macon Beacon                                      Macon, MS             31-May   7-Jun    14-Jun   21-Jun     5        5          5            6
McComb Enterprise-Journal                         McComb, MS            29-May   10-Jun   11-Jun   24-Jun    A7       A7        A6            A7
Meridian Star                                     Meridian, MS          29-May   10-Jun   11-Jun   24-Jun    A3       A3        A3            B3
Mississippi Press                                 Pascagoula, MS        29-May   10-Jun   11-Jun   24-Jun    A3       A3        A3            A7
N.E. Mississippi Daily Journal                    Tupelo, MS            29-May   10-Jun   11-Jun   24-Jun    B7       A5        A8            3C
Natchez Democrat                                  Natchez, MS           29-May   10-Jun   11-Jun   24-Jun    7A       A6        A6            D2
Neshoba Democrat                                  Philadelphia, MS      30-May   6-Jun    13-Jun   20-Jun    8B       8B         8B           8B
New Albany Gazette                                New Albany, MS        30-May   6-Jun    13-Jun   20-Jun    A7       A7        A7            A7
Newton County Appeal                              Union, MS             30-May   6-Jun    13-Jun   20-Jun    B6       B6        A4            B6
Ocean Springs Record                              Ocean Springs, MS     31-May   7-Jun    14-Jun   21-Jun     9        6          6            9
Oxford Eagle                                      Oxford, MS            29-May   4-Jun    11-Jun   18-Jun    A10      A8        A12           A12
Petal News                                        Hattiesburg, MS       31-May   7-Jun    14-Jun   21-Jun   6&7      6&7       6&7           6&7
Pontotoc Progress                                 Pontotoc, MS          30-May   6-Jun    13-Jun   20-Jun    C6       7A        5A            6C
Poplarville Democrat                              Poplarville, MS       31-May   7-Jun    14-Jun   21-Jun    9A       B8         B6           B6
Prentiss Headlight                                Prentiss, MS          30-May   6-Jun    13-Jun   20-Jun     5        9          9            9
Quitman County Democrat                           Marks, MS             31-May   7-Jun    14-Jun   21-Jun     7        7          7            6
Rankin County News                                Brandon, MS           30-May   6-Jun    13-Jun   20-Jun    136       9        A14            9
Sea Coast Echo                                    Bay Saint Louis, MS   30-May   6-Jun    13-Jun   20-Jun    8A       7A          7           A5
Senatobia Democrat                                Senatobia, MS         29-May   5-Jun    12-Jun   19-Jun    9A       A8        A9            A9
South Reporter                                    Holly Springs, MS     31-May   7-Jun    14-Jun   21-Jun     8        6          3           A8
Southern Advocate                                 Ashland, MS           31-May   7-Jun    14-Jun   21-Jun    A11      7A        10A           8A
Southern Sentinel                                 Ripley, MS            30-May   6-Jun    13-Jun   20-Jun    A6       6A        6A            4B
Starkville Daily News                             Starkville, MS        29-May   10-Jun   11-Jun   24-Jun     3        7          3            7
Stone County Enterprise                           Wiggins, MS           30-May   6-Jun    13-Jun   20-Jun     7       10          9           10
Tunica Times                                      Tunica, MS             1-Jun   8-Jun    15-Jun   22-Jun     9        9          2            2
Tylertown Times                                   Tylertown, MS         31-May   7-Jun    14-Jun   21-Jun     3       B5          3           A2
Vicksburg Evening Post                            Vicksburg, MS         29-May   10-Jun   11-Jun   24-Jun    A5       A6        A5            B5
Wayne County News                                 Waynesboro, MS        31-May   7-Jun    14-Jun   21-Jun    5A       A6        5A            A5

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Webster Progress-Times                       Louisville, MS       31-May    7-Jun     14-Jun    21-Jun     6&7         6&7         6&7             6&7
West Point Daily Times Leader                West Point, MS       29-May    10-Jun    12-Jun    24-Jun      10           8          10              10
Yazoo Herald                                 Yazoo City, MS       30-May    6-Jun     13-Jun    20-Jun    10 & 11     10 & 11     10 & 11         10 & 11


 Alabama
                                                                  On-sale   On-sale   On-sale   On-sale   Insertion   Insertion   Insertion   Insertion
Publication                                      Distribution
                                                                  Date 1    Date 2    Date 3    Date 4    1 Page #    2 Page #    3 Page #    4 Page #
Alexander City Outlook                       Alexander City, AL   31-May     5-Jun    12-Jun    19-Jun       A6          A7          A7          A9
Andalusia Star-News                          Andalusia, AL        29-May     5-Jun    12-Jun    19-Jun       5A          A5          A5          A5
Anniston Star                                Anniston, AL         29-May    10-Jun    11-Jun    24-Jun       A9          9A          7A          9A
Athens News Courier                          Athens, AL           29-May    12-Jun    14-Jun    24-Jun       12A           9         6A          17A
Baldwin Register                             Daphne, AL           30-May    10-Jun    13-Jun    24-Jun         3          Z9         A3           Z3
Bessemer Western Star                        Bessemer, AL         30-May     6-Jun    13-Jun    20-Jun       A3          A3          A3          A3
Birmingham News                              Birmingham, AL       29-May    10-Jun    11-Jun    24-Jun       A3          A9          3A          A7
Blount Countian                              Oneonta, AL          30-May     6-Jun    13-Jun    20-Jun       A10         A5          A5          A5
Choctaw Sun-Advocate                         Gilbertown, AL       30-May     6-Jun    13-Jun    20-Jun        5B         5B          7B           7B
Citizen Of East Alabama                      Phenix City, AL      31-May     7-Jun    14-Jun    21-Jun       A7          A9          B2           B2
Clanton Advertiser                           Clanton, AL          29-May     5-Jun    12-Jun    19-Jun       A7          A7          A7          A7
Cleburne News                                Heflin, Al           31-May     7-Jun    14-Jun    21-Jun         8           4          7            7
Cullman Times                                Cullman, AL          29-May    10-Jun    12-Jun    24-Jun       A7          A12         A8          20A
Decatur Daily                                Decatur, AL          29-May    10-Jun    11-Jun    24-Jun       A5          D4          A6          D4
Demopolis Times                              Demopolis, AL        30-May     6-Jun    13-Jun    20-Jun         6         A6          A6          A6
Dothan Eagle                                 Dothan, AL           29-May    10-Jun    11-Jun    24-Jun       A8          A8          6A          9A
Enterprise Ledger                            Enterprise, AL       29-May    10-Jun    12-Jun    24-Jun       2A          A8          4A          A7
Eufaula Tribune                              Eufaula, AL          30-May     6-Jun    13-Jun    20-Jun       A6          A6          A6          A6
Fayette Times-Record                         Fayette, AL          30-May     6-Jun    13-Jun    20-Jun       7A          4B          7A          7A
Flomaton Tri-City Ledger                     Flomaton, AL         31-May     7-Jun    14-Jun    21-Jun       8A          8A          8A          8A
Florala News                                 Florala, AL          30-May     6-Jun    13-Jun    20-Jun         3           3         3A          3A
Florence Times Daily                         Florence, AL         29-May    10-Jun    11-Jun    24-Jun       A5          D6          D8          A6
Fort Payne Times-Journal                     Fort Payne, AL       29-May     5-Jun    12-Jun    19-Jun       A7          A8          A8          A7
Franklin County Times                        Russellville, AL     30-May     6-Jun    13-Jun    20-Jun         4           4         A4            4
Gadsden Times                                Gadsden, AL          29-May    10-Jun    11-Jun    24-Jun       A8          A8          A6            8
Geneva County Reaper                         Geneva, AL           30-May     6-Jun    13-Jun    20-Jun       5A          5A          5A          5A
Greenville Advocate                          Greenville, AL       30-May     6-Jun    13-Jun    20-Jun       A10           7          6          A6
Gulf Coast Newspapers Combo                  Robertsdale, AL      29-May     5-Jun    12-Jun    19-Jun       See         See         See         See
                                                                                                                                              7
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                                                                                                           below     below     below         below
                                 Baldwin Times                        29-May   5-Jun    12-Jun   19-Jun    A6/7      8&9       8&9           A6/7
                               Fairhope Courier                       29-May   5-Jun    12-Jun   19-Jun    A6/7      8&9       8&9           A6/7
                       Robertsdale Independent                        29-May   5-Jun    12-Jun   19-Jun    A6/7      8&9       8&9           A6/7
                                Daphne Bulletin                       29-May   5-Jun    12-Jun   19-Jun    A6/7      8&9       8&9           A6/7
                                 Foley Onlooker                       29-May   5-Jun    12-Jun   19-Jun    A6/7      8&9       8&9           A6/7
                             Gulf Coast Islander                      29-May   5-Jun    12-Jun   19-Jun    A6/7      8&9       8&9           A6/7
Guntersville Advertiser-Gleam                      Guntersville, AL   30-May   6-Jun    13-Jun   20-Jun     15        12        12              2
Haleyville Northwest Alabamian                     Haleyville, AL     30-May   6-Jun    13-Jun   20-Jun     B3        B3        B3             B3
Hamilton Journal Record                            Hamilton, AL       30-May   6-Jun    13-Jun   20-Jun     6A        6A        A6            6A
Huntsville Times                                   Huntsville, AL     29-May   10-Jun   11-Jun   24-Jun     A12       A7        A10           A7
Jackson South Alabamian                            Jackson, AL        31-May   7-Jun    14-Jun   21-Jun     B3        B3        B3             B3
Jasper Daily Mountain Eagle                        Jasper, AL         29-May   10-Jun   11-Jun   24-Jun     A12       B1        A5            A9
Lamar Democrat & The Sulligent News                Vernon, AL         30-May   6-Jun    13-Jun   20-Jun     A9        A9        A9            A9
Mobile Press-Register                              Mobile, AL         29-May   10-Jun   11-Jun   24-Jun     A3        A3        A3            A7
Monroe Journal                                     Monroeville, AL    31-May   7-Jun    14-Jun   21-Jun     4C        4C        4B             4C
Montgomery Advertiser                              Montgomery, AL     29-May   10-Jun   11-Jun   24-Jun     3A        9A        7A            12A
Montgomery Independent / Middlebrook                                    See     See      See      See       See       See       See           See
Independent Combo                                  Montgomery, AL      below   below    below    below     below     below     below         below
                      Montgomery Independent       Montgomery, AL     31-May   7-Jun    14-Jun   21-Jun   14 & 15   14 & 15   14 & 15       14 & 15
                      Middlebrook Independent      Montgomery, AL     31-May   7-Jun    14-Jun   21-Jun    8&9       8&9       8&9           8&9
North Jefferson News                               Gardendale, AL     30-May   6-Jun    13-Jun   20-Jun     13        A10        3            3A
Opp News                                           Opp, AL            31-May   7-Jun    14-Jun   21-Jun     5A        5A        5A            5A
Randolph Leader                                    Roanoke, AL        30-May   6-Jun    13-Jun   20-Jun     5A        5A        A5            A5
Sand Mountain Reporter                             Albertville, AL    29-May   5-Jun    12-Jun   19-Jun     B2        B10       B2            B10
Scottsboro Daily Sentinel                          Scottsboro, AL     29-May   5-Jun    12-Jun   19-Jun      8        7A        7A            A7
Selma Times-Journal                                Selma, AL          29-May   10-Jun   11-Jun   24-Jun     6A        7A        8A            7A
Shelby County Reporter                             Columbiana, AL     30-May   6-Jun    13-Jun   20-Jun     7A        7A        7A            7A
St. Clair News-Aegis                               Pell City, AL      31-May   7-Jun    21-Jun   28-Jun     A5        5A        5A            3A
Sumter County Record-Journal                       Livingston, AL     31-May   7-Jun    14-Jun   21-Jun     2B        2B        B2             2B
Sylacauga Daily Home                               Sylacauga, AL      29-May   10-Jun   12-Jun   24-Jun     5A        7A        8A            5A
Tallassee Tribune                                  Wetumpka, AL       30-May   6-Jun    13-Jun   20-Jun     B5        B5        B2             B2
Troy Messenger                                     Troy, AL           29-May   5-Jun    12-Jun   19-Jun      8         9         8              9
Tuscaloosa News                                    Tuscaloosa, AL     29-May   10-Jun   11-Jun   24-Jun     5A        A9        A7            5A
Valley Times-News -Lanett                          Lanett, AL         29-May   4-Jun    11-Jun   18-Jun     5A        A5        A5            A5

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Washington County News - Alabama                     Citronelle, AL        1-Jun     8-Jun    15-Jun    22-Jun       8A          8B          8B             3A
Wetumpka Eclectic Observer                           Wetumpka, AL         31-May     7-Jun    14-Jun    21-Jun       A7          A6          A7             A7
Wetumpka Herald                                      Wetumpka, AL         30-May     6-Jun    13-Jun    20-Jun       A9          A7          A8             A7

 Florida
                                                                          On-sale   On-sale   On-sale   On-sale   Insertion   Insertion   Insertion   Insertion
Publication                                              Distribution
                                                                          Date 1    Date 2    Date 3    Date 4    1 Page #    2 Page #    3 Page #    4 Page #
Alachua County Today                                 Alachua, FL          31-May     7-Jun    14-Jun    21-Jun       A5          A7          A7          A7
Apalachicola and Carrebelle Times/Port St. Joe
                                                                          31-May     7-Jun    14-Jun    21-Jun       A6          A3          A8            A10
Star Combo                                           Apalachicola, FL
Arcadian                                             Arcadia, FL          31-May    7-Jun     14-Jun    21-Jun    12 & 13     12 & 13     12 & 13         12 & 13
Blountstown County Record                            Blountstown, FL      30-May    6-Jun     13-Jun    20-Jun       17          14         11              14
Boca Beacon                                          Boca Grande, FL       1-Jun    8-Jun     15-Jun    22-Jun    24 & 25     24 & 25     24 & 25         20 & 21
Boca Raton Forum                                     Pompano Beach, FL    30-May    6-Jun     13-Jun    20-Jun    22 & 23     20 & 21     22 & 23         24 & 25
Bokeelia Pine Island Eagle                           Bokeelia, FL         30-May    6-Jun     13-Jun    20-Jun    12 & 13     12 & 13     12 & 13         12 & 13
Bonita Banner                                        Naples, FL           30-May    6-Jun     13-Jun    20-Jun      19A         A9          A9              A21
Boynton Forum                                        Pompano Beach, FL    30-May    6-Jun     13-Jun    20-Jun    24 & 25     24 & 25     22 & 23         26 &27
Bradenton Herald                                     Bradenton, FL        29-May    10-Jun    11-Jun    24-Jun       4B         A14         B4              A12
Brandon News & Tribune                               Brandon, FL          30-May    6-Jun     13-Jun    20-Jun    16 & 17     14 & 15     18 & 19         16 & 17
Bristol Calhoun-Liberty Journal                      Bristol, FL          30-May    6-Jun     13-Jun    20-Jun    16 & 17     12 & 13     12 & 13         12 & 13
Cape Coral Daily Breeze                              Cape Coral, FL       30-May    6-Jun     13-Jun    20-Jun      5A          5A          5A              5A
Carrollwood News & Tribune                           Tampa, FL            30-May    6-Jun     13-Jun    20-Jun    10 & 11     10 & 11     10 & 11         10 & 11
Charlotte Sun                                        Port Charlotte, FL   29-May    10-Jun    11-Jun    24-Jun        3           3         A4               7
Chattahoochee Twin City News                         Chattahoochee, FL    31-May    7-Jun     14-Jun    21-Jun        5           5          5               5
Chiefland Citizen/Tri-County Bulletin/Cedar Key                             See      See       See       See        See         See         See             See
Beacon/Williston Pioneer Sun News                    See below             below    below     below     below      below       below       below           below
                                Cedar Key Beacon     Cedar Key, FL        30-May    6-Jun     13-Jun    20-Jun     6&7         6&7         6&7             6&7
                                 Chiefland Citizen   Chiefland, FL        30-May    6-Jun     13-Jun    20-Jun       14         10A         A9              A11
                               Tri-County Bulletin   Chiefland, FL        30-May    6-Jun     13-Jun    20-Jun       14       12 & 13     12 & 13         12 & 13
                      Williston Pioneer Sun News     Williston, FL        30-May    6-Jun     13-Jun    20-Jun    16 & 17     20 & 21     16 & 17         16 &17
Citrus County Chronicle                              Crystal River, FL    29-May    10-Jun    11-Jun    24-Jun      A9          A5          A7              A5
Collier Citizen                                      Naples, FL            1-Jun    8-Jun     15-Jun    22-Jun      A13          21         A7              A11
Coral Springs/Parkland Forum                         Pompano Beach, FL    31-May    7-Jun     14-Jun    21-Jun    20 & 21     18 & 19     20 & 21         18 &19
Crestview News Bulletin                              Crestview, FL        30-May    6-Jun     13-Jun    20-Jun      A8          A8          A10             A5
Delray Forum                                         Pompano Beach, FL    30-May    6-Jun     13-Jun    20-Jun    18 & 19     20 & 21     18 & 19         24 & 25
Destin Log                                           Destin, FL           30-May    6-Jun     13-Jun    20-Jun      A6           B3         A5              A7
                                                                                                                                                      9
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Dixie County Advocate                             Cross City, FL          30-May   6-Jun    13-Jun   20-Jun      10         7         7             7
Florida Keys Keynoter                             Tavernier, FL           30-May   6-Jun    13-Jun   20-Jun     5A        5A        5A             5A
Fort Lauderdale Sun-Sentinel                      Fort Lauderdale, FL     29-May   10-Jun   11-Jun   24-Jun     A7        A8        A8             A14
Fort Myers News-Press                             Fort Myers, FL          29-May   10-Jun   11-Jun   24-Jun     A5        A15       A9             A17
                                                                            See     See      See      See       See       See       See            See
Forum Publishing Group-Boca Raton Combo           Pompano Beach, FL
                                                                           below   below    below    below     below     below     below          below
                               Broward Hi-Riser   Deerfield Beach, FL     30-May   6-Jun    13-Jun   20-Jun   12 & 13   22 & 23   12 & 13        14 & 15
                         Deerfield Beach Forum    Deerfield Beach, FL     30-May   6-Jun    13-Jun   20-Jun   14 & 15   22 & 23   24& 25         14 &15
                                Eastside Forum    Deerfield Beach, FL     30-May   6-Jun    13-Jun   20-Jun   12 & 13   22 & 23   12 & 13        12 & 13
                             Royal Palm Forum     Pompano Beach, FL       30-May   6-Jun    13-Jun   20-Jun   10 & 11   10 & 11   10 & 11        12 & 13
Ft. Myers Beach Observer                          Fort Myers Beach, FL    30-May   6-Jun    13-Jun   20-Jun   24 & 25   24 & 25   24 & 25        24 & 25
Gadsden County Times                              Quincy, FL              31-May   7-Jun    14-Jun   21-Jun     A7        A7        A3             A2
Gainesville Guardian                              Gainesville, FL         31-May   7-Jun    14-Jun   21-Jun     A7        A7        A7             A7
Gainesville Record                                Gainesville, FL         31-May   7-Jun    14-Jun   21-Jun    8&9       6&7       8&9           10 & 11
Gainesville Sun                                   Gainesville, FL         29-May   10-Jun   11-Jun   24-Jun     A12       A10       A8             A9
Gilchrist County Journal                          Trenton, FL             31-May   7-Jun    14-Jun   21-Jun       6         6         9             6
Graceville News                                   Graceville, FL          31-May   7-Jun    14-Jun   21-Jun       6         6         6             6
Gulf Breeze News                                  Gulf Breeze, FL         31-May   7-Jun    14-Jun   21-Jun     A3        A3        A3             A3
Havana Herald                                     Havana, FL              31-May   7-Jun    14-Jun   21-Jun      14        13        14            14
Herald Breeze                                     De Funiak Springs, FL   31-May   7-Jun    14-Jun   21-Jun     11A       11A        5B            5B
Hernando Today                                    Brooksville, FL         30-May   10-Jun   13-Jun   24-Jun     A9        A3        A3             A6
Highlands Today                                   Sebring, FL             29-May   10-Jun   11-Jun   24-Jun     A5        A9        A7             A9
Holmes County Times-Advertiser                    Bonifay, FL             30-May   6-Jun    13-Jun   20-Jun     A10       A8        A10            B6
Jackson County Floridan                           Marianna, FL            29-May   10-Jun   12-Jun   24-Jun     A5        7A        5A             A8
Jasper News                                       Jasper, FL              31-May   7-Jun    14-Jun   21-Jun     10A       9A        10A            8A
Key Biscayne Islander News                        Key Biscayne, FL        31-May   7-Jun    14-Jun   21-Jun   14 & 15   16 & 17   14 & 15        14 & 15
Key West Citizen                                  Key West, FL            29-May   10-Jun   11-Jun   24-Jun     8A        A10       8A             A6
Lake City News Advertiser                         Lake City, FL           30-May   6-Jun    13-Jun   20-Jun   38 & 39    1&2       1&2            1&2
Lake Wales News                                   Lake Wales, FL          30-May   6-Jun    13-Jun   20-Jun     A17       A11       A15            A19
Lake Worth Forum                                  Pompano Beach, FL       30-May   6-Jun    13-Jun   20-Jun    8&9       8&9      12 & 13        10 & 11
Lakeland Ledger                                   Lakeland, FL            29-May   10-Jun   11-Jun   24-Jun     A5        A11       A5             A7
Lehigh Acres Citizen                              Lehigh Acres, FL        30-May   6-Jun    13-Jun   20-Jun   10 & 11   10 & 11   10 & 11        12 & 13
Lehigh News Star                                  Lehigh Acres, FL        30-May   6-Jun    13-Jun   20-Jun     A5         B3       A7             A7
Live Wellington                                   Pompano Beach, FL       30-May   6-Jun    13-Jun   20-Jun   10 & 11   12 & 13   10 & 11        12 & 13
                                                                                                               A14 &     A14 &     A16 &          A16 &
                                                                          31-May   7-Jun    14-Jun   21-Jun
Longboat Observer                                 Longboat Key, FL                                              A15       A15       A17            A17
                                                                                                                                            10
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Madison County Carrier                     Madison, FL             30-May   6-Jun    13-Jun   20-Jun     12A       5A        7A             5A
Madison Enterprise Recorder                Madison, FL              1-Jun   8-Jun    15-Jun   22-Jun       7       7A          5            5A
Marco Eagle                                Marco Island, FL        29-May   5-Jun    12-Jun   19-Jun     A5        A7        A5             A18
Marco Island Sun Times                     Marco Island, FL        31-May   7-Jun    14-Jun   21-Jun     B11       A9        A9             A9
Margate/Coconut Creek Forum                Pompano Beach, FL       31-May   7-Jun    14-Jun   21-Jun   12 & 13   12 & 13   12 & 13        12 & 13
Mayo Free Press                            Live Oak, FL            31-May   7-Jun    14-Jun   21-Jun     6A        6A        11A            6A
Miami Herald                               Miami, FL               29-May   10-Jun   11-Jun   24-Jun     A5        A21       7A             14A
Monticello News                            Monticello, FL          30-May   6-Jun    13-Jun   20-Jun     6A        7A        7A             7A
Naples Daily News                          Naples, FL              29-May   10-Jun   11-Jun   24-Jun     A11       A21       A18            A15
Navarre Press*                             Navarre, FL             31-May   7-Jun    14-Jun   21-Jun     3D        3C         3C             C3
New Port Richey Sunbelt Newspapers Combo   New Port Richey, FL     30-May   6-Jun    13-Jun   20-Jun   16 & 17   14 & 15   16 & 17        14 & 15
New Port Richey Suncoast News              New Port Richey, FL     30-May   6-Jun    13-Jun   20-Jun   14 & 15   14 & 15   16 & 17        14 & 15
North Fort Myers Neighbor                  Cape Coral, FL          30-May   6-Jun    13-Jun   20-Jun    8&9       8&9       8&9           10 & 11
Northeast News & Tribune                   Tampa, FL               30-May   6-Jun    13-Jun   20-Jun   10 & 11   10 & 11   10 & 11        10 & 11
Northwest Florida Daily News               Fort Walton Beach, FL   29-May   10-Jun   11-Jun   24-Jun     A8        B7        A5             A7
Northwest News & Tribune                   Hillsborough, FL        30-May   6-Jun    13-Jun   20-Jun   10 & 11   10 & 11   10 & 11        10 & 11
                                           Palm Beach Gardens,                                          A10 &     A12 &     A12 &          A12 &
Palm Beach Gardens Jupiter                                         31-May   7-Jun    14-Jun   21-Jun
                                           FL                                                            A11       A13       A13            A13
Panama City News Herald                    Panama City, FL         29-May   10-Jun   11-Jun   24-Jun     A3        A7        A8             A7
Pelican Press                              Sarasota, FL            31-May   7-Jun    14-Jun   21-Jun   14 & 15   10 & 11   16 & 17        10 & 11
Pensacola Island News                      Pensacola, FL           12-Jun    n/a      n/a      n/a     10 & 11     n/a       n/a            n/a
Pensacola News Journal                     Pensacola, FL           29-May   10-Jun   11-Jun   24-Jun      5B       C12        B5            C12
Plant City Courier & Tribune               Plant City, FL          30-May   6-Jun    13-Jun   20-Jun   14 & 15   12 & 13   12 & 13        14 & 15
Plantation Forum                           Deerfield Beach, FL     30-May   6-Jun    13-Jun   20-Jun   14 & 15   12 & 13   14 & 15        12 & 13
Polk County Democrat-Leader                Bartow, FL              30-May   6-Jun    13-Jun   20-Jun     A13       A11       A15            A19
Pompano Beach Sentry                       Pompano Beach, FL       31-May   7-Jun    14-Jun   21-Jun       6        6          6              6
Pompano Forum                              Pompano Beach, FL       31-May   7-Jun    14-Jun   21-Jun   12 & 13   12 & 13   12 & 13        12 & 13
Sanibel/Captiva Islander                   Sanibel, FL              1-Jun   8-Jun    15-Jun   22-Jun   24 & 25   24 & 25   24 & 25        22 & 23
Santa Rosa Press Gazette                   Milton, FL              30-May   6-Jun    13-Jun   20-Jun     A10       B3        A7              B3
Sarasota Herald-Tribune                    Sarasota, FL            29-May   10-Jun   11-Jun   24-Jun     A5        9A        A6             A9
Sarasota Observer                          Sarasota, FL            31-May   7-Jun    14-Jun   21-Jun   14 & 15   10 & 11   16 & 17        10 & 11
Sebring News-Sun                           Sebring, FL             30-May   10-Jun   13-Jun   24-Jun     6A        A7        7A             7A
South & Central Tampa News & Tribune       Tampa, FL               30-May   6-Jun    13-Jun   20-Jun   12 & 13   12 & 13   10 & 11        10 & 11
South Dade News Leader                     Homestead, FL            1-Jun   8-Jun    15-Jun   22-Jun     A5        A5         B3            A7
South Shore News & Tribune                 Tampa, FL               30-May   6-Jun    13-Jun   20-Jun   10 & 11   10 & 11   12 & 13        12 & 13

                                                                                                                                     11
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Suncoast News - Pasco                                     New Port Richey, FL     30-May   6-Jun    13-Jun   20-Jun   14 & 15   14 & 15   14 & 15        14 & 15
Sunrise Forum                                             Pompano Beach, FL       30-May   6-Jun    13-Jun   20-Jun   12 & 13   10 & 11   10 & 11        12 & 13
Suwannee Democrat                                         Live Oak, FL            30-May   6-Jun    13-Jun   20-Jun     5A        12A       9A             4B
Taco Times                                                Perry, FL               30-May   6-Jun    13-Jun   20-Jun      C4       A5        A5             B3
Tallahassee Democrat                                      Tallahassee, FL         29-May   10-Jun   12-Jun   24-Jun       8        5B        3B            B5
Tamarac/N. Lauderdale Forum                               Pompano Beach, FL       30-May   6-Jun    13-Jun   20-Jun   12 & 13   10 & 11   12 & 13        12 & 13
Tampa Bay Times                                           Saint Petersburg, FL    29-May   10-Jun   11-Jun   24-Jun     10A       17A       7A             6B
Tampa Tribune                                             Tampa, FL               29-May   10-Jun   11-Jun   24-Jun     A7        A11       A7             A13
Tavernier Reporter                                        Tavernier, FL            1-Jun   8-Jun    15-Jun   22-Jun     10A       A8        6A             6A
Venice Gondolier Sun                                      Venice, FL              30-May   6-Jun    13-Jun   20-Jun      B5        B5        B5            B5
Wakulla News                                              Crawfordville, FL       31-May   7-Jun    14-Jun   21-Jun     5A          5         6            B4
Walton Sun                                                Santa Rosa Beach, FL     2-Jun   9-Jun    16-Jun   23-Jun     A7        A14       A7             A15
Washington County News - Florida                          Chipley, FL             30-May   6-Jun    13-Jun   20-Jun     A10       A10       A8             B6
Wauchula Herald-Advocate                                  Wauchula, FL            31-May   7-Jun    14-Jun   21-Jun     12B        3C        8C             8
Winter Haven News Chief                                   Winter Haven, FL        29-May   10-Jun   11-Jun   24-Jun     A5        A7        A5             A7
Zephyrhills News                                          Zephyrhills, FL         31-May   7-Jun    14-Jun   21-Jun     10A       10B       10A            6B

        *Navarre Press ran an additional insertion on July 12, 2012 on page 5C.




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          Attachment 7
                                                                            Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 94 of 224
6A TUESDAY, MAY 29, 2012                                                              shreveporttimes.com • THE TIMES    THE TIMES • shreveporttimes.com                                                                      TUESDAY, MAY 29, 2012 7A
 !(%)! '"$#&(                                                                                                                                                                                                                             !(%)! '"$#&(




                      &**!+-,*. %".'("$ /'# )!'##                                                                                               &**!+-,*. %".'("$ /'# )!'##

                      Economic and Property Damages Settlement                                                                                               Medical Benefits Settlement
                           Providing Money to Individuals and Businesses                                                   Providing Beneﬁts to Clean-Up Workers and Certain Gulf Coast Residents
  If you have economic loss or property damage         The deadline to submit most E&PD claims will                      If you have a medical claim related to the                          Form by visiting the website or by calling
 because of the Deepwater Horizon oil spill, you     be April 22, 2014 or six months after the E&PD                     Deepwater Horizon oil spill, you could get                           1-866-992-6174. Claims can be submitted
 could get money from a class action settlement      Settlement becomes effective (that is, after the                   benefits from a class action settlement with                         by mail. If you have questions about how to
 with BP Exploration & Production Inc. and BP        Court grants “ﬁnal approval” and any appeals                       BP Exploration & Production Inc. and BP                              file your claim, you should call the toll-free
 America Production Company (“BP”). Go to            are resolved), whichever is later. There will be                   America Production Company (“BP”). Go                                number for assistance.
 DeepwaterHorizonSettlements.com for more            an earlier deadline to submit E&PD Seafood                         to DeepwaterHorizonSettlements.com for                                 The deadline for filing a Claim Form is one
 information, including information on how to        Compensation claims. The earlier deadline to                       more information, including information on                           year after the Medical Benefits Settlement
 ﬁle a claim.                                        submit Seafood Compensation claims will be                         how to file a claim.




                                                                                                                                                                                                                                                         Document: 2ST0600A0529.pdf;Page: 1;Format:(532.67 x 435.85 mm);Plate: Composite;Date: May 29, 2012 00:37:13;Low Res CMYK
                                                     30 days after ﬁnal approval of the Settlement by                                                                                        becomes effective (that is, after the Court
                                                     the United States District Court for the Eastern                                                                                        grants “final approval” and any appeals are
           WHO IS INCLUDED IN THE ECONOMIC &                                                                                       WHO IS INCLUDED IN THE MEDICAL
                                                     District of Louisiana (regardless of appeals).                                                                                          resolved). The exact date of the claim filing
            PROPERTY DAMAGES SETTLEMENT?                                                                                               BENEFITS SETTLEMENT?                                  deadline will be posted on the website. It
                                                     Actual claim ﬁling deadlines will be posted on the
  The Economic and Property Damages                                                                                                                                                          is highly recommended that Medical Class
                                                     website as they become available. Valid claims                      The Medical Class includes (1) clean-up
 (“E&PD”) Settlement Class includes people,                                                                                                                                                  Members complete and submit their claim
                                                     will be paid as they are approved, beginning                       workers and (2) certain people who resided
 businesses, and other entities in the states                                                                                                                                                forms promptly. Please read the Economic
                                                     shortly after the Court-Supervised Settlement                      in specific geographic areas in coastal and
 of Louisiana, Alabama and Mississippi, and          Program commences. It is highly recommended                                                                                             and Property Damages Settlement notice
 certain counties in Texas and Florida, that                                                                            wetlands areas along the Gulf Coast during
                                                     that E&PD Settlement Class Members complete                                                                                             because you may also be eligible for a
 were harmed by the oil spill. The website                                                                              specific periods in 2010. The website
                                                     and submit their claim forms promptly. Please                                                                                           payment from that settlement.
 DeepwaterHorizonSettlements.com has detailed                                                                           DeepwaterHorizonSettlements.com                             has
                                                     read the Medical Beneﬁts Settlement notice                         detailed descriptions and maps to help you
 descriptions and maps to help you determine         because you may also be eligible for beneﬁts                       determine whether a geographic location may                                      YOUR OTHER OPTIONS
 whether a geographic location may be included       from that settlement.
 in the E&PD Settlement. Additionally, you                                                                              be included in one ofthese zones. Additionally,                       If you do not want to be legally bound by the
 can call 1-866-992-6174 or e-mail questions@                     YOUR OTHER OPTIONS                                    you can call 1-866-992-6174 or e-mail info@                          Medical Benefits Settlement, you must Opt
 DeepwaterHorizonEconomicSettlement.com to            If you do not want to be legally bound by                         D e e p wa t e r H o r i z o n M e d i c a l S e t t l e m e n t .   Out or exclude yourself by October 1, 2012
 ﬁnd out if a geographic location is included.       the E&PD Settlement, you must Opt Out or                           com to find out if a geographic location is                          or you won’t be able to sue BP over certain
                                                     exclude yourself by October 1, 2012 or you                         included.                                                            medical claims. If you stay in the Medical
         WHAT DOES THE ECONOMIC & PROPERTY           won’t be able to sue BP over certain economic                                                                                           Benefits Settlement, you may object to it
           DAMAGES SETTLEMENT PROVIDE?               and property damage claims. If you stay in                                   WHAT DOES THE MEDICAL BENEFITS                             by August 31, 2012. The Detailed Notice
  The E&PD Settlement makes payments for             the E&PD Settlement, you may object to it by                                      SETTLEMENT PROVIDE?                                   explains how to exclude yourself or object.
 the following types of claims: (1) Seafood          August 31, 2012. The Detailed Notice explains
                                                                                                                         The benefits of the Medical Benefits                                 The Court will hold a hearing on
 Compensation, (2) Economic Damage, (3) Loss         how to exclude yourself or object.
                                                                                                                        Settlement include:        (1) payments to                           November 8, 2012 to consider whether to
 of Subsistence, (4) Vessel Physical Damage,                                                                            qualifying people for certain acute (short-                          approve the Medical Benefits Settlement.
 (5) Vessels of Opportunity Charter Payment,          The Court will hold a hearing on
                                                     November 8, 2012 to consider whether to                            term) and chronic (ongoing) medical                                  You or your own lawyer may ask to appear
 (6) Coastal Real Property Damage, (7) Wetlands                                                                         conditions occurring after exposure to oil                           and speak at the hearing at your own cost.
                                                     approve the E&PD Settlement. You or your
 Real Property Damage, and (8) Real Property                                                                            or chemical dispersants; (2) provision of                            Class Counsel will ask the Court to consider
                                                     own lawyer may ask to appear and speak at the
 Sales Damage. There is no limit on the total                                                                           periodic medical examinations to qualifying                          an award of fees, costs, and expenses of 6%
                                                     hearing at your own cost. The Court will also
 dollar amount of the E&PD Settlement; all                                                                              people; and (3) creation of a Gulf Region                            of the value of the benefits actually provided
                                                     consider Class Counsel fees, costs, and expenses
 qualiﬁed claims will be paid.                                                                                                                                                               under the Medical Benefits Settlement
                                                     including an interim payment of $75 million and                    Health Outreach Program, consisting of
                                                     additional awards equal to 6% of class claims                      projects to strengthen the healthcare system.                        Agreement. Class Counsel fees, costs,
     HOW TO GET BENEFITS FROM THE ECONOMIC                                                                              Benefits (1) and (2) will be provided only                           and expenses under the Medical Benefits
                                                     and beneﬁts paid. Class Counsel fees, costs
       & PROPERTY DAMAGES SETTLEMENT                 and expenses under the Economic and Property                       after the Court grants final approval and any                        Settlement Agreement and the Economic and
   You need to submit a Claim Form to request        Damages Settlement Agreement and the Medical                       appeals are resolved.                                                Property Damages Settlement Agreement
 a payment. You can get a copy of the various        Beneﬁts Settlement Agreement jointly cannot                                                                                             jointly cannot exceed $600 million. Class
 Claim Forms by visiting the website or by calling   exceed $600 million. Class members’ payments                                   HOW TO GET BENEFITS FROM THE
                                                                                                                                                                                             members’ payments will not be reduced if
 1-866-992-6174. Claims can be submitted             will not be reduced if the Court approves the                                                                                           the Court approves the payment of Class
                                                                                                                                    MEDICAL BENEFITS SETTLEMENT
 online or by mail. If you have questions about      payment of Class Counsel fees, costs, and                                                                                               Counsel fees, costs, and expenses because
 how to ﬁle your claim, you should call the toll-    expenses because BP will separately pay these                       You need to submit a Claim Form to request                          BP will separately pay these attorney fees,
 free number for assistance.                         attorney fees, costs, and expenses.                                benefits. You can get a copy of the Claim                            costs, and expenses.


          DeepwaterHorizonSettlements.com ! 1-866-992-6174                                                                     DeepwaterHorizonSettlements.com ! 1-866-992-6174
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                                                                                                                                                                        7NN05NMA0624



                                                                                                                                                Sunday, June 24, 2012   THE TIMES-PICAYUNE   A-5
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                                       Medical Benefits Settlement
       Providing Beneﬁts to Clean-Up Workers and Certain Gulf Coast Residents
      If you have a medical claim related to the Deepwater           submitted by mail. If you have questions about how to
    Horizon oil spill, you could get beneﬁts from a class            ﬁle your claim, you should call the toll-free number for
    action settlement with BP Exploration & Production Inc.          assistance.
    and BP America Production Company (“BP”). Go to
    DeepwaterHorizonSettlements.com for more information,              The deadline for ﬁling a Claim Form is one year after
    including information on how to ﬁle a claim.                     the Medical Beneﬁts Settlement becomes effective (that
                                                                     is, after the Court grants “ﬁnal approval” and any appeals
              WHO IS INCLUDED IN THE MEDICAL                         are resolved). The exact date of the claim ﬁling deadline
                  BENEFITS SETTLEMENT?                               will be posted on the website. It is highly recommended
      The Medical Class includes (1) clean-up workers and            that Medical Class Members complete and submit their
    (2) certain people who resided in speciﬁc geographic             claim forms promptly. Please read the Economic and
    areas in coastal and wetlands areas along the Gulf               Property Damages Settlement notice because you may
    Coast during speciﬁc periods in 2010. The website                also be eligible for a payment from that settlement.
    DeepwaterHorizonSettlements.com has detailed
    descriptions and maps to help you determine whether                                YOUR OTHER OPTIONS
    a geographic location may be included in one of these              If you do not want to be legally bound by the Medical
    zones. Additionally, you can call 1-866-992-6174 or
                                                                     BeneﬁtsSettlement,youmustOptOutorexcludeyourselfby
    e-mail info@DeepwaterHorizonMedicalSettlement.com
                                                                     October 1, 2012 or you won’t be able to sue BP over
    to ﬁnd out if a geographic location is included.
                                                                     certain medical claims. If you stay in the Medical Beneﬁts
                                                                     Settlement, you may object to it by August 31, 2012.
             WHAT DOES THE MEDICAL BENEFITS
                                                                     The Detailed Notice explains how to exclude yourself or
                  SETTLEMENT PROVIDE?                                object.
      The beneﬁts of the Medical Beneﬁts Settlement include:
    (1) payments to qualifying people for certain acute (short-        The Court will hold a hearing on November 8, 2012
    term) and chronic (ongoing) medical conditions occurring         to consider whether to approve the Medical Beneﬁts
    after exposure to oil or chemical dispersants; (2) provision     Settlement. You or your own lawyer may ask to appear
    of periodic medical examinations to qualifying people; and       and speak at the hearing at your own cost. Class Counsel
    (3) creation of a Gulf Region Health Outreach Program,           will ask the Court to consider an award of fees, costs, and
    consisting of projects to strengthen the healthcare system.      expenses of 6% of the value of the beneﬁts actually provided
    Beneﬁts (1) and (2) will be provided only after the Court        under the Medical Beneﬁts Settlement Agreement. Class
    grants ﬁnal approval and any appeals are resolved.               Counsel fees, costs, and expenses under the Medical
                                                                     Beneﬁts Settlement Agreement and the Economic and
               HOW TO GET BENEFITS FROM THE                          Property Damages Settlement Agreement jointly cannot
               MEDICAL BENEFITS SETTLEMENT                           exceed $600 million. Class members’ payments will
     You need to submit a Claim Form to request beneﬁts.             not be reduced if the Court approves the payment of
    You can get a copy of the Claim Form by visiting the             Class Counsel fees, costs, and expenses because BP will
    website or by calling 1-866-992-6174. Claims can be              separately pay these attorney fees, costs, and expenses.




                                                              Economic and Property Damages Settlement
                                                                   Providing Money to Individuals and Businesses
                                             If you have economic loss or property damage because of          The deadline to submit most E&PD claims will be
                                           the Deepwater Horizon oil spill, you could get money from        April 22, 2014 or six months after the E&PD Settlement
                                           a class action settlement with BP Exploration & Production       becomes effective (that is, after the Court grants “ﬁnal
                                           Inc. and BP America Production Company (“BP”). Go to             approval” and any appeals are resolved), whichever is later.
                                           DeepwaterHorizonSettlements.com for more information,            There will be an earlier deadline to submit E&PD Seafood
                                           including information on how to ﬁle a claim.                     Compensation claims. The earlier deadline to submit
                                                                                                            Seafood Compensation claims will be 30 days after ﬁnal
                                                   WHO IS INCLUDED IN THE ECONOMIC &                        approval of the Settlement by the United States District
                                                    PROPERTY DAMAGES SETTLEMENT?                            Court for the Eastern District of Louisiana (regardless of
                                             The Economic and Property Damages (“E&PD”)                     appeals). Actual claim ﬁling deadlines will be posted on
                                           Settlement Class includes people, businesses, and                the website as they become available. Valid claims will be
                                           other entities in the states of Louisiana, Alabama               paid as they are approved, beginning shortly after the Court-
                                           and Mississippi, and certain counties in Texas and               Supervised Settlement Program commences. It is highly
                                           Florida, that were harmed by the oil spill. The website          recommended that E&PD Settlement Class Members
                                           DeepwaterHorizonSettlements.com           has      detailed      complete and submit their claim forms promptly. Please
                                           descriptions and maps to help you determine whether              read the Medical Beneﬁts Settlement notice because you
                                           a geographic location may be included in the E&PD                may also be eligible for beneﬁts from that settlement.
                                           Settlement. Additionally, you can call 1-866-992-6174 or                          YOUR OTHER OPTIONS
                                           e-mail questions@DeepwaterHorizonEconomicSettlement.
                                           com to ﬁnd out if a geographic location is included.               If you do not want to be legally bound by the E&PD
                                                                                                            Settlement, you must Opt Out or exclude yourself by
                                                  WHAT DOES THE ECONOMIC & PROPERTY                         October 1, 2012 or you won’t be able to sue BP over
                                                    DAMAGES SETTLEMENT PROVIDE?                             certain economic and property damage claims. If you
                                                                                                            stay in the E&PD Settlement, you may object to it by
                                             The E&PD Settlement makes payments for the following           August 31, 2012. The Detailed Notice explains how to
                                           types of claims: (1) Seafood Compensation, (2) Economic          exclude yourself or object.
                                           Damage, (3) Loss of Subsistence, (4) Vessel Physical
                                           Damage, (5) Vessels of Opportunity Charter Payment,                The Court will hold a hearing on November 8, 2012 to
                                           (6) Coastal Real Property Damage, (7) Wetlands Real              consider whether to approve the E&PD Settlement. You
                                           Property Damage, and (8) Real Property Sales Damage.             or your own lawyer may ask to appear and speak at the
                                           There is no limit on the total dollar amount of the E&PD         hearing at your own cost. The Court will also consider
                                           Settlement; all qualiﬁed claims will be paid.                    Class Counsel fees, costs, and expenses including an
                                                                                                            interim payment of $75 million and additional awards equal
                                              HOW TO GET BENEFITS FROM THE ECONOMIC &
                                                                                                            to 6% of class claims and beneﬁts paid. Class Counsel
                                                   PROPERTY DAMAGES SETTLEMENT                              fees, costs and expenses under the Economic and Property
                                             You need to submit a Claim Form to request a payment.          Damages Settlement Agreement and the Medical Beneﬁts
                                           You can get a copy of the various Claim Forms by visiting        Settlement Agreement jointly cannot exceed $600 million.
                                           the website or by calling 1-866-992-6174. Claims can be          Class members’ payments will not be reduced if the Court
                                           submitted online or by mail. If you have questions about         approves the payment of Class Counsel fees, costs, and
                                           how to ﬁle your claim, you should call the toll-free number      expenses because BP will separately pay these attorney
                                           for assistance.                                                  fees, costs, and expenses.




      DeepwaterHorizonSettlements.com � 1-866-992-6174


PAGE: A-5 Sunday, June 24, 2012 Zone: Metro                                                                           Output at 7:14 PM, Friday
Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 96 of 224




          Attachment 8
                     Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 97 of 224
Deepwater Horizon Settlement Notice Program
Television Post‐Buy Report
August 9, 2012

Designated             18+                     First               Last                            Average    Average       Gross
Market Area (DMA)   Population    Station   Appearance          Appearance        Spots   GRP's1    Reach    Frequency   Impressions

Alexandria            169,596     Cable      6/11/12               7/1/12           188    85.5
                                 KALB-TV     6/12/12               7/1/12            46   229.8
                                 NALB-TV     6/11/12              6/23/12            18    43.6
                                 WNTZ-TV     6/11/12               7/1/12            49    58.8
                                                                  Market Total:     301   417.7      90.0%        4.6        708,233

Baton Rouge           644,063     Cable      6/11/12               7/1/12           261    57.2
                                 WAFB-TV     6/11/12               7/1/12            31   141.6
                                 WBRZ-TV     6/11/12               7/1/12            35    87.2
                                 WVLA-TV     6/11/12              7/23/12            69    76.8
                                                                  Market Total:     396   362.8      90.1%        4.1      2,321,203

Beaumont-             320,001    KBMT-TV     6/11/12              6/22/12            48   109.4
Port Arthur                      KFDM-TV     6/11/12               7/1/12            31   171.0
                                 NBMT-TV     6/11/12               7/1/12            66    89.6
                                                                  Market Total:     145   370.0      89.0%        4.2      1,196,164

Biloxi-Gulfport       246,031     Cable      6/11/12               7/1/12           147    57.5
                                 WDSU-TV     6/11/12               7/1/12            30    98.6
                                 WLOX-TV     6/11/12               7/1/12            30   242.7
                                 WXXV-TV     6/12/12               7/1/12            71    62.9
                                                                  Market Total:     278   461.7      99.0%        4.6      1,120,425

Birmingham          1,392,938    WBMA-TV     6/11/12               7/1/12            36   110.5
                                 WBRC-TV     6/11/12              6/30/12            33   140.4
                                 WVTM-TV     6/11/12              6/30/12            57   121.0
                                                                  Market Total:     126   371.9      90.4%        4.1      5,162,785

Columbus-Tupelo-      354,444    WCBI-TV     6/11/12               7/1/12            36   110.5
West Point                       WLOV-TV     6/11/12              6/27/12            33    82.5
                                 WTVA-TV     6/11/12              6/27/12            33    163
                                                                  Market Total:     102   356.0      87.9%        4.0      1,277,380




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                     Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 98 of 224
Deepwater Horizon Settlement Notice Program
Television Post‐Buy Report
August 9, 2012

Designated              18+                     First               Last                            Average    Average       Gross
Market Area (DMA)    Population    Station   Appearance          Appearance        Spots   GRP's1    Reach    Frequency   Impressions

Dothan                 203,854    WDFX-TV     6/11/12              6/30/12           107   141.3
                                  WDHN-TV     6/11/12              7/26/12            74    96.2
                                  WTVY-TV     6/11/12               7/1/12            38   181.0
                                                                   Market Total:     219   418.5      92.5%        4.5        848,542

Ft. Myers-Naples       953,155     Cable      6/12/12               7/1/12           135    35.5
                                  WBBH-TV     6/11/12               7/1/12            28   122.8
                                  WINK-TV     6/11/12               7/1/12            34   117.5
                                  WZVN-TV     6/11/12              6/30/12            44    94.2
                                                                   Market Total:     241   370.0      85.0%        4.4      3,564,799

Gainesville            236,341     Cable      6/12/12               7/1/12           180    55.5
                                  WCJB-TV     6/11/12              6/20/12            43   189.3
                                  WGFL-TV     6/11/12               7/1/12            86    75.1
                                  WOGX-TV     6/11/12               7/7/12           120   114.5
                                                                   Market Total:     429   434.4      92.0%        4.8      1,043,681

Greenwood-             126,476     Cable      6/11/12               7/1/12           352    60.4
Greenville                        EABG-TV     6/11/12              6/29/12            24    55.2
                                  WABG-TV     6/11/12              6/30/12            23   129.6
                                  WXVT-TV     6/11/12              6/30/12            39   129.7
                                                                   Market Total:     438   374.9      87.9%        4.3        474,706

Houston              4,431,882     Cable      6/11/12               7/1/12           690    59.0
                                  KHOU-TV     6/11/12               7/1/12            45   101.6
                                  KPRC-TV     6/11/12               7/1/12            71    95.9
                                  KTRK-TM     6/11/12               7/1/12            87    94.9
                                                                   Market Total:     893   351.4      86.0%        4.1     15,629,815

Huntsville-Decatur     741,582     Cable       6/11/12              7/1/12           137    36.2
                                  WAAY-TV     6/11-7/29             7/1/12            54    81.9
                                  WAFF-TV      6/11/12              7/1/12            35   100.6
                                  WHNT-TV      6/11/12              7/1/12            44   147.6
                                                                   Market Total:     270   366.3      86.9%        4.3      2,771,069




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                     Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 99 of 224
Deepwater Horizon Settlement Notice Program
Television Post‐Buy Report
August 9, 2012

Designated                18+                     First               Last                            Average    Average       Gross
Market Area (DMA)      Population    Station   Appearance          Appearance        Spots   GRP's1    Reach    Frequency   Impressions

Jackson                  633,092    WAPT-TV     6/11/12               7/8/12            50   130.7
                                    WJTV-TV     6/11/12               7/1/12            46   102.3
                                    WLBY-TV     6/11/12               7/1/12            34   137.4
                                                                     Market Total:     130   370.4      89.9%        4.1      2,333,514

Lafayette                433,530     Cable      6/1/12                7/1/12           121    64.1
                                    KADN-TV     6/11/12              7/23/12            56    59.1
                                    KATC-TV     6/11/12              6/30/12            29    81.4
                                    KLFY-TV     6/11/12              6/30/12            28   120.3
                                                                     Market Total:     234   324.9      91.8%        3.4      1,353,134

Lake Charles             179,998     Cable      6/11/12               7/1/12           230    79.3
                                    KLFY-TV     6/11/12              6/30/12            28   120.3
                                    KPLC-TV     6/11/12              6/30/12            25   110.6
                                    KVHP-TV     6/11/12              6/29/12            66    75.1
                                                                     Market Total:     349   385.3      88.9%        4.3        688,078

Laurel-Hattiesburg       210,449    WDAM-TV     6/11/12              6/26/12            40   257.8
                                    WHLT-TV     6/11/12              6/28/12            53    85.7
                                                                     Market Total:      93   343.5      98.5%        3.5        705,635

Meridian                 129,197    WGBC-TV     6/12/12              7/26/12            66    92.4
                                    WMDN-TV     7/17/12              7/22/12            67    73.7
                                    WTOK-TV     6/11/12              6/30/12            24   170.7
                                                                     Market Total:     157   336.8      94.0%        3.6        437,203

Miami-Ft. Lauderdale   3,290,983     Cable      6/11/12               7/1/12           592    54.8
                                    WFOR-TV     6/11/12               7/1/12           100   107.8
                                    WPLG-TV     6/12/12               7/1/12            54   106.6
                                    WSVN-TV     6/11/12              6/29/12            55   129.1
                                                                     Market Total:     801   398.3      83.0%        4.8     13,111,276

Mobile-Pensacola         999,082    WALA-TV     6/11/12               7/1/12            45    99.7
                                    WEAR-TV     6/11/12              7/29/12            54   107.8
                                    WKRG-TV     6/12/12              6/28/12            29   128.7
                                                                     Market Total:     128   336.2      83.2%        4.0      3,324,945



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                    Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 100 of 224
Deepwater Horizon Settlement Notice Program
Television Post‐Buy Report
August 9, 2012

Designated             18+                     First               Last                            Average    Average       Gross
Market Area (DMA)   Population    Station   Appearance          Appearance        Spots   GRP's1    Reach    Frequency   Impressions

Monroe-El Dorado      327,931    KARD-TV     6/11/12              6/29/12            47     65.8
                                 KNOE-TV     6/11/12              6/30/12            34    203.6
                                 KTVE-TV     6/11/12              6/30/12            43    103.2
                                                                  Market Total:     124    372.6     91.1%        4.1      1,224,855

Montgomery            454,880     Cable      6/11/12               7/1/12           140     43.3
                                 WAKA-TV     6/11/12              6/30/12            32     85.8
                                 WNCF-TV     6/13/12              6/30/12            39     64.6
                                 WSFA-TV     6/11/12               7/1/12            32    164.2
                                                                  Market Total:     243    357.9     86.1%        4.2      1,644,937

New Orleans         1,241,014     Cable      6/11/12               7/1/12           427     59.2
                                 WDSU-TV     6/11/12               7/1/12            31    90.46
                                 WVUE-TV     6/11/12               7/1/12            39    101.9
                                 WWL-TV      6/11/12              6/30/12            24    112.7
                                                                  Market Total:     521   364.26     85.9%        4.2      4,477,330

Panama City           247,483     Cable      6/11/12               7/1/12           273     71.6
                                 WJHG-TV     6/11/12               7/1/12            22     99.9
                                 WMBB-TV     6/12/12              6/30/12            65    153.6
                                 WPGX-TV     6/11/12              6/30/12            67     63.0
                                                                  Market Total:     427    388.1     82.1%        4.7        954,963

Shreveport            715,276    KSLA-TV     6/11/12               7/1/12            37    162.5
                                 KTAL-TV     6/11/12               7/1/12            67    100.5
                                 KTBS-TV     6/11/12               7/1/12            33    139.6
                                                                  Market Total:     137    402.6     92.7%        4.4      2,917,468

Tallahassee           519,612     Cable      6/12/12               7/1/12           267     63.2
                                 WCTV-TV     6/11/12              6/29/12            14     81.1
                                 WTLH-TV     6/11/12              7/21/12            89     63.7
                                 WTWC-TV     6/11/12              7/20/12            52     71.7
                                                                  Market Total:     422    279.7     74.5%        3.8      1,471,022




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                    Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 101 of 224
Deepwater Horizon Settlement Notice Program
Television Post‐Buy Report
August 9, 2012

Designated                 18+                           First               Last                            Average    Average       Gross
Market Area (DMA)       Population      Station       Appearance          Appearance        Spots   GRP's1    Reach    Frequency   Impressions

Tampa-                  3,361,308      Cable            6/11/12              7/1/12           168    77.4
St. Petersburg                        WFLA-TV           6/11/12              7/1/12            37    80.7
                                      WTSP-TV           6/11/12              7/1/12            65   118.7
                                      WTVT-TV           6/11/12              7/1/12            56   112.9
                                                                            Market Total:     326   389.7      89.1%        4.4      1,317,672

                                                                         Average Market:      305   373.3      88.3%        4.2      2,772,340
                                                                            Grand Total:    7,930   9,706                           72,080,834


1
 GRP's: Gross Rating Points
Target Audience: Adults 18+
Source: Nielsen May 2012 Survey; LPM Overnight Ratings Markets Miami, Houston and Tampa




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          Attachment 9
                                    Case 2:10-md-02179-CJB-DPC
Deepwater Horizon Oil Spill Settlement                            Document 7110-1 Filed 08/13/12 Page 103 of 224
30 Second Television Spot Final Storyboard 8/9/12




 OFF-CAMERA NARRATOR: If you or                     were harmed by the Deepwater               you may be able to get payments and
 your business                                      Horizon Oil Spill,                         other benefits

      Wide shot of beach and clouds.                    Men in marshy area                          Small beach house




  from two separate legal settlements.              payments for economic and property         The other provides payments and
        One settlement provides                     damages.                                   benefits for medical claims.

      Man at desk in marina                             Hotel housekeeper making bed                Medium Shot female doctor with patient
                                    Case 2:10-md-02179-CJB-DPC
Deepwater Horizon Oil Spill Settlement                           Document 7110-1 Filed 08/13/12 Page 104 of 224
30 Second Television Spot Final Storyboard 8/9/12




   To get detailed information and claim            go to Deepwater                                        or call 866-992-6174.
                   forms,                           HorizonSettlements.com

           People working in restaurant                     Man in front of fishing boat, other boats in         Wide shot of man with clipboard next to freighter
                                                            background




            Sunset with moorings in foreground
Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 105 of 224




        Attachment 10
                       Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 106 of 224
    Deepwater Horizon Settlement Notice Program
    Mainstream Radio Schedule Delivery June 11, 2012-July 1, 2012
    August 9, 2012

Market                          Stations 1st Appearance     2nd Appearance        Spots     GRP's1   Average Reach    Average Frequency Gross Impressions
Alexandria                            5      6/11/12            6/24/12             230     187.0             47.9                 4.1            273,000
Baton Rouge                           4      6/11/12            6/24/12             183     173.2             42.2                 4.1            914,704
Beaumont                              4      6/11/12            6/24/12             170     194.6             43.6                 4.5            568,841
Biloxi                                3      6/11/12            6/24/12             172     184.0             40.4                 4.6            513,546
Birmingham                            4      6/11/12            6/24/12             216     170.6             42.3                 4.0          1,389,708
*Columbus-Starkville                  2      6/11/12            6/24/12              80      90.2             22.6                 4.0             86,200
Dothan                                4      6/11/12            6/24/12             216     208.8             40.1                 5.2            388,368
Ft. Myers-Naples                      3      6/11/12            6/24/12             134     194.8             37.7                 5.1          1,489,474
Gainesville                           4      6/11/12            6/24/12             149     177.8             42.7                 4.2            923,276
**Greenwood                           1      6/11/12            6/24/12              84
Laurel-Hattiesburg                    3      6/11/12            6/24/12             212     267.2              50.4               5.3             399,418
Houston                               7      6/11/12             7/1/12             291     131.3              54.1               2.4           5,917,068
Huntsville-Decatur                    4      6/11/12            6/24/12             186     173.0              41.3               4.2             726,584
Jackson                               4      6/11/12            6/24/12             224     132.4              33.7               3.9             475,826
Lafayette                             3      6/11/12            6/24/12             200     122.0              12.2              10.0             497,760
Lake Charles                          2      6/11/12            6/24/12             114     177.8              35.2               5.0             250,529
**Meridian                            5      6/11/12            6/24/12             164
Miami-Ft. Lauderdale                  8      6/11/12            6/24/12             347     165.4              58.6               2.8           5,532,769
Mobile-Pensacola                      5      6/11/12            6/24/12             298     203.6              45.7               4.8             926,810
Monroe-El Dorado                      3      6/11/12            6/24/12             128     154.2              40.6               3.8             172,701
Montgomery                            3      6/11/12            6/24/12             252     197.6              31.8               6.2             544,586
New Orleans                           5      6/11/12            6/24/12             223     192.2              48.8               3.9           2,068,264
Panama City                           3      6/11/12            6/24/12             165     184.4              42.4               4.3             241,748
Shreveport                            5      6/11/12            6/24/12             164     102.9              34.4               3.0             318,407
Tallahassee                           6      6/11/12            6/24/12             282     180.4              45.0               4.0             446,000
Tampa-St. Petersburg                  4      6/11/12            6/24/12             222     178.8              46.0               3.9           3,998,504
*Tupelo                               2      6/11/12            6/24/12             144     204.4              32.9               6.2             372,000
              Average Market:                                                                 174            40.5%                4.5           1,177,444
                   Grand Total:    106                                             5250      4349                                              29,436,091

StateNets Network:                202                                            21,900                                                        31,178,000
Cajun Programming Effort:           3                                               594

1
 GRP's: Gross Rating Points
Target Audience: Adults 18+
Source: Arbitron 2012

*Columbus-Tupelo markets are now separately measured markets by Arbiton;   **Greenwood and Meridian not measured by Arbitron
                       Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 107 of 224
    Deepwater Horizon Settlement Notice Program
    African American Radio Schedule Delivery June 11, 2012-June 24, 2012
    August 9, 2012

Market                          Stations 1st Appearance      2nd Appearance        Spots   GRP's1   Average Reach   Average Frequency Gross Impressions
Alexandria                            1      6/11/12             6/24/12             72     203.0            52.4                3.9             83,027
Beaumont-Port Arthur                  1      6/11/12             6/24/12             50     434.0            59.4                7.3            294,958
Biloxi                                1      6/11/12             6/24/12             80     397.6            64.2                6.2            200,776
Birmingham                            2      6/11/12             6/24/12             87     350.0            63.9                5.5            770,000
Columbus-Starkville                   1      6/11/12             6/24/12             72     301.6            56.0                5.4            112,497
Dothan                                2      6/11/12             6/24/12            130     197.3            42.5                4.6             73,396
Ft. Myers-Naples                      1      6/11/12             6/24/12             42      26.2            9.30                2.8            192,600
Gainesville                           2      6/11/12             6/24/12            100     232.6            52.1                4.5            156,075
*Greenwood                            1      6/11/12             6/24/12             78
Laurel-Hattiesburg                    2      6/11/12             6/24/12             95     416.4            76.7               5.4             152,402
Houston                               2      6/11/12             6/24/12             70     205.6            72.8               2.8           1,467,162
Huntsville-Decatur                    2      6/11/12             6/24/12            130     452.0            65.9               6.9             334,028
Jackson                               2      6/11/12             6/24/12             76     290.6            59.3               4.9             461,182
Lafayette                             1      6/11/12             6/24/12             72     336.0            57.7               5.8             363,552
Lake Charles                          1      6/11/12             6/24/12             88     352.8            57.7               6.1             116,777
*Meridian                             3      6/11/12             6/24/12            108
Miami-Ft. Lauderdale                  2      6/11/12             6/24/12             90     316.1            73.8               4.3           1,933,584
Mobile-Pensacola                      1      6/11/12             6/24/12             66     341.8            63.6               5.4             372,562
Monroe-El Dorado                      1      6/11/12             6/24/12            113     284.0            62.5               4.5             100,820
Montgomery                            2      6/11/12             6/24/12             57     376.1            70.8               5.3             397,538
New Orleans                           2      6/11/12             6/24/12            118     366.0            75.3               4.9             980,880
Panama City                           1      6/11/12             6/24/12             56     439.2            77.0               5.7              59,292
Shreveport                            2      6/11/12             6/24/12            137     369.2            63.0               5.9             412,396
Tallahassee                           1      6/11/12             6/24/12             72     423.6            68.2               6.2             273,222
Tampa-St. Petersburg                  2      6/11/12             6/24/12             95     310.0            72.6               4.3             682,930
*Tupelo                               2      6/11/12             6/24/12            144
              Average Market:                                                               309.2          61.4%                5.2             416,319
                   Grand Total:      41                                            2298    7421.7                                             9,991,656

1
 GRP's: Gross Rating Points
Target Audience: Adults 18+
Source: Arbitron 2012

*Greenwood, Meridian and Tupelo not measured by Arbitron African American Survey
                       Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 108 of 224
    Deepwater Horizon Settlement Notice Program
    Hispanic Radio Schedule Delivery June 11, 2012-July 27, 2012
    August 9, 2012

Market                        Stations 1st Appearance       2nd Appearance   Spots   GRP's1   Average Reach   Average Frequency   Gross Impressions
Beaumont                            1      6/11/12              6/24/12        38    104.6             13.5                7.8                29,000
*Birmingham                         3      6/11/12              6/24/12       291
Ft. Myers-Naples                    2      6/11/12              6/24/12       119    433.6            39.4                11.0               606,000
Houston                             5      6/11/12              6/24/12       277    771.1            90.6                 8.5            11,715,953
Miami-Ft Lauderdale                 4      6/11/12              7/27/12       252    231.9            55.2                 4.2             3,906,675
*New Orleans                        1      6/11/12              6/24/12        84
Tampa-St. Petersburg                2      6/11/12              6/24/12       148    238.8            53.8                 4.4               701,084
              Average Market:              6/11/12              6/24/12              356.1          50.5%                  7.1             3,391,742
                 Grand Total:      18                                        1209     1780                                                16,958,712

1
 GRP's: Gross Rating Points
Target Audience: Adults 18+
Source: Arbitron 2012

*Birmingham and New Orleans are not measured by Arbitron Hispanic Survey
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  :30 Radio Script


  If you or your business were harmed by the Deepwater
  Horizon Oil Spill, you may be able to get payments and other
  benefits from two separate legal settlements.


  One settlement provides payments for economic and property
  damages. The other provides payments and benefits for
  medical claims.


  To get detailed information and claim forms go to
  DeepwaterHorizonSettlements.com or call 866‐992‐6174.
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        Attachment 12
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                                                                                                           August 9, 2012


                                                 Deepwater Horizon Oil Spill Settlement
                                                  Economic Loss and Property Damages
                                             Foreign Language and Ethnic Publication List


                                                                             On-Sale   On-Sale   On-Sale   Insertion   Insertion   Insertion
Publication                                    Distribution       Language
                                                                             Date 1    Date 2    Date 3    1 Page #    2 Page #     3 Page #
African American News & Issues                     Houston         English   11-Jun    18-Jun    25-Jun      4&5        13 & 14       4&5
Alexandria News Weekly                            Alexandria       English   14-Jun    21-Jun    28-Jun       11           7           8
Baton Rouge Weekly Press                        Baton Rouge        English   14-Jun    21-Jun    28-Jun        4           4           4
                                           Birmingham/Anniston
Birmingham Times                                                   English   14-Jun    21-Jun    28-Jun       A9            15       11A
                                                 /Tuscaloosa
Centro Tampa (formerly Centro Mi Diario)   Tampa/St. Petersburg   Spanish    15-Jun    22-Jun    29-Jun    20 & 21     20 & 21     17 & 18
Community Voice                               Ft. Myers/Naples    English    14-Jun                        12 & 13
Data News Weekly                                New Orleans       English    14-Jun    21-Jun    28-Jun    13 & 14       7&8         8&9
Diario Las Americas                        Miami/Ft. Lauderdale   Spanish    15-Jun    22-Jun    29-Jun      3A           3A          3A
El Nuevo Herald - Sunday Edition           Miami/Ft. Lauderdale   Spanish    17-Jun    12-Jun     6-Jul      12A          12A         12A
El Perico                                  Beaumont/Port Arthur   Spanish     8-Jun    22-Jun     6-Jul      8A            17         8A
El Sentinel (Ft. Lauderdale/Miami)         Miami/Ft. Lauderdale   Spanish    15-Jun    22-Jun    26-Jun       19            4          23
El Sol De La Florida                       Miami/Ft. Lauderdale   Spanish    15-Jun     n/a       n/a      46 & 47        n/a         n/a
El Tiempo New Orleans                           New Orleans       Spanish     1-Jul     n/a       n/a      18 & 19        n/a         n/a
Florida Sentinel Bulletin                  Tampa/St. Petersburg   English    15-Jun    22-Jun    29-Jun    7A - 8A     12B - 13B   12B - 13B
Forward Times                                      Houston        English    15-Jun    22-Jun    29-Jun      8A            8B         8A
Houston Defender                                   Houston        English    14-Jun    21-Jun    28-Jun     4&5         12 & 13     12 & 13
Jackson Advocate                                 Jackson, MS      English    14-Jun    21-Jun    28-Jun      7A           7A          7A
Jambalaya News                                  New Orleans       Spanish    10-Jun    24-Jun    10-Jul     6&7          6&7         6&7
La Gaceta                                  Tampa/St. Petersburg   Spanish    15-Jun    22-Jun    29-Jun     4&5          4&5         4&5
La Informacion                                     Houston        Spanish    14-Jun    21-Jun    28-Jun    12 & 13      12 & 13     12 & 13
La Noticia de Mississippi                        Jackson, MS      Spanish    13-Jun    20-Jun    27-Jun     8&9         17 & 18     17 & 18
La Subasta Houston (10 Zones)                      Houston        Spanish    18-Jun    25-Jun     2-Jul     8&9          8&9        17 & 18

                                                                                                                                     1
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La Voz De Houston                                      Houston         Spanish     15-Jun   22-Jun   29-Jun     11         V7         V8
                                               Birmingham/Anniston
Latino News                                                                        15-Jun   22-Jun   29-Jun   20 & 21   20 & 21     20 & 21
                                                     /Tuscaloosa       Spanish
Louisiana Weekly                                    New Orleans        English     18-Jun   25-Jun   30-Jun      9         7           7
Miami Times                                    Miami/Ft. Lauderdale    English     13-Jun   20-Jun   27-Jun     5A        8A          19
Mississippi Link                                     Jackson, MS       English     14-Jun   21-Jun   28-Jun     A9         9           9
Monroe Dispatch                                  Monroe/El Dorado      English      5-Jul   12-Jul   28-Jun     10        10          10
Monroe Free Press                                Monroe/El Dorado      English     14-Jun   21-Jun   28-Jun     17        17          15
Montgomery-Tuskegee Times                       Montgomery/Selma       English     14-Jun   21-Jun   28-Jun      9        12         V24
New Orleans Tribune                                 New Orleans        English      1-Jul    n/a      n/a      6&7        n/a         n/a
Nuevos Ecos                                       Ft. Myers/Naples     Spanish      1-Jun   16-Jun    1-Jul    8&9      48 & 49      8&9
                                               Birmingham/Anniston
Paisano                                                                            5-Jul    21-Jun              6          11
                                                     /Tuscaloosa       Spanish
                                                 Mobile/Pensacola/
Pensacola Voice                                                                    14-Jun   21-Jun   28-Jun     10         5             4
                                                  Ft. Walton Beach      English
                                                Harlingen/Weslaco/
Rio Grande Valley Hispanic Newspaper Network                                       14-Jun   21-Jun   28-Jun     A8      A8, A7, 3    A7, 7
                                                Brownsville/McAllen     Spanish
Rumbo (Houston)                                        Houston          Spanish    15-Jun   22-Jun   29-Jun   45 & 46   42 & 43     51 & 52
Saigon Nho                                          New Orleans       Vietnamese   15-Jun   22-Jun   29-Jun   76 & 77   76 & 77     64 & 65
Semana                                                 Houston          Spanish    14-Jun   21-Jun   28-Jun   10 & 11   10 & 11     15 & 16
Shreveport Sun                                        Shreveport        English    14-Jun   21-Jun   28-Jun      9        11           11
Siete Dias (7 Dias)                            Tampa/St. Petersburg     Spanish    16-Jun   23-Jun   30-Jun      3         3           5
South Florida Times (formerly Broward Times)   Miami/Ft. Lauderdale     English    14-Jun   21-Jun   28-Jun     2A        5B          5B
Thuong Mai                                             Houston        Vietnamese   16-Jun   26-Jun    3-Jul   20 & 21   34 & 35     21 & 22
Thuong Mai Weekender                                   Houston        Vietnamese   23-Jun   30-Jun    7-Jul   36 & 37   24 & 25     36 & 37
Viet Bao Weekly - Houston Edition                      Houston        Vietnamese   15-Jun   22-Jun   29-Jun     57        A12         A12
Vietnam Moi News                                       Houston        Vietnamese   16-Jun   23-Jun   30-Jun     A5        A5          A5
Weekly Challenger                              Tampa/St. Petersburg     English    14-Jun   21-Jun   28-Jun      3         3           3




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        Attachment 13
Aviso Legal                                                                                                                                                                                                                                                    Aviso Legal
                                                                                         Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 115 of 224


    Derrame de petróleo de Deepwater Horizon                                                                                          Derrame de petróleo de Deepwater Horizon
                        Acuerdo de daños económicos y a la propiedad                                                                                                   Acuerdo de beneficios médicos
                           Otorgamiento de dinero a personas y empresas                                                                        Otorgamiento de beneficios a los trabajadores de saneamiento y a
                                                                                                                                                       determinados residentes de la Costa del Golfo
  Si sufrió una pérdida económica o daños a la propiedad a       seis meses después de que entre en vigencia el Acuerdo              Si Ud. tiene una reclamación médica relacionada              de reclamación visitando el sitio web o llamando al
raíz del derrame de petróleo de Deepwater Horizon, podría        de E&PD (es decir, después de que el Tribunal otorgue la          con el derrame de petróleo de Deepwater Horizon,               1-866-992-6174. Las reclamaciones se pueden presentar
recibir dinero a partir de un acuerdo de demanda colectiva con   “aprobación final” y todas las apelaciones sean resueltas),       podría recibir beneficios a partir de un acuerdo de            por correo. Si tiene preguntas sobre cómo presentar la
BP Exploration & Production Inc. y BP America Production         lo que ocurra después. Las reclamaciones de compensación          demanda colectiva con BP Exploration & Production              reclamación, debe llamar al número gratuito para obtener
Company (“BP”). Visite DeepwaterHorizonSettlements.              para personas que trabajan con productos comestibles              Inc. y BP America Production Company (“BP”). Visite            asistencia.
com para obtener más información, incluida la información        del mar deberán presentarse antes. Las reclamaciones de           DeepwaterHorizonSettlements.com para obtener más
sobre cómo presentar una reclamación.                            compensación para personas que trabajan con productos                                                                              La fecha límite para presentar un formulario de
                                                                                                                                   información, incluida la información sobre cómo
                                                                 comestibles del mar deben presentarse 30 días después de                                                                         reclamación es un año después de que entre en vigencia
    ¿Quién está incluido en el Acuerdo de                        haber recibido la aprobación final del acuerdo por parte del
                                                                                                                                   presentar una reclamación.
                                                                                                                                                                                                  el Acuerdo de beneficios médicos (es decir, después de
     daños económicos y a la propiedad?                          Tribunal del Distrito de los Estados Unidos en el Distrito           ¿Quién está incluido en el Acuerdo de                       que el Tribunal otorgue la “aprobación final” y todas
  La Demanda colectiva del Acuerdo de daños económicos y         Este de Luisiana (independientemente de las apelaciones).                                                                        las apelaciones sean resueltas). La fecha exacta límite
                                                                                                                                               beneficios médicos?
a la propiedad (Economic and Property Damages, “E&PD”)           Las fechas límite efectivas para presentar las reclamaciones                                                                     para presentar las reclamaciones se publicará en el sitio
incluye personas, empresas y otras entidades en los estados de   se publicarán en el sitio web cuando estén disponibles.             El Grupo de demandantes que participan en el                 web. Se recomienda enfáticamente que los Miembros del
Luisiana, Alabama y Misisipi, y en determinados condados         Las reclamaciones válidas se pagarán cuando se aprueben,          Acuerdo de beneficios médicos incluye (1) encargados
                                                                                                                                                                                                  grupo de demandantes que participan en el Acuerdo de
de Texas y Florida, que se vieron perjudicados por el derrame    inmediatamente después de que comience el programa                de saneamiento y (2) determinadas personas que
                                                                                                                                                                                                  beneficios médicos completen y presenten los formularios
de petróleo. En el sitio web DeepwaterHorizonSettlements.        del acuerdo supervisado por el Tribunal. Se recomienda            residían en áreas geográficas específicas en las áreas
com tiene descripciones y mapas detallados que lo ayudarán       enfáticamente que los Miembros del grupo de demandantes                                                                          de reclamación inmediatamente. Lea el aviso del Acuerdo
                                                                                                                                   costeras y de humedales a lo largo de la Costa del
a determinar si una ubicación geográfica puede incluirse         que participan en el Acuerdo de E&PD completen y                                                                                 de daños económicos y a la propiedad, ya que es posible
                                                                                                                                   Golfo durante períodos específicos en 2010. En el
en el Acuerdo de E&PD. Además, puede llamar al 1-866-            presenten los formularios de reclamación inmediatamente.                                                                         que usted también sea elegible para recibir un pago en
                                                                                                                                   sitio web DeepwaterHorizonSettlements.com tiene
992-6174 o enviar un correo electrónico a questions@             Lea el aviso del Acuerdo de beneficios médicos, ya que                                                                           virtud de dicho acuerdo.
                                                                                                                                   descripciones y mapas detallados que lo ayudarán a
DeepwaterHorizonEconomicSettlement.com para saber si             es posible que usted también sea elegible para obtener            determinar si una ubicación geográfica puede incluirse                            Sus otras opciones
una ubicación geográfica está incluida.                          beneficios en virtud de dicho acuerdo.
                                                                                                                                   en una de estas zonas. Además, puede llamar al
                                                                                                                                                                                                   Si no desea estar legalmente obligado por el Acuerdo de
         ¿Qué ofrece el Acuerdo de daños                                         Sus otras opciones                                1-866-992-6174 o enviar un correo electrónico a info@
                                                                                                                                                                                                  beneficios médicos, debe renunciar o excluirse antes del
           económicos y a la propiedad?                            Si no desea estar legalmente obligado por el Acuerdo
                                                                                                                                   DeepwaterHorizonMedicalSettlement.com para saber si
                                                                                                                                   una ubicación geográfica está incluida.                        1 de octubre de 2012. De lo contrario, no podrá
  El Acuerdo de E&PD otorga pagos para los siguientes            de E&PD, debe renunciar o excluirse antes del                                                                                    demandar a BP por determinadas reclamaciones médicas.
tipos de reclamaciones: (1) compensación para personas           1 de octubre de 2012. De lo contrario, no podrá demandar a
que trabajan con productos comestibles del mar, (2) daños
                                                                                                                                              ¿Qué ofrece el Acuerdo de                           Si participa en el Acuerdo de beneficios médicos, podrá
                                                                 BP por determinadas reclamaciones por daños económicos
                                                                                                                                                 beneficios médicos?                              presentar objeciones antes del 31 de agosto de 2012. El
económicos, (3) pérdida de la subsistencia, (4) daños físicos    y a la propiedad. Si participa en el Acuerdo de E&PD,
a buques, (5) pago del fletamento conforme al programa                                                                                                                                            Aviso detallado explica cómo puede excluirse u objetar.
                                                                 podrá presentar objeciones antes del 31 de agosto de 2012.          Los beneficios del Acuerdo de beneficios médicos
Vessels of Opportunity, (6) daños a bienes inmuebles             El Aviso detallado explica cómo puede excluirse u objetar.        incluyen lo siguiente: 1) pagos a personas que reúnen            E l Tr i b u n a l l l eva r á a c a b o u n a a u d i e n c i a e l
ubicados en la costa, (7) daños a bienes inmuebles ubicados                                                                        los requisitos por determinadas afecciones médicas             8 de noviembre de 2012 para decidir si aprobará
en humedales, y (8) daños a la venta de bienes inmuebles.          El Tribunal llevará a cabo una audiencia el
                                                                 8 de noviembre de 2012 para decidir si aprobará o no el           agudas (de corto plazo) y crónicas (permanentes) que           o no el Acuerdo de beneficios médicos. Usted o su
No hay un límite en el monto total en dólares del Acuerdo
                                                                 Acuerdo de E&PD. Usted o su abogado personal pueden               se manifestaron después de la exposición al petróleo o         abogado personal pueden pedir comparecer y hablar en
de E&PD; se pagarán todas las reclamaciones que reúnan
los requisitos.                                                  pedir comparecer y hablar en la audiencia por cuenta              a los aditivos dispersantes químicos; (2) la realización       la audiencia por cuenta y gasto propios. Los Asesores
                                                                 y gasto propios. El Tribunal también considerará los              de exámenes médicos periódicos a las personas que              legales del grupo de demandantes le solicitarán al Tribunal
     Cómo obtener beneficios a partir del                        honorarios, costos y gastos de los Asesores legales del           reúnen los requisitos; y (3) la creación del Programa de       considerar el otorgamiento del pago de honorarios,
     Acuerdo de daños económicos y a la                          grupo de demandantes, incluido un pago provisorio de              Asistencia Médica de la Región del Golfo (Gulf Region          costos y gastos equivalente al 6 % del valor de los
                                                                 $75 millones y otorgamientos adicionales equivalentes al          Health Outreach Program), que comprende proyectos para         beneficios brindados efectivamente en virtud del Acuerdo
                        propiedad
                                                                 6 % de las reclamaciones del grupo de demandantes y de            fortalecer el sistema de atención médica. Los beneficios       de beneficios médicos. Los honorarios, costos y gastos de
  Debe presentar un Formulario de reclamación para               los beneficios pagados. Los honorarios, costos y gastos de
solicitar un pago. Puede obtener una copia de los diversos                                                                         (1) y (2) se otorgarán solo después de que el Tribunal         los Asesores legales del grupo de demandantes en virtud
                                                                 los Asesores legales del grupo de demandantes en virtud           otorgue la aprobación final y todas las apelaciones sean
Formularios de reclamación visitando el sitio web o                                                                                                                                               del Acuerdo de beneficios médicos y del Acuerdo de
                                                                 del Acuerdo de daños económicos y a la propiedad, y del           resueltas.
llamando al 1-866-992-6174. Las reclamaciones se pueden          Acuerdo de beneficios médicos no pueden exceder, en                                                                              daños económicos y a la propiedad no pueden exceder, en
presentar en línea o por correo. Si tiene preguntas sobre                                                                                                                                         conjunto, los $600 millones. Los pagos de los Miembros
cómo presentar la reclamación, debe llamar al número
                                                                 conjunto, los $600 millones. Los pagos de los miembros                Cómo obtener beneficios a partir del                       del grupo de demandantes no reducirán si el Tribunal
                                                                 del grupo de demandantes no se reducirán si el Tribunal
gratuito para obtener asistencia.                                aprueba el pago de los honorarios, costos y gastos de los               Acuerdo de beneficios médicos                            aprueba el pago de los honorarios, costos y gastos de los
  La fecha límite para presentar la mayor parte de las           Asesores legales del grupo de demandantes, dado que BP              Debe presentar un Formulario de reclamación para solicitar   Asesores legales del grupo de demandantes, dado que BP
reclamaciones de E&PD será el 22 de abril de 2014 o              pagará tales montos individualmente.                              los beneficios. Puede obtener una copia del Formulario         pagará tales montos individualmente.



          DeepwaterHorizonSettlements.com  1-866-992-6174                                                                                DeepwaterHorizonSettlements.com  1-866-992-6174
Thoâng Baùo Phaùp Lyù                                                                                                                                                                                                                                                                              Thoâng Baùo Phaùp Lyù
                                                                                                           Case 2:10-md-02179-CJB-DPC Document 7110-1 Filed 08/13/12 Page 116 of 224


                              Daàu Loang Deepwater Horizon                                                                                                                            Daàu Loang Deepwater Horizon
                             Boài Thöôøng Nhöõng Thieät Haïi Kinh Teá vaø Taøi Saûn                                                                                                                     Boài Thöôøng Quyeàn Lôïi Y Teá
                                        Trao Tieàn cho Caù Nhaân vaø Doanh Nghieäp                                                                                                  Cung Caáp Quyeàn Lôïi cho Nhöõng Nhaân Coâng Thu Doïn vaø
                                                                                                                                                                                            Moät Soá Cö Daân Duyeân Haûi Vuøng Vònh
  Neáu quyù vò bò toån thaát kinh teá hoaëc thieät haïi taøi saûn vì          Haïn choùt noäp ña soá yeâu caàu boài hoaøn E&PD laø                         Neáu quyù vò coù yeâu caàu boài hoaøn y teá lieân quan tôùi daàu          ñeä noäp yeâu caàu boài hoaøn thì neân goïi soá mieãn phí ñeå ñöôïc
daàu loang taïi Deepwater Horizon, thì coù theå ñöôïc tieàn töø             ngaøy 22 thaùng Tö, 2014, hoaëc saùu thaùng sau luùc Daøn Xeáp               loang Deepwater Horizon, thì coù theå höôûng quyeàn lôïi töø                giuùp ñôõ.
boài thöôøng toá tuïng taäp theå vôùi BP Exploration & Production           E&PD coù hieäu löïc (nghóa laø sau khi Toøa AÙn ban cho “chaáp thuaän        boài thöôøng toá tuïng taäp theå vôùi BP Exploration & Production
                                                                            cuoái cuøng ” vaø moïi khaùng caùo ñeàu ñöôïc giaûi quyeát xong), tuøy                                                                                     Haïn choùt ñeå noäp Maãu Yeâu Caàu Boài Hoaøn laø moät naêm sau
Inc. vaø BP America Production Company (“BP”). Haõy vaøo                                                                                                 Inc. vaø BP America Production Company (“BP”). Haõy vaøo
DeepwaterHorizonSettlements.com ñeå bieát theâm thoâng tin, keå             ñieàu naøo treã hôn. Seõ coù moät thôøi haïn choùt sôùm hôn ñeå noäp yeâu                                                                                khi Daøn Xeáp Quyeàn Lôïi Y Teá coù hieäu löïc (nghóa laø, sau khi
                                                                                                                                                         DeepwaterHorizonSettlements.com ñeå bieát theâm thoâng tin, keå
caû thoâng tin veà caùch ñeä ñôn yeâu caàu boài hoaøn.                      caàu E&PD Ñeàn Buø Thuûy Saûn. Thôøi haïn choùt sôùm hôn ñeå noäp                                                                                        Toøa AÙn ban cho “chaáp thuaän cuoái cuøng” vaø moïi khaùng caùo ñeàu
                                                                                                                                                         caû thoâng tin veà caùch ñeä ñôn yeâu caàu boài hoaøn.
                                                                            yeâu caàu Ñeàn Buø Thuûy Saûn seõ laø 30 ngaøy sau khi coù chaáp thuaän                                                                                  ñöôïc giaûi quyeát). Thôøi haïn choùt chính xaùc ñeå ñeä ñôn yeâu caàu
    Boài Thöôøng Nhöõng Thieät Haïi Kinh Teá & Taøi                         cuoái cuøng cuûa Boài Thöôøng bôûi Toøa AÙn Ñòa Phaän Hoa Kyø Ñoâng
                                                                                                                                                                   Boài Thöôøng Quyeàn Lôïi Y Teá Goàm                               boài hoaøn seõ ñöôïc ñaêng taïi maïng löôùi. Nhieät lieät khuyeán caùo
                                                                            Phaàn Louisiana (baát keå coù khaùng caùo hay khoâng). Haïn choùt
               Saûn goàm coù nhöõng ai?                                                                                                                                      Coù Nhöõng Ai?                                          caùc Thaønh Vieân Taäp Theå Ñoøi Quyeàn Lôïi Y Teá neân mau choùng
                                                                            noäp ñôn yeâu caàu boài hoaøn treân thöïc teá seõ ñöôïc ñaêng taïi maïng
  Taäp Theå Boài Thöôøng Nhöõng Thieät Haïi Kinh Teá vaø Taøi               löôùi khi saün saøng. Yeâu caàu boài hoaøn hôïp leä ñöôïc chi traû sau         Taäp Theå Ñoøi Quyeàn Lôïi Y Teá bao goàm (1) nhöõng nhaân                ñieàn ñaày ñuû vaø noäp maãu yeâu caàu boài hoaøn cuûa mình. Neân ñoïc
Saûn (Economic and Property Damage [“E&PD”]) bao goàm                       khi chaáp thuaän, ñöôïc xuùc tieán ngay sau khi Chöông Trình Boài            coâng thu doïn vaø (2) moät soá ngöôøi cö nguï taïi nhöõng khu vöïc         thoâng baùo Boài Thöôøng Thieät Haïi Kinh Teá vaø Taøi Saûn, vì quyù
daân chuùng, doanh nghieäp, vaø caùc thöïc theå khaùc taïi tieåu bang       Thöôøng do Toøa AÙn Giaùm Saùt baét ñaàu. Nhieät lieät khuyeán caùo          ñòa lyù ñaëc bieät ôû vuøng ven bieån vaø vuøng ñaàm laày doïc Duyeân       vò cuõng coù theå hoäi ñuû tieâu chuaån höôûng khoaûn tieàn traû töø boài
Louisiana, Alabama vaø Mississippi, vaø moät soá quaän haït ôû              caùc Thaønh Vieân Taäp Theå Boài Thöôøng E&PD neân mau choùng                Haûi Vuøng Vònh trong nhieàu thôøi kyø cuï theå vaøo naêm 2010.
Texas vaø Florida, ñaõ bò toån haïi vì daàu loang. Maïng löôùi                                                                                                                                                                       thöôøng ñoù.
                                                                            ñieàn ñaày ñuû vaø noäp maãu yeâu caàu boài hoaøn cuûa mình. Neân ñoïc       Maïng löôùi DeepwaterHorizonSettlements.com coù phaàn trình
DeepwaterHorizonSettlements.com coù trình baøy chi tieát                    thoâng baùo Boài Thöôøng Quyeàn Lôïi Y Teá, vì quyù vò cuõng coù theå
                                                                                                                                                         baøy chi tieát vaø baûn ñoà ñeå deã xem vò trí ñòa lyù cuûa quyù vò coù
vaø baûn ñoà ñeå deã xem vò trí ñòa lyù cuûa quyù vò coù bao goàm           hoäi ñuû tieâu chuaån höôûng quyeàn lôïi töø boài thöôøng ñoù.                                                                                                                Nhöõng Löïa Choïn Khaùc
                                                                                                                                                         thuoäc moät trong nhöõng vuøng ñoù hay khoâng. Ngoaøi ra, quyù
trong Boài Thöôøng E&PD hay khoâng. Ngoaøi ra, quyù vò coù                                                                                                                                                                             Neáu quyù vò khoâng muoán bò raøng buoäc phaùp lyù vôùi Boài Thöôøng
                                                                                                                                                         vò coù theå goïi 1-866-992-6174 hoaëc gôûi thö ñieän ñeán info@
theå goïi 1-866-992-6174 hoaëc gôûi thö ñieän ñeán questions@                                 Nhöõng Löïa Choïn Khaùc                                    DeepwaterHorizonMedicalSettlement.com ñeå hoûi xem coù bao                  Quyeàn Lôïi Y Teá, thì phaûi töï Ruùt Lui hay gaïch teân vôùi haïn
DeepwaterHorizonEconomicSettlement.com ñeå hoûi xem coù
                                                                              Neáu quyù vò khoâng muoán bò raøng buoäc phaùp lyù vôùi Boài Thöôøng       goàm vò trí ñòa lyù naøo ñoù khoâng.                                        choùt laø Ngaøy 1 Thaùng Möôøi, 2012, hoaëc seõ khoâng theå kieän BP
bao goàm vò trí ñòa lyù ñoù khoâng.
                                                                            E&PD, thì phaûi Töï Ruùt Lui hay gaïch teân vôùi haïn choùt laø
                                                                                                                                                                                                                                     theo moät soá daïng yeâu caàu boài hoaøn y teá. Neáu coù teân trong Boài
                                                                            Ngaøy 1 Thaùng Möôøi, 2012, hoaëc seõ khoâng theå kieän BP theo                       Boài Thöôøng Quyeàn Lôïi Y Teá Mang
    Boài Thöôøng Nhöõng Thieät Haïi Kinh Teá & Taøi                         moät soá daïng yeâu caàu boài hoaøn thieät haïi kinh teá vaø taøi saûn.
                                                                                                                                                                                                                                     Thöôøng Quyeàn Lôïi Y Teá, thì quyù vò coù theå phaûn ñoái khoaûn naøy
                                                                                                                                                                             Laïi Ñieàu Gì?
             Saûn Cung Caáp Nhöõng Gì?                                      Neáu quyù vò vaãn tieáp tuïc tham gia vaøo Boài Thöôøng E&PD,                                                                                            tröôùc Ngaøy 31 Thaùng Taùm, 2012. Thoâng Baùo Chi Tieát trình
                                                                            thì coù theå phaûn ñoái boài thöôøng naøy vôùi haïn choùt laø                  Lôïi ích cuûa vieäc Boài Thöôøng Quyeàn Lôïi Y Teá goàm coù:              baøy caùch thöùc ñeå quyù vò töï gaïch teân hoaëc phaûn ñoái.
  Boài Thöôøng E&PD seõ chi traû cho caùc loaïi yeâu caàu boài hoaøn
                                                                            Ngaøy 31 Thaùng Taùm, 2012. Thoâng Baùo Chi Tieát seõ giaûi                  (1) chi traû cho ngöôøi hoäi ñuû tieâu chuaån vaø bò moät soá daïng beänh
sau ñaây: (1) Ñeàn Buø Thuûy Saûn, (2) Thieät Haïi Kinh Teá, (3) Maát                                                                                                                                                                  Toøa       AÙn   seõ   toå   chöùc   moät   buoåi   ñieàu     traàn      vaøo
                                                                            thích caùch töï gaïch teân hoaëc phaûn ñoái.                                 traïng caáp tính (ngaén haïn) vaø maõn tính (coøn ñang tieáp dieãn)
Sanh Keá, (4) Thieät Haïi Vaät Chaát ôû Taøu Thuyeàn, (5) Tieàn Traû
                                                                                                                                                         xaûy ra sau khi tieáp nhieãm daàu hoaëc hoùa chaát phaân taùn; (2) chu      Ngaøy 8 Thaùng Möôøi Moät, 2012 ñeå suy xeùt coù neân pheâ duyeät
theo Hôïp Ñoàng Thueâ Taøu Thuyeàn Tuøy Cô, (6) Thieät Haïi Baát              Toøa AÙn seõ toå chöùc moät buoåi ñieàu traàn vaøo
                                                                            Ngaøy 8 Thaùng Möôøi Moät, 2012 ñeå suy xeùt coù neân pheâ                   toaøn coâng vieäc khaùm beänh thöôøng kyø cho ngöôøi hoäi ñuû tieâu         Boài Thöôøng Quyeàn Lôïi Y Teá hay khoâng. Quyù vò hay luaät sö
Ñoäng Saûn Ven Bieån, (7) Thieät Haïi Baát Ñoäng Saûn Vuøng Ñaàm
Laày, vaø (8) Thieät Haïi Khi Baùn Baát Ñoäng Saûn. Khoâng coù giôùi        duyeät Boài Thöôøng E&PD hay khoâng. Quyù vò hay luaät sö rieâng             chuaån; vaø (3) thaønh laäp Chöông Trình Tieáp Ngoaïi Söùc Khoûe            rieâng coù theå xin tham döï vaø trình baøy trong buoåi ñieàu traàn vôùi
haïn veà toång soá tieàn theo Boài Thöôøng E&PD; moïi yeâu caàu boài        coù theå xin tham döï vaø trình baøy trong buoåi ñieàu traàn vôùi chi        Vuøng Vònh, trong ñoù goàm nhieàu döï aùn cuûng coá heä thoáng chaêm        chi phí töï lo. Luaät Sö Coá Vaán Taäp Theå seõ yeâu caàu Toøa AÙn cöùu
hoaøn hoäi ñuû tieâu chuaån ñeàu ñöôïc chi traû.                            phí töï lo. Toøa AÙn cuõng seõ cöùu xeùt leä phí, chi phí vaø phí toån       soùc söùc khoûe. Chæ chu caáp quyeàn lôïi (1) vaø (2) sau khi Toøa AÙn      xeùt traû phaàn leä phí, chi phí, vaø phí toån baèng 6% giaù trò cuûa quyeàn
                                                                            cho Luaät Sö Coá Vaán Taäp Theå, keå caû khoaûn chi traû taïm thôøi          ban cho chaáp thuaän cuoái cuøng vaø moïi khaùng caùo ñeàu ñöôïc giaûi
                                                                                                                                                                                                                                     lôïi thöïc teá ñaõ quy ñònh theo Thoûa Thuaän Boài Thöôøng Quyeàn
   Laøm Caùch Naøo ñeå Höôûng Quyeàn Lôïi töø Boài                          $75 trieäu vaø moùn tieàn phuï troäi baèng vôùi 6% cuûa nhöõng yeâu          quyeát xong.
                                                                            caàu boài hoaøn vaø quyeàn lôïi ñaõ traû cho taäp theå. Leä phí, chi phí                                                                                 Lôïi Y Teá. Leä phí, chi phí vaø phí toån cho Luaät Sö Coá Vaán Taäp
   Thöôøng Nhöõng Thieät Haïi Kinh Teá & Taøi Saûn                                                                                                                                                                                   Theå theo Thoûa Thuaän Boài Thöôøng Quyeàn Lôïi Y Teá vaø Thoûa
                                                                            vaø phí toån cho Luaät Sö Coá Vaán Taäp Theå theo Thoûa Thuaän                Caùch Thöùc ñeå Ñöôïc Höôûng Quyeàn Lôïi töø Boài
 Quyù vò caàn phaûi noäp Maãu Yeâu Caàu Boài Hoaøn ñeå ñoøi khoaûn          Boài Thöôøng Thieät Haïi Kinh Teá vaø Taøi Saûn vaø Thoûa Thuaän Boài                                                                                    Thuaän Boài Thöôøng Thieät Haïi Kinh Teá vaø Taøi Saûn gheùp chung
chi traû. Quyù vò coù theå laáy moät baûn cuûa nhieàu Maãu Yeâu Caàu Boài
                                                                                                                                                                     Thöôøng Quyeàn Lôïi Y Teá
                                                                            Thöôøng Quyeàn Lôïi Y Teá gheùp chung khoâng theå vöôït quaù $600                                                                                        khoâng theå vöôït quaù $600 trieäu. Chi traû cho thaønh vieân taäp theå
Hoaøn khaùc nhau neáu ñeán maïng löôùi hoaëc goïi 1-866-992-6174.           trieäu. Chi traû cho thaønh vieân taäp theå seõ khoâng ñöôïc giaûm bôùt        Quyù vò caàn phaûi noäp Maãu Yeâu Caàu Boài Hoaøn ñeå ñoøi quyeàn
Coù theå noäp yeâu caàu boài hoaøn tröïc tuyeán hoaëc gôûi qua böu ñieän.                                                                                lôïi. Quyù vò coù theå laáy moät baûn cuûa Maãu Yeâu Caàu Boài Hoaøn        seõ khoâng ñöôïc giaûm bôùt neáu Toøa AÙn chaáp thuaän phaàn thuø lao
                                                                            neáu Toøa AÙn pheâ duyeät phaàn thuø lao cho Luaät Sö Coá Vaán Taäp
Neáu quyù vò coù thaéc maéc veà caùch noäp ñôn yeâu caàu boài hoaøn thì     Theå, phí toån, vaø chi phí vì BP seõ traû rieâng phaàn thuø lao cho luaät   neáu ñeán maïng löôùi hoaëc goïi 1-866-992-6174. Coù theå gôûi yeâu         cho Luaät Sö Coá Vaán Taäp Theå, phí toån, vaø chi phí vì BP seõ traû
neân goïi soá mieãn phí ñeå ñöôïc giuùp ñôõ.                                sö, phí toån, vaø chi phí.                                                   caàu boài hoaøn qua böu ñieän. Neáu quyù vò coù thaéc maéc veà caùch        rieâng phaàn thuø lao cho luaät sö, phí toån, vaø chi phí.


                        DeepwaterHorizonSettlements.com  1-866-992-6174                                                                                               DeepwaterHorizonSettlements.com  1-866-992-6174
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                                                                                                           August 9, 2012


                                               Deepwater Horizon Oil Spill Settlement
                                               Economic Loss and Property Damages
                                               Business and Trade Publication List


                                                                                                                 Insertion 1   Insertion 2
                                                                Frequency     On-Sale Date 1   On-Sale Date 2
Publication                                   Distribution                                                         Page #        Page #
Sunbelt Food Service                        Southern States      Monthly         17-May           19-Jun           16 & 17       16 & 17
The Shelby Report of the Southwest                 SW            Monthly         21-May           21-Jun              7             17
The Shelby Report of the Southeast                 SE            Monthly         25-May           27-Jun              7             29
Louisiana Sportsman                             Louisiana        Monthly         23-May           26-Jun           70 & 71       24 & 25
Mississippi Sportsman                          Mississippi       Monthly         23-May           26-Jun           22 & 23       50 & 51
Texas Monthly                                   National         Monthly         24-May           21-Jun          162 & 163      92 & 93
Offbeat                                         Louisiana        Monthly         29-May           27-Jun           22 & 23       30 & 31
National Fisherman                              National         Monthly         31-May           29-Jun           26 & 27       26 & 27
Gulfcoast Business Review                      SW Florida        Weekly           1-Jun            8-Jun           12 & 13       12 & 13
Seafood Business                                National         Monthly          1-Jun            6-Jul           22 & 23       18 & 19
New Orleans Magazine                        New Orleans, LA      Monthly          1-Jun            1-Jul           76 & 77       86 & 87
Travel Weekly                                   National         Weekly           4-Jun           11-Jun           14 & 15       14 & 15
Gulfshore Business                         Southwest Florida     Monthly          5-Jun            2-Jul            2&3           4&5
South Louisiana BusinessNews                    Louisiana        Weekly           6-Jun           11-Jul             A11           A12
Vacation Agent Magazine                         National         Monthly          8-Jun            6-Jul           60 & 61       84 & 85
Wall Street Journal                             National          Daily          11-Jun             n/a              C6            n/a
Offshore                                         Global          Monthly         15-Jun           16-Jul            2&3          30 & 31
New Orleans CityBusiness                    New Orleans, LA      Weekly          15-Jun           22-Jun            8&9           8&9
Birmingham Business Journal                 Birmingham, AL       Weekly          22-Jun             n/a            20 & 21         n/a
Houston Business Journal                      Houston, TX        Weekly          15-Jun             n/a          22A & 23A         n/a
South Florida Business Journal                 Miami, FL         Weekly          15-Jun             n/a            24 & 25         n/a
Mississippi Business Journal                  Jackson, MS        Weekly          18-Jun             n/a            18 & 19         n/a
Tampa Bay Business Journal                     Tampa, FL         Weekly          15-Jun             n/a            16 & 17         n/a

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Travel Agent Magazine                            Global       Bi-weekly         18-Jun            2-Jul          30 & 31    10 & 11
Texas Saltwater Fishing                           Texas       Monthly           19-Jun            17-Jul         28 & 29    44 & 45
Marina Dock Age                                 National      8x yearly         25-Jun             n/a           30 & 31      n/a
Conde Nast Traveler                             National      Monthly           26-Jun             n/a          120 & 121     n/a
Game and Fish                                   National      Monthly           26-Jun             n/a           54 & 55      n/a
Sport Fishing                                   National       9x/year          26-Jun             n/a           38 & 39      n/a
Saltwater Sportsman                             National      10x/year          26-Jun             n/a           34 & 35      n/a
Florida Sportsman                               National      Monthly           26-Jun            31-Jul         74 & 75    12 & 13
Louisiana Life                                  Louisiana    Bi-monthly          1-Jul             n/a           58 & 59      n/a
Gumbeaux Magazine                             SW Louisiana    Monthly            4-Jul             n/a           12 & 13      n/a
Riverside Reader                              SW Louisiana     Weekly            9-Jul             n/a              4         n/a
City Life                                      Shreveport      Weekly           11-Jul             n/a           24 & 25      n/a
The Forum News                                 Shreveport     Bi-weekly         11-Jul             n/a           14 & 15      n/a
Oil and Gas Journal                             National      Monthly           4-Jun              n/a           30 & 31      n/a
Marine Log                                       Global       Monthly     3rd week of June   3rd week of July    32 & 33    24 & 25
Bass Master                                     National      10x/year        6/20-6/27            n/a           74 & 75      n/a
GAFF                                            National     bi-monthly   1st week of July         n/a          108 & 109     n/a
Maritime Executive                               Global      bi-monthly   1st week of June         n/a           78 & 79      n/a
Recommend Magazine                              National      Monthly     1st week of June   1st week of July    30 & 31    46 & 47




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Deepwater Horizon Oil Spill Settlement
Economic Loss and Property Damages
Earned Media Report Through August 10, 2012



   DATE           CITY/ STATE/MARKET      MEDIA VEHICLE                                                                                           HEADLINE                                 SOURCE *
 05/08/12 International                   AlipesNews                                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Anchorage, AL                   Anchorage Daily News                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 AP Alert - Financial                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   WL
 05/08/12 Atlanta, GA                     Atlanta Business Chronicle                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Austin, TX                      Austin American-Statesman                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Austin, TX                      Austin Business Journal                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Baltimore, MD                   Baltimore Business Journal                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Banks.com                                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Beyond The Dow                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Birmingham, AL                  Birmingham Business Journal                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Biz.Yahoo.com                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Bloomberg                                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Bolsamania (Web Financial Group)             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Boston, MA                      Boston Business Journal                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Boston, MA                      Boston Globe                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 BP Energy Daily Report                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 BPEnergy                                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 BPSucksOil.com                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Buffalo, NY                     Buffalo News                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Buffalo, NY                     Business First of Buffalo                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Columbus, OH                    Business First of Columbus                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Louisville, KY                  Business First of Louisville                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Business Insider                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Milwaukee, WI                   Business Journal of Greater Milwaukee        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Phoenix, AZ                     Business Journal of Phoenix                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Greensboro, NC                  Business Journal of the Greater Triad Area   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Albany, NY                      Business Review                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Rockford, TX                    BusinessRockford                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Carlsbad, NM                    Carlsbad Current-Argus                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Chicago, IL                     CBOE [Chicago Board Options Exchange]        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Cbs3Springfield.com                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12 Atlanta, GA                     CbsAtlanta.com                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12 Charlotte, NC                   Charlotte Business Journal                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Chase                                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Cincinnati, OH                  Cincinnati Business Courier                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Columbus Dispatch                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Columbus, GA                    Columbus Ledger-Enquirer                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Congoo                                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Contra Costa Times                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 CourtForum                                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Torrance, CA                    Daily Breeze                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW




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   DATE           CITY/ STATE/MARKET      MEDIA VEHICLE                                                                                        HEADLINE                                 SOURCE *
 05/08/12                                 DailyFinance                              Court Notifies Two Deepwater Horizon Spill Settlements                                        INT
 05/08/12 Dallas, TX                      Dallas Business Journal                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Dallas, TX                      DallasNews.com                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / INT
 05/08/12 Dayton, OH                      Dayton Business Journal                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Dealbreaker                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Denton Record-Chronicle                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Denver, CO                      Denver Business Journal                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Digital Journal                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 El Paso, TX                     El Paso Times                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 eMoneyDaily                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Energy Industry Today                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Energy News Reports                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 EnvironmentGuru.com                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 eZanga                                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Farmington, NM                  Farmington Daily Times                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Fayetteville Observer                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Finance Industry Today                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 FinancialContent Markets                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 International                   FinanzNachrichten.de (ABC New Media AG)   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 FinRoad                                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 FinWin                                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 FOREX Trading News Today                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Forth Worth, TX                 Fort Worth Star-Telegram                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Pensacola, FL                   Fox10TV (Fox10tv.com)                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Fox5vegas.com                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 FoxCarolina.com                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 FoxNebraska.com                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 Global Grind                              Devastated! Never Before Seen Pics Of The Oil Spill                                           INT
 05/08/12                                 Global Investing Today                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Global Investor                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Globe Advisor                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Great American Financial Resources        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 HeraldOnline.com                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Houston, TX                     Houston Business Journal                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Houston, TX                     Houston Chronicle                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Boise, ID                       Idaho Statesman                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Indianapolis, IN                Indianapolis Business Journal             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 IndiaTimes                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Ontario, CA                     Inland Valley Daily Bulletin              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Inside Bay Area                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Interest!ALERT                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW




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 05/08/12 International                   International Business Times    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 InvestorPoint.com               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 InvestTalk                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Bluffton, SC                    Island Packet                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Jacksonville, FL                Jacksonville Business Journal   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 JobCruiter.com                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Jonesboro, AR                   KAIT ABC-8                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Alexandria, LA                  KALB-TV CBS-2 / NBC-5           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Kansas City, MO                 Kansas City Business Journal    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Kansas City, MO                 Kansas City Star                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Little Rock, AR                 KATV-TV ABC-7                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wichita Fall, TX                KAUZ-TV CBS-6                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Phoenix/Prescott, AZ            KAZT IND-7                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Beaumont, TX                    KBMT 12 News (12NewsNow.com)    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Beaumont, TX                    KBMT-TV ABC-12                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Sioux City, IA                  KCAU ABC-9                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Salinas, CA                     KCBA-TV FOX-35                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Lubbock, TX                     KCBD NBC-11                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Temple, TX                      KCEN TV (KCENTV.com)            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Temple, TX                      KCEN-TV NBC-9                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Santa Maria, CA                 KCOY CBS-12                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Kansas City, MO                 KCTV5 (KCTV5.com)               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12 Kansas City, MO                 KCTV-TV CBS-5                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Scottsbluff, NE                 KDUH-TV ABC-3                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Mankato, MN                     KEYC-TV CBS-12 / FOX-12         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Amarillo, TX                    KFDA CBS-10                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Pittsburg, KS                   KFJX-TV FOX-14                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Diego, CA                   KFMB 100.7 Jack-FM              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Diego, CA                   KFMB 760-AM                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Diego, CA                   KFMB-TV CBS-8                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Fresno, CA                      KFRE-TV CW-59                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Honolulu, HI                    KFVE MyNetworkTV-5              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Cape Girardeau, MO              KFVS CBS-12                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Francisco, CA               KGO-TV ABC-7                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Fort Collins, CO                KGWN-TV CBS-5                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Honolulu, HI                    KHNL-TV NBC-8                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Spokane, WA                     KHQ-TV NBC-6                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Corpus Christi, TX              KIII-TV ABC-3                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Seattle, WA                     KING-TV NBC-5                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Salinas, CA                     KION CBS-46                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Santa Maria, CA                 KKFX FOX-11                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW




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 05/08/12 Lafayette, LA                   KLFY CBS-10                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Davenport, IA                   KLJB-TV FOX-18                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Lincoln, NE                     KLKN ABC-8                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Tyler, TX                       KLTV ABC-7                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Sioux City, IA                  KMEG-TV CBS-14                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Fresno, CA                      KMPH-TV FOX-26                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Yakima, WA                      KNDO-TV NBC-3                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Kennewick, WA                   KNDU-TV NBC                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Monroe, LA                      KNOE-TV CBS-8                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Pittsburg, KS                   KOAM-TV CBS-7                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Tucson, AZ                      KOLD CBS-13                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Rapid City, SD                  KOTA ABC-3                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Tulsa, OK                       KOTV-TV CBS-6                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Phoenix, AZ                     KPHO-TV CBS-5                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Lake Charles-Lafayette, LA      KPLC NBC-7                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Dakota Dunes, SD                KPTH-TV FOX-44                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Omaha, NE                       KPTM-TV FOX-42                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Beaverton, OR                   KPTV-TV FOX-12                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Tulsa, OK                       KQCW CW-12/19                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Bryan-College Station, TX       KRHD-TV ABC-40                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Sioux Falls, SD                 KSFY-TV ABC-13                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Shreveport, LA                  KSLA CBS-12                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Saint Paul, MN                  KSTC-TV IND-45                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Saint Paul, MN                  KSTP-TV ABC-5                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Lawton, OK                      KSWO-TV ABC-7 (KSWO.com)         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / INT
 05/08/12 Yuma, AZ                        KSWT-TV CBS-13                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Denison, TX                     KTEN NBC-10                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Sioux City, IA                  KTIV NBC-4                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Lufkin, TX                      KTRE ABC-9                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Nampa, ID                       KTRV-TV FOX-12                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Rochester, MN                   KTTC NBC-10                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Tulsa, OK                       KTUL-TV ABC-8                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Kearney, NE                     KTVG-TV FOX-17 / KSNB-TV FOX-4   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Reno, NV                        KTVN-TV CBS-2                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Hagatna, Guam                   KUAM-TV NBC-8 / CBS-11           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Diego, CA                   KUSI-TV IND-51                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Salt Lake City, UT              KUTV-TV CBS-2                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Colorado Springs, CO            KVOR 740-AM                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Las Vegas, NV                   KVVU-TV FOX-5                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Midland, TX                     KWES-TV NBC-9                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Davenport, IA                   KWQC NBC-6                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / INT




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 05/08/12 Oklahoma City, OK               KWTV-TV CBS-9                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Waterloo, IA                    KWWL-TV NBC-7                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Fargo, ND                       KXJB-TV CBS-4 / KVLY-TV/NBC-11            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Rochester, MN                   KXLT FOX-47                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Bismarck, ND                    KXMB-TV CBS-12                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Bismarck, ND                    KXNET (KXNET.com)                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12 Omaha, NE                       KXVO-TV CW-15                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Waco, TX                        KXXV-TV ABC-25                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Tyler, TX                       KYTX CBS-19                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / INT
 05/08/12 Las Cruces, NM                  Las Cruces Sun-News                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Las Vegas, NV                   Las Vegas Business Press                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Las Vegas, NV                   Las Vegas Review-Journal                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Lawyer4Cancer.com                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Lexington, KY                   Lexington Herald-Leader                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Lieff Cabraser Heimann & Bernstein        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Long Beach, CA                  Long Beach Press-Telegram                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Los Angeles, CA                 Los Angeles Business from bizjournals     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Woodland Hills, CA              Los Angeles Daily News                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Market Intelligence Center                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Market Pulse                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Market Watch                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Maxim Group                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Mega News Network: Banking                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Memphis, TN                     Memphis Business Journal                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Miami, FL                       Miami Herald                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Minneapolis, MN                 Minneapolis / St. Paul Business Journal   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Mlive.com                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 MoneyScience                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1
 05/08/12                                 MotleyRice.com                            Deepwater Horizon Settlements: Court Initiates Notice Program                                 INT
 05/08/12                                 MyFoxChattanooga.com                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 MyFoxMaine.com                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 MyFoxNepa.com                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 MyFoxTallahassee.com                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 MyFoxWausau.com                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12                                 MyMotherLode.com                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Nashville, TN                   Nashville Business Journal                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 NBC12.com                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Kearney, NE                     NebraskaTV                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Albuquerque, NM                 New Mexico Business Weekly                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Raleigh, NC                     News & Observer                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 News Blaze                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW / INT




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 05/08/12                                 News Info Guide                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Tacoma, WA                      News Tribune                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 NewsChannel10.com               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12 Melville, NY                    Newsday                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Fort Collins, CO                NOCO-TV CBS-5                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Seattle, WA                     NorthWest Cable News            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Oil & Gas Industry Today        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 OilSpillsBlog                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 Oklahoma City, OK               Oklahoman                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Olympia, WA                     Olympian                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Ordons News                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Orlando, FL                     Orlando Business Journal        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 New York, NY                    OTC Markets                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Honolulu, HI                    Pacific Business News           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Pasadena, CA                    Pasadena Star-News              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Philadelphia, PA                Philadelphia Business Journal   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Pittsburg, PA                   Pittsburgh Business Times       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Portfolio Tilt                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Portland, OR                    Portland Business Journal       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 PR Newswire                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   LX, WL, MM
 05/08/12 Riverside, CA                   Press-Enterprise                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 ProfitQuotes                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / INT
 05/08/12 Seattle, WA                     Puget Sound Business Journal    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Quincy, IL                      Quincy Herald-Whig              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Ravenna, OH                     Record Publishing Company       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Redlands, CA                    Redlands Daily Facts            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Research.TDAmeritrade.com       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Research.TDWaterhouse.ca        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Research.zecco.com              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 Rigzone.com                     Court Notifies Two Deepwater Horizon Spill Settlements                                        INT
 05/08/12 Ruidoso, NM                     Ruidoso News                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Sacramento, CA                  Sacramento Business Journal     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 San Antonio, TX                 San Antonio Business Journal    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 San Bernardino, CA              San Bernardino County Sun       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Bernardino, CA              San Diego Union-Tribune         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Francisco, CA               San Francisco Business Times    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 San Francisco, CA               San Francisco Chronicle         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 San Gabriel Valley Tribune      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Jose, CA                    San Jose Business Journal       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Jose, CA                    San Jose Business Times         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1
 05/08/12 San Jose, CA                    San Jose Mercury News           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW




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 05/08/12                                 Schema-root.org                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    INT
 05/08/12 Silicon Valley, CA              SiliconValley.com                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 Silobreaker.com                           What To Expect On Deepwater Horizon                                                                                            INT
 05/08/12                                 SocialPicks                               Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Fort Lauderdale, FL             South Florida Business Journal            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12 St. Louis, MO                   St. Louis Business Journal                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12                                 Stocklink                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 StockNod                                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 StockRants                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 Street Insider                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Tampa, FL                       Tampa Bay Business Journal                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12 Alabama                         Tar mat Mobile Register                   Tar Mat                                                                                                                        LX
 05/08/12                                 TC Palm                                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Macon, GA                       Telegraph-Macon                           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 International                   Tendersinfo News                          BP PLC Obtains Approval For Gulf Spill Settlement                                                                              LX
 05/08/12                                 The Associated Press State & Local Wire   Louisiana Editorial Roundup                                                                                                    LX
 05/08/12 Bellingham, WA                  The Bellingham Herald                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 The Business Journals (BizJournals.com)   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12 Chicago, IL                     The Daily Herald                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Chicago, IL                     The Daily Herald                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 The Energy Daily (Access Intelligence)    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 The Herald                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12                                 The IndustryRadar.com                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    INT
 05/08/12                                 The Online Investor                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Sacramento, CA                  The Sacramento Bee                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Sacramento, CA                  The Sacramento Bee                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW / INT
 05/08/12 Columbia, SC                    The State                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Charleston, WV                  The State Journal                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Charleston, WV                  The State Journal (StateJournal.com)      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    MM
 05/08/12                                 The Street (TheStreet.com)                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / INT
 05/08/12 Biloxi, MS                      The Sun Herald                            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 Myrtle Beach, SC                The Sun News                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12 International                   The Telegraph                             BP Remains Attractive, Despite Its Disappointing Figures; The Oil Company's Earnings Are Below What Might Have Been Hoped For, LX
                                                                                    But Not Disastrous, Says Gary White
 05/08/12 International                   The Telegraph                             Kenya Gain Offsets Ghana Fall For Tullow; Tullow Oil Spurted To The Top Of The FTSE 100 Leaderboard, As Investors Reacted To   LX
                                                                                    Monday's News That The Explorer Had Discovered More Oil In Kenya.
 05/08/12                                 Ticker Technologies                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12 Raleigh, NC                     Triangle Business Journal                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    US1 / RW
 05/08/12 San Luis Obispo, CA             Tribune                                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 Value Investing News                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW
 05/08/12                                 ValueNotes                                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                    RW




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 05/08/12                                 Vikramrchari.blogspot.com           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12                                 VisionMonday                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Baton Rouge, LA                 WAFB CBS-9                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Huntsville, AL                  WAFF NBC-48                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Albany, GA                      WALB NBC-10                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12                                 Wall Street Select                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Decatur, IL                     WAND-TV NBC-17                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wausau, WI                      WAOW-TV ABC-9 / WYOW-TV CW-34       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Washington, DC                  Washington Business Journal         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12 Louisville, KY                  WAVE NBC-3                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Green Bay, WI                   WBAY ABC-2                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Youngstown, OH                  WBCB-TV CW-21                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Birmingham, AL                  WBMA-TV ABC-33 / ABC-40             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Salisbury, MD                   WBOC CBS-16                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Salisbury, MD                   WBOC-TV FOX-21                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Clarksburg, WV                  WBOY-TV NBC-12                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Birmingham, AL                  WBRC-TV FOX-6 MyFox Birmingham      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Charlotte, NC                   WBTV CBS-3                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Burlington, VT                  WCAX CBS-3                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Charleston, SC                  WCIV-TV ABC News 4 (ABCNews4.com)   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / INT
 05/08/12 Charleston, SC                  WCSC CBS-5                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Greensboro, NC                  WCWG-TV CW-20                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Hattiesburg-Laurel, MS          WDAM NBC-7                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Louisville, KY                  WDRB FOX-41                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Chattanooga, TN                 WDSI-TV FOX-61                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 International                   Webindia123.com                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wilmington, NC                  WECT NBC-6                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Evansville, IN                  WEHT-TV ABC-25                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Colchester, VT                  WFFF-TV FOX-44                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Evansville, IN                  WFIE NBC-14                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 West Palm Beach, FL             WFLX FOX-29                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Youngstown, OH                  WFMJ-TV NBC-21                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Hartford, CT                    WFSB-TV CBS-3                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Augusta, GA                     WFXG-TV FOX-54                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Roanoke, VA                     WFXR-TV FOX-21/27                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wausau, WI                      WFXS-TV FOX-55                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Atlanta, GA                     WGCL-TV CBS-46                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Quincy, IL                      WGEM-TV NBC-10                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Gainesville, FL                 WGFL-TV CBS-4                       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Rock Island, IL                 WHBF CBS-4                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Quincy, IL                      WHIG (WHIG.com)                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM




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 05/08/12 Whittier, CA                        Whittier Daily News            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Greensville, SC                     WHNS-TV FOX-21                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Harrisburg, PA                      WHTM-TV ABC-27                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wichita, KS                         Wichita Business Journal       Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wichita, KS                         Wichita Eagle                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Erie, PA                            WICU-TV NBC-12                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Columbia, SC                        WISTV NBC-10                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Flint, MI                           WJRT-TV ABC-12                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Madison, WI                         WKOW-TV ABC-27                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Nashville, TN                       WKRN ABC-2                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 LaCrosse, WI                        WLAX-TV FOX-25/48              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Jackson, MS                         WLBT NBC-3                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Providence, RI                      WLNE-TV ABC-6                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Lansing, MI                         WLNS CBS-6                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Biloxi, MS                          WLOX ABC-13                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Columbus, GA                        WLTZ-TV CW-38                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Columbus, GA                        WLTZ-TV NBC-38                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Panama City, FL                     WMBB-TV ABC-13                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Myrtle Beach, SC                    WMBF NBC-32                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Memphis, TN                         WMC NBC-5                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Salisbury, MD                       WMDT-TV ABC-47 /CW-3           Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Saginaw, MI                         WNEM-TV CBS-5                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 West Des Moines, IA                 WOI ABC-5                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Cleveland, OH                       WOIO CBS-19                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wilkes-Barre, PA                    WOLF-TV FOX-56                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Worcester, MA                       Worcester Telegram & Gazette   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Francisco, CA                   World News (WN.com)            Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/08/12 New York, NY                        Worth                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Huntington, WV                      WOWK-TV CBS 13                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Portland, ME                        WPFO-TV FOX-23                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Eau Claire, WI                      WQOW-TV ABC-18                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 San Francisco, CA                   WR Hambrecht & Co.             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Raleigh, NC                         WRAL-TV CBS-5                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Chattanooga, TN                     WRCB-TV NBC-3                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Rockford, IL                        WREX-TV NBC-13                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Richmond, VA                        WRIC ABC-8                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Lynchburg, VA                       WSET-TV ABC-13                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Montgomery, AL                      WSFA NBC-12                    Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wilmington, NC                      WSFX-TV FOX-26                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Springfield, MA                     WSHM-TV CBS-3                  Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 South Bend, IN                      WSJV-TV FOX-28                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW




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 05/08/12 Nashville, TN                   WSMV-TV NBC-4                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Albany, NY                      WTEN ABC-10                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Indianapolis, IN                WTHR NBC-13                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Tallahassee, FL                 WTLH-TV FOX-49                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Knoxville, TN                   WTNZ FOX-43                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Savannah, GA                    WTOC CBS-11                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Toledo, OH                      WTOL CBS-11                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Wheeling, WV                    WTRF-TV CBS-7                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Toledo, OH                      WTVG-TV ABC-13                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Columbus, GA                    WTVM ABC-9                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / MM
 05/08/12 Ashland, VA                     WUPV-TV CW-65                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Ghent, WV                       WVNSTV (WVNSTV.com)                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   MM
 05/08/12 Ghent, WV                       WVNS-TV CBS-59                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Colchester, VT                  WVNY-TV ABC-22                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Bluefield, WV                   WVVA NBC-6                         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Richmond, VA                    WWBT NBC-12                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Cadillac, MI                    WWTV-TV CBS-9                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Cincinnati, OH                  WXIX FOX-19                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 La Crosse, WI                   WXOW ABC-19                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Columbus, GA                    WXTX-TV FOX-54                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Greenville, MS                  WXVT-TV CBS-15                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12 Huntsville, AL                  WZDX-TV FOX-54                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW
 05/08/12                                 Yahoo!                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Yahoo! Canada                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1 / RW
 05/08/12                                 Yahoo! Finance                     Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1
 05/08/12                                 Yahoo! Singapore                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   RW / USI
 05/08/12 Glendale, CA                    Zecco                              Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1
 05/09/12 Baton Rouge, LA                 Baton Rouge Advocate               Pipeline A Priority                                                                           WL
 05/09/12 Tampa, FL                       BayNews9                           Palmetto Suing BP Over Oil Spill, Two Years Later                                             INT
 05/09/12                                 Bloomberg                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/09/12                                 BP Gulf Coast Claims.com           Palmeto City To Sue BP Over Gulf Oil Spill                                                    INT
 05/09/12 Marathon                        Florida Keys Keynoter              Keys BP Payouts Edging Toward $200 Million                                                    WL
 05/09/12 Miami, FL                       Miami.InjuryBoard.com              Class Members For The BP Medical Benefits Settlement                                          MM
 05/09/12                                 Pendley, Baudin & Coffin, L.L.P.   BP Oil Spill Settlement - New Claims Process                                                  INT
 05/09/12 International                   The Daily Telegraph (London)       Gulf Of Mexico Trial Fears Weigh On BP                                                        LX, WL
 05/09/12 San Francisco, CA               World News (WN.com)                Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/09/12 International                   World Oils (WorldOils.com)         Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   INT
 05/09/12                                 Yahoo!                             Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated   US1
 05/10/12 Metairie, LA                    Bayou Buzz (BayouBuzz.com)         BP Settlement Includes Money For Health Care                                                  INT
 05/10/12 Thibodaux, LA                   DailyComet.com                     BP Settlement Includes Money For Health Care                                                  INT
 05/10/12                                 OilSpill Intelligence Report       Deepwater Horizon Class Action Updates                                                        WL




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 05/10/12 International                   The Mumbai Times                                    In Spotlight: BP Settlement Includes Money For Health Care                                                                  INT
 05/10/12 San Francisco, CA               World News (WN.com)                                 Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                 MM
 05/11/12                                 BPSettlement.com                                    BP Oil Spill Deal Includes Funds for Health Care                                                                            INT
 05/11/12                                 David Suzuki Foundation                             Gulf Oil Spill Devastating For Jobs And Economy                                                                             INT
 05/11/12                                 Injury Board Blog Network                           BP Oil Spill Settlement Announced                                                                                           INT
 05/11/12                                 Insurance Law Community Blog                        Judge Gives Preliminary Approval Of Settlement Of Gulf Oil Spill Claims Insurance Law Community Blog                        LX
 05/11/12                                 MoneyScience                                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                 US1
 05/11/12                                 Pr-usa.net                                          Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                 MM
 05/11/12                                 Settlementboard.com                                 Preliminary Settlement Granted In BP Oil Spill Lawsuit                                                                      INT
 05/11/12 Texas                           The Orange Leader                                   Orange City Council Mulls Involvement In BP Lawsuit                                                                         LX
 05/14/12 Metairie, LA                    Bayou Buzz (BayouBuzz.com)                          Gulf Oil Spill Lawyers Request Compensation Fund                                                                            INT
 05/14/12 Metairie, LA                    Bayou Buzz (BayouBuzz.com)                          Unique Features Of The BP Settlement                                                                                        INT
 05/14/12                                 BPSettlements.com                                   The Effects of The Gulf Coast Oil Spill Are Still Felt Two Years Later                                                      INT
 05/14/12                                 Environmental Law & Climate Change Community Blog   BP, Plaintiffs Seek Approval Of Settlement Of Gulf Oil Spill Claims                                                         LX
 05/14/12                                 Environmental Law & Climate Change Community Blog   Oil Spill MDL Judge Resets Start Date Of Trial To January 2013                                                              LX
 05/14/12                                 MoneyScience                                        Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                 US1
 05/14/12 New Orleans, LA                 Nola.com                                            Dates Set For Gathering Information In Oil Spill Trial                                                                      INT
 05/14/12 New Orleans, LA                 Nola.com                                            Gulf Oil Spill Lawyers Request Compensation Fund                                                                            INT
 05/14/12                                 The Destin Log.com                                  Column: Windfall Or Shortfall: Cookie Cutter Compensation For BP Spill                                                      INT
 05/15/12                                 BPClaims.org                                        BP Settlement News: Quick Pays And The Deadly Catch                                                                         INT
 05/15/12                                 Energy Digital                                      Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                 US1
 05/15/12 Panama City, FL                 The News Herald                                     Oil Spill Claims Deadline Extended                                                                                          INT
 05/16/12 Metairie, LA                    Bayou Buzz (BayouBuzz.com)                          BP Settlement And Individual Economic Loss Claims                                                                           INT
 05/16/12                                 Injury Board Blog Network                           BP Settlement And Individual Economic Loss Claims                                                                           INT
 05/16/12                                 MarineLink.com                                      BP Oil Spill Claims Process Still Causes Frustration                                                                        INT
 05/16/12                                 PoliticsDownAndDirty.blogspot.com                   Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is Initiated                                 MM
 05/16/12 Panama City, FL                 The News Herald                                     Oil Spill Claims Deadline Extended                                                                                          LX
 05/16/12 Panama City, FL                 The News Herald                                     Oil Spill Claims Deadline Extended                                                                                          WL
 05/16/12                                 Virtual-Strategy Magazine                           BP Oil Spill Claims Process Proving Frustrating To Many                                                                     INT
 05/17/12                                 Injury Board Blog Network                           BP Settlement Claimants, Don't Become A Victim Of Factoring Abuse, Too                                                      INT
 05/18/12                                 BPSettlements.com                                   Damage From BP Oil Spill Casts A Wider Net                                                                                  INT
 05/18/12                                 Gulf Coast News Today                               Robertsdale To Get Additional Settlement From BP                                                                            INT
 05/20/12 New Orleans, LA                 GulfLive.com                                        Jackson County Cities Fear New BP Claims Process Will Leave Local Claimants Out In Cold                                     INT
 05/20/12 Huntsville, AL                  Huntsville Times                                    Spill Zones Called Unfair                                                                                                   LX, WL
 05/20/12                                 Injury Board Blog Network                           BP Settlement Claims Website Launches                                                                                       INT
 05/20/12                                 NBC33tv.com                                         $14.4 Million Grant Issued To Provide Mental Health Services In BP Spill Affected Areas                                     INT
 05/20/12 Mobile, AL                      Press-Register                                      City OK's Final BP Decision Robertsdale                                                                                     WL / LX
 05/20/12 Mobile, AL                      The Mobile Press Register Inc.                      Spill Zones Called Unfair                                                                                                   LX
 05/20/12 Mobile, AL                      The Mobile Press Register Inc.                      Spill Zones Called Unfair Zones Jackson County Cities Have To Work Harder To Get Compensation Than Places Such As Florida   WL / LX
                                                                                              Keys That Were Outside The Spill Area
 05/21/12 Birmingham, AL                  Birmingham Business Journal                         Robertsdale Accepts Final Settlement From BP                                                                                INT




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 05/21/12                                   Gnome.es news service                     Analysis: The Landmine That Could Explode BP's $7.8 Billion Deal                              INT
 05/21/12                                   GulfCoastClaimsFacility.com               Frequently Asked Questions                                                                    MM
 05/21/12                                   Injury Board Blog Network                 Medical Benefits Overview: BP Settlement                                                      INT
 05/21/12 New York, NY                      Reuters                                   Analysis: The Landmine That Could Explode BP's $7.8 Billion Deal                              INT
 05/21/12 New Orleans, LA                   The Louisiana Weekly                      Corexitmaker Nalco Gets State Credits For Plant                                               LX
 05/21/12 New York, NY                      Thomson Reuters News & Insight            The Buried Landmine That Could Explode BP's $7.8 Bln Gulf Spill Deal                          WL
 05/22/12 Pensacola, FL                     Fox10TV (Fox10tv.com)                     BP Attempting To Reclaim Money, Vessels Of Opportunity Captains Say                           INT
 05/23/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                BP Oil Spill Zoned Treatment In BP spill Recovery; Some Get A List, Others Potluck            INT
 05/23/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                Tulane University Receives Funds To Study Impact Of BP Oil Spill                              INT
 05/23/12                                   BP-OilClaim.com                           BP Oil Claims - BP Settlement                                                                 INT
 05/23/12 Pensacola, FL                     Fox10TV (Fox10tv.com)                     Tulane Program Will Address Environmental Health Concerns                                     INT
 05/23/12                                   Targeted News Service LLC                 Tulane University Awarded $18.7 Million For Gulf Coast Environmental Health Projects          LX
 05/23/12 Mississippi                       The Biloxi Sun Herald                     Coast Claims Offices Coming                                                                   LX
 05/23/12 Gulfport, MS                      The Sun Herald (SunHearld.com)            Zoned Treatment In BP Spill Recovery; Some Get A List, Others Potluck                         LX / INT
 05/24/12                                   AlabamaCarAccident.Blogspot.com           BP Oil Spill Settlement: Vessels of Opportunity (VOO) Claims                                  INT
 05/24/12 New Orleans, LA                   The Times-Picayune Publishing Company     Oil Spill Money Flows To Tulane Program; It Boosts Health Care Along The Gulf Coast           LX
 05/24/12 New Orleans, LA                   The Times-Picayune Publishing Company     Tulane Grant To Fund Spill Aid                                                                LX
 05/25/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                BP Oil Spill Texas BP Oil Spill Claims: Galveston, Chambers, Jefferson Orange Counties        INT
 05/25/12                                   States News Service                       $18.7 Million Funds Oil Spill Related Health Work                                             WL / LX
 05/25/12                                   Tulane.edu                                $18.7 Million Funds Oil Spill Related Health Work                                             INT
 05/26/12                                   EastTexasInjuryBoard.com                  BP Texas Claim Area: Galveston, Chambers, Jefferson & Orange Counties                         INT
 05/26/12 Baton Rouge, LA                   WVLA-TV.com                               Tulane University Awarded $18.7 Million For Gulf Coast Environmental Health Projects          INT
 05/27/12 Alabama                           AP Alert - Alabama                        Tulane Gets $18.7M For Environmental Health                                                   WL
 05/27/12 Florida                           AP Alert - Florida                        Tulane Gets $18.7M For Environmental Health                                                   WL
 05/27/12 Louisiana                         AP Alert - Louisiana                      Tulane Gets $18.7M For Environmental Health                                                   WL
 05/27/12 Mississippi                       AP Alert - Mississippi                    Tulane Gets $18.7M For Environmental Health                                                   WL
 05/27/12 Birmingham, AL                    Blog.Al.com                               Gulf Oil Spill-Tulane Grants                                                                  INT
 05/27/12                                   BP-Claims.us                              Robertsdale City Decides To Accept Final Settlement Over BP Oil Spill                         INT
 05/27/12                                   ClarionLedger.com                         Tulane Gets $18.7M To Study Health After Oil Spill                                            INT
 05/27/12                                   EastTexasInjuryBoard.com                  BP Oil Claims For Texas For Restaurants In Galveston, Chambers, Jefferson & Orange Counties   INT
 05/27/12 Galveston, TX                     GalvestonDaily News.com                   Port, Park Board Pursue Claims For BP Spill Damage                                            INT
 05/27/12                                   The Associated Press State & Local Wire   Tulane Gets $18.7M For Environmental Health                                                   LX
 05/27/12 Columbus, IN                      The Republic (TheRepublic.com)            Tulane University Awarded $18.7 Million For Gulf Coast Environmental Health Projects          INT
 05/27/12 Columbus, OH                      WBNS-10TV (www.10TV.com)                  Tulane Gets $18.7M For Environmental Health                                                   INT
 05/28/12 Alabama                           AP Alert - Alabama                        Gulf Oil Spill-Tulane Grants                                                                  WL
 05/28/12 Mississippi                       AP Alert - Mississippi                    Gulf Oil Spill-Tulane Grants                                                                  WL
 05/28/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                Tulane Gets $18.7M For Spill-Related Projects                                                 INT
 05/28/12                                   Examiner.com                              Tulane's School Of Public Health And Tropical Med Wins $18.7M For Spill Victims               INT
 05/28/12 International                     FrenchTribune.com                         Tulane University To Start A Five-Year Program                                                INT
 05/28/12 New Orleans, LA                   New Orleans Times Picayune                Tulane Grant To Fund Spill Aid                                                                WL
 05/28/12 Chattanooga, TN                   WDEF (WDEF.com)                           Tulane Gets $18.7M For Environmental Health                                                   INT




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 05/28/12 New Orleans, LA                   WDSU.com                          Tulane Studies BP Oil Spill Effects                                                                   INT
 05/28/12 Pensacola, FL                     WEAR TV (WEARTV.com)              Coastal Crisis - Tulane Receives $15M BP Grant                                                        INT
 05/28/12 Pensacola, FL                     WEAR TV (WEARTV.com)              Top Stories - Tulane Received $15M BP Grant                                                           INT
 05/29/12 Bastrop, LA                       Bastrop Daily Enterprise          Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 05/29/12 Bastrop, LA                       Bastrop Daily Enterprise          Medical Benefits Settlement Providing Benefits to Clean-Up Workers And Certain Gulf Coast Residents   WL
 05/29/12 Houston, TX                       Houston Business Journal          Feds Investigate BP Over Oil Spill Estimates                                                          LX
 05/29/12                                   Oil & Gas News                    In Brief                                                                                              WL / LX
 05/29/12 Key West, FL                      The Key West Citizen              Economic And Property Damages Settlement Providing Money To Individuals And Business                  WL
 05/29/12 Key West, FL                      The Key West Citizen              Medical Benefits Settlement Providing Benefits To Clean-Up Workers And Certain Gulf Coast Residents   WL
 05/30/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)        Tulane Gets $18.7M To Help Residents Affected By BP Spill                                             INT
 05/30/12 De Ridder, LA                     Beauregard Daily News             Economic And Property Damages Settlement Providing Money To Individuals And Business                  WL
 05/30/12 De Ridder, LA                     Beauregard Daily News             Medical Benefits Settlement Providing Benefits To Clean-Up Workers And Certain Gulf Coast Residents   WL
 05/30/12                                   EastTexasInjuryBoard.com          Businesses That Qualify For BP Claims In Texas Counties: Galveston, Chambers, Jefferson & Orange      INT
 05/30/12 Albuquerque, NM                   New Mexico Business Weekly        BP Leakage Estimates Questioned By Feds                                                               LX
 05/30/12                                   SeekingAlpha.com                  These 2 Oil And Gas Stocks May Tumble By 2013                                                         INT
 05/30/12 Sulphur, LA                       Southwest Daily News              Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 05/30/12 Sulphur, LA                       Southwest Daily News              Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   WL
 05/30/12 Leesville, LA                     The Leesville Daily Leader        Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 05/30/12 Leesville, LA                     The Leesville Daily Leader        Medical Benefits Settlement Providing Benefits To Clean-Up Workers And Certain Gulf Coast Residents   WL
 05/30/12 Gulfport, MS                      The Sun Herald                    BP Settlement Map Is Extremely Unsettling                                                             LX
 05/31/12                                   ABC News.com                      Judge Outlines New Plan For Gulf Oil Spill Trial                                                      INT
 05/31/12 Alabama                           AP Alert - Alabama                Here Is The Latest Alabama News From The Associated Press                                             WL
 05/31/12 Alabama                           AP Alert - Alabama                Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12 Alabama                           AP Alert - Alabama                Latest Alabama News, Sports, Business And Entertainment                                               WL
 05/31/12 Florida                           AP Alert - Florida                Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12 Florida                           AP Alert - Florida                Latest Florida News, Sports, Business And Entertainment                                               WL
 05/31/12 Louisiana                         AP Alert - Louisiana              Here Is The Latest Louisiana News From The Associated Press                                           WL
 05/31/12 Louisiana                         AP Alert - Louisiana              Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12 Louisiana                         AP Alert - Louisiana              Latest Louisiana News, Sports, Business And Entertainment                                             WL
 05/31/12 Mississippi                       AP Alert - Mississippi            Here Is The Latest Mississippi News From The Associated Press                                         WL
 05/31/12 Mississippi                       AP Alert - Mississippi            Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12 Mississippi                       AP Alert - Mississippi            Latest Mississippi News, Sports, Business And Entertainment                                           WL
 05/31/12 Texas                             AP Alert - Texas                  Here Is The Latest Texas News From The Associated Press                                               WL
 05/31/12 Texas                             AP Alert - Texas                  Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12                                   AP DataStream                     Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12                                   AP Online Regional - US           Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12                                   AP Worldstream                    Judge Outlines New Plan For Gulf Oil Spill Trial                                                      WL
 05/31/12                                   Associated Press Financial Wire   Judge Outlines New Plan For Gulf Oil Spill Trial                                                      LX
 05/31/12                                   Associated Press Online           Judge Outlines New Plan For Gulf Oil Spill Trial                                                      LX
 05/31/12 International                     Canadian Business                 Federal Judge Outlines New Structure For January 2013 Trial Over Gulf Oil Spill Claims                INT
 05/31/12 International                     Canadian Press                    Federal Judge Outlines New Structure For January 2013 Trial Over Gulf Oil Spill Claims                WL




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 05/31/12 Dallas, TX                       CBS DFW (DFW.CBSLocal.com)                  Judge Outlines New Plan For Gulf Oil Spill Trial                                               INT
 05/31/12                                  Farr.com                                    Seminar On BP Gulf Oil Spill Claims Process - July 12                                          INT
 05/31/12                                  FuelFix.com                                 Judge Outlines New Plan For Gulf Oil Spill Trial                                               INT
 05/31/12                                  Greenwire Environment & Energy Publishing   Gulf Spill: Trial Won't Start Until Next Year Under New Plan                                   LX
 05/31/12                                  Jursit.org                                  Federal Judge Outlines Gulf Oil Spill Trial                                                    INT
 05/31/12                                  JusticeForAll.com                           BP Reached Settlement On Oil Spill                                                             INT
 05/31/12                                  NBC33tv.com                                 BP Trail To Begin In January 2013                                                              INT
 05/31/12 San Francisco, CA                San Francisco Chronicle                     Judge Outlines New Plan For Gulf Oil Spill Trial                                               INT
 05/31/12 Tampa, FL                        Tampa.CBSLocal.com                          Judge Outlines New Plan For Gulf Oil Spill Trial                                               INT
 05/31/12                                  The Associated Press                        Judge Outlines New Plan For Gulf Oil Spill Trial                                               LX
 05/31/12                                  The Associated Press State & Local Wire     Judge Outlines New Plan For Gulf Oil Spill Trial                                               LX
 05/31/12 Sacramento, CA                   The Sacramento Bee                          Judge Outlines New Plan For Gulf Oil Spill Trial                                               INT
 06/01/12 London                           Agence France Presse English Wire           BP Ready To Sell Russian Joint Venture                                                         WL
 06/01/12                                  Blog.Motleyrice.com                         Time To Sign your W-9                                                                          INT
 06/01/12 International                    Guardian Unlimited                          BP To Sell Stake In Troubled Russian Venture                                                   LX
 06/01/12                                  GulfCoastDisaster.com                       BCA Oil Spill Claims Frequently Asked Questions                                                INT
 06/01/12 Houston, TX                      Houston Chronicle                           Gulf Disaster Judge Lays Out New Spill Trial Plan                                              WL
 06/01/12 Huntsville, AL                   Huntsville Times                            Judge Outlines New Plan For Trial                                                              WL / LX
 06/01/12                                  Oil Daily                                   Judge Sets Date for US Gulf Spill Trial                                                        LX
 06/01/12 Mobile, AL                       Press-Register                              Judge Outlines New Plan For Trial                                                              WL
 06/01/12 New York, NY                     The New York Times                          On Our Radar: Cuts In The Firefighting Budget                                                  LX
 06/02/12 International                    Guardian.co.uk                              BP To Sell Stake In Troubled Russian Venture                                                   WL
 06/02/12 New Orleans, LA                  Nola.com                                    Gulf Oil Spill Claims Process Is Now Governed By Negotiated Settlement                         INT
 06/02/12 Gulfport, MS                     The Sun Herald (SunHearld.com)              Sound Offs For Sunday, June 3                                                                  INT
 06/03/12 Metairie, LA                     Bayou Buzz (BayouBuzz.com)                  BP Oil Spill Jackson County Cities Concerned About Oil Spill Claims Offices Opening Tomorrow   INT
 06/03/12 Birmingham, AL                   Blog.Al.com                                 Oil Spill Offices To Open Monday To Process Claims From Lawsuit Settlement                     INT
 06/03/12                                  Csswhj.com                                  Solve Your Oil Spill Claims Problem With Farrell & Patel's BP Oil Law Firm                     INT
 06/03/12                                  EastTexasInjuryBoard.com                    BP Oil Claims For Texas Businesses - Galveston, Chambers, Jefferson & Orange Counties          INT
 06/03/12 Pensacola, FL                    Fox10TV (Fox10tv.com)                       Eighteen Deepwater Horizon Claims Centers Opening                                              INT
 06/03/12 Huntsville, AL                   Huntsville Times                            Claims Offices Open Monday                                                                     WL / LX
 06/03/12 New Orleans, LA                  New Orleans Times Picayune                  Patrick Juneau Gives BP Claims A Local Touch; New Centers Open After Spill Settlement          WL
 06/03/12 Mobile, AL                       Press-Register                              Baldwin County Commission                                                                      WL
 06/03/12 Mobile, AL                       Press-Register                              Gulf Oil Spill Claims Offices Open Monday                                                      WL
 06/03/12 Alabama                          The Mobile Press Register Inc.              Claims Offices Open Monday                                                                     LX
 06/03/12 Alabama                          The Mobile Press Register Inc.              Gulf Oil Spill Claims Offices Open Monday                                                      LX
 06/03/12 Gulfport, MS                     The Sun Herald                              Sound Offs For Sunday, June 3                                                                  LX / WL
 06/03/12 New Orleans, LA                  The Times-Picayune Publishing Company       Patrick Juneau Gives BP Claims A Local Touch; New Centers Open After Spill Settlement          LX
 06/04/12 Metairie, LA                     Bayou Buzz (BayouBuzz.com)                  BP Oil Spill New BP Oil Spill Claims Offices Open Throughout The Gulf Coast                    INT
 06/04/12 Metairie, LA                     Bayou Buzz (BayouBuzz.com)                  BP Oil Spill New Gulf Oil Spill Claims Administrator: We Are Not BP. We Are Here To Help       INT
 06/04/12 Metairie, LA                     Bayou Buzz (BayouBuzz.com)                  BP Oil Spill Oil Spill Offices To Open Monday To Process Claims From Lawsuit Settlement        INT
 06/04/12 Birmingham, AL                   Blog.Al.com                                 New Oil Spill Claims Offices Open Along Gulf Coast                                             INT




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 06/04/12 Houston, TX                       Chron.com                                     New Gulf Oil Spill Claims Process Getting Underway                                                                          INT
 06/04/12 Pensacola, FL                     Fox10TV (Fox10tv.com)                         Gulf Coast BP Oil Spill Claims Offices Open Today                                                                           INT
 06/04/12                                   Greenwire Environment and Energy Publishing   Gulf Spill: New BP Claims Czar Opens 18 Processing Offices                                                                  LX
 06/04/12 Huntsville, AL                    Huntsville Times                              New Claims Process Begins                                                                                                   WL / LX
 06/04/12                                   Natural Gas Week                              Barbier Sets Macondo Trail For Claims Not Covered In Settlement                                                             WL / LX
 06/04/12                                   News.Yahoo.com                                National BP Oil Spill Law Firm Announces Deepwater Horizon Claims Center Now Accepting Economic Loss, Medical Claims From   INT
                                                                                          Businesses, Individuals Impacted By BP Oil Spill
 06/04/12 New Orleans, LA                   Nola.com                                      New Gulf Oil Spill Claims Administrator's Message: We Are Not BP. We Are Here To Help                                       INT
 06/04/12                                   PRWeb.com                                     National BP Oil Spill Law Firm Announces Deepwater Horizon Claims Center Now Accepting Economic Loss, Medical Claims From   INT
                                                                                          Businesses, Individuals Impacted By BP Oil Spill
 06/04/12 Mobile, AL                        The Mobile Press Register Inc.                New Claims Process Begins                                                                                                   WL / LX
 06/04/12 Chattanooga, TN                   WDEF (WDEF.com)                               Here Is The Latest News From The Associated Press                                                                           INT
 06/04/12 Jackson, MS                       WJTV (WJTV.com)                               Offices Open In Ala. To Process Oil Spill Claims                                                                            INT
 06/04/12 Dothan, AL                        WTVY (WTVY.com)                               3 Oil Spill Claims Offices Now Open In Alabama                                                                              INT
 06/04/12 Cadillac, MI                      WWLTV (WWLTV.com)                             Oil Spill Claims Assistance Centers Help Those In Class Action Settlement                                                   INT
 06/05/12 Birmingham, AL                    ABC33/40 (Abc3340.com)                        Latest Alabama News, Sports, Business And Entertainment                                                                     INT
 06/05/12 Alabama                           AP Alert - Alabama                            Here Is The Latest Alabama News From The Associated Press                                                                   WL
 06/05/12 Alabama                           AP Alert - Alabama                            Latest Alabama News, Sports, Business And Entertainment                                                                     WL
 06/05/12 Alabama                           AP Alert - Alabama                            Settlement Now Governs Gulf Oil Spill Claims                                                                                WL
 06/05/12 Florida                           AP Alert - Florida                            Latest Florida News, Sports, Business And Entertainment                                                                     WL
 06/05/12 Louisiana                         AP Alert - Louisiana                          Here Is The Latest Louisiana News From The Associated Press                                                                 WL
 06/05/12 Louisiana                         AP Alert - Louisiana                          Latest Louisiana News, Sports, Business And Entertainment                                                                   WL
 06/05/12 Louisiana                         AP Alert - Louisiana                          Settlement Now Governs Gulf Oil Spill Claims                                                                                WL
 06/05/12 Mississippi                       AP Alert - Mississippi                        New Gulf Oil Spill Claims Process Getting Underway                                                                          WL
 06/05/12 Mississippi                       AP Alert - Mississippi                        Settlement Now Governs Gulf Oil Spill Claims                                                                                WL
 06/05/12 Texas                             AP Alert - Texas                              Settlement Now Governs Gulf Oil Spill Claims                                                                                WL
 06/05/12 Bastrop, LA                       Bastrop Daily Enterprise                      Economic And Property Damages Settlement Providing Money To Individuals And Businesses                                      WL
 06/05/12 Bastrop, LA                       Bastrop Daily Enterprise                      Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents                         WL
 06/05/12 Bastrop, LA                       Bastrop Daily Enterprise                      New Gulf Oil Spill Claims Process Getting Under Way                                                                         WL
 06/05/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                    BP Oil Spill BP Oil Spill settlement Administrator Promises An Improved Claims Process                                      INT
 06/05/12 Birmingham, AL                    Birmingham Business Journal                   Offices Will Help With Ongoing Claims From Oil Spill                                                                        LX
 06/05/12 Alabama                           Birmingham News                               New Offices To Handle Unpaid Oil Spill Claims                                                                               WL / LX
 06/05/12 Birmingham, AL                    Blog.Al.com                                   BP Lawsuit Settlement Administrator Promises 'Claimant-Friendly Assistance Program'                                         INT
 06/05/12                                   Creative-Cities.org                           BP Oil Spill Update For New Claims And Legal Settlements                                                                    INT
 06/05/12 Thibodaux, LA                     DailyComet.com                                New Gulf Oil-Spill Claims Process Gets Under Way                                                                            INT
 06/05/12 New Orleans, LA                   GulfLive.com                                  Pat Juneau, New BP Spill Settlement Claims Boss, Taking Hands-On Approach, Upbeat About Round 2                             INT
 06/05/12 Huntsville, AL                    Huntsville Times                              New Claims Offices Open                                                                                                     WL / LX
 06/05/12 Lafayette, LA                     KLFY CBS-10 (KLFY.com)                        New BP Claims Center                                                                                                        INT
 06/05/12                                   Law.com                                       Objections To BP Settlement Require Separate Docket                                                                         INT
 06/05/12 New Orleans, LA                   New Orleans Times Picayune                    New BP Claims Centers Open Across The Region Administrator Pays Visit To Facilities                                         WL / LX
 06/05/12 New Orleans, LA                   New Orleans Times Picayune                    New BP Claims Centers Open For Business Administrator Visits Local Facilities                                               WL / LX




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 06/05/12 Pensacola, FL                   Pensacola Business Journal                Pensacola Gets New Oil Spill Claims Office                                               INT
 06/05/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          New Claims Czar On His Way To Pensacola                                                  INT
 06/05/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          Pensacola Gets New Oil Spill Claims Office                                               INT
 06/05/12 Mobile, AL                      Press-Register                            New Oil Spill Claims Offices Open                                                        WL
 06/05/12                                 SeTexasRecord.com                         Woman Claims Attorney Submitted BP Oil Spill Claim Without Consent                       LX / INT
 06/05/12                                 The Associated Press State & Local Wire   New Gulf Oil Spill Claims Process Getting Underway                                       LX
 06/05/12                                 The Associated Press State & Local Wire   Settlement Now Governs Gulf Oil Spill Claims                                             LX
 06/05/12 Lawton, OK                      The Lawton Constitution                   Louisiana: Settlement Now Governs Spill Claims                                           WL
 06/05/12 Mobile, AL                      The Mobile Press Register Inc.            New Claims Offices Open                                                                  WL / LX
 06/05/12 Panama City, FL                 The News Herald                           Beach Photographer Regulations May Change                                                WL / LX
 06/05/12 Biloxi, MS                      WLOX ABC-13 (WLOX.com)                    Settlement Now Governs Gulf Oil Spill Claims                                             INT
 06/06/12                                 Abenweek.net                              Info On Deepwater Horizon-Recognize The Facts                                            INT
 06/06/12 Alabama                         AP Alert - Alabama                        Here Is The Latest Alabama News From The Associated Press                                WL
 06/06/12 Alabama                         AP Alert - Alabama                        La. Lawyer Gives Pep Talk To Gulf Spill Adjusters                                        WL
 06/06/12 Alabama                         AP Alert - Alabama                        Latest Alabama News, Sports, Business And Entertainment                                  WL
 06/06/12 Louisiana                       AP Alert - Louisiana                      Here Is The Latest Louisiana News From The Associated Press                              WL
 06/06/12 Louisiana                       AP Alert - Louisiana                      La. Lawyer Gives Pep Talk To Gulf Spill Adjusters                                        WL
 06/06/12 Louisiana                       AP Alert - Louisiana                      Latest Louisiana News, Sports, Business And Entertainment                                WL
 06/06/12 Mississippi                     AP Alert - Mississippi                    Here Is The Latest Mississippi News From The Associated Press                            WL
 06/06/12 Mississippi                     AP Alert - Mississippi                    La. Lawyer Gives Pep Talk To Gulf Spill Adjusters                                        WL
 06/06/12 Pensacola, FL                   Fox10TV (Fox10tv.com)                     La. Lawyer Gives Pep Talk To Gulf Spill Adjusters                                        INT
 06/06/12 Huntsville, AL                  Huntsville Times                          BP Lawsuit Settlement Administrator 'I Want This To Be Claimant-Friendly'                WL / LX
 06/06/12 Huntsville, AL                  Huntsville Times                          Gulf Oil Spill Settlement Hands-On Approach                                              WL / LX
 06/06/12                                 InsuranceJournal.com                      New Gulf Oil Spill Claims Process to Begin                                               INT
 06/06/12 Mobile, AL                      Local15TV.com                             BP Claim Offices Open Monday                                                             INT
 06/06/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          New Chief Takes Charge Of Spill Claims Center                                            INT
 06/06/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          New Claims Czar On His Way To Pensacola                                                  WL / LX / INT
 06/06/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          New Oil Spill Claims Czar Speaks At Pensacola Office                                     INT
 06/06/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          New Oil Spill Claims Czar: If In Doubt, File A Claim                                     INT
 06/06/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)          Pensacola Gets New Oil Spill Claims Office                                               WL / LX
 06/06/12                                 Stuarthsmith.com                          Objections To BP Settlement Require Separate Docket                                      INT
 06/06/12                                 The Associated Press State & Local Wire   La. Lawyer Gives Pep Talk To Gulf Spill Adjusters                                        LX
 06/06/12 Mobile, AL                      The Mobile Press Register Inc.            "I Want This To Be Claimant-Friendly"                                                    WL / LX
 06/06/12 Mobile, AL                      The Mobile Press Register Inc.            Hands-On Approach                                                                        WL / LX
 06/06/12 Columbus, IN                    The Republic                              La. Lawyer Gives Pep Talk To Gulf Spill Adjusters Aims For "Claimant-Friendly" Process   INT
 06/06/12 Chattanooga, TN                 WDEF (WDEF.com)                           La. Lawyer Gives Pep Talk To Gulf Spill Adjusters                                        INT
 06/06/12 Panama City, FL                 WJHG (WJHG.com)                           BP Claimant Center Opens                                                                 INT
 06/06/12 Panama City, FL                 WMBB-TV ABC-13 (WMBB.com)                 Oil Spill Administrator Visits PCB Claim Center                                          INT
 06/07/12                                 Injury Board Blog Network                 Individuals And Businesses Can Now Submit Claims Under BP Settlement                     INT
 06/07/12 Keywest, FL                     Keywest.InjuryBoard.com                   Individuals And Businesses Can Now Submit Claims Under BP Settlement                     INT
 06/07/12 Pensacola, FL                   Pensacola News Journal                    New Chief Takes Charge Of Spill Claims Center                                            WL / LX




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 06/07/12 Pensacola, FL                   Pensacola News Journal                              New Oil Spill Claims Czar: If In Doubt, File A Claim                                                           WL / LX
 06/08/12                                 Financial Times (Ft.com)                            BP Seeking $15Bn Spill Settlement                                                                              INT
 06/08/12 Houston, TX                     Houston Business Journal                            BP Wants $15B Deal With Feds                                                                                   LX / INT
 06/08/12 Huntsville, AL                  Huntsville Times                                    BP Exec Answers Questions                                                                                      INT
 06/08/12 International                   International Business Times News                   BP Gulf Spill Fines Could Turn Into Jobs Boon                                                                  LX
 06/08/12                                 Island-Reporter.com                                 BP Claims Open For Sanibel-Capitiva                                                                            INT
 06/08/12 Tampa, FL                       Maddux News Wire (madduxpress.com)                  Law Firm Clarifies Recent BP Oil Spill Settlement Developments And Discusses Potential Claims                  INT
 06/08/12 Naples, FL                      Naples Daily News                                   New BP Claims Office Opens In North Naples                                                                     LX
 06/08/12 Mobile, AL                      The Mobile Press Register Inc.                      BP Exec Answers Questions                                                                                      WL / LX
 06/08/12 International                   The Telegraph                                       BP Seeking $15Bn Spill Settlement                                                                              LX
 06/08/12                                 You Tube                                            New Orleans Oil Spill Claims And BP Oil Information - Mark Bushee - New Orleans Settlement Options             INT
                                          (youtube.com/watch?v=T9FmtKEEBVw)
 06/09/12                                 domain-b                                            BP Seeks To Settle Gulf Of Mexico Oil Spill Claims For Under $15 Billion: Report                               LX / INT
 06/09/12                                 MyFoxPhilly.com                                     BP Wants $15B Settlement With US Authorities Over Gulf of Mexico Oil Spill                                     INT
 06/09/12 New Orleans, LA                 New Orleans Times Picayune                          BP Trying To Low-Ball Settlement, Report Says Justice Department Negotiating With Firm Over Oil Spill Claims   WL / LX
 06/10/12 Alabama                         AP Alert - Alabama                                  Ala. Researchers Get $12.3M From BP Settlement                                                                 WL
 06/10/12 Alabama                         AP Alert - Alabama                                  Here Is The Latest Alabama News From The Associated Press                                                      WL
 06/10/12 Alabama                         AP Alert - Alabama                                  Latest Alabama News, Sports, Business And Entertainment                                                        WL
 06/10/12 De Ridder, LA                   Beauregard Daily News                               Economic And Property Damages Settlement Providing Money To Individuals And Businesses                         WL
 06/10/12 De Ridder, LA                   Beauregard Daily News                               Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents            WL
 06/10/12 Birmingham, AL                  Blog.Al.com                                         University Of South Alabama Researchers Win $12.3 Million In Grants For BP Study                               INT
 06/10/12                                 SkyNews.com.au                                      BP Wants $15B Settlement Over Spill                                                                            INT
 06/10/12 Sulphur, LA                     Southwest Daily News                                Economic And Property Damages Settlement Providing Money To Individuals And Businesses                         WL
 06/10/12 Sulphur, LA                     Southwest Daily News                                Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents            WL
 06/10/12                                 The Associated Press State & Local Wire             Ala. Researchers Get $12.3M From BP Settlement                                                                 LX
 06/10/12 Leesville, LA                   The Leesville Daily Leader                          Deepwater Horizon Oil Spill                                                                                    WL
 06/10/12 Mobile, AL                      The Mobile Press Register Inc.                      Researchers University of South Alabama Researchers Awarded $12.3M For Oil Spill Study                         LX
 06/10/12 Columbus, IN                    The Republic                                        South Alabama Researchers Get $12.3 Million From BP Settlement To Improve Gulf Health Outreach                 INT
 06/11/12 Alabama                         AP Alert - Alabama                                  Here Is The Latest Alabama News From The Associated Press                                                      WL
 06/11/12 Birmingham, AL                  Birmingham Business Journal                         USA Researchers Will Use $12.3M In Grants For BP Study                                                         LX / INT
 06/11/12 Birmingham, AL                  Blog.Al.com                                         BP Hoping To Reach Deal To Pay Less Than $15 Billion In Deepwater Horizon Penalties                            INT
 06/11/12                                 Forbes (forbes.com)                                 BP Could Clear Massive Overhang With Gulf Spill Settlement                                                     INT
 06/11/12                                 FoxBusiness (foxbusiness.com)                       BP Denied Access To WH Emails In Spill Case                                                                    INT
 06/11/12                                 FuelFix.com                                         Ala. Researchers Get $12.3M From BP Settlement                                                                 INT
 06/11/12 Houston, TX                     Houston Business Journal (bizhournals.com)          BP Loses Bid For White House Gulf Oil Spill Emails                                                             LX
 06/11/12                                 Huffington Post (huffingtonpost.com)                Gulf Oil Spill Emails: BP Denied Access To White House Correspondence                                          INT
 06/11/12 International                   International Business Times News (IbTimes.co.uk)   Counting The Costs: BP Gulf Of Mexico Oil Spill                                                                LX / INT
 06/11/12 Mobile, AL                      Local15TV.com                                       Ala. Researchers Get $12.3M From BP Settlement                                                                 INT
 06/11/12 Pensacola, FL                   Pensacola News Journal (Pnj.com)                    New Oil Spill Claims Chief Vows Transparency                                                                   WL / LX / INT
 06/11/12 New York, NY                    Reuters (reuters.com)                               BP Loses Bid For White House Emails In Spill Case                                                              INT
 06/11/12                                 Standard & Poor's Daily News                        BP p.l.c. - June 8, 2012, BP PLC Opens New Claims Office North Naples                                          WL




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 06/11/12 Key West, FL                      The Key West Citizen                        Economic And Property Damages Settlement Providing Money To Individuals And Businesses                        WL / LX
 06/11/12 Key West, FL                      The Key West Citizen                        Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents           WL / LX
 06/11/12 International                     The Telegraph (Telegraph.co.uk)             BP Seeking $15Bn Spill Settlement                                                                             INT
 06/11/12 Boston, MA                        Trefis (Trefis.com)                         BP Is Worth $60 As It Seeks $15 Billion Settlement For Gulf Spill                                             WL / LX / INT
 06/12/12                                   Avis.gis.info                               Deepwater Horizon Settlement Pays Medical Claims For Claimants Suffering Oil Spill-Related Ailments           INT
 06/12/12 Bastrop, LA                       Bastrop Daily Enterprise                    Economic And Property Damages Settlement Providing Money To Individuals And Businesses                        WL
 06/12/12 Bastrop, LA                       Bastrop Daily Enterprise                    Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents           WL
 06/12/12 International                     Euclid Infotech: Procurement News           South Alabama Researchers Get $12.3 Million From BP Settlement To Improve Gulf Health                         WL
 06/12/12 International                     Tendersinfo News                            South Alabama Researchers Get $12.3 Million From BP Settlement To Improve Gulf Health                         LX
 06/12/12 Houma, LA                         Tri-Parish Times (Tri-ParishTimes.com)      New BP Claims Centers Open Throughout Tri-Parishes                                                            INT
 06/12/12                                   YouTube (youtube.com/watch?v=M1lOaAhOT48)   BP Oil Spill Settlement Explained by Beasley Allen Attorney Rhon Jones                                        INT
 06/13/12 De Ridder, LA                     Beauregard Daily News                       Economic And Property Damages Settlement Providing Money To Individuals And Businesses                        WL
 06/13/12 De Ridder, LA                     Beauregard Daily News                       Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents           WL
 06/13/12 Houston, TX                       BPClaim.com                                 New Claims Processing System To Help BP Oil Spill Victims                                                     INT
 06/13/12                                   PR Newswire                                 City Leaders Join Forces With Prominent Trial Attorneys To Pursue Losses Sustained In BP Disaster Aftermath   LX
 06/13/12 Sulphur, LA                       Southwest Daily News                        Economic And Property Damages Settlement Providing Money To Individuals And Businesses                        WL
 06/13/12 Sulphur, LA                       Southwest Daily News                        Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents           WL
 06/13/12 Leesville, LA                     The Leesville Daily Leader                  Economic And Property Damages Settlement Providing Money To Individuals And Businesses                        WL
 06/13/12 Leesville, LA                     The Leesville Daily Leader                  Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents           WL
 06/14/12 Longboat Key, FL                  The Longboar Observer                       Economic And Property Damages Settlement Providing Money To Individuals And Businesses                        LX
 06/14/12 Longboat Key, FL                  The Longboar Observer                       Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents           LX
 06/14/12 New Orleans, LA                   The Times-Picayune Publishing Company       BP Spill Claims Czar Releases Book. He Admits He Didn't Deliver As Promised                                   WL
 06/15/12 Alabama                           AP Alert - Alabama                          Here Is The Latest Alabama News From The Associated Press                                                     WL
 06/15/12 Alabama                           AP Alert - Alabama                          Judge Caps Contingency Fees In BP Settlement                                                                  WL
 06/15/12 Alabama                           AP Alert - Alabama                          Latest Alabama News, Sports, Business And Entertainment                                                       WL
 06/15/12 Alabama                           AP Alert - Alabama                          Mental Health Services Planned In BP Spill Deal                                                               WL
 06/15/12 Florida                           AP Alert - Florida                          Judge Caps Contingency Fees In BP Settlement                                                                  WL
 06/15/12 Florida                           AP Alert - Florida                          Mental Health Services Planned In BP Spill Deal                                                               WL
 06/15/12 Louisiana                         AP Alert - Louisiana                        Here Is The Latest Louisiana News From The Associated Press                                                   WL
 06/15/12 Louisiana                         AP Alert - Louisiana                        Judge Caps Contingency Fees In BP Settlement                                                                  WL
 06/15/12 Louisiana                         AP Alert - Louisiana                        Latest Louisiana News, Sports, Business And Entertainment                                                     WL
 06/15/12 Louisiana                         AP Alert - Louisiana                        Mental Health Services Planned In BP Spill Deal                                                               WL
 06/15/12 Mississippi                       AP Alert - Mississippi                      Here Is The Latest Mississippi News From The Associated Press                                                 WL
 06/15/12 Mississippi                       AP Alert - Mississippi                      Judge Caps Contingency Fees In BP Settlement                                                                  WL
 06/15/12 Mississippi                       AP Alert - Mississippi                      Mental Health Services Planned In BP Spill Deal                                                               WL
 06/15/12 Texas                             AP Alert - Texas                            Judge Caps Contingency Fees In BP Settlement                                                                  WL
 06/15/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                  Mental Health Services Planned In BP Oil Spill Deal                                                           INT
 06/15/12 Chicago, IL                       Chicago Tribune (ChicagoTribune.com)        Judge Limits Attorneys' Fees In BP Oil Spill Case                                                             INT
 06/15/12 Houston, TX                       Chron.com                                   Judge Caps Contingency Fees In BP Settlement                                                                  INT
 06/15/12                                   Citrin Law Firm                             BP Gulf Oil Spill Settlement                                                                                  INT
 06/15/12 Thibodaux, LA                     DailyComet.com                              Judge Caps Contingency Fees In BP Settlement                                                                  INT




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 06/15/12 Greenville, MS                  Delta Democrat Times                                Mental Health Services Planned In BP Spill Deal                                            WL
 06/15/12 International                   Europe MSNBC.com (msnbc.msn.com)                    Judge Limits Attorneys' Fees In BP Oil Spill Case                                          INT
 06/15/12 New Orleans, LA                 GulfLive.com                                        Mental Health Services Planned In BP Spill Deal                                            INT
 06/15/12 Hattiesburg, MS                 HattieburgAmeria.com                                Oil Spill Health Deal Worth $36M                                                           INT
 06/15/12 New York, NY                    Law 360 (Law360.com)                                Deepwater MDL Judge Caps Attys' Fees At 25%                                                INT
 06/15/12 Naples, FL                      NaplesNews.com                                      Gulf Oil Spill: BP Deal To Help With Lingering Mental Health Issues                        INT
 06/15/12 Long Island, NY                 Newsday (www.newsday.com)                           BP Settlement Brings Mental Health Services To Louisiana                                   INT
 06/15/12 Panama City, FL                 NewsHerald.com                                      Mental Health Services Planned In BP Spill Deal                                            INT
 06/15/12 Fort Walton Beach, FL           nwfdailynews.com                                    BP Oil Spill Free Legal Clinic - Events - Northwest Florida Daily News                     INT
 06/15/12 New York, NY                    Reuters (Reuters.com)                               Judge Limits Attorneys' Fees In BP Oil Spill Case                                          INT
 06/15/12 International                   Reuters: Edition UK (Reuters.com)                   Judge Limits Attorneys' Fees In BP Oil Spill Case                                          INT
 06/15/12 International                   Reuters: Edition UK (Reuters.com)                   Judge Limits Attorneys' Fees In BP Oil Spill Case To 25% Plus "Reasonable Cost"            INT
 06/15/12                                 The Associated Press State & Local Wire             Judge Caps Contingency Fees In BP Settlement                                               LX
 06/15/12                                 The Associated Press State & Local Wire             Mental Health Services Planned In Spill Deal                                               LX
 06/15/12 Oklahoma City, OK               The Business (Daily Oklahoman)                      Judge Caps Contingency Fees In BP Settlement                                               LX
 06/15/12 Miami, FL                       The Miami Herald (www.miamiherald.com)              Mental Health Services Planned In BP Spill Deal                                            INT
 06/15/12 Columbus, IN                    The Republic (TheRepublic.com)                      Judge Sets 25 Percent Cap On Contingency Fees For Plaintiffs' Attorneys In BP Settlement   INT
 06/15/12                                 Ventura, Ribeiro & Smith                            BP Oil Spill                                                                               INT
 06/15/12                                 Walton Sun                                          Mental Health Services Planned In BP Oil Spill Deal                                        INT
 06/15/12 Columbus, OH                    WBNS-10TV (www.10TV.com)                            Mental Health Services Planned In Spill Deal                                               INT
 06/15/12 Dothan, AL                      WTVY (WTVY.com)                                     Mental Health Services Planned In Oil Spill Settlement                                     INT
 06/15/12 New Orleans, LA                 WVUE Fox 8 (www.Fox8Live.com)                       LSU Health Sciences Center To Use BP Funds To Treat Mental Illness                         INT
 06/15/12                                 Yahoo! News (news.yahoo.com)                        Judge Limits Attorneys' Fees In BP Oil Spill Case                                          INT
 06/16/12                                 A2Z News (A2ZN.com)                                 Mental Health Services Planned In BP Oil Spill Deal                                        INT
 06/16/12 Alabama                         AP Alert - Alabama                                  Here Is The Latest Alabama News From The Associated Press                                  WL
 06/16/12 Alabama                         AP Alert - Alabama                                  Latest Alabama News, Sports, Business And Entertainment                                    WL
 06/16/12 Louisiana                       AP Alert - Louisiana                                Here Is The Latest Louisiana News From The Associated Press                                WL
 06/16/12 Louisiana                       AP Alert - Louisiana                                Latest Louisiana News, Sports, Business And Entertainment                                  WL
 06/16/12 Mississippi                     AP Alert - Mississippi                              Here Is The Latest Mississippi News From The Associated Press                              WL
 06/16/12 Mississippi                     AP Alert - Mississippi                              Latest Mississippi News, Sports, Business And Entertainment                                WL
 06/16/12                                 Business World Digest                               BP Potential Liability Could Be DOLLAR 69b; BP liabilities                                 LX
 06/16/12 International                   Climate Spectator                                   Ex-BP Engineer Faces Feb. Trial Tied To Oil Spill                                          LX
 06/16/12                                 Environmental Law & Climate Change Community Blog   Oil Spill MDL Judge Caps Attorney Fees At 25 percent                                       LX
 06/16/12 Houston, TX                     Houston Chronicle                                   BP Spill Ruling Will Limit Fees For Lawyers                                                WL
 06/16/12                                 News Bites US Markets                               Brownie's Marine Group Keeps Sliding: Down 30.4% In 2 Days                                 LX
 06/16/12 Palm Beach, FL                  Palm Beach Post                                     Mental Health Help In BP Spill Deal                                                        WL / LX
 06/16/12 Mobile, AL                      Press-Register                                      Judge Caps Contingency Fees In BP Settlement                                               WL
 06/16/12 Mobile, AL                      Press-Register                                      Mental Health Services Planned In BP Spill Deal                                            WL
 06/16/12 Jackson, MS                     WJTV (WJTV.com)                                     Mental Health Services Planned In BP Spill Deal                                            INT
 06/16/12 New Orleans, LA                 WTOK (WTOK.com)                                     Gulf Oil Spill Settlement                                                                  INT
 06/18/12 International                   Dion Global Solutions Limited                       Judge Caps Attorneys' Fees In BP Case                                                      LX




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 06/18/12                                 Emerging Issues Law Community Blog - Newstex LLC   Oil Spill MDL Judge Caps Attorney Fees At 25 percent                                                  LX
 06/18/12                                 Litigation Resource Center - Newstex LLC           Oil Spill MDL Judge Caps Attorney Fees At 25 percent                                                  LX
 06/18/12                                 The Legal Examiner (EastTexas.LegalExaminer.com)   BP Oil Spill Islamorada Florida Claims                                                                INT
 06/18/12                                 The Legal Examiner (EastTexas.LegalExaminer.com)   Classifications For BP Oil Spill Claims In Islamorada, Florida                                        INT
 06/18/12 New Orleans, LA                 The Louisiana Weekly                               Mental Health Services Planned In BP Oil Spill Deal                                                   LX
 06/18/12 Lanett, AL                      The Valley Times-News                              Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 06/18/12 Lanett, AL                      The Valley Times-News                              Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   WL
 06/18/12 West Point, GA                  The West Point Times-News                          Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL / LX
 06/18/12 West Point, GA                  The West Point Times-News                          Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   WL / LX
 06/18/12                                 Yes, But, However (www.YesButHowever.com)          Judge Limits Attorneys' Fees In BP Oil Spill Case                                                     INT
 06/19/12 Bastrop, LA                     Bastrop Daily Enterprise                           Economic And Property Damages Settlement Providing Money To Individuals And Businesses                LX
 06/19/12 Bastrop, LA                     Bastrop Daily Enterprise                           Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   LX
 06/19/12 Metairie, LA                    Bayou Buzz (BayouBuzz.com)                         Classifications For BP Oil Spill Claims In Islamorada, Florida                                        INT
 06/19/12 Birmingham, AL                  Blog.Al.com                                        New Oil Spill Offices Get 13,000 Claims In First 2 Weeks Of Operation                                 INT
 06/19/12                                 Boteler, Finley & Wolfe                            BP Oil Spill Settlement - Update!                                                                     INT
 06/19/12                                 Mint Press News (MintPress.net)                    $36M Of BP Oil Spill Settlement Will Go Toward Providing Mental Health Care                           INT
 06/19/12 New Orleans, LA                 Nola.com                                           13,000 Gulf Oil Spill Settlement Claims Filed In First 2 Weeks                                        INT
 06/19/12                                 Oil Daily Energy Intelligence Group                Judge Limits Attorney Fees In BP Case                                                                 WL / LX
 06/19/12                                 The Legal Examiner (EastTexas.LegalExaminer.com)   Who Should Make A BP Oil Spill Claim In Islamorada, Florida?                                          INT
 06/20/12                                 DungCake.com                                       BPClaimsInfo.com: New Website Offering Free Compensation Evaluation To Victims Of The BP Oil Spill    INT
 06/20/12                                 Examiner.com                                       Tulane's New Studies Punctuate Ongoing Research On Women's Health After Spill                         INT
 06/20/12 Huntsville, AL                  Huntsville Times                                   New Oil Spill Offices Get 13,000 Claims                                                               WL / LX
 06/20/12 Huntsville, AL                  Huntsville Times                                   Offices Get 13,000 Claims In First Weeks                                                              WL / LX
 06/20/12 Mobile, AL                      The Mobile Press Register Inc.                     New Oil Spill Offices Get 13,000 Claims                                                               WL / LX
 06/20/12 Mobile, AL                      The Mobile Press Register Inc.                     Offices Get 13,000 Claims In First Weeks                                                              WL / LX
 06/20/12 Panama City, FL                 WJHG (WJHG.com)                                    Springfield Considers Filing BP Claim                                                                 INT
 06/21/12 Birmingham, AL                  Birmingham Business Journal                        Alabama AG Tours Deepwater Horizon Claims Center In Gulf Shores                                       INT
 06/21/12 Houston, TX                     Chron.com                                          Lawyers Say Timely Payments Vital In Spill Deal                                                       INT
 06/21/12                                 FuelFix.com                                        Plaintiff Steering Committee Travels Gulf Region To Explain BP Settlement                             INT
 06/21/12 Mobile, AL                      Local15TV.com                                      Attorney General Luther Strange Tours Claims Office                                                   INT
 06/21/12                                 NewTimes.com                                       Local Lawyer Leads Fla. City Against BP                                                               INT
 06/22/12                                 BPDeepwaterHorizon.com                             BP Oil Spill Settlement Attracting Many New Claims                                                    INT
 06/22/12 Houston, TX                     Houston Chronicle                                  Disaster in Gulf Lawyers Say Validity Of Spill Deal Lies In Timely Payments                           WL / LX
 06/22/12 Houston, TX                     Houston Chronicle                                  Lawyers Say Timely Payments Vital In Spill Deal                                                       WL
 06/22/12 Huntsville, AL                  Huntsville Times                                   Attorney General Tours Claims Center                                                                  WL
 06/22/12 Huntsville, AL                  Huntsville Times                                   Attorney General Tours Claims Center                                                                  LX
 06/22/12                                 Investors Chronicle                                What Next For BP?                                                                                     LX
 06/22/12 Sarasota, FL                    Sarasota Herald Tribune                            Lining Up For A Bit Of The Settlement Pie                                                             WL / LX
 06/22/12                                 The Legal Examiner (EastTexas.LegalExaminer.com)   BP Oil Claims In The Florida Keys                                                                     INT
 06/22/12 Mobile, AL                      The Mobile Press Register Inc.                     Attorney General Tours Claims Center                                                                  WL / LX
 06/22/12 Panama City, FL                 Wakulla County Chamber of Commerce                 Notice Regarding Deep Water Horizon Oil Spill Claims                                                  INT




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 06/24/12 De Ridder, LA                   Beauregard Daily News                                      Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 06/24/12 De Ridder, LA                   Beauregard Daily News                                      Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   WL
 06/24/12 Sulphur, LA                     Southwest Daily News                                       Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 06/24/12 Sulphur, LA                     Southwest Daily News                                       Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   WL
 06/24/12 Leesville, LA                   The Leesville Daily Leader                                 Economic And Property Damages Settlement Providing Money To Individuals And Businesses                WL
 06/24/12 Leesville, LA                   The Leesville Daily Leader                                 Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   WL
 06/25/12                                 Family Min                                                 Secure Your Deepwater Horizon Claims Right Now                                                        INT
 06/25/12 New Orleans, LA                 The Louisiana Weekly                                       Economic And Property Damages Settlement Providing Money To Individuals And Businesses                INT
 06/25/12 New Orleans, LA                 The Louisiana Weekly                                       Medical Benefits Settlement Providing Benefits to Clean-Up Workers and Certain Gulf Coast Residents   LX
 06/25/12                                 The Washington Post                                        Japan's Nuclear Victims Face Hurdles In Quest For Compensation                                        WL
 06/25/12                                 The Washington Post                                        Japan's Nuclear Victims Seek Compensation, But Not Their Day In Court                                 INT
 06/26/12                                 Citrin Law Firm                                            BP Oil Spill Lawsuits                                                                                 INT
 06/26/12 International                   Daily Telegraph                                            BP Sells Wyoming Gas Fields For $1Bn                                                                  WL /LX
 06/26/12                                 Lucas Green & Magazine                                     Important Notice!!! BP Oil Spill Town Hall Meeting                                                    INT
 06/26/12                                 Tseliotpoems                                               Knowledge About The Deepwater Oil Spill Can Help You                                                  INT
 06/26/12                                 YouTube                                                    How To Get Your BP Claim For The Deepwater Horizon Oil Spill                                          INT
                                          (http://www.youtube.com/watch?v=C-nmWZy540E)
 06/27/12                                 BPSettlementNow.com                                        Geographic Zones For BP Claims                                                                        INT
 06/27/12                                 BPSettlements.net                                          Not All BP Oil Spill Claims Are Created Equally                                                       INT
 06/27/12                                 CNN Wire                                                   Ex-BP Engineer Says Company Records Clear Him In Gulf Spill                                           WL /LX
 06/27/12                                 Ewusiak & Roberts Litigators                               BP Oil Spill Settlement - Losses To Non-Waterfront Businesses On Florida West Coast                   INT
 06/27/12                                 GetBetterWebHosting.com                                    You Should Consult BP Oil Spill Attorneys                                                             INT
 06/27/12                                 HammondStar.com                                            Deepwater Horizon Claims Center Locates In Hammond                                                    INT
 06/27/12                                 InsideCounsel                                              Shell's Exploratory Drilling Mission In The Gulf Of Mexico Can Continue                               WL /LX
 06/27/12                                 TheAdvertiser.com                                          BP Settlement Money Expected Soon                                                                     INT
 06/28/12                                 HammondStar.com                                            Deepwater Horizon Claims Center Locates In Hammond                                                    INT
 06/28/12 International                   London Stock Exchange Aggregated Regulatory News Service   Hansa Trust PLC Annual Financial Report                                                               LX
 06/28/12 Baton Rouge, LA                 The Advocate                                               New BP Claims Official: La. To benefit                                                                INT
 06/28/12 Lafayette, LA                   The Daily Advertiser                                       BP Settlement Money Expected Soon                                                                     WL / LX
 06/29/12 Baton Rouge, LA                 Baton Rouge Advocate                                       New BP Claims Official: La. To benefit Lafayette Attorney Talks To Legislators                        WL / LX
 06/29/12 Metairie, LA                    Bayou Buzz (BayouBuzz.com)                                 Oil Spill Settlement Process Has Been A Major Economic Engine For Louisiana, Lafayette Lawyer Says    INT
 06/29/12 Thibodaux, LA                   DailyComet.com                                             Spill Claims Could Be Paid In July                                                                    INT
 06/29/12                                 Greenwire                                                  Gulf Spill: BP Nears Justice Department Deal, Settles Anti-Discrimination Case                        LX
 06/29/12 Houston, TX                     Houston Business Journal                                   BP, Transocean Reportedly Nearing Oil Spill Settlement Agreements                                     LX
 06/29/12 New Orleans, LA                 Nola.com                                                   Oil Spill Settlement Process Has Been A Major Economic Engine For Louisiana, Lafayette Lawyer Says    INT
 06/29/12                                 Plus Media Solutions, Gale Group, Inc.                     Mississippi: Social Work Training To Boost Mental health Support For Oil Spill Victims                LX
 06/29/12 Boston, MA                      Trefis                                                     Gulf Spill Settlement Could Save BP Billions In The Long Run                                          WL /LX
 06/30/12                                 NDCTT.com                                                  How To File For BP Claims With The Assistance Of BP Oil Spill Attorneys                               INT
 06/30/12 New Orleans, LA                 New Orleans Times Picayune                                 BP Settlement Serves As Economic Engine Lawyer Says It Offers Hundreds Of Jobs                        WL /LX
 06/30/12 New Orleans, LA                 New Orleans Times Picayune                                 Spill Pay Bolsters State's Economy Process Provides Lots Of Jobs, Lawyer Says                         WL /LX
 07/01/12                                 SummitWomensJournal.com                                    How BP Oil Spill Attorneys Can help You File Claims With The New System                               INT




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 07/01/12 Boston, MA                      The Boston Globe                            Japan's Nuclear Crisis Victims Left Few Options For Compensation                                                              INT
 07/01/12 Boston, MA                      The Boston Globe                            Nuclear Crisis Victims Are Left Few Options For Compensation; Just 20 Lawsuits Filed Against The Plant Operator               LX
 07/02/12                                 Accretive Capital LLC dab Benzinga.com      Brownie's Marine Group Files Claim For Economic Damages Against The Deepwater Horizon Settlement Fund                         LX
 07/02/12                                 GlobeNewswire, Inc.                         Brownie's Marine Group Files Claim For Economic Damages Against The Deepwater Horizon Settlement Fund                         WL / LX
 07/02/12                                 Greenwire                                   Gulf Spill: BP Settlement Jolts La. Economy                                                                                   LX
 07/02/12                                 Market Watch                                Brownie's Marine Group Files Claim For Economic Damages Against The Deepwater Horizon Settlement Fund                         INT
 07/02/12                                 News Bites US Markets                       Brownie's Marine Group Drops Three-Month Low On Strong Volume                                                                 WL / LX
 07/02/12                                 The Legal Examiner                          BP Settlement Program Expected to Begin Paying Claims This Month                                                              INT
 07/02/12                                 Thomson Reuters                             Brownie's Marine Group Inc. Files Claim For Economic Damages Against The Deepwater Horizon Settlement Fund                    WL
 07/03/12                                 Jere Beasley Report                         BP Oil Spill Settlement Will Include More Businesses                                                                          INT
 07/03/12                                 News Bites US Markets                       Brownie's Marine Group Crashes 11.1% on High Volume                                                                           WL / LX
 07/03/12 Pittsburgh, PA                  Pittsburgh Post-Gazette                     Japan's Nuclear Victims Face Hurdles In Quest For Compensation                                                                WL
 07/03/12                                 SBWire - Newstex LLC                        Complexities Of Filing A BP Claim Explained By BPClaims.us                                                                    LX / INT
 07/03/12                                 WorldMelanoma.com                           A Website Dedicated To Information On BP Oil Spill Claims                                                                     INT
 07/04/12                                 EmailWire.com                               Victims Of The 2010 BP Oil Spill Resort To Deepwater Horizon Settlement For Professional Assistance                           INT
 07/04/12                                 News Bites US Markets                       Brownie's Marine Group Files Claim For Economic Damages Against The Deepwater Horizon Settlement Fund                         WL / LX
 07/04/12 Pensacola, FL                   Pensacola News Journal                      Erin Koukounis: UWF Receives BP grant                                                                                         WL / LX / INT
 07/04/12 Pensacola, FL                   Pensacola News Journal                      UWF Awarded BP Grant For Mental Health Project                                                                                WL / LX / INT
 07/05/12 Baton Rouge, LA                 Baton Rouge Advocate                        Oil Leak Claims Center Staff Encouraged                                                                                       WL / LX
 07/05/12 Bradenton, FL                   Bradenton Herald                            BP Oil Spill Case 'Moving Right Along,' Attorney Tells Manatee County                                                         WL
 07/05/12                                 MarineLink.com                              Dive, Safety Products Company, Files 'Deepwater Horizon' Claim                                                                INT
 07/05/12                                 News Bites US Markets                       Brownie's Marine Group Advance 6.2% - Outperforming 96% Of Stocks                                                             WL / LX
 07/05/12                                 SBWire - Newstex LLC                        GCCF Closes And Victims Of Gulf Coast Oil Spill Can Have Their Claims Solved Faster With the Help Of Bpddepwaterhorizon.com   LX / INT


 07/05/12                                 SBWire - Newstex LLC                        Now That The GCCF Is Closed, Victims Of The 2010 BP Oil Spill Resort To Deepwater Horizon Settlement For Professional         LX / INT
                                                                                      Assistance
 07/05/12                                 Trade Only Today                            Brownie's Marine Group Files Lawsuit In Gulf Oil Spill                                                                        INT
 07/05/12                                 University of West Florida (News.UWF.edu)   UWF Receives Grant From BP Oil Spill For Mental And Behavioral Health Counseling                                              INT
 07/06/12 International                   Canwest News Service                        Pipeline Leaks Have Little Impact On Bottom Line                                                                              LX
 07/06/12                                 News Bites                                  Brownie's Marine Group Keeps Rising: Up 8.8% In 2 Days                                                                        LX
 07/06/12 International                   Postmedia News (Canada)                     Pipeline Leaks Have Little Impact On Bottom Line                                                                              WL
 07/07/12 International                   Edmonton Journal                            Spills Rarely Affect Bottom Line; Insurance Softens Blow Of Cleanup Costs                                                     WL
 07/07/12                                 NewsBites                                   Weekly: Brownie's Marine Group Plummets 8.4% On High Volume Falling For A Fourth Consecutive Week, A Four Week Fall of 65.2% LX


 07/07/12                                 Parris Web Group                            Different Types Of BP Oil Spill Claims                                                                                        INT
 07/07/12 New Orleans, LA                 The Times-Picayune Publishing Company       Restore Act Money Should Strengthen The Coast                                                                                 LX
 07/08/12 Houston, TX                     Houston Chronicle                           Lawsuits Dispersant's Use Adds Subplot To Oil Spill Saga                                                                      WL / LX
 07/09/12                                 Exec Digital                                Oil Claim Calculator Selected By Claims Strategies Group For Deepwater Horizon Oil Spill Claim Calculations                   INT
 07/09/12                                 Greenwire                                   Gulf Spill: Dispersant Workers Face Tough Decision On BP Settlement                                                           INT
 07/09/12                                 Manufacturing Digital                       Oil Claim Calculator Selected By Claims Strategies Group For Deepwater Horizon Oil Spill Claim Calculations                   INT
 07/09/12                                 News Bites US Markets                       Brownie's Marine Group Continues Significant Downtrend                                                                        WL




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   DATE           CITY/ STATE/MARKET      MEDIA VEHICLE                                                                                         HEADLINE                                                                   SOURCE *
 07/09/12                                 News Bites US Markets                    Brownie's Marine Group Drops 8.0% On High Volatility                                                                              WL / LX
 07/09/12 Orlando, FL                     Orlando Business Journal                 Oil Claim Calculator Selected By Claims Strategies Group For Deepwater Horizon Oil Spill Claim Calculations                       INT
 07/09/12                                 PR Newswire                              Oil Claim Calculator Selected By Claims Strategies Group for Deepwater Horizon Oil Spill Claim Calculations; IT Strategies Group's LX
                                                                                   "Oil Claim Calculator" To Help Deepwater Horizon Oil Spill Consultant Manage Business Growth, Increase Claim Settlement Amounts,
                                                                                   And Continue To Provide High Levels Of Customer Service

 07/09/12 Miami, FL                       The Miami Herald (www.miamiherald.com)   Oil Claim Calculator Selected By Claims Strategies Group For Deepwater Horizon Oil Spill Claim Calculations                       INT
 07/10/12                                 News Bites US Markets                    Brownie's Marine Group Weakens Below MAP                                                                                          WL / LX
 07/11/12 Huntsville, AL                  Huntsville Times                         Chamber News                                                                                                                      WL / LX
 07/11/12                                 Mother Jones                             BP Spill Workers Say Dispersant Made Them Sick                                                                                    INT
 07/11/12                                 News Bites US Markets                    Brownie's Marine Group Price 38.3% Below VWP                                                                                      WL / LX
 07/11/12 Mobile, AL                      Press-Register                           Alabama Gulf Coast Chamber Of Commerce                                                                                            WL / LX
 07/12/12                                 BPOilSpillSettlements.com                BP Oil Spill Settlement Agreements Reached                                                                                        INT
 07/12/12                                 Brandner Law Firm                        BP Oil Spill Claims For Commercial Fisherman, Shrimpers and Oystermen                                                             INT
 07/12/12 Gulf Breeze, FL                 Gulf Breeze News                         Trying To Reason With The BP Claim Process                                                                                        INT
 07/12/12                                 News Bites US Markets                    Brownie's Marine Group Unchanged On Low Volume                                                                                    WL / LX
 07/12/12 Sacramento, CA                  The Sacramento Bee                       Oil Claim Calculator Selected By Claims Strategies Group For Deepwater Horizon Oil Spill Claim Calculations                       INT
 07/13/12                                 Brandner Law Firm                        Find Out If Your Eligible For A BP Oil Spill Claim                                                                                INT
 07/13/12                                 DailyMotion.com                          BP Oil Spill Settlement Claim: Is My Louisiana Gulf Coast Tourist…                                                                INT
 07/13/12                                 News Bites US Markets                    Brownie's Marine Group Slides 5.1% In Average Volume                                                                              WL / LX
 07/13/12                                 Vimeo.com                                Many Gulf Coast Fisherman Are Eligible To File A BP Oil Spill Settlement Claim                                                    INT
 07/13/12                                 Wealth Planning Law Group                Wealth Planning Law Group Represents BP Claimants                                                                                 INT
 07/14/12 International                   Canwest News Service                     Analysis: New Law On BP Spill Fines Raises Stakes For Gulf States; States Have Higher Incentive To Demand Higher BP Fines         LX


 07/14/12                                 News Bites US Markets                    Weekly: Brownie's Marine Group Slumps 13.8% On High Volume Falling For A Fifth Consecutive Week, A Five Week Fall of 70.0%        WL / LX


 07/14/12 International                   Postmedia News (Canada)                  Analysis: New Law On BP Spill Fines Raises Stakes For Gulf States; States Have Higher Incentive To Demand Higher BP Fines         WL


 07/15/12 Chicago, IL                     Southtown Star                           1st Arrest Made In BP Oil Spill                                                                                                   LX
 07/16/12 International                   Arab News                                New Law On BP Spill Fines Raises Stakes For US Gulf Coast States                                                                  WL
 07/16/12                                 Business World Digest                    BP Potential Liability Could Be DOLLAR 69b; BP liabilities                                                                        LX
 07/16/12                                 News Bites US Markets                    Brownie's Marine Group Keeps Sliding: Down 30.4% In 2 Days                                                                        WL
 07/17/12                                 BeasleyAllen.com                         Beasley Allen Attorney Rhon Jones To Speak At BP Oil Spill Settlement Seminar For Attorneys                                       INT
 07/17/12                                 GulfCoastDisaster.com                    First Settlements Announced From BP Oil Spill Class Action                                                                        INT
 07/17/12                                 News Bites US Markets                    Brownie's Marine Group Drops Five-Month Low On Extraordinary Volume                                                               WL / LX
 07/17/12                                 Rome, Arata Baxley & Stelly              New Orleans BP Oil Spill Claims Lawyers - Your Business May Be Eligible For Financial Compensation From BP                        INT
 07/18/12                                 News Bites US Markets                    Brownie's Marine Group Rises 12.9% From 14-Day Low                                                                                WL / LX
 07/19/12 Texas                           AP Alert- Texas                          Judge: 2 Websites Mislead Oil Spill Claimants                                                                                     WL
 07/19/12                                 Brandner Law Firm                        Who Is Eligible For BP Oil Spill Settlement Proceeds?                                                                             INT
 07/19/12 Atlanta, GA                     CbsAtlanta.com                           Judge: Websites Are Misleading Oil Spill Claimants                                                                                INT
 07/19/12                                 Chron.com                                Judge: 2 Websites Mislead Oil Spill Claimants                                                                                     INT
 07/19/12                                 ClarionLedger.com                        Judge: BP Oil Spill Websites Misleading                                                                                           INT




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   DATE           CITY/ STATE/MARKET      MEDIA VEHICLE                                                                                                           HEADLINE                                                             SOURCE *
 07/19/12 Mobile, AL                      Local15TV.com                                              Judge: Oil Claims Websites Must Post Disclaimers If Not Court-Approved                                                      INT
 07/19/12                                 News Bites US Markets                                      Brownie's Marine Group rises 20.0% on high volume                                                                           WL
 07/19/12 New Orleans, LA                 Nola.com                                                   BP Oil Spill Claimants may have been misled by two websites, judge declares                                                 INT
 07/19/12                                 The Associated Press State & Local Wire                    Judge: Websites Are Misleading Oil Spill Claimants                                                                          LX
 07/20/12 Alabama                         AP Alert - Alabama                                         Latest Alabama News, Sports, Business And Entertainment                                                                     WL
 07/20/12 Huntsville, AL                  Huntsville Times                                           Judge: 2 Websites Mislead Oil Spill Claimants                                                                               WL
 07/20/12                                 News Bites US Markets                                      Brownie's Marine Group Drops 4.8% On High Volatility                                                                        WL
 07/20/12 Mobile, AL                      Press-Register                                             Judge: 2 Websites Mislead Oil Spill Claimants                                                                               WL
 07/20/12                                 SBWire - Newstex LLC                                       Lawyers at Danziger & DE Liano Promote New Strategy to Defend BP Claimants                                                  INT
 07/20/12 Houston, TX                     The Houston Chronicle                                      In Brief                                                                                                                    LX
 07/20/12                                 The Montgomery Advertiser                                  All Can File Oil Spill Claims                                                                                               LX
 07/21/12                                 News Bites US Markets                                      Weekly: Brownie's Marine Group Plummets 46.7% In The Past Week, Trailing 98.1% Of Stocks                                    WL
 07/22/12 Miami, FL                       The Miami Herald                                           Miami Lawyer Ervin Gonzalez Tackles Big Cases Like BP Settlement                                                            LX
 07/23/12                                 News Bites US Markets                                      Brownie's Marine Group Unchanged On Robust Volume                                                                           WL
 07/23/12 Miami, FL                       The Miami Herald                                           Miami Lawyer Ervin Gonzalez Tackles Big Cases Like BP Settlement                                                            WL
 07/23/12 Miami, FL                       The Miami Herald (www.miamiherald.com)                     Miami Lawyer Ervin Gonzalez Tackles Big Cases Like BP Settlement                                                            LX / INT
 07/24/12                                 Cable News Network                                         Report: Companies Involved In Gulf Spill Didn't Focus On Major Accident Risks                                               LX
 07/25/12                                 Emerging Issues Law Blog                                   Donovan Law Group: Pattern Of Collusive Unfairness Permeates Deepwater Horizon Proposed Class Action Settlement             LX


 07/25/12                                 States News Service                                        Boustany Promotes Free Hotline For Deepwater Horizon Settlement Claims                                                      LX
 07/25/12                                 Targeted News Service LLC                                  Boustany Promotes Free Hotline For Deepwater Horizon Settlement Claims                                                      LX
 07/25/12                                 US Fed News                                                Rep. Boustany Promotes Free Hotline for Deepwater Horizon Settlement Claims                                                 LX
 07/26/12                                 Blog.Cricpa.com                                            BP Oil Spill Claims Op-Out Deadline Of October 1st Is Quickly Approaching                                                   INT
 07/26/12                                 Emerging Issues Law Blog                                   Donovan Law Group: How the BP Oil Spill Proposed Class Action Settlement Makes A Mockery Of The Oil Pollution Act Of 1990   LX


 07/26/12                                 Emerging Issues Law Blog                                   Donovan Law Group: Is the BP Oil Spill Proposed Class Action Settlement, Fair, reasonable and Adequate?                     LX
 07/26/12                                 Greenwire                                                  Japan: Fukushima Victims Turn From Courts In Search For Disaster Compensation                                               LX
 07/27/12                                 BPClaims.org                                               Deepwater Horizon Settlement Begins to Pay                                                                                  INT
 07/27/12                                 Mondaq Business Briefing                                   BP Reaches Preliminary Settlement Of Class Action Lawsuit: Does Your Business Qualify For Settlement Funds?                 LX
 07/28/12 Pensacola, FL                   Pensacola News Journal                                     People On The Move                                                                                                          LX
 07/28/12 Baton Rouge, LA                 The Advocate                                               1,100 Claimants Sent Settlement Offers                                                                                      LX
 07/29/12 Panama City, FL                 The News Herald                                            Online Program Helps Businesses Submit BP Claims                                                                            LX
 07/30/12                                 DothanFirst.com                                            Oil Spill Recovery Seminar Set for Panama City                                                                              INT
 07/30/12                                 HispanicBusiness.com                                       Online Program Helps Businesses Submit BP Claims                                                                            INT
 07/30/12 International                   International Business Times News                          HSBC Sets Aside $2B For Fines…But Is It Enough?                                                                             LX
 07/30/12                                 News Bites US Markets                                      Brownie's Marine Group price 43.5% below VWP                                                                                LX
 07/30/12                                 PR Newswire                                                Oil Claim Calculator Releases Causation Test Software for Oil Spill Claim Calculations                                      LX
 07/30/12 Sacramento, CA                  The Sacramento Bee                                         Oil Claim Calculator Releases Causation Test Software for Oil Spill Claim Calculations                                      INT
 07/31/12                                 FD (Fair Disclosure) Wire                                  Q2 2012 BP PLC Earnings Conference Call - Final                                                                             LX
 07/31/12 International                   London Stock Exchange Aggregated Regulatory News Service   BP PLC 2Q12 Part 1 of 1                                                                                                     LX
 07/31/12 International                   London Stock Exchange Aggregated Regulatory News Service   Hansa Trust PLC Interim Management Statement                                                                                LX




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 07/31/12                                   RNS (Regulatory News Service)                         BP PLC 2Q12 Part 1 of 1                                                                                   WL
 07/31/12                                   The Associated Press                                  BP Posts Q2 Loss As Output, Oil Prices Fall                                                               LX
 08/01/12                                   J. Walker & Company                                   BP Oil Spill Claims                                                                                       INT
 08/01/12 New York, NY                      Law 360 (Law360.com)                                  BP Urged To Be Fair To Fla. On Deepwater Claim Payments                                                   INT
 08/01/12                                   NorthEscambi.com                                      Local Delegation Meets With BP Claims Chief In New Orleans                                                INT
 08/01/12                                   YouTube(http://www.youtube.com/watch?v=Tl6vf4uGCkE)   BP Oil Spill Settlement Progress Update: Attorney Rick Kuykendall Fairhope Alabama                        INT
 08/02/12 Florida                           AP Alert - Florida                                    Florida AG Questions BP Oil Spill Settlement                                                              WL
 08/02/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                            Tampa Considers Filing BP Oil Spill Claim                                                                 INT
 08/02/12                                   BloombergBusinessweek News                            Florida AG Questions BP Oil Spill Settlement                                                              INT
 08/02/12                                   CBSNews.com                                           Florida AG Questions BP Oil Spill Settlement                                                              INT
 08/02/12                                   Deepwater Horizon Settlement Lawyer                   Calculators Designed To Help With BP Oil Spill Claims Becoming Available                                  INT
 08/02/12                                   FloridaToday.com                                      Florida AG Questions BP Oil Spill Settlement                                                              INT
 08/02/12                                   FuelFix.com                                           Florida AG Questions BP Oil Spill Settlement                                                              INT
 08/02/12                                   GoErie.com                                            Florida AG Questions BP Oil Spill Settlement                                                              INT
 08/02/12                                   HammondStar.com                                       Center Processes Oil Spill Claims: Federal Officials Tour Facilities                                      INT
 08/02/12 Marco Island, FL                  MarcoIslandFlorida.com                                Attorneys To Speak At BP Oil-Spill Seminar On Marco Monday                                                INT
 08/02/12                                   News Bites US Markets                                 Brownie's Marine Group Rises 21.1% From 14-Day Low                                                        WL
 08/02/12                                   News-Press.com                                        Attorneys To Speak At BP Oil-Spill Seminar On Marco Monday                                                INT
 08/02/12                                   NorthEscambi.com                                      AG Bondi "Troubled" By BP Oil Spill Settlement                                                            INT
 08/02/12                                   PddNet.com                                            Florida AG Questions BP Oil Spill Settlement                                                              INT
 08/02/12 Tampa, FL                         Tampa Bay Business Journal                            BP Oil Spill Settlement Under Florida AG's Scrutiny                                                       LX / INT
 08/02/12 Tampa, FL                         Tampa Bay Online (TBO.com)                            Tampa Considers Filing BP Oil Spill Claim                                                                 INT
 08/02/12                                   The Associated Press                                  Florida AG Questions BP Oil Spill Settlement                                                              LX / INT
 08/02/12                                   The Associated Press State & Local Wire               Florida AG Questions BP Oil Spill Settlement                                                              LX
 08/03/12                                   BPSettlementNow.com                                   Florida Unhappy With Aspects Of BP's Proposals                                                            INT
 08/03/12 Bradenton, FL                     Brandenton Herald                                     Florida Briefs: Property Record Official Despite Clerk Error                                              LX
 08/03/12                                   CaptBriens.com                                        Attorneys To Speak At BP Oil-Spill Seminar On Marco Monday                                                INT
 08/03/12 Thibodaux, LA                     DailyComet.com                                        Fishermen Invited To Forum On Oil-Spill Aid                                                               INT
 08/03/12                                   Junior Golf                                           BP Oil Spill Update You Should Not Miss                                                                   INT
 08/03/12                                   News Bites US Markets                                 Brownie's Marine Group Keeps Rising: Up 19.0% In 2 Days                                                   INT
 08/03/12 Palm Beach, FL                    Palm Beach Post                                       Your World At A Glance                                                                                    INT
 08/03/12                                   Phil's Stock World                                    WPCS Announces Sale Of Assets Of Two Operation Centers And Guidance For Fiscal Year 20113                 INT
 08/03/12                                   Psychiatric News                                      MH Care Benefits From Oil Spill Settlement                                                                INT
 08/04/12                                   FOX8 (Fox8Live.com)                                   Community Conference Held For Victims Of The B.P. Oil Spill                                               INT
 08/05/12 Metairie, LA                      Bayou Buzz (BayouBuzz.com)                            Conference Aims To Clear Up BP Settlement Confusion For Affected Fishermen                                INT
 08/05/12                                   Legal Broadcast Network                               BP Oil Spill Settlement Progress Update: Attorney Rick Kuykendall Fairhope Alabama                        INT
 08/05/12 Panama City, FL                   The News Herald                                       Oil Claim Calculator Helps Determine Who Has A Claim                                                      LX
 08/06/12                                   BPRecovery.co                                         BP Recovery Continues For BP Oil Spill Victims                                                            INT
 08/06/12                                   LB Network                                            Update: BP Oil Spill Claimant Deadline Approach                                                           INT
 08/06/12 Panama City, FL                   NewsHerald.com                                        Oil Claim Calculator Helps Determine Who Has A Claim                                                      INT
 08/06/12                                   PR Newswire                                           Oil Claim Calculator Selected By New Orleans Accounting Firm For Online BP Oil Spill Claim Calculations   LX




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  08/06/12                                        RedOrbit.com                                                         Oil Claim Calculator Selected By New Orleans Accounting Firm For Online BP Oil Spill Claim Calculations   INT
  08/06/12 Panama City, FL                        The News Herald                                                      Oil Claim Calculator Helps Determine Who Has A Claim                                                      LX
  08/06/12 Sacramento, CA                         The Sacramento Bee                                                   Oil Claim Calculator Selected By New Orleans Accounting Firm For Online BP Oil Spill Claim Calculations   INT
  08/06/12                                        WearTV.com                                                           ABC 3 Top Stories                                                                                         INT
  08/07/12                                        ABLI-Us.org                                                          Latest Oil Spill News On BP Recovery Fund                                                                 INT
  08/07/12                                        Lost-In-Austen.com                                                   What Does BP Recovery Mean To Oil Spill Victims                                                           INT
  08/07/12 Marco Island, FL                       MarcoIslandFlorida.com                                               Marco Residents Learn About BP Claims Process At Seminar                                                  INT
  08/07/12                                        News-Press.com                                                       Marco Residents Learn About BP Claims Process At Seminar                                                  INT
  08/08/12                                        Beason & Nalley                                                      Was Your Business Harmed By The Deepwater Horizon Oil Spill?                                              INT
  08/08/12 Birmingham, AL                         Blog.Al.com                                                          New BP Claims Boss Is A Stark Contract To Ken Feinberg                                                    INT
  08/08/12 Marco Island, FL                       MarcoIslandFlorida.com                                               BP Oil-Spill Settlement Ready For Claims                                                                  INT
  08/08/12                                        News-Press.com                                                       BP Oil-Spill Settlement Ready For Claims                                                                  INT
  08/08/12                                        PinellasBeachesPatch.com                                             BP Claimant Meeting Tonight                                                                               INT
  08/09/12                                        BusinessBalla.com                                                    BP Oil-Spill Settlement Ready For Claims                                                                  INT
  08/09/12                                        Deepwater Horizon Settlements                                        Mobile Rep. Praises New BP Oil Spill Claims Processing Administrator                                      INT


* Source: INT (Internet); LX (Lexis); MM (PR Newswire Media Monitoring); RW (PR Newswire Release Watch); WL (Westlaw); USI (PR Newswire USI / eWatch)




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        Attachment 19
Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is... -- NEW ORLEANS, May 8, 2012 /PRNewswire/ --
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     Court Ordered Notice Program About Two Deepwater Horizon Oil
     Spill Settlements Is Initiated
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     NEW ORLEANS, May 8, 2012 /PRNewswire/ -- A notification effort ordered by the United States District Court for the Eastern
     District of Louisiana is beginning today to notify people, businesses and other entities about two separate proposed settlements
     with BP Exploration & Production Inc. and BP America Production Company ("BP") related to the Deepwater Horizon oil spill. BP                        Print          Email      RSS
     has estimated the cost of the proposed settlement to be approximately $7.8 billion. The total amount BP will pay to settle valid
     claims is uncapped, and the ultimate cost will depend on the actual outcomes of the court-supervised claims processes.                               Share it

     People may be affected by one or both settlements. In each settlement, Class Members have separate legal rights and options,                         Blog it
     including submitting claims for benefits, opting out or objecting to each settlement.

     The Economic and Property Damages Settlement (or "E&PD Settlement") includes people, businesses and other entities who                               Blog Search
     live, work, conduct business operations and/or own/lease property in the states of Louisiana, Mississippi, and Alabama, along
     with specified Texas and Florida counties. The E&PD Settlement generally covers the following types of claims: 1) Seafood                      More in These Categories
     Compensation; 2) Economic Loss; 3) Loss of Subsistence; 4) Vessel Physical Damage; 5) Vessels of Opportunity Charter
     Payment; 6) Coastal Real Property Damage; 7) Wetlands Real Property Damage; and 8) Real Property Sales Damage. In                               Oil & Energy
     addition to compensation for actual damage, payments to eligible claimants may include a multiplier related to unknown future
     damage.                                                                                                                                         Greif Saves a Ton with ThinkEco's
     The Medical Benefits Settlement (or "Medical Settlement') includes "Clean-Up Workers" and people who resided during specified                   Energy Challenge
     periods in 2010 in specific coastal areas and wetlands areas. Medical Settlement benefits include (a) payments for Specified                    CAMAC Energy to Present at
     Physical Conditions including reimbursement of hospital expenses, (b) a 21-year Periodic Medical Consultation Program, and (c)                  EnerCom Conference
     a $105 million Gulf Region Health Outreach Program, available to all Gulf residents, Class Members and non-Class Members
     alike, in order to strengthen healthcare capacity and increase health literacy throughout the region.                                           Greenwood Energy to Develop
                                                                                                                                                     Second Combined Heat and Power
     Detailed information on the two settlements can be found at the settlement website, DeepwaterHorizonSettlements.com. The                        Plant for Millennium Hotels and
     website has detailed maps that allow users to see if a geographic location may be included within one or more zones.                            Resorts
     Notices will be mailed to known potential Class Members and are scheduled to appear in thousands of media outlets over the
     next 60 days in English, Spanish and Vietnamese. Notices are to appear in Gulf Coast daily newspapers, print publications,
                                                                                                                                                     Legal Issues
     television and radio spots and on Internet websites. A parallel nationwide media effort includes well-read consumer magazines,
     trade publications and highly-trafficked Internet websites.
                                                                                                                                                     Most Read
     The Court has appointed Stephen J. Herman (Lead Class Counsel), James Parkerson Roy (Lead Class Counsel), Brian H. Barr,
     Jeffery A. Breit, Elizabeth J. Cabraser, Philip F. Cossich, Jr., Robert T. Cunningham, Alphonso Michael Espy, Calvin C. Fayard,                 Most Emailed
     Jr., Robin L. Greenwald, Ervin A. Gonzalez, Rhon E. Jones, Matthew E. Lundy, Michael C. Palmintier, Joseph F. Rice, Paul M.
     Sterbcow, Scott Summy, Mikal C. Watts and Conrad S. P. Williams as Proposed Settlement Class Counsel to represent each of
     the Settlement Classes.
                                                                                                                                                    Journalists and Bloggers
     Class Members can submit a claim to either or both Settlements, or they can ask to be excluded from, or object to, either or
     both Settlements. The deadline to object to either or both settlements is August 31, 2012. The deadline to request exclusion
     from either or both settlements is October 1, 2012.

     The deadline to submit most E&PD claims will be April 22, 2014 or six months after the E&PD Settlement becomes effective (that
     is, after the Court grants "final approval" and any appeals are resolved), whichever is later. There will be an earlier deadline to            Visit PR Newswire for
     submit E&PD Seafood Compensation claims. The earlier deadline to submit Seafood Compensation claims will be 30 days after                      Journalists for releases, photos,
     final approval of the Settlement by the United States District Court for the Eastern District of Louisiana (regardless of appeals).            ProfNet experts, and customized
     The deadline to submit Medical Benefits claims is one year after the Medical Settlement becomes effective (that is, after the                  feeds just for Media.
     Court grants "final approval" and any appeals are resolved). Exact claim filing deadlines will be posted on the website as they
     become available.                                                                                                                              View and download archived
                                                                                                                                                    video content distributed by
     With the exception of some Seafood Compensation Program claims, eligible E&PD Settlement claims will be paid on a rolling                      MultiVu on The Digital Center.
     basis and E&PD Settlement claimants may receive payments before the Court considers whether to grant final approval. Medical
     Settlement benefits will not be issued until after the Court grants final approval and any appeals are resolved.

     A toll-free number, 1-866-992-6174 has been established in the case known as In re: Oil Spill by the Oil Rig "Deepwater Horizon"
     in the Gulf of Mexico on April 20, 2010, MDL No. 2179, along with a website, DeepwaterHorizonSettlements.com where notices,



http://www.prnewswire.com/news-releases/court-ordered-notice-program-about-two-deepwater-horizon-oil-spill-settlements-is-initiated-150600745.html[8/13/2012 9:44:17 AM]
Court Ordered Notice Program About Two Deepwater Horizon Oil Spill Settlements Is... -- NEW ORLEANS, May 8, 2012 /PRNewswire/ --
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     each Settlement Agreement and other documents may be obtained.

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     SOURCE United States District Court for the Eastern District of Louisiana


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http://www.prnewswire.com/news-releases/court-ordered-notice-program-about-two-deepwater-horizon-oil-spill-settlements-is-initiated-150600745.html[8/13/2012 9:44:17 AM]
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                                                                                                                                                                                           MEDIA MAIL
                                                                                                                                                                                                  Batavia, IL 60510
                                                                                                                                                                                                  c/o 934 Paramount Parkway
               See www.DeepwaterHorizonSettlements.com
Source: U.S. District Court, Eastern District of Louisiana



October 1, 2012.




                                                                  Deepwater Horizon Oil Spill Litigation - Class Action Notice




                                                                                                                                                                                                                              Deepwater Horizon Oil Spill Litigation - Class Action Notice
their right to be excluded from the case, by
those affected about their rights, including
Please air these important announcements alerting

the two settlements.
payments and other benefits from one or both of
across the Gulf Coast region may be eligible for
addressing medical claims. People and businesses
property damage claims, and a separate settlement
Spill - one settlement addressing economic and
settlements related to the Deepwater Horizon Oil
Court-approved PSAs about two separate

Deepwater Horizon Oil Spill Litigation - Class Action Notice




    30 second TV PSA:

    People and/or businesses across the Gulf Coast
    region may be eligible for payments and other                                                                                Deepwater Horizon Oil Spill Litigation - Class Action Notice
    benefits from two separate class action settlements
    related to the Deepwater Horizon Oil Spill.
                                                                                                                                               Dear Public Service Director:
    One settlement provides payments for some types
    of economic and property damage claims. The                                                                                                Two separate settlements have been reached
    other settlement provides payments and other                                                                                               related to the Deepwater Horizon Oil Spill - one
                                                                                                                                               settlement addressing economic and property
    benefits for certain medical claims.
                                                                                                                                               damage claims, and a separate settlement
                                                                                                                                               addressing medical claims.        People and/or
    To get claim forms and notices, go to                                                                                                      businesses across the Gulf Coast region may be
    www.DeepwaterHorizonSettlements.com or                                                                                                     eligible for payments and other benefits from one
    call 866-992-6174.                                                                                                                         or both of the two settlements.

                                                                                                                                               This message is important because the people
                                                                                                                                               and/or businesses affected have various rights,
                                                                                                                                               including the right to file claims, request exclusion
                                                                                                                                               from or object to either or both settlements. The
                                                                                                                                               PSAs inform people and businesses of their legal
                                                                                                                                               rights and how to obtain additional information.

                                                                                                                                               Please air these spots as soon as possible, and
                                                                                                                                               continue to do so until October 1, 2012. Thank
                                                                                                                                               you for taking the time to consider sharing these
                                                                                                                                               PSAs with your audience.

                                                                                                                                               Sincerely,
                                                                                                                                               Notice Administrator


                                                                                                                                 Source: U.S. District Court, Eastern District of Louisiana
                                                                                                                                                    See www.DeepwaterHorizonSettlements.com
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        TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS PARA EL DISTRITO ESTE DE LUISIANA

Si sufrió una pérdida económica o daños a la propiedad
 a raíz del derrame de petróleo de Deepwater Horizon,
podría recibir dinero a partir de un acuerdo de demanda
                        colectiva.
                Un tribunal federal envió este Aviso. No es una solicitud de un abogado.
   Se lograron dos acuerdos —uno de reclamaciones por daños económicos y a la propiedad, y otro de
    reclamaciones médicas— con BP Exploration & Production Inc. y BP America Production Company
    (“BP”) por el derrame de petróleo de Deepwater Horizon.
   Este Aviso explica el Acuerdo de daños económicos y a la propiedad (“Acuerdo de E&PD”).
   Si usted forma parte del Acuerdo de daños económicos y a la propiedad, puede recibir dinero si el
    derrame de petróleo de Deepwater Horizon lo ha afectado en una o más de las siguientes categorías:

             ■ Compensación para personas que                       ■ Pago del fletamento conforme al programa
               trabajan con productos comestibles del                 Vessels of Opportunity.
               mar.                                                 ■ Daños a bienes inmuebles ubicados en la costa.
             ■ Daños económicos.                                    ■ Daños a bienes inmuebles ubicados en
             ■ Pérdida de la subsistencia.                            humedales.
             ■ Daños físicos a buques.                              ■ Daños a la venta de bienes inmuebles.
   Hay áreas o “Zonas” geográficas asociadas con varias de estas categorías. El sitio web
    DeepwaterHorizonSettlements.com tiene descripciones y mapas detallados que lo ayudarán a determinar
    si una ubicación puede incluirse en una o más de estas zonas.
   Con la excepción de ciertas reclamaciones de Programas de Compensación para personas que trabajan
    con productos comestibles del mar, las reclamaciones del Acuerdo de E&PD elegibles se pagarán de
    forma continua y los demandantes del Acuerdo de E&PD pueden recibir los pagos antes de que el
    Tribunal considere si debe otorgar o no la aprobación final.
   Si usted forma parte del Acuerdo de E&PD (un “Miembro del grupo de demandantes de E&PD”), sus
    derechos legales se verán afectados, independientemente de que actúe o no. Lea este Aviso
    detenidamente.

    DERECHOS Y OPCIONES LEGALES DE LOS MIEMBROS DEL GRUPO DE DEMANDANTES DE
                            E&PD EN ESTE ACUERDO:

PRESENTAR UN FORMULARIO                 La única forma de solicitar un pago en virtud del Acuerdo de
DE RECLAMACIÓN                          E&PD.

EXCLUIRSE (RENUNCIAR)                   No obtendrá beneficios a partir del Acuerdo de E&PD. La
                                        solicitud de exclusión de este Acuerdo (también denominada
                                        “Renuncia”) le permitiría presentar o continuar con su propia
                                        acción legal en contra de BP en relación con las reclamaciones
                                        legales involucradas en este Acuerdo de E&PD.

OBJETAR                                 Escriba al Tribunal sobre el motivo por el cual no está conforme
                                        con el Acuerdo de E&PD.

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                  Ñeå ñöôïc thoâng baùo baèng tieáng Vieät, xin goïi ñieän thoaïi hoaëc vaøo trang maïng
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ACUDIR A UNA AUDIENCIA DE          Solicite hablar en el Tribunal sobre la imparcialidad del Acuerdo
IMPARCIALIDAD                      de E&PD.

NO HACER NADA                      No obtendrá beneficios financieros individuales a partir del
                                   Acuerdo de E&PD. No obstante, si es Miembro del grupo de
                                   demandantes de E&PD, los términos del Acuerdo de E&PD
                                   igualmente regirán en su caso.

    Estos derechos y opciones, así como las fechas límite para ejercerlos, se explican en este Aviso.




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           2. ¿De qué trata esta acción legal?
           3. ¿Qué es el Incidente de Deepwater Horizon?
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           5. ¿Por qué existe un acuerdo?
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           25. Si me excluyo del Acuerdo de daños económicos y a la propiedad, ¿todavía puedo presentar una
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                                         INFORMACIÓN BÁSICA

 1. ¿Por qué se proporciona este aviso?

Usted tiene derecho a conocer el acuerdo propuesto de esta demanda colectiva y sus opciones en relación
con el Acuerdo propuesto. Este Aviso explica la acción legal, el Acuerdo de E&PD, sus derechos
legales, los beneficios disponibles, quiénes son elegibles para recibirlos y cómo obtenerlos.

Este Aviso no brinda ningún tipo de información sobre el Acuerdo de beneficios médicos. Para
obtener más información sobre el Acuerdo de beneficios médicos y para saber si sus derechos se verán
afectados por dicho acuerdo o si es elegible para recibir los beneficios en virtud de dicho acuerdo, visite
DeepwaterHorizonSettlements.com, o llame al 1-866-992-6174.

El juez Carl J. Barbier del Tribunal de Distrito de los Estados Unidos para el Distrito Este de Luisiana
supervisa esta demanda colectiva. El caso se conoce como In re: Oil Spill by the Oil Rig “Deepwater
Horizon” in the Gulf of Mexico on April 20, 2010, MDL n.º 2179 (En referencia al derrame de petróleo
de la plataforma de perforación petrolera “Deepwater Horizon” en el Golfo de México, el 20 de abril de
2010, litigio multidistrital [multidistrict litigation, MDL] n.º 2179). Las personas que iniciaron la acción
legal se denominan “Demandantes”, y BP se encuentra entre las compañías demandadas.

Los términos con mayúscula inicial se definen en el Acuerdo de E&PD, que se encuentra disponible en
el sitio web.

No llame a la oficina del Tribunal ni de ningún juez para hacer preguntas sobre el Acuerdo de
E&PD. Si tiene preguntas o si desea más información, visite DeepwaterHorizonSettlements.com o llame
al 1-866-992-6174.

 2. ¿De qué trata esta acción legal?

La acción legal sostiene determinadas reclamaciones por una pérdida económica o daños a la propiedad
que surgieron a partir del “Incidente de Deepwater Horizon” (consulte la Pregunta 3) en el Golfo de
México desde el 20 de abril de 2010. Los Demandantes solicitan una compensación monetaria y de otro
tipo por los daños económicos y a la propiedad supuestamente causados por el Incidente de Deepwater
Horizon. BP cuestiona y niega las reclamaciones de los Demandantes en dicha acción legal.

 3. ¿Qué es el Incidente de Deepwater Horizon?

El “Incidente de Deepwater Horizon” hace referencia a los eventos, las acciones, las inacciones y las
omisiones que propiciaron los siguientes hechos:
       La explosión del pozo MC252 (también conocido como el “pozo Macondo”) el 20 de abril de
        2010.
       Las explosiones y el incendio a bordo de la plataforma de perforación petrolera Deepwater
        Horizon.
       El hundimiento de la plataforma de perforación petrolera Deepwater Horizon el 22 de abril de
        2010.
       El escape de petróleo y otras sustancias del pozo MC252 o de la plataforma de perforación
        petrolera Deepwater Horizon y sus accesorios (equipos).
       Los esfuerzos por contener el pozo MC252.

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      Todas las “Actividades de respuesta”, incluido el programa “Vessels of Opportunity” (“VoO”).
      La operación de la “Oficina de Reclamaciones de la Costa del Golfo” (Gulf Coast Claims
       Facility, “GCCF”).
      Las declaraciones públicas de BP sobre todo lo mencionado anteriormente.

 4. ¿Por qué es una demanda colectiva?

En una demanda colectiva, uno o más “Representantes del grupo de demandantes” demandan en nombre
de aquellos que tienen el mismo tipo de reclamaciones que surgieran de los mismos hechos. Aquí, los
Representantes del grupo entablan una demanda para obtener pagos para un grupo de personas y
empresas con reclamaciones específicas por una pérdida económica o daños a la propiedad que surgieron
a partir del “Incidente de Deepwater Horizon”. A este grupo se lo denomina ”Grupo de demandantes del
Acuerdo de daños económicos y a la propiedad” o Grupo de demandantes de E&PD”, en su forma
abreviada, y sus miembros, aquellas personas y empresas que corresponden a esta Definición de grupo,
son los “Miembros del Grupo de demandantes de E&PD”. Vaya a la pregunta 10 para ver si usted es un
Miembro del Grupo de demandantes de E&PD. Un tribunal resuelve las cuestiones de todos los
miembros del grupo de demandantes.

 5. ¿Por qué existe un acuerdo?

El Tribunal no tomó una decisión sobre el caso a favor de los Demandantes ni de BP. En su lugar,
después de extensas negociaciones independientes, los Demandantes y BP han aceptado llegar a un
acuerdo sobre este caso a fin de evitar el costo, retraso y riesgo de un juicio. Los Representantes del
grupo de demandantes y sus abogados creen que el Acuerdo de E&PD propuesto es lo mejor para todos
los Miembros del grupo de demandantes de E&PD.

 6. El Acuerdo de daños económicos y a la propiedad, ¿forma parte de la Oficina de
    Reclamaciones de la Costa del Golfo (GCCF)?

No. La GCCF se ha cerrado. El nuevo Programa del Acuerdo supervisado por el Tribunal en relación a
Deepwater Horizon (“Programa del Acuerdo”) se ha establecido en virtud del Acuerdo de E&PD.
Mediante acuerdo de las partes, el nuevo programa funciona conforme a las reglas específicas acordadas
y bajo la supervisión del Tribunal. Si la GCCF rechazó o le denegó una reclamación, esto no afectará su
elegibilidad o derecho para recibir un pago en virtud del Acuerdo de E&PD. Si la GCCF le pagó una
reclamación y usted no firmó una exención (consulte la Pregunta 8), usted todavía puede ser elegible
para recibir un pago en virtud del Acuerdo de E&PD.

 7. ¿Qué sucedió con las reclamaciones pendientes o sin resolver con la GCCF?

Todas las reclamaciones pendientes y sin resolver con la GCCF, incluidos los documentos relacionados
con dichas reclamaciones, se han transferido al nuevo Programa del Acuerdo. El Programa del Acuerdo
está trabajando en estas reclamaciones según las reglas del Acuerdo de E&PD. Se lo contactará en caso
de que se requiera información adicional para procesar su reclamación. Si tiene una pregunta específica
sobre el estado de una reclamación presentada ante la GCCF, puede llamar al Programa del Acuerdo al
1-866-992-61741 para obtener asistencia.




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    8. ¿Qué sucede si recibí un pago final de la GCCF y firmé una exención?

Si usted presentó una reclamación ante la GCCF, recibió un pago por dicha reclamación y firmó un
documento denominado “Exención y convenio de no demanda”, no es elegible para recibir dinero en
virtud de la mayor parte de las secciones del Acuerdo de E&PD. Sin embargo, todavía puede ser elegible
para presentar una reclamación por el Pago del fletamento conforme al programa VoO o una
reclamación por Daños físicos a buques (consulte la Tabla de beneficios y elegibilidad para
reclamaciones del Acuerdo de E&PD a continuación para obtener detalles sobre las reclamaciones por el
Pago del fletamento conforme al programa VoO o por Daños físicos a buques). También puede ser
elegible para participar en el Acuerdo de beneficios médicos separado. Si su reclamación ante la GCCF y
el documento “Exención y convenio de no demanda” se relacionan únicamente con una reclamación por
lesiones corporales, todavía puede ser elegible para participar en el Acuerdo de E&PD.

    9. Si presenté una Concurrencia de formularios abreviados en la acción legal,
    ¿igualmente debo presentar una reclamación?

Sí. Incluso si presentó un formulario abreviado especial (“Concurrencia de formularios abreviados”)
como parte de la acción legal en contra de BP, igualmente debe presentar un Formulario de reclamación
y proporcionar toda la documentación necesaria para presentar una reclamación y solicitar el pago a
partir del Programa del Acuerdo (consulte la Pregunta 17).

                              PARTICIPANTES EN EL ACUERDO

Para ver si se verá afectado por el Acuerdo de E&PD o si puede obtener un pago a partir de él, primero
tiene que determinar si es usted Miembro del grupo de demandantes de E&PD.

    10. ¿Quiénes participan en el Grupo de demandantes de daños económicos y a la
    propiedad?

El Grupo de demandantes de E&PD incluye personas, empresas y otras entidades. El texto completo
sobre Definición de grupo de demandantes de E&PD figura en la sección 1 del Acuerdo de E&PD. El
Acuerdo, y otros materiales e información están disponibles en el sitio web y a solicitud. Responda la
siguiente serie de preguntas para ver si puede ser un Miembro del grupo de demandantes de E&PD. La
primera serie de preguntas es para personas, mientras que la segunda serie es para empresas y otras
entidades. Las definiciones a continuación lo ayudarán a responder las preguntas.

    “Áreas de la Costa del Golfo” hace referencia a los estados de Luisiana, Misisipi y Alabama; a los
     condados de Chambers, Galveston, Jefferson y Orange en el estado de Texas; y a los condados de
     Bay, Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia, Franklin, Gadsden, Gulf, Hernando,
     Hillsborough, Holmes, Jackson, Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa,
     Pasco, Pinellas, Santa Rosa, Sarasota, Taylor, Wakulla, Walton y Washington en el estado de
     Florida. “Áreas de la Costa del Golfo” también hace referencia a todas las aguas adyacentes, bahías,
     estuarios, estrechos y otras aguas salobres o mareas del Golfo en los estados de Luisiana, Misisipi y
     Alabama, y en los condados descritos de Texas o Florida.
    “Aguas del Golfo especificadas” hace referencia a las aguas del Golfo de México en los EE. UU. y
     a todas las bahías, estuarios, estrechos y otras agua salobres o mareas adyacentes en las Áreas de la
     Costa del Golfo.


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   “Entidad” hace referencia a una organización o entidad, distinta de una organización gubernamental,
    que opera o que haya operado con fines de lucro o sin fines de lucro, incluida una sociedad, una
    corporación, una compañía de responsabilidad limitada, una asociación, una sociedad anónima, un
    fideicomiso, una empresa conjunta, o una asociación no constituida en sociedad de cualquier tipo o
    descripción.
   “Consumidor” hace referencia a una Persona física o a una Entidad que compra un producto para su
    uso o consumo individual y no para la fabricación o la reventa.
   “Usuario final” hace referencia a una Persona física o a una Entidad que compra un producto para su
    uso o consumo individual y no para la fabricación o la reventa.




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Preguntas para personas                                                          Sí                No

¿Vive en los EE. UU.?                                                            Continúe con      Usted no es un
                                                                                 la siguiente      Miembro del
                                                                                 pregunta.         grupo de
                                                                                                   demandantes de
                                                                                                   E&PD.

¿Vivió, trabajó, le ofrecieron trabajar y aceptó dicha propuesta, fue            Continúe con      Usted no es un
propietario o arrendó una propiedad, o fue propietario, arrendó o trabajó en     la siguiente      Miembro del
un buque atracado o con base en puerto de matrícula en las Áreas de la           pregunta.         grupo de
Costa del Golfo o en Aguas del Golfo especificadas en algún momento                                demandantes de
entre el 20 de abril de 2010 y el 16 de abril de 2012?                                             E&PD.
O

¿Trabajó en un buque en Aguas del Golfo especificadas en algún momento
entre el 20 de abril de 2010 y el 16 de abril de 2012 que haya descargado
productos comestibles del mar en las Áreas de la Costa del Golfo después
del 20 de abril de 2009?

                                                                                 Continúe con      Usted no es un
¿Sufrió alguna pérdida económica a raíz del Incidente de Deepwater
                                                                                 la siguiente      Miembro del
Horizon?
                                                                                 pregunta.         grupo de
                                                                                                   demandantes de
O
                                                                                                   E&PD.
¿Sufrió daños a la propiedad personal o inmueble a raíz del Incidente de
Deepwater Horizon?

                                                                                 Usted puede       Usted no es un
¿Cumplen sus reclamaciones por pérdida económica o daños a la propiedad con      ser un            Miembro del
las descripciones de una o más de las siguientes categorías?                     Miembro del       grupo de
(1) Compensación para personas que trabajan con productos comestibles del mar.   grupo de          demandantes de
                                                                                 demandantes       E&PD.
(2) Daños económicos.                                                            de E&PD.
(3) Pérdida de la subsistencia.
                                                                                 Continúe con
(4) Pago del fletamento conforme al programa Vessels of Opportunity (“VoO”).     la Tabla de
                                                                                 beneficios y
(5) Daños físicos a buques.
                                                                                 elegibilidad
(6) Daños a bienes inmuebles ubicados en la costa.                               que comienza
                                                                                 en la página 11
(7) Daños a bienes inmuebles ubicados en humedales.                              de este Aviso
(8) Daños a la venta de bienes inmuebles.                                        para
                                                                                 determinar si
                                                                                 puede ser
                                                                                 elegible para
                                                                                 recibir un
                                                                                 pago.

Las personas también pueden formar parte del Acuerdo de beneficios médicos si fueron Encargados de
saneamiento o residentes en determinadas áreas o “Zonas” definidas. Para obtener más información
sobre el Acuerdo de beneficios médicos, visite el sitio web o llame al 1-866-992-6174.

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Preguntas para empresas y otras entidades                                        Sí                  No

(1) Su empresa o Entidad, ¿estuvo en posesión, operó o arrendó un centro         Continúe con la     Usted no es un
físico o buque en las Áreas de la Costa del Golfo o en las Aguas del Golfo       siguiente           Miembro del
especificadas entre el 20 de abril de 2010 y el 16 de abril de 2012, y           pregunta.           grupo de
                                                                                                     demandantes de
         vendía productos en las Áreas de la Costa del Golfo o en las
                                                                                                     E&PD.
         Aguas del Golfo especificadas: (a) directamente a Consumidores o
         Usuarios finales de esos productos; o (b) a otra Entidad que
         vendía esos productos a Consumidores o Usuarios finales de esos
         productos?
                                       o
         compraba regularmente productos comestibles del mar obtenidos
         en las Aguas del Golfo especificadas para generar bienes para la
         reventa?
                                       O
(2) Su empresa o Entidad, ¿era una empresa de servicios con uno o más
empleados a tiempo completo (incluidos los propietarios-operadores) que
prestaban servicios a tiempo completo mientras estaban físicamente
presentes en las Áreas de la Costa del Golfo o en las Aguas del Golfo
especificadas entre el 20 de abril de 2010 y el 16 de abril de 2012?
                                       O
(3) Su empresa o Entidad, ¿estuvo en posesión, operó o arrendó un buque
que (a) tenía base en puerto de matrícula en las Áreas de la Costa del Golfo
en algún momento desde el 20 de abril de 2010 hasta el 16 de abril de
2012, o (b) descargó productos comestibles del mar en las Áreas de la
Costa del Golfo en algún momento desde el 20 de abril de 2009 hasta el 16
de abril de 2012?
                                       O
(4) Su empresa o Entidad, ¿estuvo en posesión o arrendó una propiedad
inmueble en las Áreas de la Costa del Golfo entre el 20 de abril de 2010 y
el 16 de abril de 2012?

                                                                                 Usted puede ser     Usted no es un
¿Cumplen las reclamaciones por pérdida económica o daños a la propiedad que      un Miembro del      Miembro del
presentó su empresa o Entidad con las descripciones de una o más de las          grupo de            grupo de
siguientes categorías?                                                           demandantes de      demandantes de
(1) Compensación para personas que trabajan con productos comestibles del mar.   E&PD.               E&PD.

(2) Daños económicos.                                                            Continúe con la
(3) Pago del fletamento conforme al programa Vessels of Opportunity (“VoO”).     Tabla de
                                                                                 beneficios y
(4) Daños físicos a buques.                                                      elegibilidad que
                                                                                 comienza en la
(5) Daños a bienes inmuebles ubicados en la costa.
                                                                                 página 11 de este
(6) Daños a bienes inmuebles ubicados en humedales.                              Aviso para
                                                                                 determinar si
(7) Daños a la venta de bienes inmuebles.                                        puede ser
                                                                                 elegible para
                                                                                 recibir un pago.


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 11. ¿Hay excepciones para ser incluido en el Grupo de demandantes de daños
 económicos y a la propiedad?

Sí. Las siguientes personas y entidades quedan excluidas del Grupo de demandantes de E&PD:
       Cualquier persona que se excluya del Grupo de demandantes de E&PD (“renuncie” a dicho
        Grupo).
       Demandados según el MDL 2179 y determinados ex empleados y empleados actuales de BP y
        otros Demandados según el MDL 2179.
       El Tribunal, incluidos los jueces actualmente en funciones en el Tribunal de Distrito de los
        Estados Unidos para el Distrito Este de Luisiana, los actuarios judiciales que desempeñen sus
        funciones durante la tramitación de esta acción legal y los miembros de la familia inmediata de
        dicho juez o actuario judicial actual.
       Organizaciones gubernamentales.
       Personas y Entidades que recibieron un pago de la GCCF y firmaron el documento “Exención y
        convenio de no demanda” (aunque estas Personas y Entidades todavía pueden presentar una
        reclamación por el Pago del fletamento conforme al programa VoO o por Daños físicos a
        buques). Consulte las Preguntas 6 a 8.

Además, los siguientes tipos de Entidades y sus empleados están excluidos, en la medida en que estas
Entidades o sus empleados reclamen pérdidas económicas basadas en su empleo por parte de dicha
Entidad:

       Determinadas instituciones financieras.
       Determinados fondos, fideicomisos y demás vehículos financieros.
       Determinadas entidades de caza.
       Determinadas entidades de seguro.
       Determinadas entidades de la industria del gas y del petróleo.
       Determinados contratistas de defensa.
       Determinados desarrollistas inmobiliarios.
       Cualquier Entidad que venda o comercialice combustible de la marca BP, incluidos
        intermediarios y vendedores de productos de marca.

Las personas y Entidades de las industrias antes mencionadas pueden ser elegibles para recibir pagos en
virtud de ciertas categorías de pérdidas económicas no vinculadas a estas industrias, como Daños a
bienes inmuebles ubicados en la costa y Daños a bienes inmuebles ubicados en humedales. Consulte el
Acuerdo o llame al 1-866-992-6174 para obtener más información.
Las siguientes reclamaciones tampoco están incluidas en el Acuerdo de E&PD:

       Reclamaciones por lesiones corporales.
       Reclamaciones de accionistas de BP.
       Reclamaciones por pérdidas de moratorias.
       Las reclamaciones relativas a la pesca, el procesamiento, la venta, la captura o la extracción de
        lachas (o “pinchaguas”).
       Las reclamaciones por daños económicos por parte de Entidades o Personas basadas en el
        empleo en industrias relacionadas con la banca, caza, finanzas, seguro, petróleo y gas, desarrollo
        inmobiliario y contratistas de defensa, así como las Entidades que vendan o comercialicen
        combustible de la marca BP (incluidos intermediarios y vendedores de productos de marca).



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       Reclamaciones por daños punitivos en contra de Halliburton y Transocean. Consulte la
        Pregunta 21.

Usted puede presentar estas reclamaciones y seguir siendo un Miembro del Grupo de demandantes de
E&PD sin renunciar.

Para acceder a la descripción completa de las Entidades, las personas y las reclamaciones que se
excluyen del Grupo de demandantes de E&PD, visite el sitio web o llame al 1-866-992-6174.

 12. ¿Cómo sé si soy elegible para recibir un pago a partir del Acuerdo de daños
      económicos y a la propiedad?

Hay diferentes reglas de elegibilidad para cada una de las categorías de reclamaciones en el Acuerdo de
E&PD. La Tabla de beneficios y elegibilidad para reclamaciones del Acuerdo que comienza en la
página 11 de este Aviso ilustra quién puede ser elegible para recibir un pago en cada categoría. Varias de
estas categorías incluyen zonas geográficas. Visite el sitio web para revisar los mapas detallados de las
zonas.

 13. El Acuerdo de daños económicos y a la propiedad, ¿comprende reclamaciones
       por beneficios médicos?

No. El Acuerdo de E&PD no incluye reclamaciones por beneficios médicos. Si padece afecciones médicas
como consecuencia del Incidente de Deepwater Horizon, usted también puede ser elegible para participar en el
Acuerdo de beneficios médicos. Para obtener más información sobre el Acuerdo de beneficios médicos, visite el
sitio web o llame al 1-866-992-6174.

 14. ¿Qué ocurre si todavía no estoy seguro de ser parte del Acuerdo de daños
      económicos y a la propiedad?

Si no está seguro de estar incluido en el Grupo de demandantes de E&PD, o si tiene alguna otra pregunta
sobre el Acuerdo de E&PD, visite el sitio web o llame al número gratuito 1-866-992-6174. También
puede escribirnos y enviar preguntas por correo a Deepwater Horizon Court-Supervised Settlement, PO
Box     1439,     Hammond,        LA      70404-1439    o   enviar   un     correo     electrónico    a
questions@DeepwaterHorizonEconomicSettlement.com.

 15. ¿Qué ocurre si no soy parte del Acuerdo de daños económicos y a la propiedad?


Si no es Miembro del grupo de demandantes de E&PD, no formará parte del Acuerdo de E&PD. No
obstante, todavía puede ser incluido en el Acuerdo de beneficios médicos (consulte la Pregunta 13).
Además, si no está incluido en el Acuerdo de E&PD, puede presentar una reclamación según la Ley de
Contaminación por Petróleo directamente ante BP. Para obtener más información sobre cómo presentar
una reclamación según la Ley de Contaminación por Petróleo directamente ante BP, visite
www.bp.com/claims o llame al 1-855-687-2631.




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         TABLA DE BENEFICIOS Y ELEGIBILIDAD PARA RECLAMACIONES DEL ACUERDO DE E&PD

  Categoría de
  reclamación                               Requisitos de elegibilidad                                                   Beneficios posibles
Reclamación de     Las reclamaciones por pérdida económica relacionada con productos                 BP pagará las pérdidas económicas relacionadas con
compensación       comestibles del mar pueden ser realizadas por Personas y Entidades que            productos comestibles del mar según el Programa de
para personas      califiquen como Pescadores comerciales, Capitanes de botes de productos           compensación para personas que trabajan con productos
que trabajan con   comestibles del mar, Tripulación de botes de productos comestibles del mar        comestibles del mar en conformidad con un proceso
productos          (incluidos primeros oficiales, segundos oficiales, contramaestres y marineros),   aprobado por el funcionario imparcial designado por el
comestibles del    Arrendatarios de botes de extracción de ostras y Propietarios de buques de        Tribunal Se estima que, a través del Programa de
mar                productos comestibles del mar. Las reclamaciones se pueden presentar en las       Compensación para personas que trabajan con productos
                   siguientes categorías:                                                            comestibles del mar, se realizarán pagos por un total de
                                                                                                     $1,900 millones de los $2,300 millones del Programa. Puede
                           Camarones (reclamaciones de propietarios de buque, arrendatarios de      haber una distribución posterior del saldo. La distribución de
                            buques para pescadores comerciales, capitanes de botes).                 cualquier saldo puede verse afectada por la cantidad de
                           Ostras (incluidas reclamaciones por ingresos perdidos e interés de       participantes que reúnan los requisitos en el Programa para
                            arrendatarios de botes) (reclamaciones de arrendatarios de botes,        personas que trabajan con productos comestibles del mar
                            propietarios de buque, arrendatarios de buques para pescadores
                            comerciales, capitanes de botes).                                        El monto del pago para reclamaciones de Compensación
                           Peces de aleta (reclamaciones de propietarios de buque, arrendatarios    para personas que trabajan con productos comestibles del
                            de buques para pescadores comerciales, capitanes de botes, titulares     mar varía según el tipo de demandante, la categoría de los
                            de la cuota individual de pesca [“IFQ”]).                                productos comestibles del mar y el tipo de prueba
                           Cangrejo azul y otros peces (reclamaciones de propietarios de buque,     proporcionado.
                            arrendatarios de buques para pescadores comerciales [incluidos los       Los capitanes de botes, los propietarios/arrendatarios de
                            daños por trampas para cangrejos], capitanes de botes).                  buques y los arrendatarios de botes de extracción de ostras
                           Tripulación de botes de productos comestibles del mar (sin incluir a     pueden elegir entre dos métodos de pago: un modelo sobre
                            los Capitanes de botes).                                                 los ingresos basado en la declaración de renta, boletos de
                   Los demandantes pueden solicitar una compensación en conformidad con más          viajes y el equivalente, o un modelo acelerado basado en
                   de una categoría de reclamación de Compensación para personas que trabajan        pruebas proporcionadas con mayor facilidad, como el
                   con productos comestibles del mar.                                                tamaño del buque o los acres de los arrendatarios de botes de
                                                                                                     extracción de ostras.
                   La fecha límite para presentar la reclamación de Compensación para personas
                   que trabajan con productos comestibles del mar es anterior a la fecha límite      Todo dinero recibido anteriormente de parte de BP o de la
                   para todas las demás reclamaciones en el Acuerdo de E&PD. La fecha límite         GCCF para reclamaciones de Productos comestibles del mar
                   para presentar un Formulario de reclamación de compensación para personas         relacionadas con el derrame (sin incluir las reclamaciones de
                   que trabajan con productos comestibles del mar es 30 días después del registro




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                    y del fallo de la aprobación final del Acuerdo de E&PD por parte del Tribunal.     VoO) se deducirá del pago del Acuerdo.
                    La fecha exacta límite para presentar las reclamaciones se publicará en el sitio
                                                                                                       RTP* un multiplicador de RTP a pagos para todas las
                    web.
                                                                                                       categorías de reclamaciones que no sean para los titulares de
                    Si desea obtener más detalles sobre el Programa de Compensación para               la cuota individual de pesca y determinada Tripulación de
                    personas que trabajan con productos comestibles del mar, visite el sitio web       botes de productos comestibles del mar.
                    del Acuerdo o llame al 1-866-992-6174.
                                                                                                       Todas las reclamaciones de Compensación para personas que
                                                                                                       trabajan con productos comestibles del mar se pagarán a
                                                                                                       medida que se reciban y aprueben, excepto ciertas
                                                                                                       reclamaciones de Tripulación de botes de productos
                                                                                                       comestibles del mar que se determinarán después de la fecha
                                                                                                       límite de la reclamación de Compensación para personas que
                                                                                                       trabajan con productos comestibles del mar y que el
                                                                                                       Administrador de reclamaciones pagará lo antes posible.
                                                                                                       Usted puede ser elegible para un pago adicional si sobra
                                                                                                       dinero en el Programa de Compensación para personas que
                                                                                                       trabajan con productos comestibles del mar después de que
                                                                                                       todas las reclamaciones se hayan pagado en su totalidad. Sin
                                                                                                       embargo, la medida en la que usted participará de la reserva
                                                                                                       del Programa de Compensación para personas que trabajan
                                                                                                       con productos comestibles del mar dependerá de la cantidad
                                                                                                       de participantes que reúnan los requisitos en el Programa de
                                                                                                       Compensación para personas que trabajan con productos
                                                                                                       comestibles del mar.




*
 La “Prima de transferencia de riesgos” (Risk Transfer Premium, “RTP”) aumenta el monto del pago para determinados Miembros del grupo de demandantes de
E&PD cuyas pérdidas puedan ser recurrentes, en concepto de riesgo de pérdidas económicas futuras relacionadas con el Incidente de Deepwater Horizon. El
Acuerdo de E&PD especifica las RTP aplicables para determinados tipos de industrias o reclamaciones.

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Reclamación por     Las reclamaciones por daños económicos pueden ser realizadas por Personas y       En general, el monto del pago de las reclamaciones por
daños económicos    Entidades en determinadas industrias o zonas geográficas que hayan perdido        Daños económicos se calcula al comparar las ganancias
                    utilidades o ganancias como resultado del Incidente de Deepwater Horizon.         reales posteriores al derrame con las ganancias que podrían
                                                                                                      haberse esperado en dicho período posterior al derrame.
                    Según la industria o zona geográfica, algunas Personas y Entidades deberán
                                                                                                      También hay consideraciones para circunstancias especiales,
                    proporcionar pruebas de que sus pérdidas económicas fueron causadas por el
                                                                                                      como nuevos negocios, negocios fallidos, negocios de
                    Incidente de Deepwater Horizon.
                                                                                                      servicios múltiples, nuevos candidatos para un empleo y
                    Para obtener más detalles sobre las reclamaciones por Daños económicos            vendedores de festivales.
                    elegibles, visite el sitio web o llame al 1-866-992-6174.                         RTP* un multiplicador de RTP a los pagos para algunos tipos
                                                                                                      de reclamaciones por Daños económicos.
                                                                                                      Todo dinero recibido anteriormente de parte de BP o de la
                                                                                                      GCCF para la misma pérdida económica se deducirá del
                                                                                                      pago del Acuerdo.

Reclamación por     Las reclamaciones por pérdida de la subsistencia pueden ser realizadas por        Los pagos se basarán en el valor de venta minorista de los
pérdida de la       Personas que pescaban o cazaban en ciertas regiones geográficas para extraer,     productos comestibles del mar y obtenidos por la caza
subsistencia        capturar, cambiar, consumir o comercializar los recursos naturales del Golfo      perdido entre el 20 de abril de 2010 y el 31 de diciembre de
                    de México, incluidos los productos comestibles del mar y obtenidos por la         2011.
                    caza, de una manera tradicional o consuetudinaria para preservar su dieta
                    básica o familiar, seguridad económica, vivienda, herramientas o las              Se aplicará un multiplicador de RTP* a los pagos de
                    necesidades de vestimenta, y quienes utilizaban los recursos de subsistencia      reclamaciones por Pérdida de la subsistencia, en parte en
                    que se vieron reducidos o limitados en la región geográfica utilizada por la      concepto del daño provocado a la cultura y costumbres de
                    persona debido al Incidente de Deepwater Horizon.                                 subsistencia comunitarias y familiares.

                    Quienes pesquen o cacen solamente por placer o deporte no son elegibles
                    para presentar reclamaciones de subsistencia, independientemente de que
                    consuman o no lo que cacen/pesquen.

Reclamación por     Las reclamaciones por pérdidas económicas causadas por la participación en        Para los demandantes que fueron enviados o a quienes se les
pago del            el programa VoO (independientemente de que se trate de demandantes que            solicitó que realicen un trabajo en el programa VoO, los
fletamento          fueron enviados o a quienes se les solicitó que realicen un trabajo) pueden ser   montos de pago oscilan entre $41,600 y $88,400, según la
conforme al         realizadas por aquellas personas que:                                             eslora del buque.
programa VoO
                        Se hayan registrado para participar en el programa VoO.                      Para los demandantes que completaron el programa de
                                                                                                      capacitación en VoO inicial pero que nunca fueron enviados

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E&PD cuyas pérdidas puedan ser recurrentes, en concepto de riesgo de pérdidas económicas futuras relacionadas con el Incidente de Deepwater Horizon. El
Acuerdo de E&PD especifica las RTP aplicables para determinados tipos de industrias o reclamaciones.

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                      Hayan celebrado un Acuerdo maestro de fletamento de buques conforme        ni se les solicitó que realicen un trabajo en el programa VoO,
                       al programa VoO.                                                           los montos de pago oscilarán entre $4,800 y $10,200, según
                                                                                                  la eslora del buque.
                      Hayan completado el programa de capacitación en VoO inicial.

Reclamación por   Las Personas y Entidades que hayan sido propietarios de un buque elegible       Los demandantes que reúnan los requisitos recibirán los
daños físicos a   entre el 20 de abril de 2010 y el 31 de diciembre de 2011 pueden recuperarse    costos razonables y necesarios para reparar o reemplazar el
buques            de los daños físicos causados por el Incidente de Deepwater Horizon o ciertas   buque elegible, lo que sea menor.
                  operaciones de saneamiento de respuesta, incluido el costo de extracción de
                  equipos o aparejos agregados al buque elegible como parte de las actividades
                  de respuesta.
                  El pago no se encuentra disponible para demandantes que:
                           Hayan firmado un Acuerdo de declaración de recibo y exención por
                            el reembolso por daños como parte del programa VoO.
                           Hayan sufrido daños a los buques mientras trabajaban para cualquier
                            organización de respuesta ante derrames de petróleo o para una
                            organización de saneamiento de derrames de petróleo (que no sean el
                            programa VoO, operaciones de saneamiento ordenadas a nivel
                            federal, u otras operaciones de saneamiento que coinciden con el
                            Programa de Contingencias Nacional).




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Reclamación por     Las Personas y Entidades que hayan sido propietarios o arrendatarios de         Los montos de pago oscilan entre el 30 % y el 45 % del
daños a bienes      bienes inmuebles ubicados en la costa o atracaderos de botes en determinadas    Valor Tasado del Condado de la parcela multiplicado por
inmuebles           áreas geográficas en cualquier momento desde el 20 de abril de 2010 hasta el    1.18%. Por ejemplo, si el Valor Tasado del Condado es
ubicados en la      31 de diciembre de 2010 pueden hacer reclamaciones por daños a dicha            $100,000, el monto de pago oscilará entre $35,400 y
costa               propiedad.                                                                      $53,100. El Acuerdo describe de qué manera se determina el
                                                                                                    Valor Tasado del Condado para cada condado incluido
                    Además, en el caso de bienes inmuebles ubicados en la costa en ciertas áreas
                                                                                                    (consulte el Anexo 11A del Acuerdo, Sección 2(D)).
                    geográficas, los propietarios de bienes personales o inmuebles que hayan
                    resultado con daños físicos en relación con las operaciones de saneamiento de   RTP* un multiplicador de RTP a los pagos de reclamaciones
                    respuesta del Incidente de Deepwater Horizon pueden presentar reclamaciones     por Daños a bienes inmuebles ubicados en la costa.
                    por Daños físicos.
                                                                                                    El pago de Daños físicos por operaciones de respuesta es
                                                                                                    igual al costo de reparar o reemplazar la propiedad dañada,
                                                                                                    lo que sea menor.




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Reclamación por    Las reclamaciones por Daños a la venta de bienes inmuebles pueden ser              Los montos de pago incluirán el 12.5 % del precio de venta
daños a la venta   realizadas por vendedores de propiedades residenciales ubicadas en                 de la propiedad residencial que califica, menos cualquier
de bienes          determinadas áreas geográficas si:                                                 compensación anterior que el demandante haya recibido
inmuebles                                                                                             anteriormente de parte de BP o de la GCCF en relación con
                       El vendedor poseía la propiedad al 20 de abril de 2010.                       la misma propiedad.
                       La venta de la propiedad se cerró entre el 21 de abril de 2010 y el 31 de     En el caso de propiedades compartidas, este monto se
                        diciembre de 2010. El contrato de venta deberá: (1) haberse celebrado el      dividirá según el interés de propiedad del demandante.
                        21 de abril de 2010 o después de esa fecha, o (2) haberse celebrado antes
                        del 21 de abril de 2010, pero sujeto a una reducción en el precio debido al
                        Incidente de Deepwater Horizon.
                   No se incluyen las transferencias de bienes inmuebles residenciales de
                   prestatarios a prestamistas como parte de un proceso de ejecución hipotecaria.

Reclamación por    Las Personas y Entidades que hayan sido propietarios de bienes inmuebles           Los pagos oscilarán entre $4,500 y $25,000 por acre de
daños a bienes     ubicados en humedales en determinadas áreas geográficas en cualquier               determinadas áreas de la costa o de barrera en función de si
inmuebles          momento entre el 20 de abril de 2010 y el 16 de abril de 2012 pueden               la presencia de petróleo se observó en diversas evaluaciones
ubicados en        presentar reclamaciones por Daños a bienes inmuebles ubicados en                   oficiales.
humedales          humedales.
                                                                                                      El pago de Daños físicos es igual al costo de reparar o
                   Además, en el caso de bienes inmuebles ubicados en humedales en ciertas            reemplazar la propiedad dañada, lo que sea menor.
                   áreas geográficas, los propietarios de bienes personales o inmuebles que hayan
                   sufrido daños físicos como consecuencia de las operaciones de saneamiento de
                   respuesta del Incidente de Deepwater Horizon pueden presentar reclamaciones
                   por Daños físicos.




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    CÓMO SOLICITAR UN PAGO: PRESENTACIÓN DE UN F ORMULARIO DE
                                           RECLAMACIÓN

 16. ¿Cuánto recibirá un Miembro del grupo de demandantes de daños económicos y a
      la propiedad elegible?

El monto de su pago se basará en el tipo de reclamación que presente (consulte la Tabla de beneficios y
elegibilidad para reclamaciones del Acuerdo de E&PD que comienza en la página 11 de este Aviso).
Encontrará información completa sobre todos los beneficios del Acuerdo de E&PD en el sitio web.

Si recibe un pago por una reclamación de Compensación para personas que trabajan con productos
comestibles del mar o por Daños económicos, también puede ser elegible para recibir el pago de
determinados servicios profesionales de contabilidad utilizados para preparar su reclamación dentro de un
marco de reembolso. Visite el sitio web para obtener información sobre el proceso de reembolso de los
servicios de contabilidad.

Si tiene preguntas sobre cómo se determinará el valor de su posible reclamación, puede llamar al 1-866-
992-6174 para obtener asistencia.

 17. ¿Cómo presento un Formulario de reclamación para solicitar un pago?


Si usted es Miembro del grupo de demandantes de E&PD, debe completar y enviar un Formulario de
reclamación para solicitar un pago. Cada categoría de reclamación tiene su propio Formulario de
reclamación específico con instrucciones detalladas, incluidos los tipos de documentos acreditativos
necesarios. En el sitio web, encontrará un paquete de Formularios de reclamaciones disponible, o bien
puede solicitar que se lo envíen por correo llamando al 1-866-992-6174.

Para presentar un Formulario de reclamación, deberá enviarlo por correo postal a la dirección que aparece
a continuación, o bien puede presentar su reclamación en línea a través del sitio web. Si tiene preguntas
sobre cómo presentar la reclamación, llame al 1-866-992-6174 para obtener asistencia.

La dirección postal de los Formularios de reclamación es la siguiente:

                    Deepwater Horizon Court-Supervised Settlement
                    PO Box 1439
                    Hammond, LA 70404-1439

Las Oficinas de Reclamaciones también permanecerán abiertas en la Costa del Golfo para ayudar a
los Miembros del grupo de demandantes a presentar sus reclamaciones. Visite el sitio web o llame al
1-866-992-6174 para conocer la ubicación de las Oficinas de Reclamaciones.

Usted puede ser elegible para presentar una reclamación según más de una categoría. No es
necesario que presente las reclamaciones según todas las categorías de una sola vez. Sin embargo, una vez
que reciba su primer pago en el marco del Programa del Acuerdo, deberá presentar todas las
reclamaciones adicionales dentro de los seis meses a partir de la fecha de ese primer pago.

La fecha límite para presentar todos los Formularios de reclamación de compensación para personas que
trabajan con productos comestibles del mar es 30 días después del registro y del fallo de la aprobación
final del Tribunal. Esta fecha límite es anterior a la fecha límite de las reclamaciones para todas las demás


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reclamaciones en el Acuerdo de E&PD. La fecha exacta límite para presentar las reclamaciones se
publicará en el sitio web.

La fecha límite para presentar un Formulario de reclamación para todas las reclamaciones que no sean
reclamaciones de Compensación para personas que trabajan con productos comestibles del mar es el 22
de abril de 2014 o seis meses después de que entre en vigencia el Acuerdo de E&PD (es decir, después de
que el Tribunal otorgue la “aprobación final” y todas las apelaciones sean resueltas, la fecha que ocurra
después). La fecha exacta límite para presentar las reclamaciones se publicará en el sitio web. Se
recomienda enfáticamente que los Miembros del grupo de demandantes de E&PD completen y presenten
el Formulario de reclamación a la brevedad. Si no presenta el Formulario de reclamación a tiempo,
perderá la oportunidad de solicitar un pago a partir del Acuerdo de E&PD.


 18. ¿Debo presentar documentación acreditativa?

Sí. Deberá incluir determinados documentos acreditativos para que se acepte su reclamación. Lea
atentamente las instrucciones del Formulario de reclamación. Si tiene alguna pregunta sobre la
preparación del Formulario de reclamación, llame al 1-866-992-6174.


 19. ¿Qué sucede si rechazan mi reclamación o si no estoy conforme con mi pago?

El Acuerdo de E&PD ofrece un proceso para resolver discrepancias respecto de cuánto dinero debe
recibir. Obtendrá más detalles en la carta que recibirá después de que se haya procesado su reclamación.
Si se rechaza su reclamación o si no está conforme con el monto del pago, puede presentar una apelación.
En casos de un pago superior a los $25,000, BP también tiene derecho a presentar una apelación. En el
sitio web, también encontrará un formulario de reclamación y más explicaciones sobre el proceso de
apelación. Tenga en cuenta que, para algunas reclamaciones de Compensación para personas que trabajan
con productos comestibles del mar, no existe un proceso de apelación.

 20. ¿Cuándo recibiré mi pago?

En general, las reclamaciones válidas se pagarán a medida que se reciban y aprueben, excepto
determinadas reclamaciones de Compensación para personas que trabajan con productos comestibles del
mar. Determinadas reclamaciones de Tripulación de botes de productos comestibles del mar para
Compensación para personas que trabajan con productos comestibles del mar se pagarán después de la
fecha límite de reclamación de Compensación para personas que trabajan con productos comestibles del
mar, después de que se hayan procesado todas las reclamaciones de Tripulación de botes de productos
comestibles del mar.

 21. ¿Qué otros beneficios proporciona el Acuerdo de E&PD?

El Acuerdo de E&PD incluye la creación de un nuevo fondo de $57 millones para fomentar el turismo y
la industria de productos comestibles del mar en las Áreas de la Costa del Golfo afectadas por el Incidente
de Deepwater Horizon.

Además, BP le está dando al Grupo de demandantes de E&PD el derecho de buscar que se paguen
determinadas reclamaciones en contra de Transocean y Halliburton para el beneficio del Grupo de
demandantes de E&PD. En caso de que se aprueben las reclamaciones, las ganancias de dichas
reclamaciones se utilizarán para el beneficio del grupo de demandantes de la forma que lo apruebe el
Tribunal.

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 22. ¿A qué renuncio si recibo un pago?

Si acepta un pago del Acuerdo de E&PD, usted renuncia a su derecho de demandar a BP o a las Partes
exentas (identificadas en la Sección 10 del Acuerdo) en relación con todas las reclamaciones resueltas
mediante el Acuerdo de E&PD, como se describe más detalladamente en la Sección 10 del Acuerdo de
E&PD.
Sin embargo, usted NO renunciará a su derecho de demandar a BP o a cualquiera de las Partes exentas
por cualquier otra reclamación, es decir, cualquier reclamación que no se haya resuelto mediante el
Acuerdo de E&PD.
El texto completo del Acuerdo se encuentra disponible en el sitio web. El Acuerdo describe las
reclamaciones exentas con descripciones específicas en terminología legal; por lo tanto, léalo
detenidamente. Si tiene alguna pregunta sobre las reclamaciones exentas y lo que significan, puede
hablar, sin costo alguno, con las firmas de abogados que representan al Grupo de demandantes de E&PD
y que se mencionan en la Pregunta 30 a continuación, o bien puede hablar con su abogado personal, por
su propia cuenta.

    EXCLUSIÓN DEL GRUPO DE DEMANDANTES DE DAÑOS ECONÓMICOS
                                        Y A LA PROPIEDAD
Si no desea participar en el Acuerdo de E&PD y desea conservar todos sus derechos para demandar a BP
y a cualquiera de las Partes exentas en relación con las reclamaciones que se resolverán en el Acuerdo de
E&PD, entonces debe tomar las medidas para renunciar al Grupo de demandantes de E&PD. A esto se lo
denomina excluirse, o a veces se conoce como renunciar al Grupo.


 23. Si no deseo participar en el Acuerdo de daños económicos y a la propiedad, ¿qué
 debo hacer?

Para excluir a sí mismo o a su Entidad del Grupo de demandantes de E&PD (o renunciar a dicho Grupo),
debe enviar por correo una solicitud por escrito en la que especifique: “Deseo excluirme del Grupo de
demandantes de daños económicos y a la propiedad”. Su solicitud por escrito debe incluir su nombre en
letra de imprenta, dirección y número de teléfono, y debe estar firmada por usted.

Deberá enviar su solicitud por escrito por correo con sello postal anterior al 1 de octubre de 2012, a:

                    Deepwater Horizon Court-Supervised Settlement
                    Exclusions Department
                    PO Box 222
                    Hammond, LA 70404-0222

No puede pedir su exclusión del Acuerdo de E&PD por teléfono, por correo electrónico ni a través del
sitio web.
Si decide no formar parte del Grupo de demandantes de daños económicos, deberá excluirse de todas las
reclamaciones que tenga que estén incluidas en el Acuerdo de E&PD.

Usted no tiene que excluirse del Acuerdo de E&PD para preservar sus derechos y procurar las
siguientes Reclamaciones reservadas:

       Reclamaciones por lesiones corporales.

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       Reclamaciones de accionistas de BP.
       Reclamaciones por pérdidas de moratorias.
       Las reclamaciones a raíz de la pesca, el procesamiento, la venta, la captura o la extracción de
        lachas o “pinchaguas”.
       Determinadas reclamaciones de la industria del gas y del petróleo.
       Determinadas reclamaciones de la industria de la caza.
       Determinadas reclamaciones de la industria de la banca, finanzas y seguro.
       Reclamaciones de daños económicos basadas en el empleo en las siguientes industrias:
            o Banca, finanzas o seguro.
            o Petróleo y gas.
            o Caza.
       Reclamaciones de daños punitivos en contra de Halliburton y Transocean.

 24. Si me excluyo, ¿puedo obtener un beneficio a partir de este Acuerdo?

No. Si se excluye del Acuerdo de E&PD, no podrá presentar una reclamación para recibir un pago en
virtud del Acuerdo de E&PD ni podrá objetar el Acuerdo de E&PD propuesto. Sin embargo, si solicita ser
excluido, podrá demandar o ser parte de una acción legal distinta en contra de BP en el futuro. No estará
obligado legalmente por ningún resultado de esta acción legal.

 25. Si me excluyo del Acuerdo de daños económicos y a la propiedad, ¿todavía puedo
 presentar una reclamación según la Ley de Contaminación por Petróleo (Oil Pollution
 Act) directamente ante BP?

Sí. Las personas, las empresas y las Entidades que se excluyan del Acuerdo de E&PD pueden presentar
reclamaciones según la Ley de Contaminación por Petróleo (“OPA”) directamente ante BP. Para obtener
más información sobre cómo presentar una reclamación según la Ley de Contaminación por Petróleo
directamente ante BP, visite www.bp.com/claims o llame al 1-855-687-2631.


 26. Si no me excluyo, ¿puedo demandar a BP en el futuro?

No. Si usted es Miembro del Grupo de demandantes de daños económicos y a la propiedad y no se
excluye, renuncia al derecho de demandar a BP o a cualquiera de las Partes exentas para las
reclamaciones que el Acuerdo de E&PD resuelva. Aún puede procurar las Reclamaciones reservadas que
se mencionan en la Pregunta 23.

27. Si me excluyo del Acuerdo de daños económicos y a la propiedad, ¿puedo cambiar
    de opinión en el futuro?

Sí. Usted tiene derecho a solicitar que se retire (“revoque”) su decisión de excluirse del Acuerdo de
E&PD, siempre que lo haga antes del 5 de noviembre de 2012, como se describe con mayor detalle en la
Sección 8 del Acuerdo de E&PD. En algunos casos, podrá revocar su solicitud de excluirse del Acuerdo
de E&PD después del 5 de noviembre de 2012; sin embargo, BP deberá estar de acuerdo con todas las
solicitudes que se reciban después de esa fecha y no se garantiza que así sea. Visite el sitio web o llame al
1-866-992-6174 para obtener detalles sobre cómo revocar una renuncia.



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                                   OBJECIONES AL ACUERDO
 28. ¿Cómo le comunico al Tribunal que no estoy conforme con el Acuerdo de daños
 económicos y a la propiedad?

Solamente los Miembros del grupo de demandantes de E&PD pueden objetar el Acuerdo de E&PD. Si
usted es Miembro del grupo de demandantes de E&PD, puede objetar el Acuerdo de E&PD si no está
conforme con parte o con la totalidad de dicho Acuerdo. Para objetar, envíe una carta que explique su
objeción al Acuerdo de daños económicos y a la propiedad propuesto en In re: Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico on April 20, 2010, MDL n.º 2179 (En referencia al derrame
de petróleo de la plataforma de perforación petrolera “Deepwater Horizon” en el Golfo de México, el 20
de abril de 2010, litigio multidistrital [multidistrict litigation, MDL] n.º 2179). Su carta de objeción debe
incluir lo siguiente:
    1) Una declaración detallada de cada objeción presentada, incluidas las razones específicas de cada
       objeción y cualquier otra prueba o autoridad legal para respaldar cada objeción.
    2) Su nombre, dirección y número de teléfono.
    3) Pruebas escritas que establezcan que usted es Miembro del grupo de demandantes de E&PD,
       como constancia de residencia, prueba de la propiedad de bienes, constancia de empleo o prueba
       de constitución y operación de un negocio.
    4) Todo documento, material o escrito de presentación acreditativo que desee que el Tribunal
       considere cuando revise la objeción.
Un Miembro del grupo de demandantes de E&PD también puede presentar una objeción mediante un
abogado que contrate por su propia cuenta. El abogado deberá presentar un aviso de comparecencia ante
el Tribunal antes del 31 de agosto de 2012, y enviar una copia del aviso y la objeción que contenga la
información detallada previamente sobre los Asesores legales del grupo de demandantes de E&PD y los
Asesores legales de BP antes del 31 de agosto de 2012.
Las objeciones deberán enviarse por correo de primera clase a cada una de las siguientes direcciones y
con sello postal anterior al 31 de agosto de 2012. No se considerarán las objeciones presentadas después
de esa fecha.


   ASESORES LEGALES JEFES
        DEL GRUPO DE
                                        ASESORES LEGALES DE LOS
   DEMANDANTES DE DAÑOS                                                              TRIBUNAL
                                             DEMANDADOS
     ECONÓMICOS Y A LA
         PROPIEDAD

 James Parkerson Roy                   Richard C. Godfrey, P.C.            Clerk of Court
 Attn: Deepwater Horizon E&PD          Attn: Deepwater Horizon E&PD        (Secretario del Tribunal)
 Settlement                            Settlement                          United States District Court for
 Domengeaux Wright Roy & Edwards       Kirkland & Ellis LLP                the Eastern District of Louisiana
 556 Jefferson St., Suite 500          300 North LaSalle Street            500 Poydras Street
 P.O. Box 3668                         Chicago, IL 60654                   New Orleans, LA 70130
 Lafayette, LA 70501
 Stephen J. Herman
 Attn: Deepwater Horizon E&PD
 Settlement
 Herman Herman Katz & Cotlar LLP
 820 O’Keefe Avenue
 New Orleans, LA 70113


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No llame a la oficina del Tribunal ni de ningún juez para hacer objeciones al Acuerdo de E&PD. Si
tiene preguntas, visite DeepwaterHorizonSettlements.com o llame al 1-866-992-6174.

 29. ¿Cuál es la diferencia entre objetar el Acuerdo de daños económicos y a la
 propiedad y excluirse de él?

La objeción implica simplemente comunicarle al Tribunal que no está conforme con algún aspecto del
Acuerdo de E&PD. Puede presentar una objeción solo si es parte del Grupo de demandantes de E&PD. Al
excluirse, o renunciar, le comunica al Tribunal que no desea ser parte del Grupo de demandantes E&PD.
Si se excluye, no podrá objetar el Acuerdo de E&PD y tampoco será elegible para solicitar un pago en
virtud del Acuerdo de E&PD.

                        LOS ABOGADOS QUE LO REPRESENTAN
 30. ¿Tengo un abogado en este caso?

El Tribunal ha designado a Stephen J. Herman (Abogado jefe del grupo de demandantes), James
Parkerson Roy (Abogado jefe del grupo de demandantes), Brian H. Barr, Jeffery A. Breit, Elizabeth J.
Cabraser, Philip F. Cossich, Jr., Robert T. Cunningham, Alphonso Michael Espy, Calvin C. Fayard, Jr.,
Robin L. Greenwald, Ervin A. Gonzalez, Rhon E. Jones, Matthew E. Lundy, Michael C. Palmintier,
Joseph F. Rice, Paul M. Sterbcow, Scott Summy, Mikal C. Watts y Conrad S. P. Williams como
“Asesores legales del grupo de demandantes de daños económicos y a la propiedad” para representar a los
Miembros del grupo de demandantes de E&PD. No se le cobrará por los servicios de estos abogados. Si
desea ser representado por su abogado personal en este caso, puede contratar uno por su propia cuenta.


 31. ¿Cómo se les pagará a los abogados?


Los Asesores legales del grupo de demandantes de E&PD le solicitarán al Tribunal considerar el
otorgamiento del pago de honorarios, costos y gastos de los abogados en los que hayan incurrido para el
beneficio de todo el grupo, incluido un pago provisorio de $75 millones y otorgamientos adicionales
equivalentes al 6 % de las reclamaciones del grupo de demandantes y de los beneficios pagados. Los
honorarios, costos y gastos de los Asesores legales del grupo de demandantes en virtud del Acuerdo de
daños económicos y a la propiedad, y del Acuerdo de beneficios médicos no pueden exceder, en conjunto,
los $600 millones.
Los pagos de los Miembros del grupo de demandantes no se reducirán si el Tribunal aprueba el pago de
los honorarios, costos y gastos de los Asesores legales del grupo de demandantes que se describen
anteriormente,, dado que BP pagará tales honorarios, costos y gastos de los abogados individualmente.

                   AUDIENCIA DE IMPARCIALIDAD DEL TRIBUNAL
 32. ¿Cuándo y dónde decidirá el Tribunal si aprueba o no este Acuerdo de daños
     económicos y a la propiedad?

El Tribunal llevará a cabo una Audiencia de imparcialidad a las 8:30 a. m. del 8 de noviembre de 2012,
en el Tribunal de Distrito de los Estados Unidos para el Distrito Este de Luisiana, Sala n.° C268, 500
Poydras Street, Nueva Orleans, LA 70130. En esta Audiencia de imparcialidad, el Tribunal considerará si
el Acuerdo de E&PD propuesto es justo, razonable y adecuado. El Tribunal también considerará la


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solicitud del pago de honorarios, costos y gastos por parte de los Asesores legales del grupo de
demandantes, según se describe en la Pregunta 31.

Si hay objeciones al Acuerdo de E&PD, el Tribunal las analizará. Después de la Audiencia de
imparcialidad, el Tribunal decidirá si aprueba o no el Acuerdo de E&PD propuesto y la cantidad que les
adjudicará, en concepto de honorarios, costos y gastos, a los Asesores legales del grupo de demandantes
de daños económicos y a la propiedad.

La Audiencia de imparcialidad podría ser trasladada a una fecha, hora y ubicación distintas sin previo
aviso, por lo que se recomienda que consulte periódicamente el sitio web para recibir información
actualizada.

 33. ¿Tengo que asistir a la Audiencia de imparcialidad?

No. Los Asesores legales del grupo de demandantes de E&PD responderán a todas las preguntas que el
Tribunal pueda tener. Sin embargo, puede asistir a la audiencia por su cuenta, si lo desea. Si envía una
objeción por escrito, no necesitará acudir a la Audiencia de imparcialidad para hablar de ello. Siempre
que envíe oportunamente su objeción escrita por correo, el Tribunal la considerará.
Si usted, o un abogado que contrató por su propia cuenta, desea hablar en la Audiencia de imparcialidad,
debe presentar por escrito una notificación de la intención de hablar en la Audiencia de imparcialidad
antes del 31 de agosto de 2012 ante el Tribunal y enviarla por correo de primera clase a los Asesores
legales del grupo de demandantes de E&PD y a los Asesores legales de BP a las direcciones que figuran
en la Pregunta 28. Asegúrese de incluir su nombre, dirección, número de teléfono y firma.

No llame a la oficina del Tribunal ni de ningún juez para solicitar más información sobre el
Acuerdo de E&PD. Si tiene preguntas, visite el sitio web o llame al 1-866-992-6174.


                                SI DECIDE NO HACER NADA
 34. ¿Qué pasa si no llevo a cabo ninguna acción?

Si es Miembro del grupo de demandantes de E&PD y no actúa, no recibirá pago alguno a partir de este
Acuerdo de E&PD. Y, a menos que se excluya, no podrá interponer una acción legal, continuar una
acción legal ni formar parte de cualquier otra acción legal en contra de BP o de las Partes exentas en
relación con las reclamaciones que se resolverán en virtud del Acuerdo de E&PD.

Sin embargo, incluso si no lleva a cabo ninguna acción, conservará su derecho de demandar a BP o a
cualquiera de las Partes exentas por cualquier otra reclamación no resuelta en virtud del Acuerdo de
E&PD. Estas “Reclamaciones reservadas” están incluidas en la pregunta 23 y se describen en el Acuerdo
de E&PD y en el sitio web.

                          CÓMO OBTENER MÁS INFORMACIÓN
 35. ¿Cómo obtengo más información?

Este Aviso resume el Acuerdo de E&PD propuesto. Encontrará más detalles en el Acuerdo de E&PD.
Puede obtener una copia del Acuerdo de E&PD en el sitio web. También puede escribirnos y enviar
preguntas por correo a Deepwater Horizon Court-Supervised Settlement, PO Box 1439, Hammond, LA
70404-1439 o enviar un correo electrónico a questions@DeepwaterHorizonEconomicSettlement.com.

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Puede obtener un Formulario de reclamación en el sitio web o recibir uno por correo llamando al 1-866-
992-6174.
No llame a la oficina del Tribunal ni de ningún juez para solicitar más información sobre el
Acuerdo de E&PD. Si tiene preguntas, visite el sitio web o llame al 1-866-992-6174.


Nota: Este documento es una traducción y se proporciona solo con fines informativos. En caso de que
haya alguna discrepancia entre este texto y el texto original en el que se basó, prevalecerá el documento
original.




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                                  TOØA AÙN ÑÒA PHAÄN HOA KYØ ÑOÂNG PHAÀN LOUISIANA

     Neáu quyù vò bò toån thaát kinh teá hoaëc thieät haïi taøi saûn vì daàu
     loang taïi Deepwater Horizon, thì coù theå ñöôïc tieàn töø boài
                         thöôøng toá tuïng taäp theå.
             Toøa aùn lieân bang ra leänh gôûi Thoâng Baùo naøy. Ñaây khoâng phaûi laø lôøi môøi goïi cuûa luaät sö.
        Ñaõ ñaït ñeán hai cuoäc boài thöôøng - moät cho caùc yeâu caàu boài hoaøn thieät haïi kinh teá vaø taøi saûn, vaø moät
         cho nhöõng yeâu caàu boài hoaøn y teá - vôùi BP Exploration & Production Inc. vaø BP America Production
         Company (“BP”) veà vaán ñeà daàu loang taïi Deepwater Horizon.
        Thoâng Baùo naøy trình baøy veà Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn (Economic & Property
         Damages Settlement, hay “Boài Thöôøng E&PD”).
        Neáu quyù vò coù teân trong Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn, thì coù theå nhaän tieàn neáu ñaõ bò
         thieät haïi vì daàu loang taïi Deepwater Horizon theo moät hoaëc nhieàu haïng loaïi sau ñaây:

            Ñeàn Buø Thuûy Saûn                             Tieàn Traû Theo Hôïp Ñoâng Thueâ Taøu
            Thieät Haïi Kinh Teá                             Thuyeàn Tuøy Cô
            Maát Sanh Keá                                   Thieät Haïi Baát Ñoäng Saûn Ven Bieån
            Thieät Haïi Vaät Chaát ôû Taøu Thuyeàn          Thieät Haïi Baát Ñoäng Saûn Vuøng Ñaàm Laày
                                                             Thieät Haïi Khi Baùn Baát Ñoäng Saûn
        Coù caùc khu vöïc ñòa lyù hay “Vuøng” töông öùng vôùi nhieàu haïng loaïi trong soá ñoù. Maïng löôùi
         DeepwaterHorizonSettlements.com coù phaàn trình baøy chi tieát vaø baûn ñoà ñeå deã xem vò trí cuûa quyù vò
         coù thuoäc moät hoaëc nhieàu vuøng nhö theá hay khoâng.
  · Ngoaïi tröø moät soá yeâu caàu boài hoaøn theo Chöông Trình Ñeàn Buø Thuûy Saûn, caùc yeâu caàu boài hoaøn hoäi
     ñuû tieâu chuaån theo Boài Thöôøng E&PD seõ ñöôïc trang traûi theo töøng ñôït, vaø ngöôøi yeâu caàu boài hoaøn
     theo Boài Thöôøng E&PD coù theå laõnh tieàn tröôùc khi Toøa AÙn cöùu xeùt coù neân kyù leänh pheâ duyeät chung
     thaåm hay khoâng.
        Neáu quyù vò coù teân trong Boài Thöôøng E&PD (laø “Thaønh Vieân Taäp Theå E&PD”) thì quyeàn haïn phaùp
         lyù seõ bò aûnh höôûng, baát keå baûn thaân coù kieän tuïng hay khoâng. Haõy ñoïc kyõ Thoâng Baùo naøy.

  QUYEÀN HAÏN PHAÙP LYÙ CUÛA THAØNH VIEÂN TAÄP THEÅ E&PD VAØ NHÖÕNG LÖÏA CHOÏN TRONG BOÀI
                                       THÖÔØNG NAØY:

NOÄP MAÃU YEÂU CAÀU BOÀI                 Caùch duy nhaát ñeå yeâu caàu chi traû theo Boài Thöôøng E&PD.
HOAØN

TÖÏ GAÏCH TEÂN (RUÙT LUI)                Khoâng höôûng quyeàn lôïi naøo töø Boài Thöôøng E&PD. Neáu quyù vò yeâu caàu
                                         gaïch teân khoûi Boài Thöôøng naøy (coøn goïi laø “Ruùt Lui”) thì coù theå ñeä ñôn
                                         hoaëc tieáp tuïc töï kieän BP veà nhöõng yeâu caàu boài hoaøn hôïp phaùp coù trong
                                         Boài Thöôøng E&PD naøy.



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          SI DESEA RECIBIR ESTA NOTIFICACIÓN EN ESPAÑOL, LLÁMENOS O VISITE NUESTRA PÁGINA WEB.
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PHAÛN ÑOÁI                        Vieát thö giaûi thích cho Toøa AÙn hieåu taïi sao quyù vò khoâng thích Boài
                                  Thöôøng E&PD.

ÑEÁN DÖÏ BUOÅI ÑIEÀU TRAÀN        Xin ñöôïc trình baøy tröôùc Toøa AÙn veà taùnh chaát coâng baèng cuûa Boài
COÂNG BAÈNG                       Thöôøng E&PD.

KHOÂNG LAØM GÌ CAÛ                Khoâng höôûng quyeàn lôïi taøi chaùnh caù nhaân töø Boài Thöôøng E&PD. Tuy
                                  nhieân, neáu quyù vò laø Thaønh Vieân Taäp Theå E&PD, thì caùc ñieàu khoaûn
                                  cuûa Boài Thöôøng E&PD vaãn aùp duïng leân quyù vò.


      Nhöõng quyeàn haïn vaø löïa choïn ñoù - vaø thôøi haïn choùt ñeå vaän duïng - ñeàu ñöôïc trình baøy trong
       Thoâng Baùo naøy.




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NOÄI DUNG CUÛA THOÂNG BAÙO NAØY


Thoâng Tin Caên Baûn ................................................................................................................................Trang 5
           1. Taïi sao laïi trao Thoâng Baùo naøy?
           2. Vuï kieän naøy ñeà caäp ñeán ñieàu gì?
           3. Bieán Coá Deepwater Horizon laø gì?
           4. Taïi sao laïi coù toá tuïng taäp theå naøy?
           5. Taïi sao laïi coù cuoäc boài thöôøng?
           6. Coù phaûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn laø moät phaàn nhoû cuûa Cô Sôû Cöùu Xeùt Boài
                 Hoaøn Bôø Vònh (GCCF)?
           7. Seõ xöû trí ra sao vôùi nhöõng yeâu caàu boài hoaøn ñang chôø ñeán löôït hoaëc chöa giaûi quyeát xong taïi
                 GCCF?
           8. Neáu toâi ñaõ nhaän khoaûn chi traû sau cuøng töø GCCF vaø ñaõ kyù teân vaøo baûn giaûi traùch thì sao?
           9. Neáu toâi ñaõ noäp Maãu Lieân Hôïp Ñöông Ñôn Ruùt Goïn theo vuï kieän thì coù caàn phaûi ñeä noäp yeâu
                 caàu boài hoaøn hay khoâng?
Ai Coù Teân trong Boài Thöôøng ................................................................................................................Trang 7
           10. Ai coù teân trong Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn?
           11. Coù ngoaïi leä naøo ñeå khoûi coù teân trong Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn khoâng?
           12. Laøm sao bieát toâi coù hoäi ñuû tieâu chuaån laõnh tieàn traû töø Boài Thöôøng Thieät Haïi Kinh Teá & Taøi
                 Saûn hay khoâng?
           13. Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn coù bao traû nhöõng yeâu caàu boài hoaøn theo quyeàn lôïi y
                 teá hay khoâng?
           14. Neáu toâi chöa roõ mình coù teân trong Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn hay khoâng thì
                 sao?
           15. Seõ ra sao neáu toâi khoâng coù teân trong Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn?
Sô Ñoà Quyeàn Lôïi vaø Tieâu Chuaån Boài Hoaøn theo Boài Thöôøng E&PD ...........................................Trang 13
Caùch Yeâu Caàu Chi Traû - Noäp Maãu Yeâu Caàu Boài Hoaøn ..................................................................Trang 19
           16. Thaønh Vieân Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn hoäi ñuû tieâu chuaån seõ nhaän ñöôïc bao
                 nhieâu tieàn?
           17. Caùch noäp Maãu Yeâu Caàu Boài Hoaøn ñeå ñoøi khoaûn chi traû?
           18. Coù caàn phaûi noäp taøi lieäu daãn chöùng khoâng?
           19. Neáu yeâu caàu boài hoaøn bò töø choái hoaëc toâi chöa haøi loøng vôùi khoaûn chi traû thì sao?
           20. Khi naøo ñöôïc laõnh khoaûn chi traû?
           21. Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn coøn mang laïi quyeàn lôïi naøo khaùc?
           22. Phaûi töø boû ñieàu gì ñeå ñöôïc khoaûn chi traû?

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Töï Gaïch Teân Khoûi Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn .......................................................Trang 21
           23. Neáu khoâng muoán tham gia vaøo Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn thì phaûi laøm gì?
           24. Neáu töï gaïch teân thì coù ñöôïc ñieàu gì töø Boài Thöôøng naøy khoâng?
           25. Neáu toâi töï gaïch teân khoûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn, thì coøn coù theå tröïc tieáp gôûi
                 yeâu caàu boài hoaøn theo Ñaïo Luaät OÂ Nhieãm Daàu leân BP hay khoâng?
           26. Neáu toâi khoâng töï gaïch teân thì sau naøy coù theå kieän BP hay khoâng?
           27. Neáu toâi töï gaïch teân khoûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn thì sau naøy coù theå ñoåi yù
                 hay khoâng?
Phaûn Ñoái Boài Thöôøng ...........................................................................................................................Trang 23
           28. Neáu toâi khoâng thích Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn thì laøm caùch naøo ñeå baùo cho
                 Toøa AÙn bieát?
           29. Coù khaùc bieät gì giöõa phaûn ñoái vaø yeâu caàu gaïch teân khoûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi
                 Saûn?
Caùc Luaät Sö Ñaïi Dieän cho Quyù Vò ......................................................................................................Trang 24
           30. Coù luaät sö bieän hoä cho toâi trong tröôøng hôïp naøy khoâng?
           31. Caùc luaät sö ñöôïc traû thuø lao ra sao?
Buoåi Ñieàu Traàn Coâng Baèng taïi Toøa AÙn .............................................................................................Trang 25
           32. Toøa AÙn seõ quyeát ñònh veà vieäc pheâ chuaån Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn naøy vaøo
                 luùc naøo vaø taïi ñaâu?
           33. Coù phaûi ñeán döï buoåi Ñieàu Traàn Coâng Baèng khoâng?
Neáu Quyù Vò Khoâng Laøm Gì Caû ...........................................................................................................Trang 26
           34. Seõ ra sao neáu toâi khoâng laøm gì caû?
Laáy Theâm Thoâng Tin ...........................................................................................................................Trang 26
           35. Laøm sao ñeå laáy theâm thoâng tin?




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                                               THOÂNG TIN CAÊN BAÛN

 1. Taïi sao laïi trao Thoâng Baùo naøy?
Quyù vò coù quyeàn bieát veà ñeà nghò boài thöôøng vuï kieän tuïng taäp theå naøy vaø veà nhöõng löïa choïn cuûa mình
lieân quan tôùi Boài Thöôøng ñaõ ñeà nghò. Thoâng Baùo naøy trình baøy veà vuï kieän, Boài Thöôøng E&PD,
quyeàn haïn phaùp lyù cuûa quyù vò, nhöõng quyeàn lôïi hieän coù, ngöôøi naøo coù theå hoäi ñuû tieâu chuaån ñöôïc
höôûng, vaø caùch ñoøi quyeàn lôïi ñoù.

Thoâng Baùo naøy khoâng cung caáp baát cöù thoâng tin naøo lieân quan tôùi Boài Thöôøng Quyeàn Lôïi Y Teá.
Muoán bieát theâm thoâng tin veà vieäc Boài Thöôøng Quyeàn Lôïi Y Teá, vaø ñeå xem quyeàn haïn cuûa quyù vò coù
chòu aûnh höôûng cuûa boài thöôøng ñoù khoâng, hoaëc quyù vò coù hoäi ñuû tieâu chuaån höôûng quyeàn lôïi theo boài
thöôøng ñoù khoâng, DeepwaterHorizonSettlements.com, hoaëc goïi soá 1-866-992-6174.

Thaåm Phaùn Carl J. Barbier cuûa Toøa AÙn Ñòa Phaän Hoa Kyø phuï traùch Ñoâng Phaàn Louisiana ñang giaùm
saùt toá tuïng taäp theå naøy. Tröôøng hôïp naøy coøn goïi laø Lieân quan ñeán: Daàu Loang töø Giaøn Khoan
"Deepwater Horizon" taïi Vònh Mexico vaøo ngaøy 20 thaùng Tö, 2010, MDL soá 2179. Nhöõng ngöôøi khôûi
kieän ñöôïc goïi laø “Nguyeân Ñôn”, vaø BP naèm trong soá caùc haõng bò kieän.

Thuaät ngöõ vieát hoa laø nhöõng thuaät ngöõ ñaõ ñònh nghóa trong Thoûa Thuaän Boài Thöôøng E&PD, vaø treân
maïng löôùi coù ñaêng thoûa thuaän naøy.

Khoâng neân goïi Toøa AÙn hoaëc baát cöù vaên phoøng Thaåm Phaùn naøo ñeå neâu thaéc maéc veà Boài Thöôøng
E&PD. Neáu quyù vò coù thaéc maéc hay muoán bieát theâm thoâng tin DeepwaterHorizonSettlements.com
hoaëc goïi soá 1-866-992-6174.

 2. Vuï kieän naøy ñeà caäp ñeán ñieàu gì?

Vuï kieän khaúng ñònh coù moät soá yeâu caàu boài hoaøn toån thaát kinh teá vaø thieät haïi taøi saûn xuaát phaùt töø
“Bieán Coá Deepwater Horizon” (xem Caâu Hoûi 3) taïi Vònh Mexico baét ñaàu töø ngaøy 20 thaùng Tö, 2010.
Nguyeân Ñôn ñoøi ñeàn tieàn vaø giaûi phaùp khaùc cho thieät haïi kinh teá vaø taøi saûn maø hoï vieän côù laø do Bieán
Coá Deepwater Horizon gaây ra. BP tranh caõi vaø khöôùc töø yeâu caàu boài hoaøn cuûa Nguyeân Ñôn trong vuï
kieän naøy.

 3. Bieán Coá Deepwater Horizon laø gì?

“Bieán Coá Deepwater Horizon” yù noùi nhöõng söï kieän, haønh ñoäng, khoâng haønh ñoäng vaø sô soùt ñaõ daãn
ñeán vaø keå caû tröôøng hôïp:
        Phun traøo töø Gieáng MC252 (cuõng goïi laø “gieáng Macondo”) vaøo ngaøy 20 thaùng Tö, 2010;
        Loaït tieáng noå vaø hoûa hoaïn treân giaøn khoan daàu Deepwater Horizon;
        Vuï giaøn khoan Deepwater Horizon bò chìm vaøo ngaøy 22 thaùng Tö, 2010;
        Roø thoaùt daàu vaø caùc chaát khaùc töø Gieáng MC252 vaø/hoaëc giaøn khoan Deepwater Horizon
         cuøng vôùi nhöõng vaät phuï thuoäc (trang thieát bò);
        Noã löïc khoáng cheá Gieáng MC252;

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         Moïi “Hoaït Ñoäng Cöùu ÖÙng”, keå caû chöông trình “Taøu Thuyeàn Tuøy Cô” (Vessels of
          Opportunity, hay “VoO”);
         Hoaït ñoäng nghieäp vuï cuûa “Cô Sôû Cöùu Xeùt Boài Hoaøn Bôø Vònh” (Gulf Coast Claims Facility,
          hay “GCCF”); vaø
         Nhöõng phaùt bieåu cho coâng chuùng cuûa BP veà moïi ñieàu treân.

  4. Taïi sao laïi coù toá tuïng taäp theå naøy?
Trong toá tuïng taäp theå, moät hoaëc nhieàu “Ñaïi Dieän Taäp Theå” seõ tranh kieän nhaân danh nhöõng ngöôøi coù
daïng yeâu caàu boài hoaøn töông töïï xuaát phaùt töø caùc söï kieän y heät nhau. Nôi ñaây, caùc Ñaïi Dieän Taäp Theå
kieän caùo ñeå ñoøi khoaûn chi traû cho taäp theå nhöõng caù nhaân vaø doanh nghieäp coù daïng yeâu caàu boài hoaøn
cuï theå cho toån thaát kinh teá vaø thieät haïi taøi saûn xuaát phaùt töø Bieán Coá Deepwater Horizon. Taäp theå naøy
ñöôïc goïi laø "Taäp Theå Boài Thöôøng bò Thieät Haïi Kinh Teá & Taøi Saûn" hay goïi taét laø "Taäp Theå E&PD",
vaø caùc thaønh vieân trong ñoù - laø nhöõng ngöôøi vaø doanh nghieäp phuø hôïp vôùi ñònh nghóa Taäp Theå - ñeàu
laø "Thaønh Vieân Taäp Theå E&PD".Boài Thöôøng Neân ñeán Caâu Hoûi 10 ñeå xem quyù vò coù laø thaønh vieân
Taäp Theå E&PD hay khoâng. Moät toøa aùn seõ giaûi quyeát caùc vaán ñeà chung cho moïi thaønh vieân taäp theå.

  5. Taïi sao laïi coù cuoäc Boài Thöôøng?
Toøa AÙn chöa coù phaùn quyeát nghieâng veà Nguyeân Ñôn hay BP trong tröôøng hôïp naøy. Thay vaøo ñoù, sau
nhieàu laàn thöông löôïng gay go vaø tæ mæ bao quaùt, Nguyeân Ñôn vaø BP ñaõ ñoàng yù boài thöôøng tröôøng
hôïp naøy ñeå traùnh chi phí, söï ñình treä vaø nguy cô ruûi ro cuûa moät phieân xöû. Caùc Ñaïi Dieän Taäp Theå vaø
luaät sö ñeàu nghó raèng caùch Boài Thöôøng E&PD ñaõ ñeà nghò laø ñieàu toát nhaát cho moïi Thaønh Vieân Taäp
Theå E&PD.

  6. Coù phaûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn laø moät phaàn nhoû cuûa Cô Sôû Cöùu Xeùt
     Boài Hoaøn Bôø Vònh (GCCF)?

Khoâng. GCCF ñaõ keát soå. Chöông Trình Boài Thöôøng Tröôøng Hôïp Deepwater Horizon ñöôïc Toøa AÙn
Giaùm Saùt (goïi laø “Chöông Trình Boài Thöôøng”) môùi ñöôïc thaønh laäp theo Boài Thöôøng E&PD. Theo
thoûa thuaän cuûa caùc beân, chöông trình môùi seõ hoaït ñoäng ñuùng vôùi nhöõng quy taéc ñaëc thuø ñaõ ñöôïc ñoàng
yù tröôùc, vaø döôùi söï giaùm saùt cuûa Toøa AÙn. Neáu GCCF ñaõ baùc boû hay töø choái yeâu caàu boài hoaøn cuûa
quyù vò thì vaãn khoâng aûnh höôûng ñeán tieâu chuaån hoaëc quyeàn nhaän khoaûn chi traû theo Boài Thöôøng
E&PD. Neáu GCCF ñaõ traû tieàn boài hoaøn nhöng quyù vò chöa kyù teân vaøo baûn giaûi traùch (xem Caâu Hoûi 8)
thì vaãn coù theå hoäi ñuû tieâu chuaån ñöôïc chi traû theo Boài Thöôøng E&PD.


  7. Seõ xöû trí ra sao vôùi nhöõng yeâu caàu boài hoaøn ñang chôø ñeán löôït hoaëc chöa giaûi quyeát xong
  taïi GCCF?

Taát caû nhöõng yeâu caàu boài hoaøn ñang chôø ñeán löôït vaø chöa giaûi quyeát xong taïi GCCF, keå caû moïi taøi
lieäu lieân quan tôùi yeâu caàu ñoù, ñaõ ñöôïc chuyeån cho Chöông Trình Boài Thöôøng môùi laäp. Chöông Trình
Boài Thöôøng ñang suy xeùt caùc yeâu caàu boài hoaøn naøy theo quy taéc cuûa Boài Thöôøng E&PD. Neáu caàn coù
thoâng tin phuï troäi ñeå cöùu xeùt yeâu caàu boài hoaøn thì seõ coù ngöôøi lieân laïc vôùi quyù vò. Neáu quyù vò coù thaéc
maéc cuï theå veà tình traïng cuûa ñôn yeâu caàu boài hoaøn ñaõ noäp leân GCCF thì coù theå goïi Chöông Trình
Boài Thöôøng theo soá 1-866-992-6174 ñeå ñöôïc hoã trôï.

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    8. Neáu toâi ñaõ nhaän khoaûn chi traû sau cuøng töø GCCF vaø ñaõ kyù teân vaøo baûn giaûi traùch thì sao?


Neáu quyù vò ñaõ gôûi yeâu caàu boài hoaøn tôùi GCCF, ñaõ nhaän khoaûn chi traû theo yeâu caàu ñoù roài kyù teân vaøo
taøi lieäu goïi laø “Baûn Giaûi Traùch vaø Cam Keát Khoâng Thöa Kieän”, thì chaúng hoäi ñuû tieâu chuaån laõnh
tieàn töø ña soá thaønh phaàn cuûa Boài Thöôøng E&PD. Tuy nhieân, quyù vò vaãn coù theå hoäi ñuû tieâu chuaån noäp
yeâu caàu boài hoaøn Tieàn Traû theo Hôïp Ñoàng Thueâ VoO hoaëc yeâu caàu boài hoaøn Thieät Haïi Vaät Chaát ôû
Taøu Thuyeàn (xem Sô Ñoà Quyeàn Lôïi vaø Tieâu Chuaån Boài Hoaøn theo Boài Thöôøng E&PD döôùi ñaây ñeå
bieát chi tieát veà Tieàn Traû theo Hôïp Ñoàng Thueâ VoO vaø boài hoaøn Thieät Haïi Vaät Chaát ôû Taøu Thuyeàn).
Coù theå quyù vò vaãn hoäi ñuû tieâu chuaån tham gia vaøo cuoäc Boài Thöôøng Quyeàn Lôïi Y Teá taùch rieâng. Neáu
yeâu caàu boài hoaøn ñaõ gôûi leân GCCF vaø “Baûn Giaûi Traùch vaø Cam Keát Khoâng Thöa Kieän” chæ lieân
quan tôùi yeâu caàu boài hoaøn thöông taät treân thaân theå, thì quyù vò vaãn coù theå tham gia vaøo Boài Thöôøng
E&PD.

    9. Neáu toâi ñaõ noäp Maãu Lieân Hôïp Ñöông Ñôn Ruùt Goïn theo vuï kieän thì coù caàn phaûi ñeä noäp
    yeâu caàu boài hoaøn hay khoâng?

Coù. Ngay caû khi quyù vò ñaõ noäp maãu ngaén goïn ñaëc bieät (“Maãu Lieân Hôïp Ñöông Ñôn Ruùt Goïn”) theo
vuï kieän choáng BP, thì vaãn phaûi noäp Maãu Yeâu Caàu Boài Hoaøn vaø trao moïi taøi lieäu caàn thieát ñeå ñoøi ñeàn
buø vaø laáy khoaûn chi traû töø Chöông Trình Boài Thöôøng (xem Caâu Hoûi 17).

                                    AI COÙ TEÂN TRONG BOÀI THÖÔØNG
Muoán bieát baûn thaân coù bò aûnh höôûng cuûa Boài Thöôøng E&PD hoaëc coù theå laáy khoaûn chi traû töø ñoù hay
khoâng, tröôùc heát quyù vò phaûi ñònh roõ mình coù laø Thaønh Vieân Taäp Theå E&PD khoâng.

    10. Ai coù teân trong Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn?

Taäp Theå E&PD bao goàm nhöõng caù nhaân, doanh nghieäp, vaø nhieàu thöïc theå khaùc. Trong Ñoaïn 1 cuûa
Thoûa Thuaän Boài Thöôøng E&PD coù toaøn boä lôøi vaên ñònh nghóa Taäp Theå E&PD. Coù theå laáy Thoûa
Thuaän cuøng vôùi caùc taøi lieäu vaø thoâng tin khaùc treân maïng löôùi, hoaëc theo yeâu caàu. Neân traû lôøi loaït caâu
hoûi döôùi ñaây ñeå bieát quyù vò coù laø Thaønh Vieân Taäp Theå E&PD hay khoâng. Nhoùm caâu hoûi ñaàu tieân
daønh cho caù nhaân, vaø nhoùm caâu hoûi thöù nhì daønh cho doanh nghieäp vaø thöïc theå khaùc. Nhöõng ñònh
nghóa döôùi ñaây seõ höõu ích khi quyù vò traû lôøi caâu hoûi.

     “Khu Vöïc Duyeân Haûi Vuøng Vònh” (Gulf Coast Areas) bao goàm caùc tieåu bang Louisiana,
      Mississippi vaø Alabama; caùc quaän haït Chambers, Galveston, Jefferson vaø Orange taïi tieåu bang
      Texas; vaø caùc quaän haït Bay, Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia, Franklin,
      Gadsden, Gulf, Hernando, Hillsborough, Holmes, Jackson, Jefferson, Lee, Leon, Levy, Liberty,
      Manatee, Monroe, Okaloosa, Pasco, Pinellas, Santa Rosa, Sarasota, Taylor, Wakulla, Walton vaø
      Washington taïi tieåu bang Florida. “Khu Vöïc Duyeân Haûi Vuøng Vònh” cuõng bao goàm moïi thuûy
      phaän vuøng Vònh, vuõng bieån, cöûa soâng, eo bieån, vaø vuøng nöôùc lôï hoaëc coù thuûy trieàu khaùc lieàn keà
      trong phaïm vi tieåu bang Louisiana, Mississippi vaø Alabama, vaø nhöõng quaän haït ñaõ neâu cuûa Texas
      hay Florida.


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    “Thuûy Phaän Vuøng Vònh Ñaõ Ñònh” (Specified Gulf Waters) nghóa laø haûi phaän Hoa Kyø trong
     Vònh Mexico vaø moïi vuõng bieån, cöûa soâng, eo bieån, vaø vuøng nöôùc lôï hoaëc coù thuûy trieàu khaùc lieàn
     keà trong phaïm vi Khu Vöïc Duyeân Haûi Vuøng Vònh.
    “Thöïc Theå” (Entity) nghóa laø toå chöùc hay thöïc theå, khoâng phaûi laø Toå Chöùc Chaùnh Phuû, ñaõ hoaëc
     ñang hoaït ñoäng laáy lôøi hoaëc phi lôïi nhuaän, keå caû hoäi huøn voán, taäp ñoaøn, haõng traùch nhieäm höõu
     haïn, hieäp hoäi, haõng coå phaàn, nhoùm lieân hôïp, lieân doanh, hoaëc hieäp hoäi chöa laäp coâng ty ôû baát cöù
     daïng hay moâ taû naøo.
    “Ngöôøi Tieâu Duøng” (Consumer) nghóa laø Ngöôøi Coù Thaät hay Thöïc Theå thöôøng mua saûn phaåm
     ñeå söû duïng hoaëc tieâu thuï theo muïc ñích rieâng chôù khoâng ñeå saûn xuaát hay baùn laïi.
    “Ngöôøi Duøng Cuoái” (End User) nghóa laø Ngöôøi Coù Thaät hay Thöïc Theå thöôøng mua saûn phaåm ñeå
     söû duïng hoaëc tieâu thuï theo muïc ñích rieâng hay caù nhaân chôù khoâng ñeå saûn xuaát hoaëc baùn laïi.



Caâu Hoûi daønh cho Caù Nhaân                                                             Coù               Khoâng

Quyù vò coù cö nguï taïi Hoa Kyø khoâng?                                                  Tieáp tuïc sang   Quyù vò khoâng
                                                                                          caâu hoûi keá     phaûi laø Thaønh
                                                                                          tieáp.            Vieân Taäp Theå
                                                                                                            E&PD.

Coù phaûi quyù vò ñaõ soáng, laøm vieäc, ñöôïc môøi vaø nhaän vaøo laøm vieäc, sôû höõu   Tieáp tuïc sang   Quyù vò khoâng
hay thueâ taøi saûn, hoaëc sôû höõu, thueâ hay laøm vieäc treân taøu thuyeàn coù beán     caâu hoûi keá     phaûi laø Thaønh
ñaäu hoaëc caûng nhaø laø Khu Vöïc Duyeân Haûi Vuøng Vònh hay Thuûy Phaän                 tieáp.            Vieân Taäp Theå
Vuøng Vònh Ñaõ Ñònh vaøo baát kyø luùc naøo trong khoaûng giöõa ngaøy 20 thaùng                             E&PD.
Tö, 2010, vaø ngaøy 16 thaùng Tö, 2012?
HAY
Coù phaûi quyù vò ñaõ laøm vieäc treân taøu thuyeàn taïi Thuûy Phaän Vuøng Vònh Ñaõ
Ñònh vaøo baát kyø luùc naøo trong khoaûng giöõa ngaøy 20 thaùng Tö, 2010 vaø
ngaøy 16 thaùng Tö, 2012, vaø taøu naøy thöôøng ñaùnh baét Thuûy Saûn ôû Khu Vöïc
Duyeân Haûi Vuøng Vònh sau ngaøy 20 thaùng Tö, 2009?

                                                                                          Tieáp tuïc sang   Quyù vò khoâng
Quyù vò coù toån thaát kinh teá naøo xuaát phaùt töø Bieán Coá Deepwater Horizon
                                                                                          caâu hoûi keá     phaûi laø Thaønh
khoâng?
                                                                                          tieáp.            Vieân Taäp Theå
                                                                                                            E&PD.
HAY

Coù phaûi baát ñoäng saûn hoaëc taøi saûn caù nhaân cuûa quyù vò ñaõ bò thieät haïi vì
Bieán Coá Deepwater Horizon?




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                                                                                                     Coù theå quyù vò     Quyù vò khoâng
Coù phaûi yeâu caàu boài hoaøn toån thaát kinh teá hoaëc thieät haïi taøi saûn cuûa quyù vò phuø
                                                                                                     laø Thaønh Vieân     phaûi laø Thaønh
hôïp vôùi phaàn moâ taû moät hoaëc nhieàu haïng loaïi sau ñaây:
                                                                                                     Taäp Theå            Vieân Taäp Theå
(1) Ñeàn Buø Thuûy Saûn                                                                              E&PD.                E&PD.
(2) Thieät Haïi Kinh Teá
                                                                                                     Tieáp tuïc sang
(3) Maát Sanh Keá                                                                                    Sô Ñoà Quyeàn
(4) Tieàn Traû theo Hôïp Ñoàng Thueâ Taøu Thuyeàn Tuøy Cô (“VoO”)                                    Lôïi vaø Tieâu
                                                                                                     Chuaån baét ñaàu
(5) Thieät Haïi Vaät Chaát ôû Taøu Thuyeàn                                                           töø trang 11
(6) Thieät Haïi Baát Ñoäng Saûn Ven Bieån                                                            cuûa Thoâng
                                                                                                     Baùo naøy ñeå
(7) Thieät Haïi Baát Ñoäng Saûn Vuøng Ñaàm Laày                                                      xem quyù vò coù
(8) Thieät Haïi Khi Baùn Baát Ñoäng Saûn                                                             hoäi ñuû tieâu
                                                                                                     chuaån ñöôïc
                                                                                                     chi traû hay
                                                                                                     khoâng.



 Nhieàu caù nhaân cuõng coù teân trong Boài Thöôøng Quyeàn Lôïi Y Teá neáu hoï laø Nhaân Coâng Thu Doïn hay cö
 daân taïi moät soá khu vöïc hoaëc “Vuøng” ñaõ ñònh. Coù theå bieát theâm thoâng tin veà Boài Thöôøng Quyeàn Lôïi
 Y Teá treân maïng löôùi hoaëc goïi soá 1-866-992-6174.



  Caâu Hoûi daønh cho Doanh Nghieäp vaø Thöïc Theå Khaùc                                           Coù                    Khoâng

  (1) Coù phaûi doanh nghieäp hay Thöïc Theå ñaõ sôû höõu, ñieàu haønh, hoaëc                      Tieáp tuïc sang caâu   Quyù vò khoâng
  thueâ cô sôû vaät chaát hay taøu thuyeàn taïi Khu Vöïc Duyeân Haûi Vuøng                         hoûi keá tieáp.        phaûi laø Thaønh
  Vònh hoaëc Thuûy Phaän Vuøng Vònh Ñaõ Ñònh trong khoaûng giöõa ngaøy 20                                                 Vieân Taäp Theå
  thaùng Tö, 2010 vaø ngaøy 16 thaùng Tö, 2012, vaø                                                                       E&PD.
             Baùn saûn phaåm taïi Khu Vöïc Duyeân Haûi Vuøng Vònh hoaëc
             Thuûy Phaän Vuøng Vònh Ñaõ Ñònh: (a) tröïc tieáp cho Ngöôøi Tieâu
             Duøng hay Ngöôøi Duøng Cuoái cuûa saûn phaåm ñoù; hoaëc (b) cho
             Thöïc Theå khaùc chuyeân baùn saûn phaåm ñeán Ngöôøi Tieâu Duøng
             hay Ngöôøi Duøng Cuoái cuûa saûn phaåm ñoù?
                                             hoaëc
             Thöôøng mua Thuûy Saûn ñöôïc thu hoaïch töø Thuûy Phaän Vuøng
             Vònh Ñaõ Ñònh ñeå cheá taïo haøng hoùa vaø baùn laïi?
                                             HAY
  (2) Coù phaûi doanh nghieäp hay Thöïc Theå laø toå chöùc dòch vuï coù moät
  hoaëc nhieàu nhaân vieân toaøn nhieäm (keå caû chuû sôû höõu kieâm ñieàu haønh)
  chuyeân thöïc hieän dòch vuï toaøn nhieäm vaø thaät söï coù maët taïi Khu Vöïc
  Duyeân Haûi Vuøng Vònh hay Thuûy Phaän Vuøng Vònh Ñaõ Ñònh trong
  khoaûng giöõa ngaøy 20 thaùng Tö, 2010 vaø ngaøy 16 thaùng Tö, 2012?



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                                         HAY
(3) Coù phaûi doanh nghieäp hoaëc Thöïc Theå ñaõ sôû höõu, ñieàu haønh, hay
thueâ taøu thuyeàn (a) coù caûng nhaø laø Khu Vöïc Duyeân Haûi Vuøng Vònh
vaøo baát kyø luùc naøo töø ngaøy 20 thaùng Tö, 2010 tôùi ngaøy 16 thaùng Tö,
2012, hoaëc (b) thöôøng ñaùnh baét Thuûy Saûn ôû Khu Vöïc Duyeân Haûi
Vuøng Vònh vaøo baát kyø luùc naøo töø ngaøy 20 thaùng Tö, 2009 tôùi ngaøy 16
thaùng Tö, 2012?
                                         HAY
(4) Coù phaûi doanh nghieäp hay Thöïc Theå ñaõ sôû höõu hoaëc thueâ baát
ñoäng saûn taïi Khu Vöïc Duyeân Haûi Vuøng Vònh trong khoaûng giöõa ngaøy
20 thaùng Tö, 2010 vaø ngaøy 16 thaùng Tö, 2012?

                                                                                            Coù theå quyù vò laø    Quyù vò khoâng
Coù phaûi yeâu caàu boài hoaøn toån thaát kinh teá hoaëc thieät haïi taøi saûn cuûa doanh
                                                                                            Thaønh Vieân Taäp       phaûi laø Thaønh
nghieäp hay Thöïc Theå phuø hôïp vôùi phaàn moâ taû moät hoaëc nhieàu haïng loaïi sau
                                                                                            Theå E&PD.              Vieân Taäp Theå
ñaây:
                                                                                                                    E&PD.
(1) Ñeàn Buø Thuûy Saûn                                                                     Tieáp tuïc sang Sô
(2) Thieät Haïi Kinh Teá                                                                    Ñoà Quyeàn Lôïi vaø
                                                                                            Tieâu Chuaån baét
(3) Tieàn Traû theo Hôïp Ñoàng Thueâ Taøu Thuyeàn Tuøy Cô (“VoO”)                           ñaàu töø trang 11
(4) Thieät Haïi Vaät Chaát ôû Taøu Thuyeàn                                                  cuûa Thoâng Baùo
                                                                                            naøy ñeå xem quyù
(5) Thieät Haïi Baát Ñoäng Saûn Ven Bieån                                                   vò coù hoäi ñuû tieâu
(6) Thieät Haïi Baát Ñoäng Saûn Vuøng Ñaàm Laày                                             chuaån ñöôïc chi
                                                                                            traû hay khoâng.
(7) Thieät Haïi Khi Baùn Baát Ñoäng Saûn




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 11. Coù ngoaïi leä naøo ñeå khoûi coù teân trong Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn khoâng?


Coù. Nhöõng caù nhaân vaø thöïc theå sau ñaây bò gaïch teân khoûi Taäp Theå E&PD:
         Baát cöù ngöôøi naøo töï gaïch teân (“Ruùt Lui”) khoûi Taäp Theå E&PD;
         Bò Ñôn trong MDL 2179, moät soá nhaân vieân ñöông nhieäm vaø cöïu nhaân vieân cuûa BP, vaø caùc Bò
          Ñôn khaùc taïi MDL 2179;
         Toøa AÙn, keå caû moïi thaåm phaùn chuû söï taïi Toøa AÙn Ñòa Phaän Hoa Kyø phuï traùch Ñoâng Phaàn
          Louisiana, caùc luïc söï cuûa hoï vaãn ñang laøm nhieäm vuï trong luùc chôø xöû vuï kieän naøy, vaø ngöôøi
          trong gia ñình tröïc tieáp cuûa baát cöù thaåm phaùn hay luïc söï ñöông nhieäm naøo nhö theá;
         Toå Chöùc Chaùnh Phuû; vaø
         Nhöõng Caù Nhaân vaø Thöïc Theå ñaõ nhaän khoaûn chi traû töø GCCF vaø kyù teân vaøo “Baûn Giaûi
          Traùch vaø Cam Keát Khoâng Thöa Kieän” (nhöng hoï vaãn coù theå noäp yeâu caàu boài hoaøn Tieàn Traû
          theo Hôïp Ñoàng Thueâ VoO hoaëc yeâu caàu boài hoaøn Thieät Haïi Vaät Chaát ôû Taøu Thuyeàn). Xem
          Caâu Hoûi 6-8.
Ngoaøi ra, caùc daïng Thöïc Theå sau ñaây vaø nhaân vieân cuûa hoï ñeàu bò gaïch teân, neáu Thöïc Theå vaø/hoaëc
nhaân vieân töøng yeâu caàu boài hoaøn toån thaát kinh teá vôùi lyù do ñaõ laøm vieäc cho Thöïc Theå ñoù:

         Moät soá Ñònh Cheá Taøi Chaùnh;
         Moät soá Ngaân Quyõ, Toå Chöùc Tín Thaùc, vaø Phöông Tieän Taøi Chaùnh Khaùc;
         Moät soá Thöïc Theå Saên Baét (Thuù/Caù);
         Moät soá Thöïc Theå Baûo Hieåm;
         Moät soá Thöïc Theå thuoäc Kyõ Ngheä Daàu Khí;
         Moät soá Thaàu Khoaùn Quoác Phoøng;
         Moät soá Nôi Phaùt Trieån Baát Ñoäng Saûn; vaø
         Baát cöù Thöïc Theå naøo baùn hay tieáp thò nhieân lieäu mang nhaõn hieäu BP, keå caû nhaø buoân sæ vaø
          ñaïi lyù baùn haøng coù nhaõn hieäu.
Caùc Caù Nhaân vaø Thöïc Theå trong nhöõng lónh vöïc kyõ ngheä lieät keâ beân treân coù theå hoäi ñuû tieâu chuaån
ñöôïc chi traû theo moät soá haïng loaïi toån thaát kinh teá khoâng lieân quan tôùi lónh vöïc ñoù, chaúng haïn nhö
Thieät Haïi Baát Ñoäng Saûn Ven Bieån vaø Thieät Haïi Baát Ñoäng Saûn Vuøng Ñaàm Laày. Neân xem Thoûa
Thuaän Boài Thöôøng hoaëc goïi soá 1-866-992-6174 ñeå bieát theâm thoâng tin.
Nhöõng yeâu caàu boài hoaøn sau ñaây cuõng khoâng bao goàm trong Boài Thöôøng E&PD:

         Yeâu Caàu Boài Hoaøn Thöông Taät treân Thaân Theå;
         Yeâu Caàu Boài Hoaøn cho Coå Ñoâng BP;
         Yeâu Caàu Boài Hoaøn Toån Thaát Trieån Kyø;
         Yeâu caàu boài hoaøn lieân quan tôùi vieäc chaøi löôùi thaû caâu, cheá bieán, mua baùn, ñaùnh baét, hoaëc thu
          hoaïch caù moøi daàu (menhaden, hay “pogy”);
         Yeâu caàu boài hoaøn Thieät Haïi Kinh Teá cuûa caùc Thöïc Theå hay Caù Nhaân ñöôïc döïa vaøo vieäc laøm
          trong lónh vöïc Ngaân Haøng, Saên Baét, Taøi Chaùnh, Baûo Hieåm, Daàu Khí, Phaùt Trieån Baát Ñoäng
          Saûn, Thaàu Khoaùn Quoác Phoøng, vaø goàm luoân Thöïc Theå naøo buoân baùn hoaëc tieáp thò nhieân lieäu
          mang nhaõn hieäu BP (keå caû nhaø buoân sæ vaø ñaïi lyù baùn haøng coù nhaõn hieäu); vaø

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         Yeâu caàu boài hoaøn thieät haïi coù tính tröøng phaït ñoái vôùi Halliburton vaø Transocean. Xem Caâu
          Hoûi 21.
Quyù vò vaãn coù theå theo ñuoåi nhöõng yeâu caàu boài hoaøn naøy trong khi ñang laø Thaønh Vieân Taäp Theå
E&PD chôù khoâng caàn phaûi Ruùt Lui.

Coù theå xem toaøn boä phaàn trình baøy veà caùc Thöïc Theå, caù nhaân vaø nhöõng yeâu caàu boài hoaøn bò gaïch teân
khoûi Taäp Theå E&PD treân maïng löôùi hoaëc goïi soá 1-866-992-6174.

 12. Laøm sao bieát toâi coù hoäi ñuû tieâu chuaån laõnh tieàn traû töø Boài Thöôøng Thieät Haïi Kinh Teá & Taøi
 Saûn hay khoâng?
Coù nhöõng quy taéc cöùu xeùt tieâu chuaån taùch rieâng cho moãi haïng loaïi yeâu caàu boài hoaøn theo Boài
Thöôøng E&PD. Sô Ñoà Quyeàn Lôïi vaø Tieâu Chuaån Boài Hoaøn theo Boài Thöôøng baét ñaàu töø trang 11 cuûa
Thoâng Baùo naøy seõ neâu roõ ai coù theå hoäi ñuû tieâu chuaån nhaän khoaûn chi traû thuoäc moãi haïng loaïi. Moät
vaøi haïng loaïi trong soá ñoù bao goàm caùc vuøng ñòa lyù. Neân ñeán maïng löôùi ñeå xem laïi baûn ñoà phaân vuøng
chi tieát.

 13. Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn coù bao traû nhöõng yeâu caàu boài hoaøn theo quyeàn
 lôïi y teá hay khoâng?
Khoâng. Boài Thöôøng E&PD khoâng bao goàm yeâu caàu boài hoaøn quyeàn lôïi y teá. Neáu quyù vò bò nhöõng beänh traïng
xuaát phaùt töø Bieán Coá Deepwater Horizon, thì cuõng coù theå hoäi ñuû tieâu chuaån tham gia vaøo cuoäc Boài Thöôøng
Quyeàn Lôïi Y Teá. Coù theå laáy theâm thoâng tin veà Boài Thöôøng Quyeàn Lôïi Y Teá treân maïng löôùi hoaëc goïi soá
1-866-992-6174.

 14. Neáu toâi chöa roõ mình coù teân trong Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn hay khoâng
 thì sao?
Neáu quyù vò chöa roõ mình coù teân trong Taäp Theå E&PD hay khoâng, hoaëc coù baát cöù thaéc maéc naøo khaùc
veà Boài Thöôøng E&PD, thì neân ñeán maïng löôùi hoaëc goïi soá mieãn phí 1-866-992-6174. Quyù vò cuõng coù
theå vieát roõ thaéc maéc roài gôûi tôùi Deepwater Horizon Court-Supervised Settlement,
PO       Box     1439,    Hammond,          LA      70404-1439,       hoaëc    gôûi   thö      ñieän     ñeán
questions@DeepwaterHorizonEconomicSettlement.com.

 15. Seõ ra sao neáu toâi khoâng coù teân trong Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn?


Neáu quyù vò chaúng phaûi laø Thaønh Vieân Taäp Theå E&PD thì khoâng coù teân trong Boài Thöôøng E&PD.
Tuy nhieân, quyù vò vaãn coù theå coù teân trong Boài Thöôøng Quyeàn Lôïi Y Teá (xem Caâu Hoûi 13). Vaø neáu
quyù vò khoâng coù teân trong Boài Thöôøng E&PD thì coù theå tröïc tieáp ñeä noäp yeâu caàu boài hoaøn theo Ñaïo
Luaät OÂ Nhieãm Daàu (Oil Pollution Act, hay OPA) leân BP. Quyù vò coù theå laáy theâm thoâng tin veà vieäc
tröïc tieáp ñeä noäp yeâu caàu boài hoaøn theo Ñaïo Luaät OÂ Nhieãm Daàu leân BP neáu ñeán vieáng
www.bp.com/claims hoaëc goïi soá 1-855-687-2631.



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SÔ ÑOÀ QUYEÀN LÔÏI VAØ TIEÂU CHUAÅN BOÀI HOAØN THEO BOÀI THÖÔØNG E&PD

 Haïng Loaïi Yeâu
 Caàu Boài Hoaøn                                    Tieâu Chuaån Ñoøi Hoûi                                                            Quyeàn Lôïi Khaû Dó
Yeâu Caàu Ñeàn Buø   Ngöôøi coù theå yeâu caàu boài hoaøn toån thaát kinh teá lieân quan tôùi Thuûy Saûn laø   BP seõ ñeàn traû toån thaát kinh teá lieân quan tôùi Thuûy Saûn thuoäc
Thuûy Saûn           nhöõng Caù Nhaân vaø Thöïc Theå hoäi ñuû tieâu chuaån ñöôïc xem laø Ngö Daân              Chöông Trình Ñeàn Buø Thuûy Saûn theo tieán trình coù ngöôøi
                     Buoân Baùn, Thuyeàn Tröôûng Taøu Ñaùnh Baét Thuûy Saûn, Thuûy Thuû Ñoaøn Ñaùnh            pheâ duyeät trung laäp ñöôïc Toøa AÙn boå nhieäm. Theo öôùc tính,
                     Baét Thuûy Saûn (keå caû thuyeàn phoù nhaát, thuyeàn phoù nhì, thuûy thuû tröôûng, vaø    Chöông Trình Ñeàn Buø Thuûy Saûn seõ boài hoaøn toång coäng
                     thuûy thuû laøm vieäc treân boong), Ngöôøi Thueâ theo Hôïp Ñoàng Ñaùnh Baét Soø,          $1.9 tæ trong soá $2.3 tæ ñang coù trong Chöông Trình. Sau
                     vaø Chuû Sôû Höõu Taøu Thuyeàn Ñaùnh Baét Thuûy Saûn. Coù theå noäp yeâu caàu boài        naøy coù theå seõ phaân phaùt heát soá tieàn coøn laïi. Tình hình phaân
                     hoaøn theo nhöõng haïng loaïi sau ñaây:                                                   chia baát cöù moùn tieàn coøn laïi naøo nhö theá coøn tuøy thuoäc soá
                                                                                                               ngöôøi hoäi ñuû tieâu chuaån gia nhaäp Chöông Trình Thuûy Saûn.
                             Toâm (yeâu caàu boài hoaøn cuûa Chuû Sôû Höõu Taøu Thuyeàn, Ngöôøi Thueâ
                              Taøu Ñaùnh Caù Thöông Maïi, Thuyeàn Tröôûng);                                    Soá tieàn traû theo yeâu caàu Ñeàn Buø Thuûy Saûn seõ thay ñoåi tuøy
                             Soø (keå caû yeâu caàu boài hoaøn quyeàn lôïi ngöôøi thueâ theo hôïp ñoàng vaø   vaøo daïng yeâu caàu boài hoaøn, haïng loaïi Thuûy Saûn, vaø daïng
                              do bò maát lôïi töùc) (yeâu caàu boài hoaøn cuûa Beân Thueâ Möôùn, Chuû Sôû      baèng chöùng ñaõ xuaát trình.
                              Höõu Taøu Thuyeàn, Ngöôøi Thueâ Taøu Ñaùnh Caù Thöông Maïi, Thuyeàn
                                                                                                               Caùc Thuyeàn Tröôûng, Chuû Sôû Höõu/Ngöôøi Thueâ Taøu
                              Tröôûng);
                                                                                                               Thuyeàn vaø Ngöôøi Thueâ theo Hôïp Ñoàng Ñaùnh Baét Soø coù
                             Caù coù vaây (yeâu caàu boài hoaøn cuûa Chuû Sôû Höõu Taøu Thuyeàn, Ngöôøi
                                                                                                               theå choïn moät trong hai phöông phaùp chi traû: moâ hình thu
                              Thueâ Taøu Ñaùnh Caù Thöông Maïi, Thuyeàn Tröôûng, ngöôøi coù Haïn
                                                                                                               nhaäp (döïa vaøo tôø khai thueá, veù xaùc nhaän chuyeán ñi, vaø taøi
                              Ngaïch Ñaùnh Baét Caù Nhaân (Individual Fishing Quota, hay "IFQ"));
                                                                                                               lieäu töông ñöông); hoaëc moâ hình caáp toác (döïa vaøo baèng
                             Cua xanh vaø loaïi caù khaùc (yeâu caàu boài hoaøn cuûa Chuû Sôû Höõu Taøu
                                                                                                               chöùng deã xuaát trình, chaúng haïn nhö kích thöôùc taøu thuyeàn
                              Thuyeàn, Ngöôøi Thueâ Taøu Ñaùnh Caù Thöông Maïi (keå caû thieät haïi ôû
                                                                                                               hay dieän tích thueâ ñaùnh baét soø).
                              baãy cua), Thuyeàn Tröôûng); vaø
                             Thuûy Thuû Ñoaøn Ñaùnh Baét Thuûy Saûn (khoâng keå Thuyeàn Tröôûng)              Baát cöù moùn tieàn naøo töøng nhaän töø BP hoaëc GCCF ñoái vôùi
                                                                                                               yeâu caàu boài hoaøn Thuûy Saûn lieân quan tôùi daàu loang (khoâng
                     Ngöôøi ñeä ñôn coù theå ñoøi ñeàn buø theo nhieàu haïng loaïi yeâu caàu Ñeàn Buø
                                                                                                               keå yeâu caàu boài hoaøn VoO) ñeàu bò tröø khoûi khoaûn chi traû
                     Thuûy Saûn.




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                        Haïn choùt yeâu caàu Ñeàn Buø Thuûy Saûn ñeán sôùm hôn thôøi haïn choùt ñoái vôùi moïi   theo Boài Thöôøng.
                        yeâu caàu boài hoaøn khaùc theo Boài Thöôøng E&PD. Haïn choùt noäp Maãu Yeâu
                                                                                                                 RTP1 boäi soá coù theå ñöôïc aùp duïng leân khoaûn chi traû cho moïi
                        Caàu Ñeàn Buø Thuûy Saûn laø 30 ngaøy sau khi tieáp nhaän vaø coù phaùn quyeát pheâ
                                                                                                                 haïng loaïi yeâu caàu boài hoaøn khaùc vôùi ngöôøi giöõ IFQ vaø moät
                        duyeät chung thaåm cuûa Toøa AÙn cho Boài Thöôøng E&PD. Thôøi haïn choùt chính
                                                                                                                 soá Thuûy Thuû Ñoaøn Ñaùnh Baét Thuûy Saûn.
                        xaùc ñeå noäp yeâu caàu boài hoaøn seõ ñöôïc ñaêng taïi maïng löôùi.
                                                                                                                 Moïi yeâu caàu Ñeàn Buø Thuûy Saûn seõ ñöôïc chi traû sau khi
                        Muoán bieát theâm chi tieát veà Chöông Trình Ñeàn Buø Thuûy Saûn noùi veà Boài
                                                                                                                 nhaän vaø chaáp thuaän, ngoaïi tröø moät vaøi yeâu caàu boài hoaøn
                        Thöôøng hoaëc goïi 1-866-992-6174.
                                                                                                                 cuûa Thuûy Thuû Ñoaøn Ñaùnh Baét Thuûy Saûn, vì Nhaân Vieân
                                                                                                                 Phuï Traùch Yeâu Caàu Boài Hoaøn seõ cöùu xeùt roõ sau haïn choùt
                                                                                                                 yeâu caàu Ñeàn Buø Thuûy Saûn vaø trang traûi caøng sôùm caøng toát.
                                                                                                                 Quyù vò coù theå hoäi ñuû tieâu chuaån ñöôïc chi traû theâm neáu
                                                                                                                 trong Chöông Trình Ñeàn Buø Thuûy Saûn vaãn coøn tieàn sau khi
                                                                                                                 ñaõ trang traûi xong taát caû caùc yeâu caàu boài hoaøn. Tuy nhieân,
                                                                                                                 phaàn chia cho quyù vò laáy töø baát cöù khoaûn döï tröõ naøo theo
                                                                                                                 Chöông Trình Ñeàn Buø Thuûy Saûn coøn tuøy thuoäc soá ngöôøi
                                                                                                                 hoäi ñuû tieâu chuaån gia nhaäp Chöông Trình ñoù.




1
 “Phí Chuyeån Giao Ruûi Ro” (Risk Transfer Premium, hay “RTP”) laøm taêng moùn tieàn traû cho moät soá Thaønh Vieân Taäp Theå E&PD neáu thua loã cuûa hoï coù theå
laäp ñi laäp laïi, ñeå tính caû nguy cô bò toån thaát kinh teá trong töông lai lieân quan tôùi Bieán Coá Deepwater Horizon. Boài Thöôøng E&PD quy ñònh nhöõng RTP naøo
aùp duïng cho moät soá daïng lónh vöïc kyõ ngheä hoaëc yeâu caàu boài hoaøn.

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    Yeâu Caàu Boài      Caùc Caù Nhaân vaø Thöïc Theå trong moät soá lónh vöïc kyõ ngheä hay vuøng ñòa lyù            Noùi chung, soá tieàn traû theo yeâu caàu boài hoaøn Thieät Haïi
    Hoaøn Thieät Haïi   bò maát lôïi nhuaän hoaëc thu nhaäp vì Bieán Coá Deepwater Horizon ñeàu coù theå              Kinh Teá ñöôïc tính toaùn baèng caùch so saùnh thu nhaäp thöïc teá
    Kinh Teá            yeâu caàu boài hoaøn thieät haïi kinh teá.                                                    sau khi xaûy ra daàu loang vôùi thu nhaäp döï kieán trong thôøi
                                                                                                                      kyø ñoù. Cuõng coù cöùu xeùt nhöõng hoaøn caûnh ñaëc bieät, chaúng
                        Tuøy vaøo lónh vöïc kyõ ngheä hay vuøng ñòa lyù, moät vaøi Caù Nhaân vaø Thöïc Theå
                                                                                                                      haïn nhö môùi khôûi nghieäp, doanh thöông laøm aên thaát baïi,
                        coù theå phaûi xuaát trình baèng chöùng laø toån thaát kinh teá cuûa hoï do Bieán Coá
                                                                                                                      doanh nghieäp coù nhieàu cô sôû, ngöôøi môùi vaøo laøm, vaø ngöôøi
                        Deepwater Horizon gaây ra.
                                                                                                                      baùn haøng theo leã hoäi.
                        Muoán bieát theâm chi tieát veà nhöõng yeâu caàu boài hoaøn Thieät Haïi Kinh Teá hoäi
                                                                                                                      RTP2 boäi soá seõ ñöôïc aùp duïng leân khoaûn chi traû cho moät vaøi
                        ñuû tieâu chuaån, hoaëc goïi soá 1-866-992-6174.Boài Thöôøng
                                                                                                                      daïng yeâu caàu boài hoaøn Thieät Haïi Kinh Teá.
                                                                                                                      Baát cöù moùn tieàn naøo töøng nhaän töø BP hoaëc GCCF cho cuøng
                                                                                                                      moät toån thaát kinh teá ñeàu bò tröø khoûi khoaûn chi traû theo Boài
                                                                                                                      Thöôøng.

    Yeâu Caàu Boài      Caù Nhaân naøo chaøi löôùi thaû caâu hay saên baét taïi moät soá khu vöïc ñòa lyù ñeå thu     Tieàn traû ñöôïc döïa vaøo giaù trò baùn leû cuûa Thuûy Saûn vaø Saên
    Hoaøn vì Maát       hoaïch, ñaùnh baét, trao ñoåi, tieâu thuï, hoaëc buoân baùn nguoàn taøi nguyeân thieân        Baét bò maát trong khoaûng giöõa ngaøy 20 thaùng Tö, 2010 vaø
    Sanh Keá            nhieân cuûa Vònh Mexico, keå caû Thuûy Saûn vaø Saên Baét, theo phong tuïc hay                ngaøy 31 thaùng Chaïp, 2011.
                        caùch thöùc truyeàn thoáng, ñeå duy trì nhu caàu caên baûn hoaëc böõa aên cho gia
                                                                                                                      Seõ aùp duïng boäi soá RTP* leân chi traû cho yeâu caàu boài hoaøn
                        ñình, söï yeân oån kinh teá, nhu caàu veà choán nöông naùu, duïng cuï hay quaàn aùo,
                                                                                                                      vì Maát Sanh Keá, trong ñoù coù tính ñeán thieät haïi ôû gia ñình
                        vaø hoï nöông döïa vaøo nguoàn taøi nguyeân sanh soáng voán ñaõ suy giaûm hoaëc
                                                                                                                      bò maát sanh keá cuøng vôùi phong tuïc vaø vaên hoùa cuûa coäng
                        haïn cheá taïi khu vöïc ñòa lyù hieän taïi do Bieán Coá Deepwater Horizon, ñeàu coù
                                                                                                                      ñoàng.
                        theå noäp yeâu caàu boài hoaøn vì maát sanh keá.
                        Ngöôøi naøo chæ giaêng caâu hay saên baén cho vui hoaëc vôùi muïc ñích theå thao
                        ñeàu khoâng hoäi ñuû tieâu chuaån yeâu caàu boài hoaøn veà sanh keá, baát keå hoï coù tieâu
                        thuï meû ñaùnh baét hay khoâng.

    Yeâu Caàu Boài      Nhöõng ngöôøi sau ñaây coù theå yeâu caàu boài hoaøn toån thaát kinh teá do tham gia          Ñoái vôùi ngöôøi yeâu caàu boài hoaøn ñaõ ñöôïc ñieàu ñoäng hoaëc
    Hoaøn Tieàn Traû    vaøo chöông trình VoO (baát keå ñaõ ñieàu ñoäng hoaëc yeâu caàu thöïc hieän coâng             yeâu caàu thöïc hieän coâng vieäc theo chöông trình VoO, soá
    theo Hôïp Ñoàng     vieäc hay chöa):                                                                              tieàn traû seõ ôû trong khoaûng töø $41,600 tôùi $88,400, tuøy vaøo
    Thueâ VoO                                                                                                         chieàu daøi taøu thuyeàn.

2
 “Phí Chuyeån Giao Ruûi Ro” (Risk Transfer Premium, hay “RTP”) laøm taêng moùn tieàn traû cho moät soá Thaønh Vieân Taäp Theå E&PD neáu thua loã cuûa hoï coù theå
laäp ñi laäp laïi, ñeå tính caû nguy cô bò toån thaát kinh teá trong töông lai lieân quan tôùi Bieán Coá Deepwater Horizon. Boài Thöôøng E&PD quy ñònh nhöõng RTP naøo
aùp duïng cho moät soá daïng lónh vöïc kyõ ngheä hoaëc yeâu caàu boài hoaøn.

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                         Ñaõ ghi danh tham gia vaøo chöông trình VoO                                           Ñoái vôùi ngöôøi yeâu caàu boài hoaøn ñaõ hoaøn taát chöông trình
                                                                                                                huaán luyeän VoO ban ñaàu nhöng chöa bao giôø ñöôïc ñieàu
                         Ñaõ thöïc thi Thoûa Thuaän Chaùnh veà vieäc Thueâ Taøu Thuyeàn VoO; vaø
                                                                                                                ñoäng hoaëc yeâu caàu thöïc hieän coâng vieäc theo chöông trình
                         Ñaõ hoaøn taát chöông trình huaán luyeän VoO ban ñaàu.                                VoO, soá tieàn traû seõ ôû trong khoaûng töø $4,800 tôùi $10,200,
                                                                                                                tuøy vaøo chieàu daøi taøu thuyeàn.

Yeâu Caàu Boài       Nhöõng Caù Nhaân vaø Thöïc Theå laø chuû sôû höõu cuûa taøu thuyeàn hoäi ñuû tieâu         Ngöôøi yeâu caàu boài hoaøn hoäi ñuû tieâu chuaån seõ nhaän phaàn
Hoaøn Thieät Haïi    chuaån trong khoaûng giöõa ngaøy 20 thaùng Tö, 2010 vaø ngaøy 31 thaùng Chaïp,             chi traû hôïp lyù vaø caàn thieát ñeå söûa chöõa hoaëc thay theá taøu
Vaät Chaát ôû Taøu   2011 seõ coù theå thu hoài thieät haïi vaät chaát laø haäu quaû cuûa Bieán Coá Deepwater   thuyeàn hoäi ñuû tieâu chuaån, tuøy vaøo soá tieàn naøo nhoû hôn.
Thuyeàn              Horizon hoaëc moät soá hoaït ñoäng cöùu öùng vaø thu doïn, keå caû chi phí thaùo dôøi
                     trang thieát bò hay heä thoáng chaèng buoäc ñaõ gaén theâm vaøo taøu thuyeàn hoäi ñuû
                     tieâu chuaån döôùi daïng moät phaàn hoaït ñoäng cöùu öùng.
                     Seõ khoâng chi traû cho ngöôøi yeâu caàu boài hoaøn naøo:
                              Ñaõ kyù teân vaøo Bieân Nhaän vaø Thoûa Thuaän Giaûi Traùch trong vieäc
                               ñeàn buø thieät haïi döôùi daïng moät phaàn cuûa chöông trình VoO; hoaëc
                              Gaây thieät haïi leân taøu thuyeàn trong khi laøm vieäc cho baát cöù toå chöùc
                               naøo lo lieäu cöùu öùng hoaëc taåy tröø daàu loang (khoâng phaûi laø chöông
                               trình VoO, hoaït ñoäng thu doïn theo leänh lieân bang, hay hoaït ñoäng
                               thu doïn khaùc phuø hôïp vôùi Keá Hoaïch Quoác Gia Ñeà Phoøng Baát Traéc
                               (National Contingency Plan)).




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    Yeâu Caàu Boài      Caù Nhaân vaø Thöïc Theå naøo sôû höõu hay thueâ baát ñoäng saûn ven bieån hoaëc uï           Soá tieàn traû ôû trong khoaûng töø 30% tôùi 45% cuûa Giaù Trò do
    Hoaøn Thieät Haïi   taøu toïa laïc taïi moät soá khu vöïc ñòa lyù vaøo baát kyø luùc naøo töø ngaøy 20 thaùng     Quaän Löôïng Ñònh (County Appraised Value) naêm 2010
    Baát Ñoäng Saûn     Tö, 2010 tôùi ngaøy 31 thaùng Chaïp, 2010, ñeàu coù theå yeâu caàu boài hoaøn thieät          ñoái vôùi khoaûnh ñaát (ñaõ nhaân vôùi 1.18%). Thí duï: neáu Giaù
    Ven Bieån           haïi cho taøi saûn ñoù.                                                                       Trò do Quaän Löôïng Ñònh naêm 2010 laø $100,000, thì soá tieàn
                                                                                                                      traû ôû trong khoaûng töø $35,400 tôùi $53,100. Thoûa Thuaän
                        Ngoaøi ra, ñoái vôùi baát ñoäng saûn ven bieån toïa laïc taïi moät soá khu vöïc ñòa lyù,
                                                                                                                      Boài Thöôøng coù trình baøy caùch tính Giaù Trò do Quaän Löôïng
                        chuû sôû höõu cuûa baát ñoäng saûn hoaëc taøi saûn caù nhaân naøo bò thieät haïi vaät chaát
                                                                                                                      Ñònh naêm 2010 cho moãi quaän haït coù trong danh saùch (xem
                        lieân heä tôùi hoaït ñoäng cöùu öùng vaø thu doïn Bieán Coá Deepwater Horizon ñeàu
                                                                                                                      Thoûa Thuaän Boài Thöôøng trong Daãn Chöùng 11A, Ñoaïn
                        coù theå yeâu caàu boài hoaøn Thieät Haïi Vaät Chaát.
                                                                                                                      2(D)).
                                                                                                                      RTP3 boäi soá seõ ñöôïc aùp duïng leân khoaûn chi traû cho yeâu
                                                                                                                      caàu boài hoaøn Thieät Haïi Baát Ñoäng Saûn Ven Bieån.
                                                                                                                      Chi traû cho Thieät Haïi Vaät Chaát trong Hoaït Ñoäng Cöùu ÖÙng
                                                                                                                      baèng vôùi chi phí söûa chöõa hoaëc thay theá taøi saûn bò thieät haïi,
                                                                                                                      tuøy ñieàu naøo thaáp hôn.

    Yeâu Caàu Boài      Beân baùn taøi saûn tö gia toïa laïc taïi moät soá khu vöïc ñòa lyù coù theå yeâu caàu boài   Soá tieàn traû seõ bao goàm 12.5% giaù baùn taøi saûn tö gia hoäi ñuû
    Hoaøn Thieät Haïi   hoaøn Thieät Haïi Khi Baùn Baát Ñoäng Saûn neáu:                                              tieâu chuaån, tröø ñi moïi khoaûn ñeàn buø maø ngöôøi yeâu caàu boài
    Khi Baùn Baát                                                                                                     hoaøn töøng nhaän töø BP hoaëc GCCF cho cuøng moät taøi saûn.
                            Beân baùn sôû höõu taøi saûn naøy vaøo ngaøy 20 thaùng Tö, 2010; vaø
    Ñoäng Saûn                                                                                                        Ñoái vôùi taøi saûn duøng chung, soá tieàn naøy ñöôïc phaân chia
                            Ñaõ keát soå vieäc buoân baùn taøi saûn trong khoaûng giöõa ngaøy 21 thaùng Tö,
                                                                                                                      theo quyeàn lôïi sôû höõu cuûa ngöôøi yeâu caàu boài hoaøn.
                             2010 vaø ngaøy 31 thaùng Chaïp, 2010. Hôïp ñoàng mua baùn phaûi ñöôïc: (1)
                             thöïc thi vaøo ngaøy hoaëc sau ngaøy 21 thaùng Tö, 2010, hoaëc (2) thöïc thi
                             tröôùc ngaøy 21 thaùng Tö, 2010, nhöng bò suït giaù do Bieán Coá Deepwater
                             Horizon.
                        Khoâng bao goàm vieäc chuyeån giao baát ñoäng saûn tö gia töø beân vay sang beân
                        cho vay döôùi daïng moät phaàn tieán trình tòch bieân.




3
 “Phí Chuyeån Giao Ruûi Ro” (Risk Transfer Premium, hay “RTP”) laøm taêng moùn tieàn traû cho moät soá Thaønh Vieân Taäp Theå E&PD neáu thua loã cuûa hoï coù theå
laäp ñi laäp laïi, ñeå tính caû nguy cô bò toån thaát kinh teá trong töông lai lieân quan tôùi Bieán Coá Deepwater Horizon. Boài Thöôøng E&PD quy ñònh nhöõng RTP naøo
aùp duïng cho moät soá daïng lónh vöïc kyõ ngheä hoaëc yeâu caàu boài hoaøn.

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Yeâu Caàu Boài      Caù Nhaân vaø Thöïc Theå naøo sôû höõu baát ñoäng saûn vuøng ñaàm laày toïa laïc taïi       Chi traû seõ ôû trong khoaûng giöõa $4,500 vaø $25,000 cho moãi
Hoaøn Thieät Haïi   moät soá khu vöïc ñòa lyù vaøo baát kyø luùc naøo trong khoaûng giöõa ngaøy 20 thaùng       maãu Anh taïi moät soá khu vöïc ven bôø hoaëc vuøng ñeäm, tuøy
Baát Ñoäng Saûn     Tö, 2010 vaø ngaøy 16 thaùng Tö, 2012, ñeàu coù theå yeâu caàu boài hoaøn Thieät            vaøo möùc ñoä phaùt hieän daàu theo nhieàu caùch kieåm ñònh
Vuøng Ñaàm Laày     Haïi Baát Ñoäng Saûn Vuøng Ñaàm Laày.                                                       chaùnh thöùc khaùc nhau.
                    Ngoaøi ra, chuû sôû höõu baát ñoäng saûn hoaëc taøi saûn caù nhaân cuõng coù theå yeâu      Chi traû cho Thieät Haïi Vaät Chaát baèng vôùi chi phí söûa chöõa
                    caàu boài hoaøn Thieät Haïi Vaät Chaát cho baát ñoäng saûn vuøng ñaàm laày toïa laïc taïi   hoaëc thay theá taøi saûn bò thieät haïi, tuøy ñieàu naøo thaáp hôn.
                    moät soá khu vöïc ñòa lyù ñaõ bò thieät haïi vaät chaát vì hoaït ñoäng cöùu öùng vaø thu
                    doïn Bieán Coá Deepwater Horizon.




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                CAÙCH YEÂU CAÀU CHI TRAÛ - NOÄP MAÃU YEÂU CAÀU BOÀI HOAØN

 16. Thaønh Vieân Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn hoäi ñuû tieâu chuaån seõ nhaän ñöôïc bao
 nhieâu tieàn?

Soá tieàn traû cho quyù vò ñöôïc döïa vaøo daïng yeâu caàu boài hoaøn (xem Sô Ñoà Quyeàn Lôïi vaø Tieâu Chuaån
Boài Hoaøn theo Boài Thöôøng E&PD baét ñaàu töø trang 11 cuûa Thoâng Baùo naøy). Treân maïng löôùi cuõng coù
ñaày ñuû thoâng tin veà taát caû nhöõng quyeàn lôïi töø Boài Thöôøng E&PD.

Neáu quyù vò nhaän khoaûn chi traû theo yeâu caàu boài hoaøn Thieät Haïi Kinh Teá hoaëc yeâu caàu Ñeàn Buø Thuûy
Saûn, thì cuõng coù theå hoäi ñuû tieâu chuaån ñöôïc trang traûi cho dòch vuï keá toaùn chuyeân moân ñaõ ñònh thöôøng
duøng ñeå chuaån bò vaø ñieàn yeâu caàu boài hoaøn theo khuoân khoå ñeàn buø. Neân ñeán maïng löôùi ñeå bieát thoâng
tin veà tieán trình boài hoaøn dòch vuï keá toaùn.

Neáu quyù vò coù thaéc maéc veà caùch xaùc ñònh giaù trò cuûa yeâu caàu boài hoaøn, thì coù theå goïi soá 1-866-992-
6174 ñeå ñöôïc hoã trôï.

 17. Caùch noäp Maãu Yeâu Caàu Boài Hoaøn ñeå ñoøi khoaûn chi traû?


Neáu quyù vò laø Thaønh Vieân Taäp Theå E&PD thì phaûi ñieàn ñaày ñuû vaø noäp Maãu Yeâu Caàu Boài Hoaøn ñeå
ñoøi khoaûn chi traû. Moãi haïng loaïi yeâu caàu boài hoaøn ñeàu coù Maãu Yeâu Caàu Boài Hoaøn ñaëc thuø cuøng vôùi
chæ daãn chi tieát, keå caû caùc daïng taøi lieäu daãn chöùng caàn thieát. Coù theå laáy troïn boä Maãu Yeâu Caàu Boài
Hoaøn treân maïng löôùi, hoaëc coù theå nhaän qua böu ñieän neáu goïi soá 1-866-992-6174.

Muoán noäp Maãu Yeâu Caàu Boài Hoaøn thì quyù vò phaûi gôûi qua böu ñieän tôùi ñòa chæ döôùi ñaây, hoaëc ñeä noäp
tröïc tuyeán taïi maïng löôùi. Neáu quyù vò coù thaéc maéc veà caùch ñeä noäp yeâu caàu boài hoaøn thì neân goïi soá
1-866-992-6174 ñeå ñöôïc hoã trôï.

Ñòa chæ gôûi (caùc) Maãu Yeâu Caàu Boài Hoaøn qua böu ñieän laø:
                     Deepwater Horizon Court-Supervised Settlement
                     PO Box 1439
                     Hammond, LA 70404-1439

Caùc Vaên Phoøng Giaûi Quyeát Yeâu Caàu Boài Hoaøn cuõng roäng môû khaép Duyeân Haûi Vuøng Vònh ñeå
giuùp Thaønh Vieân Taäp Theå ñeä noäp yeâu caàu boài hoaøn. Neân ñeán maïng löôùi hoaëc goïi soá
1-866-992-6174 ñeå bieát vò trí cuûa Vaên Phoøng Giaûi Quyeát Yeâu Caàu Boài Hoaøn.

Quyù vò coù theå hoäi ñuû tieâu chuaån yeâu caàu boài hoaøn theo nhieàu haïng loaïi. Quyù vò khoâng caàn phaûi
noäp yeâu caàu boài hoaøn cuûa mình theo moïi haïng loaïi vaøo cuøng luùc. Tuy nhieân, khi ñaõ nhaän khoaûn chi
traû ñaàu tieân theo Chöông Trình Boài Thöôøng, quyù vò phaûi ñeä noäp baát cöù vaø moïi yeâu caàu boài hoaøn phuï
troäi trong voøng saùu thaùng keå töø ngaøy cuûa laàn chi traû ñoù.

Haïn choùt noäp taát caû caùc Maãu Yeâu Caàu Ñeàn Buø Thuûy Saûn laø 30 ngaøy sau khi tieáp nhaän vaø coù ban
quyeát ñònh cuoái cuøng cuûa Toøa AÙn. Haïn choùt naøy ñeán sôùm hôn thôøi haïn choùt ñoái vôùi moïi yeâu caàu boài
hoaøn khaùc theo Boài Thöôøng E&PD. Thôøi haïn choùt chính xaùc ñeå ñeä noäp yeâu caàu boài hoaøn seõ ñöôïc
ñaêng taïi maïng löôùi.

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Haïn choùt ñeä noäp Maãu Yeâu Caàu Boài Hoaøn cho moïi yeâu caàu boài hoaøn khaùc vôùi yeâu caàu Ñeàn Buø Thuûy
Saûn laø ngaøy 22 thaùng Tö, 2014, hoaëc saùu thaùng sau luùc Boài Thöôøng E&PD coù hieäu löïc (töùc laø sau khi
Toøa AÙn kyù leänh “quyeát ñònh cuoái cuøng” vaø moïi khaùng caùo ñeàu ñöôïc giaûi quyeát xong), tuøy vaøo ngaøy
naøo treã hôn. Thôøi haïn choùt chính xaùc ñeå ñeä noäp yeâu caàu boài hoaøn seõ ñöôïc ñaêng taïi maïng löôùi. Nhieät
lieät khuyeán caùo caùc Thaønh Vieân Taäp Theå E&PD neân mau choùng ñieàn ñaày ñuû vaø noäp Maãu Yeâu Caàu
Boài Hoaøn cuûa mình. Neáu quyù vò khoâng noäp Maãu Yeâu Caàu Boài Hoaøn kòp thôøi thì seõ maát cô hoäi ñeä ñôn
laáy khoaûn tieàn traû theo Boài Thöôøng E&PD.


 18. Coù caàn phaûi noäp taøi lieäu daãn chöùng khoâng?

Coù. Quyù vò phaûi noäp theâm moät soá taøi lieäu daãn chöùng thì yeâu caàu boài hoaøn môùi ñöôïc chaáp nhaän. Neân
ñoïc thaät kyõ caùc chæ daãn cho Maãu Yeâu Caàu Boài Hoaøn. Neáu quyù vò coù baát cöù thaéc maéc naøo veà vieäc
chuaån bò vaø ñieàn Maãu Yeâu Caàu Boài Hoaøn thì neân goïi soá 1-866-992-6174.



 19. Neáu yeâu caàu boài hoaøn bò töø choái hoaëc toâi chöa haøi loøng vôùi khoaûn chi traû thì sao?

Boài Thöôøng E&PD quy ñònh tieán trình giaûi quyeát nhöõng baát ñoàng veà soá tieàn traû cho quyù vò. Quyù vò seõ
bieát theâm chi tieát trong laù thö nhaän ñöôïc sau khi yeâu caàu boài hoaøn ñöôïc cöùu xeùt. Neáu yeâu caàu boài
hoaøn bò töø choái, hoaëc neáu quyù vò chöa haøi loøng vôùi soá tieàn traû, thì coù theå khaùng caùo. BP cuõng coù quyeàn
khaùng caùo trong tröôøng hôïp phaûi traû moùn tieàn lôùn hôn $25,000. Treân maïng löôùi coù ñeå saün maãu khaùng
caùo vaø phaàn trình baøy theâm veà tieán trình khaùng caùo. Neân löu yù laø khoâng coù tieán trình khaùng caùo cho
moät vaøi yeâu caàu Ñeàn Buø Thuûy Saûn.

 20. Khi naøo ñöôïc laõnh khoaûn chi traû?

Noùi chung, yeâu caàu boài hoaøn hôïp leä seõ ñöôïc chi traû sau khi nhaän vaø chaáp thuaän, ngoaïi tröø moät soá yeâu
caàu Ñeàn Buø Thuûy Saûn. Moät soá yeâu caàu boài hoaøn cuûa Thuûy Thuû Ñoaøn Ñaùnh Baét Thuûy Saûn veà vieäc
Ñeàn Buø Thuûy Saûn seõ ñöôïc trang traûi sau haïn choùt yeâu caàu Ñeàn Buø Thuûy Saûn, khi ñaõ cöùu xeùt taát caû
nhöõng yeâu caàu boài hoaøn nhö theá.

 21. Boài Thöôøng E&PD coøn mang laïi quyeàn lôïi naøo khaùc?

Boài Thöôøng E&PD bao goàm vieäc thaønh laäp ngaân quyõ môùi trò giaù $57 trieäu ñeå thuùc ñaåy phaùt trieån lónh
vöïc du lòch vaø kyõ ngheä thuûy saûn taïi khu vöïc Duyeân Haûi Vuøng Vònh töøng bò aûnh höôûng cuûa Bieán Coá
Deepwater Horizon.

Ngoaøi ra, BP coøn trao cho Taäp Theå E&PD quyeàn theo ñuoåi moät soá yeâu caàu boài hoaøn choáng
Transocean vaø Halliburton vì lôïi ích cuûa Taäp Theå E&PD. Neáu thaønh coâng thì moïi moùn tieàn coù ñöôïc töø
yeâu caàu boài hoaøn nhö theá ñeàu duøng cho lôïi ích cuûa taäp theå theo caùch thöùc ñöôïc Toøa AÙn chaáp thuaän.

 22. Phaûi töø boû ñieàu gì ñeå ñöôïc khoaûn chi traû?

Neáu quyù vò nhaän khoaûn chi traû theo Boài Thöôøng E&PD, thì seõ töø boû quyeàn kieän BP hoaëc Caùc Beân
Ñöôïc Giaûi Traùch (ñaõ neâu roõ taïi Ñoaïn 10 cuûa Thoûa Thuaän Boài Thöôøng) veà taát caû nhöõng yeâu caàu boài


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hoaøn ñaõ giaûi quyeát theo Boài Thöôøng E&PD, nhö ñaõ trình baøy ñaày ñuû hôn ôû Ñoaïn 10 cuûa Thoûa Thuaän
Boài Thöôøng E&PD.
Tuy nhieân, quyù vò seõ KHOÂNG töø boû quyeàn kieän BP hoaëc baát cöù Beân Ñöôïc Giaûi Traùch naøo veà baát kyø
yeâu caàu boài hoaøn naøo khaùc (töùc laø nhöõng yeâu caàu boài hoaøn chöa giaûi quyeát xong theo Boài Thöôøng
E&PD).
Treân maïng löôùi coù saün toaøn boä lôøi vaên cuûa Thoûa Thuaän Boài Thöôøng. Thoûa Thuaän Boài Thöôøng trình
baøy nhöõng yeâu caàu boài hoaøn ñaõ ñöôïc giaûi traùch vôùi thuaät ngöõ phaùp lyù ñaëc bieät, vì vaäy haõy ñoïc kyõ.
Neáu quyù vò coù baát cöù thaéc maéc naøo veà nhöõng yeâu caàu boài hoaøn ñaõ ñöôïc giaûi traùch vaø yù nghóa cuûa
chuùng, thì coù theå baøn luaän mieãn phí vôùi haõng luaät ñaïi dieän cho Taäp Theå E&PD coù lieät keâ trong Caâu
Hoûi 30 döôùi ñaây; hoaëc quyù vò coù theå töï lo lieäu phí toån vaø baøn luaän vôùi luaät sö rieâng.

           TÖÏ GAÏCH TEÂN KHOÛI TAÄP THEÅ BÒ THIEÄT HAÏI KINH TEÁ & TAØI SAÛN

Neáu quyù vò khoâng muoán tham gia vaøo cuoäc Boài Thöôøng E&PD vaø muoán giöõ moïi quyeàn kieän BP vaø
baát cöù Beân Ñöôïc Giaûi Traùch naøo veà nhöõng yeâu caàu boài hoaøn ñang ñöôïc giaûi quyeát theo Boài Thöôøng
E&PD, thì phaûi thöïc hieän caùc böôùc ruùt teân khoûi Taäp Theå E&PD. Ñieàu naøy goïi laø yeâu caàu gaïch teân,
hoaëc ñoâi khi coøn goïi laø “Ruùt Lui”, khoûi taäp theå.


 23. Neáu khoâng muoán tham gia vaøo Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn thì phaûi laøm gì?

Muoán gaïch teân baûn thaân hoaëc Thöïc Theå cuûa mình (hoaëc Ruùt Lui) khoûi Taäp Theå E&PD, quyù vò phaûi
gôûi vaên baûn yeâu caàu qua böu ñieän vôùi lôøi phaùt bieåu “Toâi muoán gaïch teân mình khoûi Taäp Theå bò Thieät
Haïi Kinh Teá & Taøi Saûn”. Vaên baûn yeâu caàu cuõng phaûi bao goàm ïteân ho vieát baèng chöõ in, ñòa chæ vaø soá
ñieän thoaïi, vaø phaûi coù chöõ kyù cuûa quyù vò.

Quyù vò phaûi gôûi vaên baûn yeâu caàu qua thö tín vôùi con daáu böu ñieän choùt nhaát laø
ngaøy 1 thaùng Möôøi, 2012, ñeán:

                      Deepwater Horizon Court-Supervised Settlement
                      Exclusions Department
                      PO Box 222
                      Hammond, LA 70404-0222

Quyù vò khoâng theå yeâu caàu gaïch teân khoûi Boài Thöôøng E&PD qua ñieän thoaïi, thö ñieän, hoaëc maïng löôùi.
Neáu quyù vò muoán Ruùt Lui khoûi Taäp Theå Ñoøi Quyeàn Lôïi Kinh Teá, thì phaûi Ruùt Lui khoûi moïi yeâu caàu
boài hoaøn coù teân mình trong Boài Thöôøng E&PD.

Quyù vò khoâng bò baét buoäc phaûi Ruùt Lui khoûi Boài Thöôøng E&PD ñeå baûo toaøn hoaëc theo ñuoåi
nhöõng Yeâu Caàu Boài Hoaøn Döï Bò sau ñaây:

         Yeâu Caàu Boài Hoaøn Thöông Taät treân Thaân Theå;
         Yeâu Caàu Boài Hoaøn cho Coå Ñoâng BP;

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         Yeâu Caàu Boài Hoaøn Toån Thaát Trieån Kyø;
         Yeâu caàu boài hoaøn xuaát phaùt töø vieäc chaøi löôùi thaû caâu, cheá bieán, mua baùn, ñaùnh baét, hoaëc thu
          hoaïch caù moøi daàu;
         Moät soá Yeâu Caàu Boài Hoaøn thuoäc Lónh Vöïc Kyõ Ngheä Daàu Khí;
         Moät soá Yeâu Caàu Boài Hoaøn thuoäc Lónh Vöïc Saên Baét;
         Moät soá Yeâu Caàu Boài Hoaøn thuoäc Lónh Vöïc Ngaân Haøng, Taøi Chaùnh vaø/hoaëc Baûo Hieåm;
         Yeâu caàu boài hoaøn Thieät Haïi Kinh Teá ñöôïc döïa vaøo vieäc laøm trong nhöõng lónh vöïc kyõ ngheä
          sau ñaây:
              o Ngaân Haøng, Taøi Chaùnh vaø/hoaëc Baûo Hieåm;
              o Daàu Khí;
              o Saên Baét;
         Yeâu caàu boài hoaøn thieät haïi coù tính tröøng phaït ñoái vôùi Halliburton vaø Transocean.


 24. Neáu töï gaïch teân thì coù ñöôïc ñieàu gì töø Boài Thöôøng naøy khoâng?

Khoâng. Neáu quyù vò töï gaïch teân khoûi Boài Thöôøng E&PD, thì khoâng theå noäp yeâu caàu boài hoaøn ñeå nhaän
baát cöù khoaûn chi traû naøo theo Boài Thöôøng E&PD, vaø khoâng theå phaûn ñoái Boài Thöôøng E&PD ñaõ ñeà
nghò. Tuy nhieân, neáu quyù vò töï gaïch teân thì coù theå kieän hoaëc tham gia vaøo vuï kieän khaùc choáng BP
trong töông lai. Quyù vò seõ khoâng bò raøng buoäc vôùi baát cöù ñieàu gì xaûy ra trong toá tuïng naøy.


 25. Neáu toâi töï gaïch teân khoûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn, thì coøn coù theå tröïc
 tieáp gôûi yeâu caàu boài hoaøn theo Ñaïo Luaät OÂ Nhieãm Daàu leân BP hay khoâng?

Coù. Caù nhaân, doanh nghieäp vaø Thöïc Theå naøo töï gaïch teân khoûi Boài Thöôøng E&PD ñeàu coù theå tröïc tieáp
ñeä noäp yeâu caàu boài hoaøn theo Ñaïo Luaät OÂ Nhieãm Daàu (Oil Pollution Act, hay "OPA") leân BP. Quyù vò
coù theå laáy theâm thoâng tin veà vieäc tröïc tieáp ñeä noäp yeâu caàu boài hoaøn theo Ñaïo Luaät OÂ Nhieãm Daàu leân
BP neáu ñeán vieáng www.bp.com/claims hoaëc goïi soá 1-855-687-2631.



 26. Neáu toâi khoâng töï gaïch teân thì sau naøy coù theå kieän BP hay khoâng?

Khoâng. Neáu quyù vò laø Thaønh Vieân Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn vaø khoâng töï gaïch teân, thì
cuõng töø boû quyeàn kieän BP hoaëc baát cöù Beân Ñöôïc Giaûi Traùch naøo ñoái vôùi nhöõng yeâu caàu boài hoaøn
ñöôïc giaûi quyeát theo Boài Thöôøng E&PD. Quyù vò vaãn coù theå theo ñuoåi nhöõng Yeâu Caàu Boài Hoaøn Döï
Bò lieät keâ taïi Caâu Hoûi 23.


 27. Neáu toâi töï gaïch teân khoûi Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn thì sau naøy coù theå ñoåi
 yù hay khoâng?


Coù. Quyù vò coù quyeàn yeâu caàu thu hoài (“baõi boû”) quyeát ñònh Ruùt Lui khoûi ờ Boài Thöôøng E&PD, vôùi
ñieàu kieän phaûi thöïc hieän ñieàu naøy tôùi haïn choùt laø ngaøy 5 thaùng Möôøi Moät, 2012, nhö ñaõ trình baøy
ñaày ñuû hôn taïi Ñoaïn 8 cuûa Thoûa Thuaän Boài Thöôøng E&PD. Trong moät vaøi tröôøng hôïp, quyù vò coù theå

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baõi boû yeâu caàu Ruùt Lui khoûi Boài Thöôøng E&PD sau ngaøy 5 thaùng Möôøi Moät, 2012, nhöng phaûi xin
BP ñoàng yù vôùi baát cöù yeâu caàu naøo nhaän ñöôïc sau ngaøy ñoù, vaø khoâng coù baûo ñaûm hoï seõ laøm nhö vaäy.
Neân ñeán maïng löôùi hoaëc goïi soá 1-866-992-6174 ñeå bieát chi tieát veà caùch baõi boû tröôøng hôïp Ruùt Lui.

                                         PHAÛN ÑOÁI BOÀI THÖÔØNG

 28. Neáu toâi khoâng thích Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn thì laøm caùch naøo ñeå baùo
 cho Toøa AÙn bieát?
Chæ Thaønh Vieân Taäp Theå E&PD môùi coù theå phaûn ñoái Boài Thöôøng E&PD. Neáu quyù vò laø Thaønh Vieân
Taäp Theå E&PD thì coù theå phaûn ñoái Boài Thöôøng E&PD neáu khoâng thích toaøn boä hoaëc moät vaøi phaàn
trong ñoù. Muoán phaûn ñoái thì caàn gôûi thö trình baøy lôøi phaûn ñoái cuûa quyù vò veà Boài Thöôøng Thieät Haïi
Kinh Teá & Taøi Saûn ñaõ ñeà nghò Lieân quan ñeán: Daàu Loang töø Giaøn Khoan "Deepwater Horizon" taïi
Vònh Mexico vaøo ngaøy 20 thaùng Tö, 2010, MDL soá 2179. Thö phaûn ñoái phaûi bao goàm:
    1) Phaùt bieåu chi tieát veà moãi muïc phaûn ñoái, keå caû lyù do cuï theå cuûa moãi muïc naøy, vaø moïi baèng côù
       hay thaåm quyeàn hôïp phaùp duøng ñeå minh chöùng moãi muïc;
    2) Hoï teân, ñòa chæ, vaø soá ñieän thoaïi cuûa quyù vò;
    3) Vaên baûn baèng côù chöùng minh raèng quyù vò laø Thaønh Vieân Taäp Theå E&PD, chaúng haïn nhö
       chöùng töø thöôøng truù, chöùng töø quyeàn sôû höõu taøi saûn, baèng chöùng vieäc laøm, vaø/hoaëc chöùng töø
       veà doanh nghieäp ñaõ laäp thaønh coâng ty vaø ñang hoaït ñoäng; vaø
    4) Moïi giaáy tôø, taøi lieäu hoaëc baûn toùm taét duøng ñeå daãn chöùng maø quyù vò muoán Toøa AÙn caân nhaéc
       khi cöùu xeùt phaàn phaûn ñoái.
Thaønh Vieân Taäp Theå E&PD cuõng coù theå phaûn ñoái qua luaät sö thueâ vôùi phí toån töï lo. Luaät sö phaûi noäp
thoâng baùo ñaïi dieän leân Toøa AÙn vôùi haïn choùt laø ngaøy 31 thaùng Taùm, 2012, vaø toáng ñaït moät baûn cuûa
thoâng baùo naøy cuøng vôùi lôøi phaûn ñoái coù thoâng tin chi tieát beân treân cho Luaät Sö Coá Vaán Taäp Theå
E&PD vaø Luaät Sö Coá Vaán cuûa BP vôùi haïn choùt laø ngaøy 31 thaùng Taùm, 2012.
Phaûi gôûi baûn phaûn ñoái döôùi daïng böu phaåm haïng nhaát tôùi nhöõng ñòa chæ sau ñaây, vaø haïn choùt treân con
daáu böu ñieän laø ngaøy 31 thaùng Taùm, 2012. Seõ khoâng cöùu xeùt baûn phaûn ñoái noäp sau ngaøy ñoù.




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     TRÖÔÛNG LUAÄT SÖ COÁ VAÁN
                                             LUAÄT SÖ COÁ VAÁN CUÛA BÒ
    CHO TAÄP THEÅ BÒ THIEÄT HAÏI                                                             TOØA AÙN
                                                       ÑÔN
       KINH TEÁ & TAØI SAÛN

  James Parkerson Roy                       Richard C. Godfrey, P.C.             Clerk of Court
  Attn: Deepwater Horizon E&PD              Attn: Deepwater Horizon E&PD         United States District Court for
  Settlement                                Settlement                           the Eastern District of Louisiana
  Domengeaux Wright Roy & Edwards           Kirkland & Ellis LLP                 500 Poydras Street
  556 Jefferson St., Suite 500              300 North LaSalle Street             New Orleans, LA 70130
  P.O. Box 3668                             Chicago, IL 60654
  Lafayette, LA 70501
  Stephen J. Herman
  Attn: Deepwater Horizon E&PD
  Settlement
  Herman Herman Katz & Cotlar LLP
  820 O’Keefe Avenue
  New Orleans, LA 70113

Khoâng neân goïi Toøa AÙn hoaëc baát cöù vaên phoøng Thaåm Phaùn naøo ñeå phaûn ñoái Boài Thöôøng E&PD.
Neáu quyù vò coù thaéc maéc thì neân ñeán vieáng DeepwaterHorizonSettlements.com hoaëc goïi soá
1-866-992-6174.


 29. Coù khaùc bieät gì giöõa phaûn ñoái vaø yeâu caàu gaïch teân khoûi Boài Thöôøng Thieät Haïi Kinh Teá &
 Taøi Saûn?

Phaûn ñoái chæ ñôn giaûn laø baùo cho Toøa AÙn bieát quyù vò khoâng thích ñieàu gì ôû Boài Thöôøng E&PD. Quyù vò
chæ coù theå phaûn ñoái neáu vaãn tieáp tuïc tham gia vaøo Taäp Theå E&PD. Töï gaïch teân, coøn goïi laø Ruùt Lui, laø
baùo cho Toøa AÙn bieát quyù vò khoâng muoán laøm thaønh vieân cuûa Taäp Theå E&PD. Neáu quyù vò töï gaïch teân
thì khoâng theå phaûn ñoái Boài Thöôøng E&PD, vaø seõ khoâng hoäi ñuû tieâu chuaån noäp ñôn ñoøi khoaûn chi traû
theo Boài Thöôøng E&PD.

                               CAÙC LUAÄT SÖ ÑAÏI DIEÄN CHO QUYÙ VÒ

 30. Coù luaät sö bieän hoä cho toâi trong tröôøng hôïp naøy khoâng?

Toøa AÙn ñaõ boå nhieäm Stephen J. Herman (Tröôûng Luaät Sö Coá Vaán), James Parkerson Roy (Tröôûng
Luaät Sö Coá Vaán), Brian H. Barr, Jeffery A. Breit, Elizabeth J. Cabraser, Philip F. Cossich, Jr., Robert
T. Cunningham, Alphonso Michael Espy, Calvin C. Fayard, Jr., Robin L. Greenwald, Ervin A.
Gonzalez, Rhon E. Jones, Matthew E. Lundy, Michael C. Palmintier, Joseph F. Rice, Paul M.
Sterbcow, Scott Summy, Mikal C. Watts vaø Conrad S. P. Williams laøm “Luaät Sö Coá Vaán cho Taäp Theå
bò Thieät Haïi Kinh Teá & Taøi Saûn” ñeå ñaïi dieän caùc Thaønh Vieân Taäp Theå E&PD. Quyù vò khoâng bò tính



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tieàn thuø lao cho nhöõng luaät sö naøy. Neáu quyù vò muoán luaät sö rieâng ñaïi dieän cho mình trong vuï kieän
naøy thì caàn töï lo lieäu phí toån thueâ ngöôøi ñoù.


  31. Caùc luaät sö ñöôïc traû thuø lao ra sao?

Luaät Sö Coá Vaán Taäp Theå E&PD seõ yeâu caàu Toøa AÙn cöùu xeùt traû phaàn thuø lao luaät sö, chi phí vaø phí
toån ñaõ trang traûi vì lôïi ích cuûa toaøn boä taäp theå, keå caû khoaûn chi traû taïm thôøi $75 trieäu vaø moùn tieàn phuï
troäi baèng vôùi 6% cuûa nhöõng yeâu caàu boài hoaøn vaø quyeàn lôïi ñaõ traû cho taäp theå. Leä phí, chi phí vaø phí
toån cho Luaät Sö Coá Vaán Taäp Theå theo Thoûa Thuaän Boài Thöôøng Thieät Haïi Kinh Teá vaø Taøi Saûn vaø
Thoûa Thuaän Boài Thöôøng Y Teá cùng chung khoâng theå vöôït quaù $600 trieäu.
Chi traû cho thaønh vieân taäp theå seõ khoâng ñöôïc giaûm bôùt neáu Toøa AÙn pheâ duyeät phaàn cho Luaät
Sö Coá Vaán Taäp Theå phí toån, vaø chi phí nhö ñaõ trình baøy beân treânboài thöôøng, vì BP seõ traû rieâng
nhöõng phaàn thuø lao luaät sö, phí toån vaø chi phí naøy.

                             BUOÅI ÑIEÀU TRAÀN COÂNG BAÈNG TAÏI TOØA AÙN

  32. Toøa AÙn seõ quyeát ñònh veà vieäc pheâ chuaån Boài Thöôøng Thieät Haïi Kinh Teá & Taøi Saûn naøy
  vaøo luùc naøo vaø taïi ñaâu?

Toøa AÙn toå chöùc buoåi Ñieàu Traàn Coâng Baèng luùc 8:30 saùng vaøo ngaøy 8 thaùng Möôøi Moät, 2012, taïi Toøa
AÙn Ñòa Phaän Hoa Kyø phuï traùch Ñoâng Phaàn Louisiana, Phoøng Xöû AÙn soá C268, 500 Poydras Street,
New Orleans, LA 70130. Trong buoåi Ñieàu Traàn Coâng Baèng, Toøa AÙn seõ suy xeùt xem Boài Thöôøng
E&PD ñaõ ñeà nghò coù coâng baèng, hôïp lyù vaø thoûa ñaùng khoâng. Toøa AÙn cuõng cöùu xeùt yeâu caàu cuûa Luaät
Sö Coá Vaán Taäp Theå veà leä phí, chi phí vaø phí toån ñaõ trình baøy taïi Caâu Hoûi 31.

Neáu coù phaûn ñoái veà Boài Thöôøng E&PD thì Toøa AÙn seõ suy xeùt phaûn ñoái ñoù. Sau buoåi Ñieàu Traàn Coâng
Baèng, Toøa AÙn seõ quyeát ñònh coù neân pheâ chuaån Boài Thöôøng E&PD hay khoâng, vaø neân traû bao nhieâu
cho Luaät Sö Coá Vaán cho Taäp Theå bò Thieät Haïi Kinh Teá & Taøi Saûn döôùi daïng leä phí, chi phí vaø phí
toån.

Coù theå dôøi Ñieàu Traàn Coâng Baèng sang ngaøy giôø hoaëc nôi choán khaùc maø khoâng thoâng baùo theâm, vì
vaäy quyù vò neân ñeán maïng löôùi theo ñònh kyø ñeå caäp nhaät thoâng tin.

  33. Coù phaûi ñeán döï buoåi Ñieàu Traàn Coâng Baèng khoâng?

Khoâng. Luaät Sö Coá Vaán Taäp Theå E&PD seõ traû lôøi baát cöù thaéc maéc naøo cuûa Toøa AÙn. Tuy nhieân, quyù vò
luoân luoân ñöôïc ñoùn chaøo ñeán döï buoåi ñieàu traàn vôùi phí toån töï lo. Neáu quyù vò gôûi vaên baûn phaûn ñoái thì
khoâng bò baét buoäc phaûi ñeán trình baøy trong buoåi Ñieàu Traàn Coâng Baèng. Neáu quyù vò gôûi vaên baûn phaûn
ñoái kòp thôøi qua böu ñieän thì Toøa AÙn seõ cöùu xeùt.
Neáu quyù vò, hoaëc luaät sö ñöôïc quyù vò thueâ baèng phí toån töï lo, muoán trình baøy taïi buoåi Ñieàu Traàn Coâng
Baèng, thì tôùi haïn choùt laø ngaøy 31 thaùng Taùm, 2012, quyù vò phaûi noäp vaên baûn thoâng baùo yù ñònh ñoù leân
Toøa AÙn, ñoàng thôøi cuõng gôûi vaên baûn naøy theo böu phaåm haïng nhaát ñeán Luaät Sö Coá Vaán Taäp Theå
E&PD vaø Luaät Sö Coá Vaán cuûa BP theo ñòa chæ ñaõ lieät keâ trong Caâu Hoûi 28. Nhôù ghi teân họ, ñòa chæ, soá
ñieän thoaïi cuûa quyù vò roài kyù teân.

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Khoâng neân goïi Toøa AÙn hoaëc baát cöù vaên phoøng Thaåm Phaùn naøo ñeå laáy theâm thoâng tin veà Boài
Thöôøng E&PD. Neáu quyù vò coù thaéc maéc thì neân ñeán maïng löôùi hoaëc goïi soá 1-866-992-6174.


                                   NEÁU QUYÙ VÒ KHOÂNG LAØM GÌ CAÛ

 34. Seõ ra sao neáu toâi khoâng laøm gì caû?

Neáu quyù vò laø Thaønh Vieân Taäp Theå E&PD vaø chaúng laøm gì caû, thì khoâng ñöôïc laõnh tieàn traû töø Boài
Thöôøng E&PD naøy. Vaø tröø khi ñaõ töï gaïch teân, quyù vò seõ khoâng theå khôûi kieän, tieáp tuïc kieän tuïng, hoaëc
tham gia vaøo baát cöù toá tuïng naøo khaùc choáng BP hoaëc Caùc Beân Ñöôïc Giaûi Traùch ñoái vôùi nhöõng yeâu
caàu boài hoaøn ñöôïc giaûi traùch theo Boài Thöôøng E&PD.

Tuy nhieân, ngay caû khi quyù vò khoâng haønh ñoäng gì caû, thì vaãn giöõ nguyeân quyeàn kieän BP hoaëc baát cöù
Beân Ñöôïc Giaûi Traùch naøo veà baát kyø yeâu caàu boài hoaøn naøo khaùc chöa giaûi quyeát xong theo Boài
Thöôøng E&PD. Nhöõng "Yeâu Caàu Boài Hoaøn Döï Bò" naøy ñöôïc lieät keâ taïi Caâu Hoûi 23 vaø trình baøy trong
Thoûa Thuaän Boài Thöôøng E&PD cuõng nhö treân maïng löôùi.

                                          LAÁY THEÂM THOÂNG TIN

 35. Laøm sao ñeå laáy theâm thoâng tin?

Thoâng Baùo naøy toùm löôïc phaàn ñeà nghò Boài Thöôøng E&PD. Cuõng coù theâm nhieàu chi tieát trong Thoûa
Thuaän Boài Thöôøng E&PD. Quyù vò coù theå laáy moät baûn cuûa Thoûa Thuaän Boài Thöôøng E&PD treân maïng
löôùi. Quyù vò cuõng coù theå vieát roõ thaéc maéc roài gôûi tôùi Deepwater Horizon Court-Supervised Settlement,
PO      Box        1439,       Hammond,           LA        70404-1439,      hoaëc   gôûi    thö    ñieän   ñeán
questions@DeepwaterHorizonEconomicSettlement.com. Quyù vò coù theå laáy Maãu Yeâu Caàu Boài Hoaøn
treân maïng löôùi, hoaëc yeâu caàu gôûi Maãu naøy qua böu ñieän neáu goïi soá 1-866-992-6174.
Khoâng neân goïi Toøa AÙn hoaëc baát cöù vaên phoøng Thaåm Phaùn naøo ñeå laáy theâm thoâng tin veà Boài
Thöôøng E&PD. Neáu quyù vò coù thaéc maéc thì neân ñeán maïng löôùi hoaëc goïi soá 1-866-992-6174.


Thoâng baùo: Taøi lieäu naøy laø baûn phieân dòch vaø ñöôïc phaân phaùt vôùi muïc ñích cung caáp thoâng tin maø thoâi.
Trong tröôøng hôïp coù baát cöù söï khaùc bieät naøo giöõa thoâng tin naøy vaø baûn goác cho dòch vuï dòch thuaät, thì
phaûi söû duïng noäi dung trong baûn goác.




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                                  Translation Reviewer’s Note

May 29, 2012


Re:    BP Deepwater Horizon
       Settlement Documents


I, Gabriel Mitre, am a Spanish interpreter and translator certified by the New York State Unified
Court System. Since 2005, I have had extensive experience in interpretation and translation
between the English and Spanish languages and have been continuously involved in related
linguistics. Over the past seven years, I have served as a Spanish interpreter and translator for
purposes sponsored by a wide variety of prominent private entities and government agencies,
including the New York District Attorney’s Office, the United Nations, the U.S. Department of
Agriculture, Barclays and Avon, among others.

I have extensively reviewed the set of legal, economic, and medical documents that has been
translated into Spanish by TransPerfect for Hilsoft on behalf of BP. They include: an Economic
Long-Form Notice; an Economic Short-Form Notice; a Medical Long-Form Notice; a Medical
Short-Form Notice; a Specified Physical Conditions Matrix; Periodic Medical Consultation
Program Components; and content for the Deepwater Horizon Website. In my review of these
documents, which in their entirety I have found to be nearly devoid of translation or linguistic
flaws, I compiled a list of recommendations consisting of proposed alternative translations of
particular terms, syntactic and stylistic observations to improve clarity, and identifications of
minor flaws in grammar and punctuation, all of which were submitted to the assigned translation
team in order to ensure a final product of the highest standards.

The above-mentioned translations into Spanish are, to the best of my professional judgment, a
fully accurate and faithful rendering of their corresponding source documents in English,
whereby all elements are translated with soundly and skillfully employed language to the highest
degree of quality.




Gabriel Mitre
Spanish Translator
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Vietnamese Language
      Services            July 1, 2012



                          TRANSPERFECT


                                                Re: BP Deepwater Horizon Settlement Documents

                          Dear Sir/Madam,

                          I, Lily Hue Miner, am a Vietnamese native born from Viet Nam. I have been a
                          freelance Vietnamese interpreter and translator since 1998 and currently serve as a
                          Professional Qualified Interpreter with the Texas Northern & Eastern US District Courts,
                          Probation Office and Public Defender Offices. My interpretation and translation have
                          also extended to the school districts, hospitals, law firms and various government
                          agencies throughout the DFW Metro Area.

                          I have the honor to reviewed the translation of BP Deepwater Horizon Settlement
                          Documents which include: an Economic Long Form Notice; an Economic Short Form
                          Notice; a Medical Long Form Notice; a Medical Short Form Notice; a Specified Physical
                          Condition Matrix; Periodic Medical Consultation Program Components; and content for
                          the Deepwater Horizon Website. In comparing to the source language, the documents
                          were carefully translated with a meticulous, precise, accurate and high quality work that
                          required only minor changes.

                          Thank you for the opportunity to review this excellent translation project of the BP
                          Deepwater Horizon Settlement Documents.


                          Sincerely,


                          Lily Hue Miner
                          Bi-Lingual/Bi-Cultural
                          Vietnamese Translator/Interpreter


                          .




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